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                                  #:518




         EXHIBIT 1
                      Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 2 of 246 Page ID
                                                        #:519


                      1      DAVID J. DOW, Bar No. 179407
                             ddow@littler.com
                      2      LITTLER MENDELSON, P.C.
                             501 W. Broadway
                      3      Suite 900
                             San Diego, CA 92101.3577
                      4      Telephone: 619.232.0441
                             Facsimile: 619.232.4302
                      5
                             Attorneys for Defendants
                      6      FIRST STUDENT, INC.; FIRST STUDENT
                             MANAGEMENT, LLC; and FIRSTGROUP
                      7      AMERICA, INC.
                      8
                      9                             UNITED STATES DISTRICT COURT
                  10                              CENTRAL DISTRICT OF CALIFORNIA
                  11         NORMA LOPEZ, CINDY                    Case No. 5:19-cv-01669-JGB-SHK
                             MITCHELL, and VADA NEICE, on
                  12         behalf of themselves and all others   NOTICE OF PROPOSED
                             similarly situated,                   SETTLEMENT OF CLASS ACTION
                  13                                               PURSUANT TO THE CLASS
                                            Plaintiffs,            ACTION FAIRNESS ACT, 28 U.S.C.
                  14                                               § 1715
                  15         v.

                  16         FIRST STUDENT, INC., FIRST
                             STUDENT MANAGEMENT, LLC,
                  17         FIRST AMERICA, and DOES 1
                             through 10, inclusive,
                  18
                                            Defendants.
                  19
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LITTLER M ENDELSON, P.C.
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                      Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 3 of 246 Page ID
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                      1                 NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION
                      2         PURSUANT TO THE CLASS ACTION FAIRNESS ACT, 28 U.S.C. § 1715
                      3            TO THE ATTORNEY GENERAL OF THE UNITED STATES AND THE
                      4      OFFICE OF THE ATTORNEYS GENERAL FOR THE STATES OF ARIZONA,
                      5      CALIFORNIA, GEORGIA, ILLINOIS, INDIANA, KENTUCKY, NEVADA, NEW
                      6      MEXICO, NEW YORK, NORTH CAROLINA, OREGON, TEXAS, AND WEST
                      7      VIRGINA:
                      8            PLEASE TAKE NOTICE that pursuant to the Class Action Fairness Act, 28
                      9      U.S.C. § 1715 (“CAFA”), notice is hereby given by Defendants First Student, Inc., First
                  10         Student Management, LLC and FirstGroup America, Inc. to the Office of the Attorney
                  11         General of the United States and the Offices of the Attorneys General for the States of
                  12         Arizona, California, Georgia, Illinois, Indiana, Kentucky, Nevada, New Mexico, New
                  13         York, North Carolina, Oregon, Texas and West Virginia with regard to the settlement
                  14         of the above-captioned wage and hour class action.
                  15               1.     On September 17, 2021, Plaintiffs Norma Lopez, Cindy Mitchell and Vada
                  16         Neice (“Plaintiffs”) in the above-captioned action filed a Notice of Motion and Motion
                  17         for Preliminary Approval of Settlement (“Preliminary Approval Motion”), along with
                  18         supporting papers.
                  19               2.     This Notice includes the following documents in accordance with the
                  20         CAFA requirements set forth in 28 U.S.C. § 1715:
                  21                      a.      Exhibit A: The Class Action Complaint filed by Plaintiffs in the
                  22                              Superior Court of the State of California for the County of San
                  23                              Bernardino, Case No. CIV DS 1920396, on July 11, 2019. See 28
                  24                              U.S.C. § 1715(b)(1).
                  25                      b.      Exhibit B: The First Amended Class Action Complaint filed by
                  26                              Plaintiff in the United States District Court for the Central District
                  27                              of California, Case No. 5:19-cv-01669-JGB-SHK, on January 21,
                  28                              2020. See 28 U.S.C. § 1715(b)(1).
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          Suite 900
  San Diego, CA 92101.3577
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                      Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 4 of 246 Page ID
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                      1              c.    Exhibit C: The proposed Notice of Pendency of Class Action and
                      2                    Proposed Settlement (“Notice of Settlement”), including a statement
                      3                    of the right to request exclusion, intended to be distributed to Class
                      4                    Members to inform them of their rights with regard to the Settlement
                      5                    upon preliminary approval by the Court.           See 28 U.S.C. §
                      6                    1715(b)(3).
                      7              d.    Exhibit D: The Joint Stipulation of Class Action and PAGA
                      8                    Representative Action Settlement and Release (“Settlement
                      9                    Agreement”) executed by the parties that is the operative settlement
                  10                       document in the instant matter, which includes as an exhibits the
                  11                       Settlement Notice. See 28 U.S.C § 1715(b)(4).
                  12                 e.    Exhibit E: Plaintiff’s Preliminary Approval Motion and supporting
                  13                       documents, including: (i) Plaintiff’s Memorandum of Points and
                  14                       Authorities; (ii) the Declaration of Hunter Pyle in Support of
                  15                       Plaintiffs’ Motion for Preliminary Approval of Settlement; (iii) the
                  16                       Declaration of Mary Diaz in Support of Plaintiffs’ Motion for
                  17                       Preliminary Approval of Settlement; (iv) the Declaration of Norma
                  18                       Lopez in Support of Plaintiffs’ Motion for Preliminary Approval of
                  19                       Settlement; (v) the Declaration of Cindy Mitchell; (vi) the
                  20                       Declaration of Vada Neice in Support of Plaintiffs’ Motion for
                  21                       Preliminary Approval of Settlement; and (vii) the [Proposed] Order
                  22                       Conditionally Certifying Settlement Class and granting Preliminary
                  23                       Approval of Class Action Settlement.
                  24                 f.    Exhibit F: A list of the names of Class Members, based on
                  25                       information currently available, who reside in each State and the
                  26                       estimated proportionate share of the settlement for each Class
                  27                       Member. See 28 U.S.C. § 1715(b)(7)(A). An estimated 55% of the
                  28                       total settlement amount will be distributed to Class Members.
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          Suite 900
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                      Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 5 of 246 Page ID
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                      1               3.        This Notice provides the following information in accordance with 28
                      2      U.S.C. § 1715:
                      3                         a.        Pursuant to 28 U.S.C. § 1715(b)(2), notice is hereby given that the
                      4                                   next scheduled judicial hearing is on the Preliminary Approval
                      5                                   Motion, which is set for hearing on October 18, 2021 at 9:00 a.m.,
                      6                                   or as soon thereafter as the matter may be heard, before the
                      7                                   Honorable Jesus G. Bernal, United States District Court Judge, in
                      8                                   Courtroom 1 of the United States District Court for the Central
                      9                                   District of California, located at the U.S. Courthouse, 3470 Twelfth
                  10                            b.        Street, Courtroom No. 1, Riverside, CA 92501.
                  11                            c.        Aside from Exhibit D, no other settlement or other agreement has
                  12                                      been contemporaneously made between Class Counsel and Defense
                  13                                      Counsel. See 28 U.S.C. § 1715(b)(5).
                  14                            d.        No final judgment or notice of dismissal has been filed in this matter,
                  15                                      nor are there written opinions that have been issued relating to the
                  16                                      materials described in 28 U.S.C. § 1715(b)(3) through (6). See 28
                  17                                      U.S.C. § 1715(b)(6), (8).
                  18         Dated: September 27, 2021
                  19
                  20                                                               s/ David J. Dow
                                                                                  DAVID J. DOW
                  21                                                              LITTLER MENDELSON, P.C.
                                                                                  Attorneys for Defendants
                  22                                                              FIRST STUDENT, INC.; FIRST
                                                                                  STUDENT MANAGEMENT, LLC; and
                  23                                                              FIRSTGROUP AMERICA, INC.
                  24
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Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 6 of 246 Page ID
                                  #:523




        EXHIBIT A
                       •                                       •
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      HUNTERPYLE, SBN 191125
                                  #:524




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      Telephone: (5J0}444-4400
 4    Facsimile: (510) 444-4410
      Email: bunter@hunterpylelaw.com;· vchen@hunterpylelaw.com
 5
 6    Attorneys for Plaintiffs and the Putative Class

 7                  IN THE SUPERIORCOURTOFTHESTATE OF CALIFORNIA

 8                                 FOR THE COUNTY OF SAN BERNARDINO
 9
      NORMA.LQPEZ,.. CINDY MITCHELL, and                Case   t,V OS 1 9 2 0 3 9 6
10    VADANETCE, 01.ybehalfof themselves and all
      others similarly situated;                        CLASS·ACTION
11
                                                        COMPLAfNTFORDAMAGESAND
                                   Plaintiffs,
12                                                      INJUNCTIVE.RELIEF

                                                        1. FAlLURE TO PAY SPLIT SHIFT \VAGES
                                                           (Labor c,;de §§ 1197, 1194, and 1194.2;
14    FIRST STUDENT, INC., FIRST STUDENT                   Wage Order 9-2001);
      MANAGEMENT, LLC, FIRST AMERICA,                   2..FAILURE TO PROVIDE ADEQUATE
15    ahd DOES l through 10, inclusive,                    WAGE STATEMENTS (Labor Code
                                                           § 226); and
16                                 Defendants.          3. UNLAWFUL BUSINESS PRACTICES
17                                                         (Business & Professions Code §§ l 7200, et
                                                          seq.)..
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                                   #:525



                                         I.      INTRODUCTION

 2                 This is a class action under Code of Civil Procedure section 382, brought by

 3   p)aintiffs NORMA LOPEZ> CINDY l\1JTCHELL, and VADA NEICE ("Plaintiffs").

 4          2.     Plaintiffs seek to represent a dass comprised of cunent and former Attendants, also

 5   called Bus Aides and.Bus MonitorS(joirttly.refenedto herein as "Attendants") employed by

 6   defendants FIRST.STUDENT,INC.,·FIRST.STUDENT MANAGEMENT, LLC, and FIRST

 7   AMERICA ('~FIRST STUDENT") in. the State of California {"Class Members").

 8          3.     FIRST STUDENT is a private contractor providing bus transportation services for

 9   students in various school districts throi1ghoutCalifomia... FIRST STUDENT employs Attendants

10   who perform various tasks that are•centered.around•assistingthestudents.

11          4.     FIRST STUDENT requires Attendants to work split shifts. However, FIRST

12   STUDENT fails to pay Attendants Split shift wages as required by Wage Order 9-2001 and the

13   California Labor Code .. .FIRST STUDENT also fails to include split shift wages on Plaintiffs' and

14   Class Members' wage statements.

15          5.     Plaintiffs bring claims on beha.lfofClass Members for unpaid split shift wages,

16   liquidated damages, interest, wage statement penalties,· and attorneys'· fees and costs, under Labor

17   Code sections 226, 1194, ll94.2, and 1197, and Code of Civil Procedure section 1021.5.

18   Plaintiffs, on behalf of themselves and the Class Members, alsoseek equitable and injunctive relief

19   for these violations pltrsuahttO Bt1sirtess and Professions Code sections 17200-17208 (also referred

20   to herein as the ''UCL").

21                                         n.     JURISDICTION

22          6.     Venue is proper in thisjudicial·district, pursuant to Code of Civil Procedure section

23   395(a). FIRST STUDENT maintains offices and transacts business in San Bernardino, California.

24   The unlawful acts alleged herein have occuned ·in and have a direct effect on Plaintiffs artd those

25   similarly situated within the State of California and the County of San Bernardino. Additionally,

26   FIRSTSTUDENTempioys or.has employed Plaintiffs and Class Members in San Bernardino

27   County.

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                                       LQPEZv.FJRSTSTUUENT,·INC.
                                      CQMPLAINTAND JURY DEMAND
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                                  #:526




 1                   This Court has jurisdiction ovenhis class action pursuant to Article 6, section 10 or

 2    the California C<mstitt1tfon and California CcJde of Civil Procedure section 410.10.

 3            8.     Pialdtiffs are informed and believe, and thereon aliege, that Plaintiffs' and Class

 4    Members' monetary cfaimstotal less than $75,000.00 per person.
 5                                                III.    PARTIES

 6            A.      PLAINTIFFS
 7            9.     Plaintiff NORMA LOPEZ isan Attendant ,vho has been employed by FIRST

 8    STUDENT at its San Fernando, California. facility during the period beginning. four years prior to

 9    the filing of this Cotnplaintto·tbe. prcsent•(thc. "Class Period'').

10            lO,    Plaintiff CJNDY MITCHELL is an Attendant who has been employed by FIRST

11    STUDENT at its Hesperia, California facility during the Class Period.

12            1L     Plaintiff VADA NEICE is an Attendant who has been employed by FIRST
13    STUDENTatits Hesperia, California facility· during the Class Period.

14            B.      DEFENDANTS

15            12.    Defendarit FIRSTSTUDENT,JNC.isa Delaware corporation with an office located

16    in llcsperia, C(:ilifornia. DefendantJ7IRSTSTUDENT, INC. conducts business in the State of

17    California and the Com1ty of San Bernardino.

18            13.    Defendant FJRST ST'LJDENT MANAGEMENT, LLCis a Delaware limited liability

19    company with ari office located in Hesperia, California. Defendant FIRST STUDENT

20    MANAGEMENT, LLCConducts business in the State of California and the County of San
21    BernatdiI10.

22            14.    Defendant FIRS'r AMERJCAis abt1siness entity, form unknown, with an office

23    located in Hesperia, California. Defendant FIRSTAMERJCA cor1duc:ts business in the State of

24    California and the County of San Bernardino.
25            15.    The true names and ca.pacities,•whether individual, corporate, associate, or otherwise,

26    of the persons and entities sued herein as DOES 1 through 10, inclusive, arc currently unknown to

27    Plaintiffs, who therefore sfre them by such fictitiOus 11,unes under Code of Civil Procedure section

28
                                          LOPEZ v. FIH.STSTlJDENT, INC.
                                         COMPLAINT AND JURY DEMAND
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     474. Plaintiffsare.informed•and believe,.and•basedthereon allege;·that•each of the parties

 2   designated herein as a   DOB is legally responsible in some manner for the unlawful acts. referred to
 3   herein, PlaintiffswiJl•seek leave of court to amendthis·Complainttoreflect the true names and

 4   capacities of the defendants designated hereinafter as DOES when such identities become known.

 5          16.    Plaintiffs are informed and believe that each of the defendants is liable to Plaintiffs

 6   and the Class Members as an "employer," as thatterm is defined in section 2(0) of Wage Order

 7   No. 9-200 I. As employers of Plaintiffs sand the Class Members throughout the relevant time

 8   period hereto, defendants, and each ofthe1n, are either solely or jointly and severally liable for the

 9   economic damages, including sfatilitory penalties, owed to Plain.tiffs.and Class Members under

     common law and      by statute.
11                                     IV.    STATEMENT OF FACTS

12          17.    FIRST STUDENT ·operates• facilities. throughout California.

13           18.   FIRSTSTUDENT's Attendants assist students by, arnong other things, ensuring that

14   their seat belts are properly buckled, strapping down wheelchairs, and helping students transfer to

15   other buses. Attendants also communicate -vyith caregivers and parents regarding students' health

16   and other issues,

17           19.   Plaintiffs are informed a.11d believe and thereon allege that, throughout the relevant

18   time period of this action, FIRSTSTUDENTe111ployed at least one hundred (I 00) Attendants.

19          20.    At all times relevant hereto, the California Labor Code and Wage Order No. 9.200 I

20   have applied to Plaintiffs and to all Class Members.

21          2 l.   Plaintiffs are informed and believe and thereon alJege that, through common

22   practices, policies a.rid/or schemes, FIRST STUDENT failed to pay split shift wages to Plaintiffs

23   and Class Members as req1.Jired under-California law.

24          22.    FIRST STUDENT controls all work details, including Attendants' schedules and

25   work locations, the specific work duties to be performed, a.ndthe manner in which the work duties

26   are performed. Based on the foregoing and other relevant factors, Plaintiffs and other Attendants

27   are and.were employees of FIRST STUDENT'.

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                                         LOPEZ v. FIRSTSTUDENT,JNC.
                                        COMPLAINTANDJURY DEMAND
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                                       v.      CLASS. AC'fION ALLEGATIONS

 2           23.       Plain ti ffa bting this lawsuit as a class action pursuant to Code of Civil Procedure

 3    section 382 on behalf dfthen)sClves(lnd        aH Similarly situated en1ployees,   The class that Plaintiffs

 4    seek to represent (''Class'') is defined as:

 5            All individuals whomfTRST STUDEMT employed as Bns Aides, Monitors, and/or

 6            Attendants in California at any tinie during the Class Period.

 7            24.      The clain1s herein.have bee11hrbughtand may pmperly be maintained as a class

  8   action under Code of Civil Procedure section 382 because there is a well-defined community of

 9    interest among Class Members withrespectto the claims asserted herein and the Class is easily

10    ascertainable:

11                     a.          Ascertainability tlnd Nun1erositv: The potential members of the Class as

12    defined herein   arc so numerous thatjoinder wouldbe impracticable,         Plai:Htiffs are informed and

 ]3   believe and on suchinformationand belief allege that FIRST STUDENT has employed at least one

 l4   hundred (100) Class l'vlcrt1betsi11Califo1·nia during the Class Period. The names and addresses of

15    the Class Members are avaifab]e from FIRST STUDENT. Notice can be provided to the Class

16    Members via first class mail using techniques and a form of notice similar to those custom~1rily

 17   used in class actionJawsuits of this nature.

 18                     b.         Col'l11nonality: Th~re are questio1ts of law and fact common to Plaintiffs and

19    Class Members that predominate over any questions affrcting only individual members of the

20    Class. These common questions ofla\\lalid fact include, without limitation:

21                           1.     Whether FIRST STUDENT has violated Labor Code sections 1194, 1194.2,

22                                 and 1197 by failing to pay split shifr wages to Attendants;

23                           11.   Whether FIHSI'SFUDENT has violated Labor Code section 226 by failing

24                                 to include s1')1it shift wages on Attendants' wage statements;

25                           m. Whatreliefis necessary to remedy FIRST STUDENT's unfair and unlawful

26                                 Ct)nduct as herein alleged; and

27                           1v. Other qUestions offaw and.fact.

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                                              LOPEZ v.f}RSTSTlJDENT,lNC
                                             COMPLAINT AND ,JURYUEMANU
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                       C.   Typicality: Plaintiffs' claims are typicalofthe claims of the Class.

 2   Plaintiffs and aH members of the .Class have sustained injuries-in-fact due to their damages arising

 3   out of and causedbyFlRST•STUDENT's common course of conduct in violation of law,as

 4   alleged herein.

 5                     d.   $degtj~_f;_y_ofRepres~J£1Ugn: Plaintiffs are members ofthe Class that they

 6   seek to represent, and will fairly and adequately represent and protectthe interests of the Class

 7   Members. •Counsel•representing·Plaintiffs are competent and experienced in litigating wage and

 8   hour class actions.

 9                     e.   Superiority of Class. Action:    A class action is superior to other available
10   means forthe fair and efficient adjudication of this controversy. Individual joinder of all Class

11   Members is notpracticahle, and questions oflawand factcomn1011tothe Class predominate over                             J

12   any questions affecting only individual members of the Class.. Each Class Member has suffered

13   injury and is entitled to fecover byreasofrofFIRSTSTUDENT's illegal policies and/or practices

14   as alleged herein. Class actiontreatmentwilLaHow those similarly situated persons to litigate their

15   claims•in the man.nerthatismost efficient and economical•fotthe parties.and.thejudicial system.

16   Further, the prosecution of separate actions against FIRST STUDENT byindividual Class

17   Members would create a risk of inconsistent or varying adjudicatio6s that would establish

18   incompatible standards of conduct for FIRST STUDENT.

19                                             VI.   DAMAGES

20          25;    As a direct, foreseeable, and proximate result ofFIRST STUDENT'S conduct,

21   Plaintiffs and similarly situated Attendants are owed, among other things, compensation plus

22   interest, liquidated damages; wage statement penalties under Labor Code section 226, waiting time

23   pe11ahies under Labor Code section 203, and other statutory penalties; in an amountthat exceeds

24   $25,000, the precise a.mount ofwhichwilLbe proven at triaL

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                                                            -~-~~~~-~=,,-·.-·-··-·-·•='•"•--~•h••'""•""•••••'-"""""'"' ••
                                       .LOPEZ v~ FlRSTSTUDENT, INC.
                                      CO!VlPLAINT AND JURY DEMAND
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                                             VII.    CAUSES OF ACTION

 2                                       FlRST CAUSE.OF ACTJON
                                   FAILURE TOPAYSPLIT SHU'T\1/ACKS
 3
                            (Labor Code§§ 1197, 1194, and ll94.2; Wngc Order 9-2.001)
 4              26.       The aHegatforis of each ofthe preceding paragraphs are rcalleged and i11corporated
 5    herein by reference, and Plaintiffs allege as follows a cause 9f actfom on behnlf of themselves and
 6    the above-described Class of similarly situatedAttendants employed by FIRST STlJDENT in
 7    California,
 8              27.      During the Class Period, FIRST STUDENT has failed to pay spHt shllt wages to its
 9    Attendants in California.Jnparticu!ar, Plaintiffs      and the Class were required to work shifts that
10    were split by non-paid, non-working periods of time established by FIRST STUDENT that were
 l1   not bona fide rest.or meal breaks.
12              28.      California Labor Code section 1197,. entitled ''Pay of Less Than Mininmm Wage"
13    states:
14
                      The minimum wages for employees fixed by the commission is the minimum
15                    wage fo be paid to employees,   and
                                                       the payment of a less wage than the
                      rnininmm so fixed is t1J1lawfol.
16
                29.      The applicable split shift minimum wages for Attendants is found in Wage Order 9-
17
      2001(4)(C),whfoh states:

                      When an en1ployee works a split shift, one (l )hour's pay at the minimum
19                    wage shall be paid inadditionto the minimum wage forthat wotkday,
                      excepfwhen the employee resides atthe place of employment
20
                30.      The definition of a split shift is found in Wage Order 9-2001 (2}(N), which states:
21

22                    "Split shiJf' means a work schedule, which is interr11J)ttxl by 11on~paid non~
                      working periods established bythe en1ployer, other thar1 bona fide rest or
                      meal period.

24              31.     Minimttm wage provisions are enforceable by private civil action pursuant to

      California Labor Code section U94(a) which states:

26                    Notwithstanding anyagreementto work .for lesser wage, any employee
                      receiving less than theJegaJminimurn wage or legal overtime
27                    compensation .applicable to the employeeis entitled to rec()ver in a civil
28                    action the unpaid balance o:fthe full amount of this minimum wage or

                                                                   '
                                            COMPLAll'ff ANIJJURY DEMAND
                          •                                         •
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                   overtime compensation, inbluding interest thereon, reasonableattorney's
                   fees and• costs of suit.
 2          32,      California labor Code section 11942 states:
 3
                   In•any.action unde.r•Section.1194 .... to recover wages because of the
 4                 payment of wage less than the mirihnum wages fixed by an order of the
                   cornrrtission, aflemployee shall be entitled to fecover liquidated damages in
 5                 an·amount equal to the Wages unlawfully unpaid.and.interest. thereon.
 6
            33,      As such, Plaintiffs, individually arid dn behalf of the Class, may bring this action· for
 7
     minimum split shift wages, liquidated damages,interest, cost of suit, and attorney's feespursuant
 8
     to section! 194(a).
 9
            34.      WHEREFORE, Plaintiffs and the Class are entitled to recover unpaid split shift
10
     minimum Wages, liquidated damages in ari afuountequal to the wages unlawfully unpaid,interest
11
     thereon,.and ·reasonableattorneY's fees·and costs ofsuit pursuant to•California Labor Code section
12
     1194(a).
13
                                        SECOND•CAUSE OR ACTION
14                                    WAGE STATEMENT PENALTIES
                                            (LabotCode §·226)
15

16          35.       The allegations of each of the precedingparagraphs are realleged and incorporated

17   herein by reference, and .Plaintiffs allege as follows a cause of action on behalf of themselves and

18   the above-described Class of similarly situated Attendants employed by FIRST STUDENT in

19
     California.

            36.       Labor Code section226(a)requires employers semi-.monthly or at the time of each
20

21   payment ofwagesto·fumish each employee•witha•statement itemizirtg,among·other things, the

22   wages earned by the employee. Labor Code section226(b)provides that if an employer knowingly

23   and intentionally fails to provide a sta.ternentitemizing, among other things, the total hours worked

24   by the employee; then the employee is entitled to recoverthe greater of all actual damages or fifty

25   dollars ($50.00) for the initialvfolation and one hundred dollars ($ 100.00) for each subsequent

26   violation, up to amaximum of four thousand do11ars ($4~000.00).

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                                          LOPEZv. FIRSTSTUDENT,.INC
                                         COMPLAINTAND JURY•DEMAND
                                              •
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                                                                                                                 •
                        37.               FIRST STUDENT knowingly and intentionally failed to furnish Plaintiffs and the

 2    other Class Members with timely, accurate, itemized state.ments showing the split shift wages

 3    earned by each of them~ as required by Labo[Codesectfon 226(a).

 4                      38.               Plaintiffi:; and other Class Members were damaged by this failure because, among

 5    other things, they could not determine Whether FIRSTSTUDENT hadpaid them all wages due.

 6                      39.                 As arCst1lt, FIRST STUDENT is liable to Plaintiffs and the Class Members for the

 7    amounts provided by Labor Code section226(b).

 8                      40.               Plaintiffs, onhehalfofthemselves and the proposed Class, request wage statement

 9    penalties pursuanno Labat Cc)de section 226and relief as described below.

10                                                    THlRDCAUSE 0FACTION
                                      UNFAIR COMPETITION AND UNFAIR BUSINESS .PRACTICES
l1                                            (Business & Professions Code§§ 17200, et seq.)
12                      41.             The allegations of each of the preceding paragraphs are realleged and incorporated
13    herein by reference, and Plaintiffs allege as follows a cause of action on behalf of themselves and
14    the above-described ClasS ofsjmilarly situated Attendants employed by FIRST STUDENT in
15    California.
16                      42.             FIRSTSTUDENT's failure to pay compensation that is legally required under Wage
17    Order No. 9 and the Labor Code, as alleged tlbove, constitutes an u11lawful and/or unfair activity
18    prohibited by Business a11dProfessions Code section 17200. Plaintiffs reserve the right to identify
19    additional unfair and urilavvfu]practices by FIRST STUDENT as further investigation and
20    discovery·warrants.
21                      43.             Moreover, Business and Professions Code section 17203 provides that the Court 1nay
22    restore toan aggrieved pal'ty any money or property acquired by means of unlawfol and unfair
23    business practices. Plai]1tiffs                                            seek a court order requiring an audit and accou11ting of the payroll
24    records to determine the amountofrestitution ofall unpaid wages owed to them and Class
25    Members, according to proof, as welJ as adetenninatiort ofthe ainount of funds tt1bepaid to
26    current and.fonner em_ployces that can be identified and located pursuant to a court order and
27    superv1sHm.
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      ~ - - - - ~ ~ - - - ~ - - - -....- ...-.... -,.,.......................,                           ·,,c»·v~·,,·   ,,· ·· · , ; : ; _ : , , - . ~ - - - - - - -
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 1          44.    Plaintiffs and.all•ClassMembers are '"persons".withinthe meaning.of Business and

 2   Professions Code section l7204who have suffered injury in fact as a result of FIRST STUDENT' s

 3   unfair competition;and who .comply with the requirements of Code of Civi1 Procedure section 382,

 4   as set forth above, and therefore have standing to bring this claim forinjunctive relief, restitution,

 5   andother•appropriate•equitablereliet:

 6          45.    Asa result of its unlawful a11d/or unfair acts, FIRST STUDENT has reaped and

 7   continues to reap unfair benefits and illegaJprofits atthe expense of Plaintiffs and Class Members.

 8   FIRST STUDENT should be enjoii1ed fro1n this activity and made fo restore to Plaintiffs and

 9   proposed Class Members their wrongfully withheld wages, interestthereon, and related liquidated

lO   damages, pursuant to Business and Prqfessions Code sections 17202 and 17203.

11          46.    Private enforcernenfofthese rightsis11ecessary, as no other agency has raised a

12   claim to protect these workers .. There is a financial burden incurred in pursuing this action that

l3   would he unjustto place upon Plaintiffs.as the burden ofenforcing workforce-'widerights is

14   disproportionately.greater than that of enforcing•only individual claims. Additionally, Plaintiffs

15   and Attendants are low-income workers who cannot afford to spend part of their wages on

16   enforcing others' wage rights. Therefore,it wdttld be againstthe interests of justice to force

17   payment ofattorneys'fees from Plaintiffs'Tecovery inthis action, Accordingly, attorneys' fees are

18   appropriate and Plaintiffs seek them pursuant to Code of Civil Procedure section 1021.5.

19          47.    Plaintiffs, 011 behalf of themselves and the Class, request restitution of unpaid wages,

20   wage premiums, injunctive relief and other relief as described below.

21                                     VIIL PRAYER FORRELIEF
22          WHEREFORE, Plaintiffs onbehalfofthemselves and the above-described Class of

23   similarly situated Attendants, request relief as.follows:

24          a.      Certification of the above-described Class as a class action, pursuant to Code of

25                  Civil Procedure section382;

26          b.      Certification of the above~described Class as a representative class under Business

27                  and Professions Code section 17200;

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                                        LOPEZv. FIRST S'flJOENi,INC.
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            C.    Provision ofClass.Notice.to. al!Attcndants.. '1-vho worked for FIRST STUDENT
 2                d1..1ti:ng the Class Period;

 3                A declaraforyjudgment that FIRST STUDENT has knowingly and intentionally

 4                violated Business and ProfesSions Code scctions.17200-17208, by the conduct set
 5                forth above.

 6          e.    A declaratoryjudg:111ent that FIRST STUDENT's violations as described above

 7                wete willful;

 8          f,    An equitable accounting to identify, locate, and restore to all current and former

 9                Attendants the wages thatare due;

10          g.    An atvard to Plaintiffs and the Class Members of damages in the arnount of unpaid

11                wages, and liquidated damages, including interest thereon; subject to proof at trial;
12          h.    Anotderrequiring FIRST STUDENT to pay restitution ofaU amounts owed to

13                Plaintiffs and sil'.nilarly situated Attendants for FIRST STUDENT' s failure to pay

14                legally required wages, and ihte!'est thereon, in an ,tmount according to proof:

15                pursuant to Business & Ptbfessfons Code section 17203;

16                An award to Plaintiffs and the Class Members of statutory penalties because of

17                FIRST STUDENT'S failure to provide Plaintiffs and the Class Members with

18                itemized wage statenients tlt,lt c<)mply with the requirements of Labor Code section

19                226;

20                An award to Plaintiffsam:ithe Class Members of reasonable attorneys' fees and

21                costs, pursuant 10 Code.of Civil Procedure section I 021.5 and Labor Code sections

22                218.5, 1194, and/or other applicable law; and

23          k,    An award to Plaintiffs and the Class Members of such other and further relief as this

24                Court deemS Just· arid proper.

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                                      COMPLAINT ANUJURY DEMAND
      Dated:. July ll, 2019
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                                   HUNTER PYLE LAW
                                                          •
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 4                                 Attorneys fof Plaintiffs and the Putative Class
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                                          DEMAND FOR JURY TRIAL
 2            Plaintiffs, individually and on behalf of all other similarly situated Class Members, demand

 3    a jury trial of this matter on all claims so triable.

 4    Dated: July I 1, 2019                    HUNTERPYLELA W
 5

 6                                             By:-~,····
                                                    Hunter
 7
                                               Attorneys for Plah1tiffs and the Putative Cl ass
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         EXHIBIT B
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 6
      Attorneys for Plaintiffs and the Putative Class
 7
                                   UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9

10     NORMA LOPEZ, CINDY MITCHELL, VADA                Case No. 5:19-cv-01669-JGB-SHK
       NEICE, and MARY DIAZ on behalf of
11     themselves and all others similarly situated;    CLASS ACTION

12                                                      FIRST AMENDED COMPLAINT
                                 Plaintiffs,
13                                                      1. FAILURE TO PAY SPLIT SHIFT
                            v.                             WAGES (Labor Code §§ 1197, 1194, and
14                                                         1194.2; Wage Order 9-2001);
       FIRST STUDENT, INC., FIRST STUDENT               2. FAILURE TO PROVIDE ADEQUATE
15     MANAGEMENT, LLC, FIRSTGROUP                         WAGE STATEMENTS (Labor Code
       AMERICA, INC., and DOES 1 through 10,               § 226);
16                                                      3. WAITING TIME PENALTIES (Labor
       inclusive,                                          Code §§ 201, 202 & 203);
17                                                      4. UNLAWFUL BUSINESS PRACTICES
                                 Defendants.               (Business & Professions Code §§ 17200, et
18                                                         seq.); and
                                                        5. PENALTIES UNDER THE PRIVATE
19                                                         ATTORNEYS GENERAL ACT (Labor
                                                           Code §§ 2698 et seq.).
20
                                                        DEMAND FOR JURY TRIAL
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 1                                        I.      INTRODUCTION

 2           1.     This is a class action under Federal Rule of Civil Procedure 23, brought by plaintiffs

 3    NORMA LOPEZ, CINDY MITCHELL, VADA NEICE, and MARY DIAZ (“Plaintiffs”).

 4           2.     Plaintiffs seek to represent a class comprised of current and former Attendants, also

 5    called Bus Aides and Bus Monitors (jointly referred to herein as “Attendants”) employed by

 6    defendants FIRST STUDENT, INC., FIRST STUDENT MANAGEMENT, LLC, and

 7    FIRSTGROUP AMERICA, INC. (“FIRST STUDENT”) in the State of California (“Class

 8    Members”).

 9           3.     FIRST STUDENT is a private contractor providing bus transportation services for

10    students in various school districts throughout California. FIRST STUDENT employs Attendants

11    who perform various tasks that are centered around assisting the students.

12           4.     FIRST STUDENT requires Attendants to work split shifts. However, FIRST

13    STUDENT fails to pay Attendants split shift wages as required by Wage Order 9-2001 and the

14    California Labor Code. FIRST STUDENT also fails to include split shift wages on Plaintiffs’ and

15    Class Members’ wage statements.

16           5.     Plaintiffs bring claims on behalf of Class Members for unpaid split shift wages,

17    liquidated damages, interest, wage statement penalties, waiting time penalties, and attorneys’ fees

18    and costs, under Labor Code sections 203, 226, 1194, 1194.2, and 1197, and Code of Civil

19    Procedure section 1021.5. Plaintiffs, on behalf of themselves and the Class Members, also seek

20    equitable and injunctive relief for these violations pursuant to Business and Professions Code

21    sections 17200-17208 (also referred to herein as the “UCL”).

22           6.     Plaintiffs LOPEZ, MITCHELL, and NEICE also bring a claim seeking civil penalties

23    under the Private Attorneys General Act of 2004 (“PAGA”), Labor Code section 2698, et seq., on a

24    representative basis, on behalf of other Aggrieved Employees.

25                                         II.     JURISDICTION

26           7.     On or about December 19, 2019, the above-captioned Court ruled that it has

27    jurisdiction over this action under the Class Action Fairness Act of 2005 (“CAFA”).

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 1                                              III.    PARTIES

 2           A.      PLAINTIFFS

 3           8.     Plaintiff NORMA LOPEZ is an Attendant who has been employed by FIRST

 4    STUDENT at its San Fernando, California facility during the period beginning four years prior to

 5    the filing of this Complaint to the present (the “Class Period”).

 6           9.     Plaintiff CINDY MITCHELL is an Attendant who has been employed by FIRST

 7    STUDENT at its Hesperia, California facility during the Class Period.

 8           10.    Plaintiff VADA NEICE is an Attendant who has been employed by FIRST

 9    STUDENT at its Hesperia, California facility during the Class Period.

10           11.    Plaintiff MARY DIAZ is an Attendant who was employed by FIRST STUDENT at

11    its Palmdale, California facility from approximately July 2016 through June 2019.

12           B.      DEFENDANTS

13           12.    Defendant FIRST STUDENT, INC. is a Delaware corporation with an office located

14    in Hesperia, California. Defendant FIRST STUDENT, INC. conducts business in the State of

15    California and the County of San Bernardino.

16           13.    Defendant FIRST STUDENT MANAGEMENT, LLC is a Delaware limited liability

17    company with an office located in Hesperia, California. Defendant FIRST STUDENT

18    MANAGEMENT, LLC conducts business in the State of California and the County of San

19    Bernardino.

20           14.    Defendant FIRSTGROUP AMERICA, INC. is a Delaware corporation with an office

21    located in Hesperia, California. Defendant FIRSTGROUP AMERICA, INC. conducts business in

22    the State of California and the County of San Bernardino.

23           15.    Plaintiffs are informed and believe that each of the defendants is liable to Plaintiffs

24    and the Class Members as an “employer,” as that term is defined in section 2(G) of Wage Order

25    No. 9-2001. As employers of Plaintiffs and the Class Members throughout the relevant time period

26    hereto, defendants, and each of them, are either solely or jointly and severally liable for the

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 1    economic damages, including statutory penalties, owed to Plaintiffs and Class Members under

 2    common law and by statute.

 3                                     IV.    STATEMENT OF FACTS

 4           16.    FIRST STUDENT operates facilities throughout California.

 5           17.    FIRST STUDENT’s Attendants assist students by, among other things, ensuring that

 6    their seat belts are properly buckled, strapping down wheelchairs, and helping students transfer to

 7    other buses. Attendants also communicate with caregivers and parents regarding students’ health

 8    and other issues.

 9           18.    Plaintiffs are informed and believe and thereon allege that, throughout the relevant

10    time period of this action, FIRST STUDENT employed at least one hundred (100) Attendants.

11           19.    At all times relevant hereto, the California Labor Code and Wage Order No. 9-2001

12    have applied to Plaintiffs and to all Class Members.

13           20.    Plaintiffs are informed and believe and thereon allege that, through common

14    practices, policies and/or schemes, FIRST STUDENT failed to pay split shift wages to Plaintiffs

15    and Class Members as required under California law.

16           21.    FIRST STUDENT controls all work details, including Attendants’ schedules and

17    work locations, the specific work duties to be performed, and the manner in which the work duties

18    are performed. Based on the foregoing and other relevant factors, Plaintiffs and other Attendants

19    are and were employees of FIRST STUDENT.

20                                V.      CLASS ACTION ALLEGATIONS

21           22.    Plaintiffs bring this lawsuit as a class action pursuant to Federal Rule of Civil

22    Procedure 23 on behalf of themselves and all similarly situated employees. The class that Plaintiffs

23    seek to represent (“Class”) is defined as:

24           All individuals whom FIRST STUDENT employed as Bus Aides, Monitors, and/or

25           Attendants in California at any time during the Class Period.

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 1           23.    The claims herein have been brought and may properly be maintained as a class

 2    action because there is a well-defined community of interest among Class Members with respect to

 3    the claims asserted herein and the Class is easily ascertainable:

 4                      a.         Ascertainability and Numerosity: The potential members of the Class as

 5    defined herein are so numerous that joinder would be impracticable. Plaintiffs are informed and

 6    believe and on such information and belief allege that FIRST STUDENT has employed at least one

 7    hundred (100) Class Members in California during the Class Period. The names and addresses of

 8    the Class Members are available from FIRST STUDENT. Notice can be provided to the Class

 9    Members via first class mail using techniques and a form of notice similar to those customarily

10    used in class action lawsuits of this nature.

11                      b.         Commonality: There are questions of law and fact common to Plaintiffs and

12    Class Members that predominate over any questions affecting only individual members of the

13    Class. These common questions of law and fact include, without limitation:

14                           i.    Whether FIRST STUDENT has violated Labor Code sections 1194, 1194.2,

15                                 and 1197 by failing to pay split shift wages to Attendants;

16                           ii.   Whether FIRST STUDENT has violated Labor Code sections 201, 202, and

17                                 203 by failing to pay Attendants all wages upon separation from

18                                 employment;

19                           iii. Whether FIRST STUDENT has violated Labor Code section 226 by failing

20                                 to include split shift wages on Attendants’ wage statements;

21                           iv. What relief is necessary to remedy FIRST STUDENT’s unfair and unlawful

22                                 conduct as herein alleged; and

23                           v.    Other questions of law and fact.

24                      c.         Typicality: Plaintiffs’ claims are typical of the claims of the Class.

25    Plaintiffs and all members of the Class have sustained injuries-in-fact due to their damages arising

26    out of and caused by FIRST STUDENT’s common course of conduct in violation of law, as

27    alleged herein.

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 1                   d.       Adequacy of Representation: Plaintiffs are members of the Class that they

 2    seek to represent, and will fairly and adequately represent and protect the interests of the Class

 3    Members. Counsel representing Plaintiffs are competent and experienced in litigating wage and

 4    hour class actions.

 5                   e.       Superiority of Class Action: A class action is superior to other available

 6    means for the fair and efficient adjudication of this controversy. Individual joinder of all Class

 7    Members is not practicable, and questions of law and fact common to the Class predominate over

 8    any questions affecting only individual members of the Class. Each Class Member has suffered

 9    injury and is entitled to recover by reason of FIRST STUDENT’s illegal policies and/or practices

10    as alleged herein. Class action treatment will allow those similarly situated persons to litigate their

11    claims in the manner that is most efficient and economical for the parties and the judicial system.

12    Further, the prosecution of separate actions against FIRST STUDENT by individual Class

13    Members would create a risk of inconsistent or varying adjudications that would establish

14    incompatible standards of conduct for FIRST STUDENT.

15                                               VI.   DAMAGES

16           24.    As a direct, foreseeable, and proximate result of FIRST STUDENT’s conduct,

17    Plaintiffs and similarly situated Attendants are owed, among other things, compensation plus

18    interest, liquidated damages, wage statement penalties under Labor Code section 226, waiting time

19    penalties under Labor Code section 203, and other statutory penalties, in an amount that exceeds

20    $25,000, the precise amount of which will be proven at trial.

21                                       VII.    CAUSES OF ACTION

22                                      FIRST CAUSE OF ACTION
                                 FAILURE TO PAY SPLIT SHIFT WAGES
23                        (Labor Code §§ 1197, 1194, and 1194.2; Wage Order 9-2001)
24           25.     The allegations of each of the preceding paragraphs are realleged and incorporated
25    herein by reference, and Plaintiffs allege as follows a cause of action on behalf of themselves and
26    the above-described Class of similarly situated Attendants employed by FIRST STUDENT in
27    California.
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 1              26.     During the Class Period, FIRST STUDENT has failed to pay split shift wages to its

 2    Attendants in California. In particular, Plaintiffs and the Class were required to work shifts that

 3    were split by non-paid, non-working periods of time established by FIRST STUDENT that were

 4    not bona fide rest or meal breaks.

 5              27.     California Labor Code section 1197, entitled “Pay of Less Than Minimum Wage”

 6    states:

 7                    The minimum wages for employees fixed by the commission is the minimum
                      wage to be paid to employees, and the payment of a less wage than the
 8
                      minimum so fixed is unlawful.
 9              28.     The applicable split shift minimum wages for Attendants is found in Wage Order 9-
10    2001(4)(C), which states:
11
                      When an employee works a split shift, one (1) hour’s pay at the minimum
12                    wage shall be paid in addition to the minimum wage for that workday,
                      except when the employee resides at the place of employment.
13
                29.     The definition of a split shift is found in Wage Order 9-2001(2)(N), which states:
14
                      “Split shift” means a work schedule, which is interrupted by non-paid non-
15                    working periods established by the employer, other than bona fide rest or
16                    meal period.
                30.     Minimum wage provisions are enforceable by private civil action pursuant to
17
      California Labor Code section 1194(a) which states:
18

19                    Notwithstanding any agreement to work for lesser wage, any employee
                      receiving less than the legal minimum wage or legal overtime
20                    compensation applicable to the employee is entitled to recover in a civil
                      action the unpaid balance of the full amount of this minimum wage or
21                    overtime compensation, including interest thereon, reasonable attorney’s
                      fees and costs of suit.
22
                31.     California Labor Code section 1194.2 states:
23

24                    In any action under Section 1194… to recover wages because of the
                      payment of wage less than the minimum wages fixed by an order of the
25                    commission, an employee shall be entitled to recover liquidated damages in
                      an amount equal to the wages unlawfully unpaid and interest thereon.
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 1           32.    As such, Plaintiffs, individually and on behalf of the Class, may bring this action for

 2    minimum split shift wages, liquidated damages, interest, cost of suit, and attorney’s fees pursuant

 3    to section 1194(a).

 4           33.    WHEREFORE, Plaintiffs and the Class are entitled to recover unpaid split shift

 5    minimum wages, liquidated damages in an amount equal to the wages unlawfully unpaid, interest

 6    thereon, and reasonable attorney’s fees and costs of suit pursuant to California Labor Code section

 7    1194(a).

 8                                    SECOND CAUSE OF ACTION
                                     WAGE STATEMENT PENALTIES
 9                                        (Labor Code § 226)
10
             34.     The allegations of each of the preceding paragraphs are realleged and incorporated
11
      herein by reference, and Plaintiffs allege as follows a cause of action on behalf of themselves and
12
      the above-described Class of similarly situated Attendants employed by FIRST STUDENT in
13
      California.
14
             35.     Labor Code section 226(a) requires employers semi-monthly or at the time of each
15
      payment of wages to furnish each employee with a statement itemizing, among other things, the
16
      wages earned by the employee. Labor Code section 226(b) provides that if an employer knowingly
17
      and intentionally fails to provide a statement itemizing, among other things, the total hours worked
18
      by the employee, then the employee is entitled to recover the greater of all actual damages or fifty
19
      dollars ($50.00) for the initial violation and one hundred dollars ($100.00) for each subsequent
20
      violation, up to a maximum of four thousand dollars ($4,000.00).
21
             36.     FIRST STUDENT knowingly and intentionally failed to furnish Plaintiffs and the
22
      other Class Members with timely, accurate, itemized statements showing the split shift wages
23
      earned by each of them, as required by Labor Code section 226(a).
24
             37.     Plaintiffs and other Class Members were damaged by this failure because, among
25
      other things, they could not determine whether FIRST STUDENT had paid them all wages due.
26
             38.     As a result, FIRST STUDENT is liable to Plaintiffs and the Class Members for the
27
      amounts provided by Labor Code section 226(b).
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 1           39.     Plaintiffs, on behalf of themselves and the proposed Class, request wage statement

 2    penalties pursuant to Labor Code section 226 and relief as described below.

 3                                      THIRD CAUSE OF ACTION
 4                                     WAITING TIME PENALTIES
                                      (Labor Code §§ 201, 202, and 203)
 5
             40.     The allegations of each of the preceding paragraphs are realleged and incorporated
 6
      herein by reference, and Plaintiff MARY DIAZ alleges as follows a cause of action on behalf of
 7
      herself and the above-described Class of similarly situated Attendants employed by FIRST
 8
      STUDENT in California.
 9
             41.    Labor Code section 201 requires an employer who discharges an employee to pay all
10
      compensation due and owing to said employee immediately upon discharge. Labor Code section
11
      202 requires an employer to promptly pay compensation due and owing to said employee within 72
12
      hours of that employee’s termination of employment by resignation. Labor Code section 203
13
      provides that if an employer willfully fails to pay compensation promptly upon discharge or
14
      resignation, as required under sections 201 and 202, then the employer is liable for waiting time
15
      penalties in the form of continued compensation for up to 30 workdays.
16
             42.    FIRST STUDENT willfully failed and refused, and continues to willfully fail and
17
      refuse, to timely pay compensation and wages, including unpaid split shift wages, to Plaintiff
18
      MARY DIAZ and to other Class Members who are no longer employed by FIRST STUDENT, as
19
      required by Labor Code sections 201-202. As a result, FIRST STUDENT is liable to Plaintiff
20
      MARY DIAZ and other Class Members who are no longer employed by FIRST STUDENT for
21
      waiting time penalties, together with interest thereon and attorneys’ fees and costs, under Labor
22
      Code section 203.
23
             43.    Plaintiff MARY DIAZ, on behalf of herself and the proposed Class, requests waiting
24
      time penalties pursuant to Labor Code section 203 and relief as described below.
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 1                                   FOURTH CAUSE OF ACTION
                      UNFAIR COMPETITION AND UNFAIR BUSINESS PRACTICES
 2                            (Business & Professions Code §§ 17200, et seq.)
 3            44.     The allegations of each of the preceding paragraphs are realleged and incorporated
 4     herein by reference, and Plaintiffs allege as follows a cause of action on behalf of themselves and
 5     the above-described Class of similarly situated Attendants employed by FIRST STUDENT in
 6     California.
 7            45.     FIRST STUDENT’s failure to pay compensation that is legally required under Wage
 8     Order No. 9 and the Labor Code, as alleged above, constitutes an unlawful and/or unfair activity
 9     prohibited by Business and Professions Code section 17200. Plaintiffs reserve the right to identify
10     additional unfair and unlawful practices by FIRST STUDENT as further investigation and
11     discovery warrants.
12            46.     Moreover, Business and Professions Code section 17203 provides that the Court may
13     restore to an aggrieved party any money or property acquired by means of unlawful and unfair
14     business practices. Plaintiffs seek a court order requiring an audit and accounting of the payroll
15     records to determine the amount of restitution of all unpaid wages owed to them and Class
16     Members, according to proof, as well as a determination of the amount of funds to be paid to
17     current and former employees that can be identified and located pursuant to a court order and
18     supervision.
19            47.     Plaintiffs and all Class Members are “persons” within the meaning of Business and
20     Professions Code section 17204 who have suffered injury in fact as a result of FIRST STUDENT’s
21     unfair competition, and who comply with the requirements of Federal Rule of Civil Procedure 23,
22     as set forth above, and therefore have standing to bring this claim for injunctive relief, restitution,
23     and other appropriate equitable relief.
24            48.     As a result of its unlawful and/or unfair acts, FIRST STUDENT has reaped and
25     continues to reap unfair benefits and illegal profits at the expense of Plaintiffs and Class Members.
26     FIRST STUDENT should be enjoined from this activity and made to restore to Plaintiffs and
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 1     proposed Class Members their wrongfully withheld wages, interest thereon, and related liquidated

 2     damages, pursuant to Business and Professions Code sections 17202 and 17203.

 3            49.    Private enforcement of these rights is necessary, as no other agency has raised a

 4     claim to protect these workers. There is a financial burden incurred in pursuing this action that

 5     would be unjust to place upon Plaintiffs, as the burden of enforcing workforce-wide rights is

 6     disproportionately greater than that of enforcing only individual claims. Additionally, Plaintiffs

 7     and Attendants are low-income workers who cannot afford to spend part of their wages on

 8     enforcing others’ wage rights. Therefore, it would be against the interests of justice to force

 9     payment of attorneys’ fees from Plaintiffs’ recovery in this action. Accordingly, attorneys’ fees are

10     appropriate and Plaintiffs seek them pursuant to Code of Civil Procedure section 1021.5.

11            50.    Plaintiffs, on behalf of themselves and the Class, request restitution of unpaid wages,

12     split shift wages, liquidated damages, injunctive relief and other relief as described below.

13                                FIFTH CAUSE OF ACTION
                    PENALTIES UNDER THE PRIVATE ATTORNEYS GENERAL ACT
14                                 (Labor Code §§ 2698, et seq.)
15            51.    The allegations of each of the preceding paragraphs are realleged and incorporated
16     herein by reference. Plaintiffs LOPEZ, MITCHELL, and NEICE bring this cause of action on
17     behalf of themselves and other non-exempt hourly Attendants (also called Bus Aides and Bus
18     Monitors) employed by FIRST STUDENT in California (“aggrieved employees”).
19            52.    Pursuant to Labor Code section 2699.3(a), on July 15, 2019, Plaintiffs LOPEZ,
20     MITCHELL, and NEICE gave notice by electronic filing and by certified mail to FIRST
21     STUDENT and the Labor Workforce Development Agency (“LWDA”) of the factual and legal
22     basis for the labor law violations alleged in this complaint. The LWDA has not provided notice
23     pursuant to Labor Code section 2699.3(a)(2)(A), and 65 calendar days have passed since the
24     postmark date of Plaintiffs LOPEZ’s, MITCHELL’s, and NEICE’s LWDA notice. Therefore,
25     Plaintiffs LOPEZ, MITCHELL, and NEICE are entitled to commence a civil action pursuant to
26     Labor Code section 2699.
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 1             53.    Labor Code section 2699(f) provides, in pertinent part: “For all provisions of this

 2     code except those for which a civil penalty is specifically provided, there is established a civil

 3     penalty for a violation of these provisions, as follows: . . . If, at the time of the alleged violation, the

 4     person employs one or more employees, the civil penalty is one hundred dollars ($100) for each

 5     aggrieved employee per pay period for the initial violation and two hundred dollars ($200) for each

 6     aggrieved employee per pay period for each subsequent violation.”

 7             54.     Labor Code section 2699(g)(1) provides, in pertinent part: “[A]n aggrieved

 8     employee may recover the civil penalty described in subdivision (f) in a civil action . . . filed on

 9     behalf of himself or herself and other current or former employees against whom one or more of

10     the alleged violations was committed. Any employee who prevails in any action shall be entitled

11     to an award of reasonable attorney’s fees and costs.”

12             55.     Plaintiffs LOPEZ, MITCHELL, and NEICE are aggrieved employees as defined by

13      Labor Code section 2699(a).

14             56.     Plaintiffs LOPEZ’s, MITCHELL’s, and NEICE’s cause of action under Labor Code

15     section 2698, et seq. is based on the following allegations:

16               a.    Violations of Labor Code section 558 for failing to pay minimum wages.

17                     Specifically, FIRST STUDENT does not pay Plaintiffs LOPEZ, MITCHELL, and

18                     NEICE and other Aggrieved Employees one (1) hour of pay at the minimum wage

19                     for each workday that a split shift is worked as required by Wage Order No. 9 and

20                     Labor Code sections 1182.11-1182.13, 1194, 1194.2, 1197, and 1198.

21               b.    Violations of Labor Code section 1197.1 for failing to pay minimum wages.

22                     Specifically, FIRST STUDENT does not pay Plaintiffs LOPEZ, MITCHELL, and

23                     NEICE and other Aggrieved Employees one (1) hour of pay at the minimum wage

24                     for each workday that a split shift is worked as required by Wage Order No. 9 and

25                     Labor Code sections 1182.11-1182.13, 1194, 1194.2, 1197, and 1198.

26               c.    Violations of Labor Code section 1197.1 for failing to pay liquidated damages as a

27                     result of FIRST STUDENT’s failure to pay Plaintiffs LOPEZ, MITCHELL, and

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 1                 NEICE and other Aggrieved Employees minimum wages. Specifically, FIRST

 2                 STUDENT does not pay Plaintiffs LOPEZ, MITCHELL, and NEICE and other

 3                 Aggrieved Employees one (1) hour of pay at the minimum wage for each workday

 4                 that a split shift is worked as required by Wage Order No. 9 and Labor Code

 5                 sections 1182.11-1182.13, 1194, 1194.2, 1197, and 1198.

 6            d.   Violations of Labor Code section 1197.1 for failing to pay applicable penalties

 7                 imposed under Labor Code section 203 for FIRST STUDENT’s failure to timely

 8                 pay other Aggrieved Employees all wages due at the time of their termination.

 9                 Specifically, FIRST STUDENT does not pay Plaintiffs LOPEZ, MITCHELL, and

10                 NEICE and other Aggrieved Employees one (1) hour of pay at the minimum wage

11                 for each workday that a split shift is worked as required by Wage Order No. 9 and

12                 Labor Code sections 1182.11-1182.13, 1194, 1194.2, 1197, and 1198.

13            e.   Violations of Labor Code sections 1182.11-1182.13, 1194, 1194.2, 1197, and 1198

14                 for FIRST STUDENT’s failure to pay Plaintiffs LOPEZ, MITCHELL, and NEICE

15                 and other Aggrieved Employees minimum wages. Specifically, FIRST STUDENT

16                 does not pay Plaintiffs LOPEZ, MITCHELL, and NEICE and other Aggrieved

17                 Employees one (1) hour of pay at the minimum wage for each workday that a split

18                 shift is worked as required by Wage Order No. 9 and Labor Code sections 1182.11-

19                 1182.13, 1194, 1194.2, 1197 and 1198.

20            f.   Violations of Labor Code sections 201 through 203, requiring the timely payment of

21                 wages. FIRST STUDENT has not paid other Aggrieved Employees who are no

22                 longer employed with FIRST STUDENT all wages owed and due at the time of

23                 termination of their employment.

24            g.   Violations of Labor Code section 226, requiring employers to provide specific

25                 information on employees’ itemized wage statements. FIRST STUDENT does not

26                 list all wages earned for work performed by Plaintiffs LOPEZ, MITCHELL, and

27                 NEICE and other Aggrieved Employees.

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 1                 h.   Violations of Labor Code sections 204 and 210, based on FIRST STUDENT’s

 2                      failure to pay Plaintiffs LOPEZ, MITCHELL, and NEICE and other Aggrieved

 3                      Employees all minimum wages earned, including one (1) hour of pay at the

 4                      minimum wage for each workday that a split shift is worked, on their regular

 5                      payday.

 6            57.       As a direct and proximate result of FIRST STUDENT’s unlawful practices and

 7    policies, Plaintiffs LOPEZ, MITCHELL, and NEICE and other Aggrieved Employees have suffered

 8    and continue to suffer monetary losses.

 9            58.       Plaintiffs LOPEZ, MITCHELL, and NEICE, on behalf of themselves and other

10     Aggrieved Employees, request civil penalties against FIRST STUDENT for violations of the Labor

11     Code, as provided under Labor Code section 2699(f), plus reasonable attorneys’ fees and costs, as

12     provided under Labor Code section 2699(g)(1), in amounts to be proved at trial.

13                                        VIII. PRAYER FOR RELIEF

14            WHEREFORE, Plaintiffs on behalf of themselves and the above-described Class of

15     similarly situated Attendants, request relief as follows:

16            a.        Certification of the above-described Class as a class action, pursuant to Federal Rule

17                      of Civil Procedure 23;

18            b.        Certification of the above-described Class as a representative class under Business

19                      and Professions Code section 17200;

20            c.        Provision of Class Notice to all Attendants who worked for FIRST STUDENT

21                      during the Class Period;

22            d.        A declaratory judgment that FIRST STUDENT has knowingly and intentionally

23                      violated Business and Professions Code sections 17200-17208, by the conduct set

24                      forth above;

25            e.        A declaratory judgment that FIRST STUDENT’s violations as described above

26                      were willful;

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 1            f.     An equitable accounting to identify, locate, and restore to all current and former

 2                   Attendants the wages that are due;

 3            g.     An award to Plaintiffs and the Class Members of damages in the amount of unpaid

 4                   wages including split shift wages, and liquidated damages, including interest

 5                   thereon, subject to proof at trial;

 6            h.     An order requiring FIRST STUDENT to pay restitution of all amounts owed to

 7                   Plaintiffs and similarly situated Attendants for FIRST STUDENT’s failure to pay

 8                   legally required wages, and interest thereon, in an amount according to proof,

 9                   pursuant to Business & Professions Code section 17203;

10            i.     An award to Plaintiffs and the Class Members of statutory penalties because of

11                   FIRST STUDENT’s failure to provide Plaintiffs and the Class Members with

12                   itemized wage statements that comply with the requirements of Labor Code section

13                   226;

14            j.     An award of payments due to them as waiting time penalties as to those Class

15                   Members whom are no longer employed by FIRST STUDENT, pursuant to Labor

16                   Code section 203;

17            k.     An award of civil penalties under Labor Code section 2698, et seq.;

18            l.     An award to Plaintiffs and the Class Members of reasonable attorneys’ fees and

19                   costs, pursuant to Code of Civil Procedure section 1021.5 and Labor Code sections

20                   218.5, 1194, and/or other applicable law; and

21            m.     An award to Plaintiffs and the Class Members of such other and further relief as this

22                   Court deems just and proper.

23     Dated: January 21, 2020                       HUNTER PYLE LAW
24

25                                                   By: ______________________
                                                         /s/ Hunter Pyle
                                                         Hunter Pyle
26
                                                     Attorneys for Plaintiffs and the Putative Class
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 1                                         DEMAND FOR JURY TRIAL

 2             Plaintiffs, individually and on behalf of all other similarly situated Class Members, demand

 3     a jury trial of this matter on all claims so triable.

 4

 5     Dated: January 21, 2020                          HUNTER PYLE LAW
 6

 7                                                      By: ______________________
                                                            /s/ Hunter Pyle
                                                            Hunter Pyle
 8
                                                        Attorneys for Plaintiffs and the Putative Class
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                                            EXHIBIT A

    NOTICE OF PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT

    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

              Lopez, et al. v. First Student, Inc., et al., Central District of California
                                Case No. 5:19-cv-01669-JGB-SHK

        TO: All individuals employed by First Student, Inc. or First Student Management,
        LLC in the position of Attendant, Bus Aid or Bus Monitor in the state of California
        as hourly non-exempt employees at any time from July 11, 2015 to July 24, 2021
        (hereinafter the “Class” or “Class Member(s)”).

  THIS NOTICE CONTAINS IMPORTANT LEGAL INFORMATION THAT MAY AFFECT YOU
                            YOU ARE NOT BEING SUED

   The United States District Court for the Central District of California authorized this notice.
                              This is not a solicitation from a lawyer.

    •   This notice contains important information about your legal rights as part of a class action
        settlement. Please read it fully and carefully.

    •   Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz (“Plaintiffs”) have sued First
        Student, Inc., First Student Management, LLC and FirstGroup America, Inc.
        (“Defendants”). Plaintiffs worked as an Attendant, Bus Aid or Bus Monitor for First
        Student, Inc. or First Student Management, LLC. Their case is pending in the United States
        District Court for the Central District of California (Case No. 5:19-cv-01669-JGB-SHK).
        Plaintiffs and Defendants are referred to herein collectively as the “Parties.”
    •   Plaintiffs’ allegations are brought on their own behalf and on behalf of individuals
        employed by First Student, Inc. or First Student Management, LLC in the position of
        Attendant, Bus Aid or Bus Monitor in the state of California as hourly non-exempt
        employees at any time from July 11, 2015 to July 24, 2021 (the “Class Period”).
    •   Plaintiffs have asserted a variety of claims, described in more detail below, against
        Defendants that pertain to payment of wages and hours of work.
    •   Defendants contend that their policies and practices have complied with the law at all times.
    •   The Court has not decided whether Defendants did anything wrong.

    •   Plaintiffs and Defendants also disagree as to the amounts of money or other types of relief
        that should be awarded to them and/or the Class in the event that Plaintiffs prevail at trial.

    •   The Parties agree that there are significant risks on both sides of the case.




                                QUESTIONS? CALL _____________
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    •   The Parties agree that continued litigation would be expensive and would result in
        significant expenses in terms of attorney fees and costs, without necessarily benefitting the
        Class.

    •   To avoid the risks of litigation and to provide an immediate benefit to the Class, the Parties
        have agreed to settle the case (the “Settlement”).

    •   Under the Settlement, Defendants will pay a total of $1,475,000.00, to be apportioned and
        paid among identified members of the Class, after deductions for Court-approved payment
        of settlement administration costs, penalties pursuant to the California Labor Code Private
        Attorneys General Act of 2004 (“PAGA”), payment of service awards to the Plaintiffs,
        litigation costs, attorneys’ fees, and subject to withholdings for employee taxes, deductions
        and contributions.

                                         YOUR OPTIONS
  Do Nothing                                    You will receive a proportionate share of the
                                                Settlement if final approval is granted and will
                                                give up any right to bring any claims in the future
                                                that are part of the Settlement.

  Opt Out of the Settlement                     If you opt yourself out of the Settlement, you will
                                                not receive a portion of the non-PAGA Settlement
                                                payment. But, you will retain the right to assert
                                                claims that are included in the Settlement. By
                                                doing so, you will bear the risk that you may lose
                                                those claims. To opt out, you must timely write
                                                to the Class Administrator and follow the
                                                procedures described below.

  Object to the Settlement                      If you disagree with any aspect of this Settlement,
                                                you may assert your objections by timely writing
                                                to the Class Administrator and filing with the
                                                Court your objection according to the procedures
                                                described below. If you opt out, you may not
                                                object. If you object, you will still be bound by
                                                the Settlement, if approved by the Court.

    •   These rights and options—and the deadlines to exercise them—are explained in this
        notice.

    •   The Court in charge of this case still has to decide whether to grant final approval of the
        Settlement. Payments will be made only if the Court grants final approval of the Settlement
        and after appeals (if any) are resolved. Please be patient.




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                                   BASIC INFORMATION

  1. Why did I get this notice package and why should I read this Notice?

 The records of Defendants indicate that you have been a member of the Class. If the Court
 approves the Settlement and you do not opt out, you will receive a payment and your legal rights
 may be affected. Thus, you have a right to information about the Settlement and your legal rights.
 That is the intent of this notice.


  2. What is this lawsuit about?


 Plaintiffs have asserted the following claims against Defendants on behalf of the Class: (1) failure
 to pay split shift premiums, including the minimum wage; (2) failure to provide accurate wage
 statements; (3) waiting time penalties; (4) unfair competition, based on the foregoing claims; and
 (5) penalties under the PAGA, based on the foregoing claims. These claims are referred to herein
 as the “Claims.”

 Defendants deny that the Claims are valid, deny that the Court should permit Plaintiffs to bring
 the Claims on behalf of the Class, and contend that they complied with the law at all times.

  3. What is a class action?

 In a class action, one or more people called named plaintiffs sue on behalf of people who they
 allege have similar claims.

  4. Why is there a settlement?

 The Court did not decide in favor of Plaintiffs or Defendants on the Claims being settled. Plaintiffs
 think they could win a significant amount of wages, penalties, and interest on behalf of the Class
 if they were to win at trial. On the other hand, Defendants deny all liability and believe that
 Plaintiffs would not have won anything in the case. Both sides have agreed to the Settlement for
 the Claims. That way, the risks and costs of trial, for both sides, are eliminated, and the Class can
 be provided with an immediate benefit. Plaintiffs, Defendants, and their attorneys all believe that
 this Settlement is best for the Class and the Parties.

 The Court has given its preliminary approval to this settlement as fair and reasonable to the Class
 and has appointed Plaintiffs to act as the Class Representatives, and for their attorneys to act as
 attorneys for the Class with regard to the Settlement (the “Class Counsel”). The Court has
 determined that these are adequate representatives for the Class.




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  5. How do I know if I am part of the settlement?

 Everyone who fits this description is a Class Member:

        All individuals employed by First Student, Inc. or First Student Management, LLC
        in the position of Attendant, Bus Aid or Bus Monitor in the state of California as
        hourly non-exempt employees at any time from July 11, 2015 to July 24, 2021.

  6. Are there exceptions to being included?

 Yes. If you are a Class Member, you may opt out as stated in Section 13 below. If you do not opt
 out, you are a Class Member who will receive part of the Settlement if approved.

  7. I’m still not sure if I am included.




                                            -
 If you are still not sure whether you are included, you can call the Class Administrator at [Number]
 or write to the Class Administrator at [address]. This is the Class Administrator’s mailing address
 for all written communications described herein. You also may contact Class Counsel identified
 below for more information.

  8. How much money is the Settlement for and how is it allocated?

 Defendants have agreed to pay a total of $1,475,000.00 to settle all Claims in this lawsuit. Class
 Members will be paid out of the Net Settlement Fund (the “Fund”), which is the $1,475,000.00
 total settlement amount minus the following payments: (1) fees to the Settlement Administrator
 (estimated at $9,999.00) for the costs of administrating the Settlement; (2) the costs of litigation
 as approved by the Court in an amount not to exceed $60,000.00; (3) PAGA penalties of
 $89,120.00, including a payment to the California Labor and Workforce Development Agency
 (LWDA) for its share of PAGA penalties; (4) a service award to each of the Plaintiffs not to
 exceed $10,000 each for serving as the Class Representatives and assisting in prosecuting the
 case; and (5) attorneys’ fees up to the amount approved by the Court, not to exceed 33.33%
 ($491,617.50) of the total settlement amount.

 Of the Fund, the remaining PAGA penalties ($22,280.00) are to be paid to PAGA Members,
 defined as Class Members employed by Defendants between July 15, 2018 to July 24, 2021 (the
 “PAGA Period”). That amount will be distributed pro rata based on pay periods to each PAGA
 Member. The remaining amount of the Fund will be distributed to Class Members based on their
 number of workweeks during the Class Period.

  9. How much will my payment be and what is the information used to calculate my share?




                           -
 Based on the calculation described above, it is currently estimated that your share of the Net
 Settlement Fund will be ________. Your share of the PAGA penalties is estimated to be an


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 additional ________. This amount could change, depending on how many Class Members opt-
 out, and/or further determinations by the Class Administrator and/or rulings of the Court.

 Of your share of the Net Settlement fund, 60% will be reported as “1099” miscellaneous income
 by the Class Administrator to federal and state tax authorities. 40% will be reported as “W-2”
 income subject to withholdings, deductions and contributions in relation to wage payments. The
 withholding rate for the W-2 income may not be the same as you have used but is a customary
 one used in class action settlements. For Class Members who opt-out of the non-PAGA portion
 of the Settlement will only receive payments based on the PAGA penalties for which IRS 1099
 Forms shall be issued. You are responsible for all employee tax liability in relation to payments
 to you under the Settlement. This Notice is not tax advice. Do not ask Class Counsel, or
 Defendants or its counsel for tax advice, as they will not provide it. They are not responsible for
 the tax advice. You should consult your own tax advisor.

 Defendants’ records show that the following information pertinent to the calculation of your
 estimated settlement share:

 Your number of workweeks as an Attendant, Bus Aid or Bus Monitor during the Class Period is
 ________________.

 Your number of pay periods as an Attendant, Bus Aid or Bus Monitor during the PAGA Period
 is ________________.

 If you disagree with this information, you must notify the Class Administrator by writing to them
 at the address in paragraph 7. You must sign your notification, and include your full name,
 address, telephone number, last four digits of your social security number, the reason(s) that you
 dispute the information, and all supporting documentation. Your notification must be postmarked
 no later than [45 days from mailing]. The Class Administrator will make a final decision.

  10. How can I get a payment?

 You do not need to do anything to receive a Settlement Payment. However, it is important that you
 immediately notify the Class Administrator if your mailing address is different from the address
 to which this Notice was sent.

  11. When will I receive a payment?

 Payments will be distributed pursuant to a schedule established by the Settlement and by the Court.
 Presently, the expected date of payment is estimated to be _____________. This could change
 depending on factors influencing the Class Administrator’s tasks, any objections to the Settlement,
 and/or actions by the Court.




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  12. What am I giving up to get a payment?

 Upon entry of judgment, each member of the Class (except those who properly opt out) on
 behalf of each of them and each of their heirs, executors, administrators, and assigns, do hereby
 and forever release, First Student, Inc., First Student Management, LLC, FirstGroup America,
 Inc., their past, present, and future parents, subsidiaries, divisions, and their respective past,
 present, and future officers, directors, employees, partners, shareholders, owners, agents,
 insurers, legal representatives, attorneys and all of their successors (including persons or entities
 who may acquire them in the future), assigns, representatives, heirs, executors, and
 administrators and all other persons acting by, through, under or in concert with them that could
 be liable (the “Released Parties) from any and all claims, debts, rights, demands, obligations or
 liabilities of every nature and description, for damages, premiums, penalties, liquidated damages,
 punitive damages, interest, attorneys’ fees, litigation costs, restitution, or equitable relief alleged
 in the original and amended Complaints in the Action, or which could have been alleged based
 on the facts alleged in the original and amended Complaints in the Action during the Class
 Period, relating to the alleged failure to pay split shift premiums and derivative claims, including
 without limitation: (i) failure to pay split shift premiums pursuant to Labor Code sections 1197,
 1194 and IWC Wage Order No. 9, (ii) failure to pay minimum wages pursuant to Labor Code
 sections 1197, 1194 and 1194.2 and IWC Wage Order No. 9, (iii) failure to issue complete and
 accurate itemized wage statements pursuant to Labor Code section 226, (iv) waiting time
 penalties pursuant to Labor Code section 201-203, (v) violations of California Labor Code §§
 200, 201, 202, 203, 204, 210, 218.5, 226, 558 and 1194; (vi) violations of California Business &
 Professions Code § 17200 et seq.; (viii) violations of the applicable IWC Wage Orders that apply
 to split shift premiums and derivative claims as described above, including without limitation the
 relevant portions of IWC Wage Orders 9-1998, 9-2000 and 9-2001; (ix) as related to the claims
 referenced above, interest, attorneys’ fees and costs, for the duration of the Class Period.
 “Released Claims” includes any and all claims for benefits based on the above-referenced claims
 under any benefit plan, program or policy sponsored or maintained by Defendants, including, but
 not limited to the Employee Retirement Income Security Act, 29 U.S.C. §1001, et seq., but not
 vested benefits under any pension or 401(k) plan or other ERISA-governed benefit plan.
 “Released Claims” also includes all types of relief available for the above-referenced claims,
 including any claims for damages, restitution, losses, premiums, penalties, fines, liens, attorneys’
 fees, costs, expenses, debts, interest, injunctive relief, declaratory relief, or liquidated damages.,

 PAGA Members further release the Released Parties from any and all claims for penalties under
 PAGA, alleged in the original and amended Complaint or Plaintiffs’ letters to the LWDA, or which
 could have been alleged based on the facts alleged in the original and amended Complaints or
 Plaintiffs’ letters to the LWDA, arising during the PAGA Period, relating to the alleged failure to
 pay split shift premiums and derivative claims, including without limitation: (i) failure to pay split
 shift premiums pursuant to Labor Code sections 1197, 1194 and IWC Wage Order No. 9, (ii)
 failure to pay minimum wages pursuant to Labor Code sections 1197, 1194 and 1194.2 and IWC
 Wage Order No. 9, (iii) failure to issue complete and accurate itemized wage statements pursuant
 to Labor Code section 226, (iv) waiting time penalties pursuant to Labor Code section 201-203,
 (v) violations of California Labor Code §§ 200, 201, 202, 203, 204, 210, 218.5, 226, 558 and 1194;
 (vi) violations of California Business & Professions Code § 17200 et seq.; (viii) violations of the



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 applicable IWC Wage Orders that apply to split shift premiums and derivative claims as described
 above, including without limitation the relevant portions of IWC Wage Orders 9-1998, 9-2000 and
 9-2001; (ix) as related to the claims referenced above, interest, attorneys’ fees and costs, for the
 duration of the Class Period. (“Released PAGA Claims”).

  13. How do I opt out of the settlement?

 To exclude yourself from the Settlement, you must send a signed letter by mail to the Class
 Administrator stating words to the effect: “I wish to be excluded from the Class.” You must also
 include your name, mailing address, telephone number, and the last four digits of your social


 -
 security number. Your exclusion request must be postmarked no later than [45 days from
 mailing] and sent to the Class Administrator at the address in paragraph 7.

 If you exclude yourself, you will not receive any money from the Net Settlement Amount for the
 non-PAGA portion of the Settlement. You cannot object to the Settlement, and you will not be
 legally bound by non-PAGA portion of the Settlement if approved. Class Members do not have
 the right to opt-out from the PAGA portion of the Settlement. If you ask to be excluded for the
 Settlement, and you are a PAGA Member, you will continue to receive your PAGA portion of the
 Settlement and be bound by the Released PAGA Claims.

  14. If I don’t exclude myself, can I sue Defendants for the same thing later?

 No. Unless you exclude yourself, you give up any right to sue Defendants for the claims that this
 Settlement resolves. If you have a pending lawsuit or the same claims that are being settled against
 Defendants, speak to your lawyer in that case immediately. You must exclude yourself from this
 Class to continue your own lawsuit if it involves the same claims.

  15. If I exclude myself, can I get money from this settlement?

 If you exclude yourself, you will not receive any money from the Net Settlement Amount, you
 cannot object to the Settlement, and you will not be legally bound by the Settlement if approved.
 Class Members shall not have the right to opt-out from the PAGA portion of the Settlement. If
 you ask to be excluded for the Settlement, and you are a PAGA Member, you will continue to
 receive your portion of the PAGA Members Payment of the Settlement.

  16. Who is my lawyer if I am included in the Class?

 The Court has appointed as Class Counsel the following attorneys: Hunter Pyle and Katherine
 Fiester of Hunter Pyle Law, 1300 Broadway, 11th Floor, Oakland, CA 94612, (510) 444-4400,
 hunter@hunterpylelaw.com, kfiester@hunterpylelaw.com. You will not be charged for these
 lawyers. If you want to be represented by your own lawyer, you may hire one at your own expense.
 If you have questions about this Settlement, you may contact Class Counsel.




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  17. How do I object to the Settlement going forward?

 You can ask the Court to deny approval by filing an objection. You can’t ask the Court to order a
 different settlement because the Court can only approve or reject the Settlement. If the Court
 denies approval, no settlement payments will be sent out and the lawsuit will continue. If that is
 what you want to happen, you must object.

 To object to the Settlement, a Class Member must postmark a valid Notice of Objection to the
 Settlement Administrator on or before the Response Deadline. Any objection to the proposed
 settlement must be in writing and signed. If you file a timely written objection, you may, but are
 not required to, appear at the Final Approval Hearing, either in person or through your own
 attorney. If you appear through your own attorney, you are responsible for hiring and paying that
 attorney. All written objections and supporting papers should include: (i) the objector’s full
 name, signature, address, and telephone number; (ii) a written statement of all grounds for the
 objection accompanied by any legal support for such objection; (iii) copies of any papers, briefs,
 or other documents upon which the objection is based; and (iv) a statement whether the objector
 intends to appear at the Final Approval Hearing.

 The Parties will file all Notices of Objection with the Court in advance of the Final Approval
 Hearing.

 Any Class Member who does not object in the manner described above shall be deemed to have
 waived any objections, and shall be foreclosed from objecting to the fairness or adequacy of the
 proposed Settlement, the payment of attorneys’ fees and costs, the service payments to the Class
 Representative, the claims process, and any and all other aspects of the Settlement. Likewise, even
 if you file an objection, you will be bound by the terms of the Settlement, including applicable
 releases as set forth above, unless the Settlement is not finally approved by the Court.

  18. What Is the difference between objecting and opting out?

 Objecting is simply saying that you do not like something about the Settlement and do not want it
 approved. Opting out is saying that you do not want to be part of the Class and participate in the
 Settlement. If you opt out, you have no basis to object because the case no longer affects you.

  19. When and where will the Court decide whether to approve the settlement


                                                   -
 The Court will hold a Final Approval Hearing at _____ on ___________________, [insert
 court information]. At this hearing, the Court will make a final decision as to whether the
 Settlement is fair, reasonable, and adequate. If you or other Class Members object to the
 Settlement, the Court will consider the objections. The Judge will listen to people who have
 asked to speak at the hearing. At or after the hearing, the Court will decide whether to grant final
 approval to the Settlement.




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 The Final Approval Hearing may be continued without further notice to Class Members. You are
 advised to check the settlement website at [INSERT LINK TO WEBSITE PROVIDED BY
 ADMINISTRATOR] or the Court’s Public Access to Court Electronic Records (PACER)
 website at https://pacer.uscourts.gov/file-case/court-cmecf-lookup/court/CACDC site to confirm
 that the date has not been changed.

  20. Do I have to come to the hearing?

 No. Class Counsel will answer questions the Judge may have. You are welcome to come at your
 own expense. If you properly submit an objection, you don’t have to come to Court to talk about
 it. As long as you properly submitted your written objection on time, the Court will consider it.
 You may also pay your own lawyer to attend, but it is not necessary.

  21. May I speak at the hearing?

 You may ask the Court for permission to speak at the Fairness Hearing. You cannot appear and
 speak at the hearing if you opt out.

  22. What happens if I do nothing at all?

 If you do nothing, or fail to act timely, you will receive your share of the settlement, but you will
 be barred from bringing the released claims in paragraph 12 against Defendants.

  23. No retaliation from Defendants if you are included in Class or opt out to be excluded from
  Class

 California law makes it unlawful to retaliate against an employee for participating in a lawsuit like
 this one.

 24. Are there more details about the settlement?

 This Notice is intended as a summary and does not fully describe this action, the claims, the
 defenses, or the proposed Settlement, which is subject to the terms and conditions of the
 Settlement Agreement filed with the Court and as preliminarily approved by the Court. For
 further information, you may call or contact the Class Administrator (see paragraph 7 for contact
 information) or Class Counsel (see paragraph 16 for contact information).

 The Class Administrator also maintains a website at which some important documents in this case
 are available. The link to the website is [insert].

 You may also obtain more information by accessing the Court docket in this case through the
 Public Access to Court Electronic Records (PACER) website https://pacer.uscourts.gov/file-
 case/court-cmecf-lookup/court/CACDC or by visiting the office of the Clerk of the United States
 District Court, located on the 1st Floor of the United States District Court, Central District of


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 California, Edward R. Roybal Federal Building & U.S. Courthouse located at 255 East Temple
 Street Los Angeles, CA 90012, between 9:00 a.m. and 4:00 p.m., Monday through Friday,
 excluding Court holidays.

 PLEASE DO NOT CONTACT THE CLERK OF THE COURT, THE JUDGE OR
 DEFENDANTS OR THEIR COUNSEL WITH INQUIRIES.

 Date: _________________________

 This Notice has been approved by the Judge of the United States District Court for the Central
 District of California responsible for overseeing and deciding this case.




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                      1      HUNTER PYLE, SBN 191125
                      2      KATHERINE FIESTER, SBN 301316
                             HUNTER PYLE LAW
                      3      1300 Broadway, Eleventh Floor
                      4      Oakland, California 94612
                             Telephone: (510) 444-4400
                      5      Facsimile: (510) 444-4410
                      6      Email: hunter@hunterpylelaw.com;
                             Email: kfiester@hunterpylelaw.com
                      7
                      8      Attorneys for Plaintiffs and the Putative Class
                      9      DAVID J. DOW, Bar No. 179407
                             ddow@littler.com
                  10         JOCELYN D. HANNAH, Bar No. 224666
                             jhannah@littler.com
                  11         LITTLER MENDELSON, P.C.
                             501 W. Broadway, Suite 900
                  12         San Diego, CA 92101.3577
                             Telephone: 619.232.0441 /Fax: 619.232.4302
                  13
                             Attorneys for Defendants
                  14         FIRST STUDENT, INC.; FIRST STUDENT
                             MANAGEMENT, LLC; and FIRSTGROUP
                  15         AMERICA, INC.
                  16
                  17                                 UNITED STATES DISTRICT COURT
                  18                               CENTRAL DISTRICT OF CALIFORNIA
                  19         NORMA LOPEZ, CINDY                         Case No. 5:19-cv-01669-JGB-SHK
                             MITCHELL, VADA NEICE, and
                  20         MARY DIAZ, on behalf of themselves         JOINT STIPULATION OF CLASS
                             and all others similarly situated,         AND PAGA REPRESENTATIVE
                  21                                                    ACTION SETTLEMENT AND
                                             Plaintiffs,                RELEASE
                  22
                             v.
                  23
                             FIRST STUDENT, INC., FIRST
                  24         STUDENT MANAGEMENT, LLC,
                             FIRSTGROUP AMERICA, INC., and
                  25         DOES 1 through 10, inclusive,
                  26                         Defendants.
                  27
                  28
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  San Diego, CA 92101.3577
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                      2
                             JOINT STIPULATION OF CLASS ACTION SETTLEMENT AND RELEASE
                      3
                                          This Joint Stipulation of Class and PAGA Representative Action
                      4
                             Settlement and Release states the proposed terms of the class action settlement of the
                      5
                             above-entitled action. The terms stated below are agreed to and binding on Plaintiffs
                      6
                             Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz (collectively, “Plaintiffs”)
                      7
                             and Defendants First Student, Inc., First Student Management, LLC and FirstGroup
                      8
                             America, Inc. (“Defendants”). Once approved by the Court, the Settlement shall be
                      9
                             binding under the terms stated herein on Plaintiffs, Defendants, and the Class Members
                  10
                             (as defined below).
                  11
                                                    SUMMARY OF THE SETTLEMENT
                  12
                                          The Parties herein, as stated in more detail in the terms and definitions
                  13
                             below, have agreed to settle on a class basis all claims asserted by Plaintiffs for various
                  14
                             alleged violations of the California Labor Code and the Unfair Competition Law. The
                  15
                             class consists of all individuals employed by First Student, Inc. or First Student
                  16
                             Management, LLC in the State of California as non-exempt Attendants, Bus Aids and
                  17
                             Bus Monitors during the class period defined below. The Parties conducted mediation
                  18
                             of this case on May 12, 2021 with Hon. Steve Denton, during which the Parties agreed
                  19
                             that all claims alleged herein, as defined below, would be settled on a class basis for the
                  20
                             maximum amount of One Million Four Hundred Seventy Five Thousand Dollars
                  21
                             ($1,475,000.00), with no portion of the settlement reverting back to Defendants. Of
                  22
                             that settlement amount, Eighty Nine Thousand One Hundred Twenty Dollars
                  23
                             ($89,120.00) would be designated as PAGA Penalties under the Private Attorneys
                  24
                             General Act, seventy-five percent (75%) of which will be paid to the California Labor
                  25
                             and Workforce Development Agency and twenty-five percent (25%) of which will be
                  26
                             paid to members of the class in accordance with the terms herein below.
                  27
                  28
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                      1                                          DEFINITIONS
                      2            1.     The following definitions are applicable to this Settlement, in addition to
                      3      other terms defined elsewhere in the Settlement:
                      4                   a.      “Action” shall mean the following lawsuit: Lopez, et al. v. First
                      5      Student, Inc., et al., Central District of California Case No. 5:19-cv-01669-JGB-SHK
                      6      including the original and First Amended Complaint.
                      7                   b.      “Attorneys’ Costs” means reasonable attorneys’ costs approved by
                      8      the Court for Class Counsel’s litigation and resolution of the Actions incurred and to be
                      9      incurred by Class Counsel in the Actions up to, but not to exceed, Sixty Thousand
                  10         Dollars ($60,000.00). Attorneys’ Costs shall be paid to Class Counsel. The Attorneys’
                  11         Costs shall be paid from the Gross Settlement Amount.
                  12                      c.      “Attorneys’ Fee Award” means the attorneys’ fees agreed upon by
                  13         the Parties herein and approved by the Court for Class Counsel’s litigation and
                  14         resolution of the Action up to, but not to exceed, thirty three and one third percent
                  15         (33.33%) of the Gross Settlement Amount. Attorneys’ Fees shall be paid to Class
                  16         Counsel from the Gross Settlement Amount.
                  17                      d.      “Class” and “Class Members” for purposes of this Settlement shall
                  18         be defined as: All individuals employed by First Student, Inc. or First Student
                  19         Management, LLC in the position of Attendant, Bus Aid or Bus Monitor in the state of
                  20         California as hourly non-exempt employees at any time during the Class Period. The
                  21         persons identified in this paragraph are “Class Members” and are collectively referred
                  22         to as “the Class.”
                  23                      e.      “Class Counsel” shall mean Hunter Pyle and Katherine Fiester of
                  24         Hunter Pyle Law.
                  25                      f.      “Class Period” shall mean the time period from July 11, 2015
                  26         through July 24, 2021 (“Class Period”).
                  27                      g.      “Class Representative Service Award” shall mean an award up to,
                  28         but not to exceed, Ten Thousand Dollars ($10,000.00) to each of the Plaintiffs in
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                      1      recognition of Plaintiffs’ efforts and work in prosecuting the Action on behalf of Class
                      2      Members, risks undertaken for the payment of costs in the event of loss, and the giving
                      3      of a general release of all claims. The Class Representative Service Awards shall be
                      4      paid from the Gross Settlement Amount.
                      5                   h.     “The Court” shall mean the Central District of California, The
                      6      Honorable Jesus G. Bernal, Case No. 5:19-cv-01669-JGB-SHK, or such other Central
                      7      District Judge as may be assigned to hear this matter.
                      8                   i.      “Defendants” shall mean Defendants First Student, Inc., First
                      9      Student Management, LLC and FirstGroup America, Inc.
                  10                      j.     “Effective Date” shall be thirty one (31) calendar days from the date
                  11         of entry of an Order Granting Final Approval of the Settlement and Entering Judgment
                  12         described below. However, if an appeal is filed within thirty (30) days of entry of an
                  13         Order Granting Final Approval of the Settlement and Entering Judgment, then the
                  14         Effective Date shall be the latest of: (i) the date of final affirmance of the Order Granting
                  15         Final Approval; (ii) the date of final dismissal of any appeal from the Order Granting
                  16         Final Approval of the Settlement and Entering Judgment or the final dismissal of any
                  17         proceeding to review the Order Granting Final Approval that has the effect of
                  18         confirming the Order Granting Final Approval with no avenue for additional appeal or
                  19         review available.
                  20                      k.     “Employer Taxes” means Defendants’ share of employer-sided
                  21         payroll taxes to be paid on that portion of the Class Member’s Individual Settlement
                  22         Payment characterized as wages, i.e. FICA, FUTA, payroll taxes, and/or any similar tax
                  23         or charge. The Employer Taxes will be paid outside of and in addition to the Gross
                  24         Settlement Amount.
                  25                      l.     “Gross Settlement Amount” (or “GSA”) shall mean the maximum
                  26         non-reversionary amount of One Million Four Hundred Seventy Five Thousand Dollars
                  27         ($1,475,000.00) payable by Defendants as provided for by this Agreement.
                  28                      m.     “Individual Settlement Payment” means the amount each Class
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      501 W. Broadway
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                      1      Member shall be entitled to receive pursuant to the Settlement. This payment will
                      2      include compensation pursuant to the terms of this Agreement for all Workweeks during
                      3      the Class Period and the number of Pay Periods worked during the PAGA Period. Class
                      4      Members who opt-out of the non-PAGA portion of the Settlement shall only receive
                      5      payment based on the number of Pay Periods worked during the PAGA Period.
                      6                  n.     “LWDA Payment” means the seventy-five percent (75%) portion of
                      7      the PAGA Penalties to be paid to the California Labor and Workforce Development
                      8      Agency (“LWDA”) pursuant to the PAGA.
                      9                  o.     “Net Settlement Amount” shall mean the Gross Settlement Amount
                  10         less (a) the Class Representative Service Awards, (b) Settlement Administration Costs,
                  11         (c) Attorneys’ Fees Award, (d) Attorneys’ Costs, and the (e) PAGA Penalties.
                  12                     p.     “Notice Packet” shall mean the Notice of Proposed Class Action
                  13         Settlement substantially in the form attached as Exhibit A;
                  14                     q.     “Parties” shall mean collectively, Plaintiffs and Defendants.
                  15                     r.     “Pay Period(s)” means any Pay Period in which a PAGA Member
                  16         worked one day in that Pay Period during the PAGA Period, excepting those dates/times
                  17         taken for vacations and leaves of absences.
                  18                     s.     “Plaintiffs” and “Class Representatives” shall mean Plaintiffs
                  19         Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz.
                  20                     t.     “PAGA” shall mean the Private Attorneys General Act of 2004,
                  21         California Labor Code section 2698, et seq.
                  22                     u.     “PAGA Member(s)” means those Class Members who worked any
                  23         time during the PAGA Period.
                  24                     v.     “PAGA Members Payment” means the twenty-five percent (25%)
                  25         portion of the PAGA Penalties to be paid to PAGA Members pursuant to the PAGA.
                  26                     w.     “PAGA Penalties” means civil penalties under the PAGA agreed
                  27         upon by the Parties and approved by the Court up to, but not to exceed, Eighty Nine
                  28         Thousand One Huundred Twenty Dollars ($89,120.00), seventy-five percent (75%) of
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                      1      which will be paid to the California Labor and Workforce Development Agency
                      2      (“LWDA Payment”), and the remaining twenty-five percent (25%) (“PAGA Members
                      3      Payment”) shall be distributed proportionately to PAGA Members.
                      4                  x.     “PAGA Period” means that period of time from July 15, 2018 to
                      5      July 24, 2021 in which PAGA Members worked.
                      6                  y.     “Participating Class Member(s)” means any Class Member who
                      7      does not return a valid and timely request to be excluded from the non-PAGA portion
                      8      of the Settlement. All Participating Class Members will be mailed their Individual
                      9      Settlement Payment without the need to return a claim form.
                  10                     z.     “Response Deadline” means the deadline by which Class Members
                  11         must postmark and return to the Administrator signed, dated, and timely requests for
                  12         exclusion from the non-PAGA portion of the Settlement, objections to the Settlement
                  13         and/or disputes concerning the number of Workweeks during the Class Period and/or
                  14         number Pay Periods worked during the PAGA Period. The Response Deadline will be
                  15         forty-five (45) calendar days from the initial mailing of the Notice Packets by the
                  16         Settlement Administrator, unless the 45th day falls on a Sunday or Federal holiday, in
                  17         which case the Response Deadline will be extended to the next day on which the U.S.
                  18         Postal Service is open. The Response Deadline will be extended fifteen (15) calendar
                  19         days for any Class Member who is re-mailed a Notice Packet by the Settlement
                  20         Administrator, unless the 15th day falls on a Sunday or Federal holiday, in which case
                  21         the Response Deadline will be extended to the next day on which the U.S. Postal Service
                  22         is open. The Response Deadline may also be extended by express agreement between
                  23         Class Counsel and Defendant.
                  24                     aa.    “Released Claims” means any and all claims, debts, rights,
                  25         demands, obligations or liabilities of every nature and description, for damages,
                  26         premiums, penalties, liquidated damages, punitive damages, interest, attorneys’ fees,
                  27         litigation costs, restitution, or equitable relief alleged in the original and amended
                  28         Complaints in the Action, or which could have been alleged based on the facts alleged
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                      1      in the original and amended Complaints in the Action during the Class Period, relating
                      2      to the alleged failure to pay split shift premiums and derivative claims, including
                      3      without limitation: (i) failure to pay split shift premiums pursuant to Labor Code
                      4      sections 1197, 1194 and IWC Wage Order No. 9, (ii) failure to pay minimum wages
                      5      pursuant to Labor Code sections 1197, 1194 and 1194.2 and IWC Wage Order No. 9,
                      6      (iii) failure to issue complete and accurate itemized wage statements pursuant to Labor
                      7      Code section 226, (iv) waiting time penalties pursuant to Labor Code section 201-203,
                      8      (v) violations of California Labor Code §§ 200, 201, 202, 203, 204, 210, 218.5, 226,
                      9      558 and 1194; (vi) violations of California Business & Professions Code § 17200 et
                  10         seq.; (viii) violations of the applicable IWC Wage Orders that apply to split shift
                  11         premiums and derivative claims as described above, including without limitation the
                  12         relevant portions of IWC Wage Orders 9-1998, 9-2000 and 9-2001; (ix) as related to
                  13         the claims referenced above, interest, attorneys’ fees and costs, for the duration of the
                  14         Class Period. “Released Claims” includes any and all claims for benefits based on the
                  15         above-referenced claims under any benefit plan, program or policy sponsored or
                  16         maintained by Defendants, including, but not limited to the Employee Retirement
                  17         Income Security Act, 29 U.S.C. §1001, et seq., but not vested benefits under any
                  18         pension or 401(k) plan or other ERISA-governed benefit plan. “Released Claims” also
                  19         includes all types of relief available for the above-referenced claims, including any
                  20         claims for damages, restitution, losses, premiums, penalties, fines, liens, attorneys’ fees,
                  21         costs, expenses, debts, interest, injunctive relief, declaratory relief, or liquidated
                  22         damages.
                  23                      bb.    “Released PAGA Claims” means any and all claims for penalties
                  24         under PAGA, alleged in the original and amended Complaint or Plaintiffs’ letters to the
                  25         LWDA, or which could have been alleged based on the facts alleged in the original and
                  26         amended Complaints or Plaintiffs’ letters to the LWDA, arising during the PAGA
                  27         Period, relating to the alleged failure to pay split shift premiums and derivative claims,
                  28         including without limitation: (i) failure to pay split shift premiums pursuant to Labor
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                      1      Code sections 1197, 1194 and IWC Wage Order No. 9, (ii) failure to pay minimum
                      2      wages pursuant to Labor Code sections 1197, 1194 and 1194.2 and IWC Wage Order
                      3      No. 9, (iii) failure to issue complete and accurate itemized wage statements pursuant to
                      4      Labor Code section 226, (iv) waiting time penalties pursuant to Labor Code section
                      5      201-203, (v) violations of California Labor Code §§ 200, 201, 202, 203, 204, 210,
                      6      218.5, 226, 558 and 1194; (vi) violations of California Business & Professions Code §
                      7      17200 et seq.; (viii) violations of the applicable IWC Wage Orders that apply to split
                      8      shift premiums and derivative claims as described above, including without limitation
                      9      the relevant portions of IWC Wage Orders 9-1998, 9-2000 and 9-2001; (ix) as related
                  10         to the claims referenced above, interest, attorneys’ fees and costs, for the duration of
                  11         the Class Period.
                  12                      cc.     “Released Parties” means First Student, Inc., First Student
                  13         Management, LLC, FirstGroup America, Inc., their past, present, and future parents,
                  14         subsidiaries, divisions, and their respective past, present, and future officers, directors,
                  15         employees, partners, shareholders, owners, agents, insurers, legal representatives,
                  16         attorneys and all of their successors (including persons or entities who may acquire
                  17         them in the future), assigns, representatives, heirs, executors, and administrators and all
                  18         other persons acting by, through, under or in concert with them that could be liable.
                  19                      dd.    “Settlement” or “Agreement” or “Settlement Agreement” shall
                  20         mean this Joint Stipulation of Class Action Settlement and Release.
                  21                      ee.    “Settlement Administrator” means Simpluris or any other third-
                  22         party class action settlement administrator agreed to by the Parties and approved by the
                  23         Court for the purposes of administering this Settlement.
                  24                      ff.    “Settlement Administration Costs” means the costs allocated from
                  25         the Gross Settlement Amount to pay for administration of the settlement, as described
                  26         in this Agreement, including required tax calculations and tax reporting to the
                  27         appropriate governmental entities in connection with the Individual Settlement
                  28         Payments (as defined below), issuing of 1099 and W-2 IRS Forms, address updates
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                      1      through the National Change of Address database (prior to the mailing of the Notice
                      2      Packets, distributing Notice Packets, skip-tracing Notice Packets returned as
                      3      undeliverable, calculating and distributing the Individual Settlement Payments, weekly
                      4      status reports, resolving disputed claims with the aid of the Parties’ counsel, and
                      5      providing all reports and declarations deemed necessary by the Parties in an amount not
                      6      to exceed $9,999.00.
                      7                     gg.   “Workweek” means any week in which a Class Member worked one
                      8      day in that week during the Class Period, excepting those dates/times taken for
                      9      vacations and leaves of absences.
                  10                     SUMMARY OF THE LITIGATION AND SETTLEMENT
                  11               2.       On July 11, 2019, Plaintiffs Norma Lopez, Cindy Mitchell and Vada Neice
                  12         filed their class action Complaint on behalf of themselves and a putative class. Plaintiffs
                  13         alleged causes of action against Defendants for: (1) Failure to pay split shift wages;
                  14         (2) Failure to provide complete and accurate wage statements; and (3) Unfair
                  15         competition.
                  16               3.       On August 30, 2019, Defendants removed the Action to federal court
                  17         pursuant to the Class Action Fairness Act of 2005 (“CAFA”).
                  18               4.       On January 21, 2020, Plaintiffs filed a First Amended Complaint adding
                  19         Mary Diaz as a named Plaintiff and adding causes of action for waiting time penalties
                  20         and PAGA penalties.
                  21               5.       The Parties conducted discovery, including the production of putative class
                  22         member information and time and payroll records. The Parties recognize the issues in
                  23         the Action will likely only be resolved with further extensive and costly proceedings;
                  24         recognize that further litigation shall cause inconvenience, distraction, disruption, delay
                  25         and expense disproportionate to the potential benefits of litigation; and recognize the
                  26         risk and uncertainty of the outcome inherent in any litigation. Based on their own
                  27         independent investigation and evaluation, Class Counsel is of the opinion that the
                  28         Settlement with Defendants for the consideration and on the terms of this Settlement is
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                      1      fair, reasonable, and adequate and is in the best interest of the Class in light of all known
                      2      facts and circumstances, including the risk of significant delay and defenses asserted by
                      3      Defendants. While Defendants specifically deny all liability in the Action, they have
                      4      agreed to enter into this Settlement to avoid the cost and business disruption associated
                      5      with further defense of the Action.
                      6            6.       The Parties participated in a mediation of this case on May 12, 2021 with
                      7      Hon. Steven Denton (Ret.). During the course of the mediation, the Parties agreed to
                      8      fully, finally, and forever compromise and settle all claims asserted in the Action for
                      9      the Gross Settlement Amount. To achieve a complete release of Defendants, each Class
                  10         Member will be informed that in exchange for their Individual Settlement Payment,
                  11         each Participating Class Member will release the Released Claims as against the
                  12         Released Parties and each PAGA Member will release the PAGA Released Claims as
                  13         against the Released Parties.
                  14                               TERMS OF THE CLASS SETTLEMENT
                  15               7.       Gross Settlement Amount. Defendants shall pay the Gross Settlement
                  16         Amount to resolve the Action on a class-wide basis. In addition to the Gross Settlement
                  17         Amount, Defendants shall pay the Employer Taxes due on the portion of the Individual
                  18         Settlement Payments allocated to wages. Under no circumstances shall Defendants be
                  19         obligated to pay any more than the Gross Settlement Amount and the Employer Taxes.
                  20               8.       Allocation of the Gross Settlement Amount. From the Gross Settlement
                  21         Amount, and subject to the approval of the Court, the Parties agree to the following
                  22         allocations:
                  23                        a.    Class Representative Service Awards.         Plaintiffs Norma Lopez,
                  24         Cindy Mitchell, Vada Neice and Mary Diaz shall each be paid a Class Representative
                  25         Service Award of up to $10,000 in recognition of Plaintiffs’ effort and work in
                  26         prosecuting the Action on behalf of Class Members, and undertaking the burdens and
                  27         risks for the payment of costs in the event of loss. The Class Representative Service
                  28         Awards shall be paid in addition to Plaintiffs’ Individual Settlement Payments, and
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                      1      Plaintiffs shall give a general release of all claims against Defendants in exchange for
                      2      the Class Representative Service Awards.        Plaintiffs shall be solely and legally
                      3      responsible to pay any and all applicable taxes on their Class Representative Service
                      4      Awards. Any portion of the Class Representative Service Awards not awarded to
                      5      Plaintiffs shall remain with the Net Settlement Amount.
                      6                   b.    Settlement Administration Costs. The Settlement Administrator
                      7      shall be paid “Settlement Administration Costs” in an amount not to exceed $9,999.00;
                      8                   c.    Attorneys’ Fee Award. Class Counsel shall be paid an Attorneys’
                      9      Fee Award of up to $491,617.50, thirty three and one third (33.33) percent of the Gross
                  10         Settlement Amount;
                  11                      d.    Attorneys’ Costs.     Class Counsel shall be paid an award for
                  12         reimbursement of their Attorneys’ Costs in an amount of up to $60,000.00;
                  13                      e.    PAGA Penalties.       PAGA Penalties of $66,840.00 (75% of
                  14         $89,120.00) shall be paid to the LWDA and $22,280.00 (25% of $89,120.00) to Class
                  15         Members who have worked during Pay Periods in the PAGA Period. Class Members
                  16         shall not have the right to opt out of the PAGA portion of this Settlement.
                  17               9.     Allocation of the Net Settlement Amount and PAGA Members Payment.
                  18         The Net Settlement Amount, estimated at $784,263.50, and the PAGA Members
                  19         Payment estimated to be $22,280.00 shall be allocated to Class Members based on the
                  20         formula described below. Any portion of the Class Representative Service Award, the
                  21         Settlement Administration Costs, the Attorneys’ Fees Award, the Attorneys’ Cost,
                  22         and/or the PAGA Penalties not approved by the Court shall be included in the Net
                  23         Settlement Amount. No portion of the Net Settlement Amount shall revert to or be
                  24         retained by Defendants under any circumstance. The Net Settlement Amount and
                  25         PAGA Members Payment shall be distributed to Participating Class Members and
                  26         PAGA Members on a proportionate basis as follows:
                  27                    a. Payment to Participating Class Members.        Each Participating Class
                  28                      Member shall receive a proportionate share of the Net Settlement Amount
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                      1                    that is equal to (i) the number of Workweeks he/she worked during the
                      2                    Class Period divided by (ii) the total number of Workweeks worked by all
                      3                    Participating Class Members during the Class Period.
                      4                  b. PAGA Members Payment.           Each PAGA Member will receive a
                      5                    proportionate share of the PAGA Members Payment that is equal to (i) the
                      6                    number of Pay Periods he/she worked during the PAGA Period divided by
                      7                    (ii) the total number of Pay Periods worked by all PAGA Members during
                      8                    the PAGA Period.
                      9                    c.    Individual Settlement Payments. Participating Class Members shall
                  10         receive an Individual Settlement Payment calculated as set forth in paragraph 9(a)-(b)
                  11         above. Class Members who opt out of the non-PAGA portion of the settlement shall
                  12         receive only an Individual Settlement Payment representing payment for the PAGA
                  13         Members Payment as set forth in paragraph 9(b). In the event that a Class Member
                  14         should dispute the information upon which his or her Individual Settlement Payment is
                  15         calculated, and it is determined by the Administrator from the information and/or
                  16         documentation provided by that Class or PAGA Member that an amount more than that
                  17         initially calculated is payable to any Participating Class Member or PAGA Member
                  18         pursuant to the Settlement, that additional amount will be paid from the Gross
                  19         Settlement Amount. In no event shall Defendants ever be required to pay any amount
                  20         greater than the Gross Settlement Amount plus the Employer Taxes.
                  21               10.     No Credit Toward Benefit Plans.        Unless otherwise required by any
                  22         applicable benefit plan, the Individual Settlement Payments made to Participating Class
                  23         Members and PAGA Members, as well as any other payments made pursuant to this
                  24         Settlement, shall not be construed as compensation for nor utilized to calculate any
                  25         additional benefits under any benefit plans to which any Class Members may otherwise
                  26         be eligible, including, but not limited to profit-sharing plans, bonus plans, 401(k) plans,
                  27         stock purchase plans, vacation plans, sick leave plans, PTO plans, and any other benefit
                  28         plan. Unless otherwise required by any applicable benefit plan, this Settlement shall not
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                      1      affect any rights, contributions, or amounts to which any Class Members may be entitled
                      2      under any benefit plans.
                      3                    PRELIMINARY APPROVAL OF THE SETTLEMENT
                      4            11.    Preliminary Approval: Upon execution of this Settlement, Plaintiffs shall
                      5      file a Motion for Order Granting Preliminary Approval of the Class Action Settlement
                      6      which requests the following: (i) preliminary approval of the Settlement, subject only
                      7      to the objections of Class Members and final review by the Court; (ii) conditional
                      8      certification of a class for purposes of settlement only; (iii) a schedule for final approval
                      9      hearing regarding the proposed Settlement, including payment of Attorneys’ Fees and
                  10         Attorneys’ Costs, and Class Representative Service Awards; (iv) approval as to form
                  11         and content of the proposed Notice Packet; (v) a schedule for the procedures for the
                  12         Response Deadline; and (vi) a schedule for the mailing of the Notice Packet by first
                  13         class mail to the Class Members.          Plaintiffs’ Counsel will provide counsel for
                  14         Defendants with a draft of the motion for preliminary approval including the proposed
                  15         Order Granting Preliminary Approval at least seven (7) calendar days before it is filed
                  16         with the Court for Defendants’ review and input. Defendants shall not oppose the
                  17         Preliminary Approval Motion and may, in their sole option, file a declaration of non-
                  18         opposition. Concurrently with the filing of the Preliminary Approval Motion, counsel
                  19         for Plaintiffs shall submit a copy of this Agreement to the LWDA, and provide proof of
                  20         said submission to the Court and counsel for Defendant.
                  21               12.    CAFA Notice:        Pursuant to the Class Action Fairness Act of 2005
                  22         (“CAFA”), within ten (10) business days after the filing of the Motion for Preliminary
                  23         Approval, Defendants will, provide notice pursuant to 28 U.S.C. § 1715. Defendants
                  24         will file a declaration with the Court confirming compliance with the notice provisions
                  25         of 28 U.S.C. § 1715. The Parties will request the Court to make a finding that the notice
                  26         provisions of 28 U.S.C. § 1715 have been satisfied in the Motion for Final Approval of
                  27         the Settlement.
                  28               13.    Class Action Certification for Settlement Purposes Only. The Parties agree
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                      1      to stipulate to certification of the Class for purposes of the Settlement only. If, for any
                      2      reason, the Settlement is not approved, the stipulation to certification shall be void. The
                      3      Parties further agree that certification for purposes of the Settlement is not an admission
                      4      that class action certification is proper under the standards applied to contested
                      5      certification motions and that this Settlement shall not be admissible in this or any other
                      6      proceeding as evidence that either: (i) a class action should be certified or
                      7      (ii) Defendants are liable to Plaintiffs or any Class Member, other than according to the
                      8      Settlement’s terms.
                      9                              SETTLEMENT ADMINISTRATION
                  10               14.     Settlement Administrator. The Parties each represent that they do not have
                  11         any financial interest in the Settlement Administrator or otherwise have a relationship
                  12         with the Settlement Administrator that could create a conflict of interest.
                  13               15.     Class Data. Within 14 days of the Order Granting Preliminary Approval,
                  14         Defendants shall provide to the Settlement Administrator for each identifiable member
                  15         of the Class the following information: name, address, social security number,
                  16         telephone number, dates of employment, and the number of work weeks worked during
                  17         the Class Period and the number of Pay Periods worked during the PAGA Period based
                  18         on their business and payroll records (“Class Data List”). The Class Data List and
                  19         information shall remain confidential. The Settlement Administrator shall only use this
                  20         information to facilitate notice, administration of the Settlement, and for distribution of
                  21         Individual Settlement Payments to Participating Class Members. The Parties agree to
                  22         cooperate in the administration of the Settlement and to make all reasonable efforts to
                  23         control and minimize the costs and expenses incurred in administration of the
                  24         Settlement.
                  25               16.     Duty to Protect Class Data. The Settlement Administrator shall represent
                  26         and warrant that it shall: (i) provide reasonable and appropriate administrative, physical
                  27         and technical safeguards for the Class Data List that it receives from Defendants; (ii) not
                  28         disclose the Class Data List to Class Counsel, Named Plaintiffs, any party or third
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                      1      parties, including agents or subcontractors, without Defendant’s consent and keep the
                      2      Class Data List confidential; (iii) not disclose or otherwise use the Class Data other than
                      3      to carry out its duties as set forth herein; and (iv) promptly provide Defendants with
                      4      notice if it becomes aware that the Class Data List becomes subject to unauthorized
                      5      access, use, or disclosure.
                      6            17.    Confirmation of Contact Information in the Class Data List. Following
                      7      receipt of the Class Data List from Defendants, and prior to mailing, the Settlement
                      8      Administrator shall perform a search of the National Change of Address Database to
                      9      update and correct stale Class Member addresses. If any Notice Packet is returned to
                  10         the Settlement Administrator as non-deliverable on or before the Response Deadline,
                  11         within three days of its receipt, the Settlement Administrator shall send it promptly via
                  12         regular First-Class U.S. Mail to the forwarding address affixed thereto, and the
                  13         Settlement Administrator shall indicate the date of such re-mailing on the Notice Packet.
                  14         If no forwarding address is provided, the Settlement Administrator shall promptly
                  15         attempt to determine the correct address by using a skip-trace, or other search using the
                  16         name, address and/or social security number of the Class Member involved, and shall,
                  17         within three days of learning the correct address, re-mail the Notice Packet. Should a
                  18         Notice Packet associated with a currently employed Class Member be returned to the
                  19         Administrator, it shall immediately inform Defendants to obtain a more current mailing
                  20         address for that Class Member to re-mail the Notice Packet.
                  21               18.    Notice by First-Class U.S. Mail. Within fourteen (14) business days
                  22         following Defendants’ provision of the Class Data List to the Settlement Administrator
                  23         as set forth in Paragraph 15, supra, the Administrator shall mail the individualized
                  24         Notice Packet by First Class U.S. Mail. Each individualized Notice of Class Action
                  25         Settlement (“Notice” – Exhibit “A”) shall include the Class Member’s dates of
                  26         employment and the number of Workweeks during the Class Period and the number of
                  27         Pay Periods worked during the PAGA Period and the estimated Individual Settlement
                  28         Payment amount. The Notice will also inform the Class of their right to opt-out of the
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                      1      non-PAGA portion of the Settlement and that they each will be mailed their Individual
                      2      Settlement Payment at the address on file with the Administrator. The Notice will also
                      3      inform the Class of the manner and deadline to submit (1) requests for exclusion from
                      4      the non-PAGA portion of the Settlement, (2) objections to the Settlement; and (3)
                      5      disputes concerning the number of Workweeks during the Class Period or the number
                      6      of Pay Periods worked during the PAGA Period. The Notice further informs the Class
                      7      of the claims to be released, including if they do not request to be excluded, and the
                      8      date, time, and place set for the Final Approval Hearing.
                      9            19.    Disputed Workweek and/or Pay Period Information. Class Members may
                  10         contact the Settlement Administrator with questions regarding the number of
                  11         Workweeks they have been assigned during the Class Period or the number of Pay
                  12         Periods.    Class Members may produce evidence to the Settlement Administrator
                  13         showing that such information is inaccurate. There is a rebuttable presumption that
                  14         Defendants’ personnel and payroll records are correct, but Class Members may, should
                  15         they disagree with Defendants’ records, provide documentation to show contrary
                  16         employment dates and/or records of Workweeks or Pay Periods no later than the
                  17         Response Deadline. The dispute must: (i) set forth the name, address, telephone number
                  18         and last four digits of the social security number of the Class Member submitting the
                  19         dispute; (ii) be signed by the Class Member; (iii) be timely returned to the Settlement
                  20         Administrator; (iv) clearly state the reason(s) that the Class Member disputes the
                  21         information provided contained in the Notice Packet; and (v) be postmarked on or
                  22         before the Response Deadline.      All disputes shall be decided by the Settlement
                  23         Administrator within ten (10) business days of the Response Deadline.
                  24               20.    Request for Exclusion Procedures. Any Class Member wishing to opt-out
                  25         from the non-PAGA portions of the Settlement must sign and postmark a written
                  26         Request for Exclusion to the Settlement Administrator, in the manner set forth in the
                  27         Notice, by the Response Deadline. The Request for Exclusion must: (i) set forth the
                  28         name, address, telephone number and last four digits of the Social Security number of
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                      1      the Class Member requesting the exclusion; (ii) be signed by the Class Member; (iii) be
                      2      timely returned to the Settlement Administrator; (iv) clearly state that the Class Member
                      3      does not wish to be included in the non-PAGA portion of the Settlement and does not
                      4      wish to receive any payment or other benefits therefrom; and (v) be postmarked on or
                      5      before the Response Deadline. The postmark date shall be the exclusive means to
                      6      determine whether a Request for Exclusion has been timely submitted. No Request for
                      7      Exclusion may be made on behalf of a group of Class Members. Workweeks by Class
                      8      Members who have submitted a valid and timely Request for Exclusion shall be
                      9      deducted from the aggregate number of Workweeks. Class Members shall not have the
                  10         right to opt-out from the PAGA portion of the Settlement.
                  11               21.    Defective Submissions. If a Class Member’s Request for Exclusion is
                  12         defective as to any of the requirements listed herein, that Class Member shall be given
                  13         an opportunity to cure the defect(s). The Settlement Administrator shall mail the Class
                  14         Member a cure letter within three (3) business days of receiving the defective
                  15         submission to advise the Class Member that his or her submission is defective and that
                  16         the defect must be cured to render the Request for Exclusion valid. The Class Member
                  17         shall have until (i) the Response Deadline or (ii) ten (10) calendar days from the date of
                  18         the cure letter, whichever date is later, to postmark a revised Request for Exclusion. If
                  19         the revised Request for Exclusion is not postmarked within that period, it shall be
                  20         deemed untimely. Class Members shall be limited to one cure letter advising them of
                  21         the defect. A Class Member who submits an invalid or untimely request to be excluded
                  22         will remain a Class Member, will receive their Individual Settlement Payment and be
                  23         bound by the releases and judgment entered as set forth herein. The invalid and
                  24         untimely request for exclusion shall be deemed null and void.
                  25               22.    Objection Procedures. To object to the Settlement, a Class Member must
                  26         postmark a valid Notice of Objection to the Settlement Administrator on or before the
                  27         Response Deadline. The Notice of Objection must be signed by the Class Member and
                  28         contain all information required by this Settlement and as set forth in the Notice of Class
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                      1      Action Settlement, including: (i) the objector’s full name, signature, address, and
                      2      telephone number; (ii) a written statement of all grounds for the objection accompanied
                      3      by any legal support for such objection; (iii) copies of any papers, briefs, or other
                      4      documents upon which the objection is based; and (iv) a statement whether the objector
                      5      intends to appear at the Final Approval Hearing. The postmark date shall be deemed
                      6      the exclusive means for determining that the Notice of Objection is timely. Only Class
                      7      Members who have not opted out of the class portion of the Settlement may object. Any
                      8      Class Member who does not submit a timely written objection to the Settlement, or who
                      9      fails to otherwise comply with the specific and technical requirements of this Paragraph
                  10         as provided in the Notice, shall be foreclosed from objecting to the Settlement and
                  11         seeking any adjudication or review of the Settlement, by appeal or otherwise. Class
                  12         Members who postmark timely Notices of Objection shall have a right to appear at the
                  13         Final Approval Hearing in order to have their objections heard by the Court. At no time
                  14         shall any of the Parties or their counsel seek to solicit or otherwise encourage Class
                  15         Members to submit written objections to the Settlement or appeal from the Final
                  16         Approval and Judgment. Class Counsel shall not represent any Class Members with
                  17         respect to any such objections to this Settlement. The Parties shall file all Notices of
                  18         Objection, valid or invalid, timely or untimely, with the Court in advance of the Final
                  19         Approval/Settlement Fairness Hearing. If the Court overrules the Class Member’s
                  20         objection, or if the Court approves the Settlement despite any objections, the Class
                  21         Member will be deemed to be a Participating Class Member and will be bound by the
                  22         terms of this Agreement, and will be mailed their Individual Settlement Payment.
                  23               23.    Settlement Administrator Reports Regarding Class Member Participation.
                  24         The Settlement Administrator shall provide Defendants’ counsel and Class Counsel a
                  25         biweekly report that certifies the number of Class Members who have submitted valid
                  26         Requests for Exclusion, objections to the Settlement, and whether any Class Member
                  27         has submitted a challenge to any information contained in their Notices. The Settlement
                  28         Administrator shall provide to counsel for both Parties any updated reports regarding
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                      1      the administration of the Settlement as needed or requested. Not later than fourteen
                      2      (14) days after the final Response Deadline, the Settlement Administrator will provide
                      3      the Parties with a complete and accurate list of all Participating Class Members, all Non-
                      4      Participating Class Members, and all Class Members who objected to the Settlement
                      5      Agreement.
                      6            24.    Settlement Administrator Declaration. Not later than twenty-eight (28)
                      7      court days prior to the Final Approval Hearing, the Settlement Administrator will
                      8      provide the Parties with its declaration of due diligence setting forth its compliance with
                      9      its obligations under this Agreement to be filed with the Court, and will supplement its
                  10         declaration as needed or as requested by the Court.
                  11               25.    Settlement Administrator Final Report. By no later than five (5) calendar
                  12         days following the Effective Date, the Settlement Administrator shall provide counsel
                  13         for both Parties with the aggregate number of Workweeks by Participating Class
                  14         Members during the Class Period, and aggregate number of Pay Periods worked by
                  15         PAGA Members during the PAGA Period. Upon completion of administration of the
                  16         Settlement, the Settlement Administrator shall provide a written declaration under oath
                  17         to certify such completion to the Court and counsel for all Parties.
                  18               26.    Defendants’ Right to Rescind.        Defendants shall have, in their sole
                  19         discretion, the right to void and withdraw from the Settlement if, at any time prior to
                  20         Final Approval, five percent (5%) or more of Class Members timely and validly
                  21         Request Exclusion from the non-PAGA portion of the Settlement. Defendants must
                  22         exercise this right of rescission in writing to Class Counsel within thirty (30) calendar
                  23         days after the latest date any Class Member may timely submit his or her Request for
                  24         Exclusion. If Defendants exercise their right of rescission pursuant to this paragraph,
                  25         Defendants shall be responsible for all costs incurred by the Settlement Administrator.
                  26               27.    Plaintiffs’ Right to Rescind. If the total number of Class Members exceeds
                  27         967, Plaintiffs may, at their option, void the agreement and/or attempt to reach some
                  28         other agreement to preserve the settlement. Plaintiffs must exercise this right of
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                      1      rescission in writing to Defendants within fourteen (14) business days after receiving
                      2      notice from Defendants that the total number of Class Members exceeds 967. If
                      3      Plaintiffs exercise their right of rescission pursuant to this paragraph, Plaintiffs shall be
                      4      responsible for all costs incurred by the Settlement Administrator.
                      5                                        FINAL APPROVAL
                      6            28.    Final Settlement Approval Hearing and Entry of Judgment.                  Upon
                      7      expiration of the Response Deadline as ordered by the Court at the time of the
                      8      Preliminary Approval Hearing, a Final Approval Hearing shall be conducted to
                      9      determine the Final Approval of the Settlement along with the amounts properly
                  10         payable for: (i) Individual Settlement Payments; (ii) the Class Representative Service
                  11         Awards;     (iii) Attorneys’   Fee    Award;     (iv) Attorneys’    Costs;   (v) Settlement
                  12         Administration Costs; and (vi) PAGA Penalties. The Final Approval Hearing shall not
                  13         be held earlier than thirty (30) calendar days after the Response Deadline. Class
                  14         Counsel shall be responsible for drafting all documents necessary to obtain final
                  15         approval. The Motion for Order Granting Final Approval and Entering Judgment shall
                  16         include Class Counsel’s application for the Class Counsel’s Attorneys’ Fees and Costs,
                  17         the Class Representative Service Awards, and the Administrator’s expenses. A draft of
                  18         such motion shall be provided to Counsel for Defendant seven business days prior to its
                  19         filing with the Court. Plaintiffs agree not to file their motion and/or application without
                  20         Defendant’s review and input. The Settlement Administrator shall maintain on its
                  21         website a section for this Settlement which includes a copy of the Motion for
                  22         Preliminary Approval, along with any accompanying exhibits, and the operative
                  23         complaint. It shall be updated after Judgment is entered with a copy of the final
                  24         Judgment.
                  25               29.    Attorneys’ Fee Award and Costs. Defendants shall not object to Class
                  26         Counsel’s request of reasonable Attorneys’ Fees of up to $491,617.50 (33.33% of the
                  27         Gross Settlement Amount) and their reasonable Attorneys’ Costs estimated at
                  28         $60,000.00 Class Counsel’s application for Attorneys’ Fees and Costs award shall be
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                      1      included within the Motion for Order Granting Final Approval of Class Action
                      2      Settlement, unless the Court instructs otherwise.
                      3            30.    Judgment and Continued Jurisdiction. Concurrent with the Motion for
                      4      Order Granting Final Approval of the Class Action Settlement, the Parties shall present
                      5      an Order Granting Final Approval and Entering Judgment to the Court, in a form
                      6      mutually agreed to by the Parties, for approval. After entry of the Judgment, the Court
                      7      shall have continuing jurisdiction over the Settlement as required by law, including:
                      8      (i) the interpretation and enforcement of the terms of the Settlement; (ii) settlement
                      9      administration matters; and (iii) such post-Judgment matters as may be appropriate
                  10         under court rules or as set forth in this Settlement.
                  11               31.    Funding of the Settlement. Defendants shall transmit the Gross Settlement
                  12         Amount to the Administrator together with the amount representing the Employer
                  13         Taxes (to be communicated by the Administrator to Defendants at least (5) business
                  14         days before transmittal of the Gross Settlement Amount). The Administrator shall
                  15         deposit the Gross Settlement Amount into a Qualified Settlement Account, from which
                  16         the Settlement Administrator will have the authority to distribute money in accordance
                  17         with the terms of this Settlement Agreement. Defendants shall transmit the Gross
                  18         Settlement Amount and the Employer Taxes, within fifteen (15) days following the
                  19         Effective Date of Settlement.
                  20               32.    No Effective Date. If there is no Effective Date: (i) the Settlement
                  21         Agreement shall have no force and effect and no Party shall be bound by any of its
                  22         terms; (ii) Defendants shall have no obligation to make any payments required under
                  23         this Agreement; (iii) the Parties shall evenly distribute and pay any Administration
                  24         Costs incurred up until the date that the Settlement ceases to exist; and (iv) the
                  25         Settlement Agreement and all negotiations, statements, proceedings, and data relating
                  26         thereto shall be protected as privileged settlement communications and shall be without
                  27         prejudice to the rights of any of the Parties, all of whom shall be restored to their
                  28         respective positions in the Action prior to the date of execution of the Settlement
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                      1      Agreement. In such event, the Parties shall work cooperatively to request a conference
                      2      with the Court in which to attempt to resolve any issues that the Court has raised
                      3      regarding the Agreement so that it can gain the Court’s approval, or alternatively,
                      4      effectuate their intent to resume the Action.
                      5            33.       Distribution and Timing of Payments. Within ten (10) calendar days
                      6      following receipt of the Gross Settlement Amount and the Employer Taxes, the
                      7      Settlement Administrator shall issue payments to: (i) Participating Class Members, (ii)
                      8      PAGA Members, (iii) Plaintiffs, (iv) Class Counsel, and (v) the Labor Workforce and
                      9      Development Agency. However, payments shall not be issued to Class Members whose
                  10         Notice Packets are returned as undeliverable and for whom no forwarding address can
                  11         be located. Individual Settlement Payments for such Class Members shall be held by
                  12         the Settlement Administrator unless claimed by the Class Member, and shall be paid to
                  13         the cy pres beneficiary as set forth below if unclaimed by the end of the one hundred
                  14         eighty (180) calendar day period to cash settlement checks as set forth below. The
                  15         Settlement Administrator shall also issue a payment to itself for the Court-approved
                  16         amount for its services.
                  17               34.       Un-cashed Settlement Checks. Settlement checks shall remain valid for a
                  18         period of one hundred eighty (180) calendar days after mailing, at which time the checks
                  19         shall become null and void. Thirty (30) days following the mailing of the Individual
                  20         Settlement Payment Checks, the Administrator shall mail a postcard to each
                  21         Participating Class Member and PAGA Member whose check is uncashed to remind
                  22         them of the void date. Any funds represented by Individual Settlement Payment checks
                  23         remaining un-cashed for more than 180 calendar days after issuance shall be delivered
                  24         to Legal Aid at Work. Participating Class Members and PAGA Members who fail to
                  25         cash their checks within the 180 day period shall remain bound by the Settlement as set
                  26         forth herein.
                  27               35.       Administration of Taxes by the Settlement Administrator. The Settlement
                  28         Administrator shall be responsible for issuing to Plaintiffs, Participating Class
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                      1      Members, PAGA Members and Class Counsel any W-2, 1099, or other tax forms as
                      2      may be required by law for all amounts paid pursuant to this Settlement. The Settlement
                      3      Administrator shall also be responsible for calculating and processing all payroll taxes
                      4      and penalties for payment to the appropriate government authorities.
                      5                     TAX TREATMENT OF SETTLEMENT AMOUNTS
                      6            36.    Tax Treatment of Individual Settlement Payments. The Parties have
                      7      agreed to allocate the Individual Settlement Payment as follows: for Participating Class
                      8      Members – 40% to wages for which an IRS W-2 Form shall be issued, 60% to interest
                      9      and penalties for which IRS 1099 Forms shall be issued. Normal employee-side payroll
                  10         taxes and withholding shall be deducted from the wage portion of the payment pursuant
                  11         to state and federal law. For Class Members who opt-out of the non-PAGA portion of
                  12         the Settlement, the entirety of the Individual Settlement Payments shall be allocated to
                  13         penalties for which IRS 1099 Forms shall be issued.
                  14               37.    Class Member and Plaintiffs’ Responsibility for Taxes.         Participating
                  15         Class Members and PAGA Members are responsible to pay appropriate taxes due on
                  16         the Individual Settlement Payments they receive, and Plaintiffs are responsible for
                  17         paying the appropriate taxes due on the Class Representative Service Payments. All
                  18         Individual Settlement Payments shall be deemed paid to such Class Members solely in
                  19         the year in which such payments are issued. Counsel does not purport this
                  20         communication to constitute tax or legal advice. If this Settlement, or any of its
                  21         attachments, is interpreted to contain or constitute advice regarding any federal or state
                  22         tax issue, such advice is not intended or written to be used, and cannot be used, by any
                  23         person to avoid penalties under the federal Internal Revenue Code or any state tax code.
                  24         The Notice of Class Action Settlement will advise Class Members that they shall be
                  25         solely responsible for the payment of any taxes and penalties assessed on their
                  26         respective Individual Settlement Payments.
                  27               38.    Class Counsel shall be issued an IRS Form 1099 for any fees and costs
                  28         awarded by the Court.
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                      1                                   RELEASE BY THE CLASS
                      2            39.       Settlement Terms Bind All PAGA Members and Class Members Who Do
                      3      Not Request Exclusion. As of the Effective Date, Plaintiffs and all Participating Class
                      4      Members (on behalf of each of them and each of their heirs, executors, administrators,
                      5      and assigns) irrevocably and unconditionally fully release and forever discharge the
                      6      Released Parties from any and all Released Claims that accrued during the Class Period,
                      7      as set forth herein. As of the Effective Date, Plaintiffs and all PAGA Members (on
                      8      behalf of each of them and each of their heirs, executors, administrators, and assigns)
                      9      irrevocably and unconditionally fully release and forever discharge the Released Parties
                  10         from any and all PAGA Released Claims that accrued during the PAGA Period as set
                  11         forth herein.
                  12               40.       Circular 230 Disclaimer. EACH PARTY TO THIS AGREEMENT (FOR
                  13         PURPOSES OF THIS SECTION, THE “ACKNOWLEDGING PARTY” AND EACH
                  14         PARTY TO THIS AGREEMENT OTHER THAN THE ACKNOWLEDGING
                  15         PARTY, AN “OTHER PARTY”) ACKNOWLEDGES AND AGREES THAT (1) NO
                  16         PROVISION OF THIS AGREEMENT, AND NO WRITTEN COMMUNICATION
                  17         OR DISCLOSURE BETWEEN OR AMONG THE PARTIES OR THEIR
                  18         ATTORNEYS AND OTHER ADVISERS, IS OR WAS INTENDED TO BE, NOR
                  19         WILL ANY SUCH COMMUNICATION OR DISCLOSURE CONSTITUTE OR BE
                  20         CONSTRUED OR BE RELIED UPON AS, TAX ADVICE WITHIN THE MEANING
                  21         OF UNITED STATES TREASURY DEPARTMENT CIRCULAR 230 (31 CFR
                  22         PART 10, AS AMENDED); (2) THE ACKNOWLEDGING PARTY (A) HAS
                  23         RELIED EXCLUSIVELY UPON HIS, HER, OR ITS OWN, INDEPENDENT LEGAL
                  24         AND TAX COUNSEL FOR ADVICE (INCLUDING TAX ADVICE) IN
                  25         CONNECTION WITH THIS AGREEMENT, (B) HAS NOT ENTERED INTO THIS
                  26         AGREEMENT BASED UPON THE RECOMMENDATION OF ANY OTHER
                  27         PARTY OR ANY ATTORNEY OR ADVISOR TO ANY OTHER PARTY, AND
                  28         (C) IS NOT ENTITLED TO RELY UPON ANY COMMUNICATION OR
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                      1      DISCLOSURE BY ANY ATTORNEY OR ADVISER TO ANY OTHER PARTY TO
                      2      AVOID ANY TAX PENALTY THAT MAY BE IMPOSED ON THE
                      3      ACKNOWLEDGING PARTY; AND (3) NO ATTORNEY OR ADVISER TO ANY
                      4      OTHER PARTY HAS IMPOSED ANY LIMITATION THAT PROTECTS THE
                      5      CONFIDENTIALITY OF ANY SUCH ATTORNEY’S OR ADVISER’S TAX
                      6      STRATEGIES (REGARDLESS OF WHETHER SUCH LIMITATION IS LEGALLY
                      7      BINDING) UPON DISCLOSURE BY THE ACKNOWLEDGING PARTY OF THE
                      8      TAX TREATMENT OR TAX STRUCTURE OF ANY TRANSACTION,
                      9      INCLUDING ANY TRANSACTION CONTEMPLATED BY THIS AGREEMENT.
                  10               41.    Release by Plaintiffs and Class Representatives. As of the Effective Date,
                  11         Plaintiffs Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz (on each of their
                  12         behalf and on behalf of each of their heirs, executors, administrators, and assigns), but
                  13         not on behalf of other Class Members, knowingly and voluntarily releases and forever
                  14         discharges the Released Parties from any and all claims, known and unknown, asserted
                  15         and unasserted, that they each had or may have had against Defendants or any of the
                  16         Released Parties. Such claims include, but are not limited to: breaches of contract,
                  17         whether written, oral or implied; violations of any public policy; tort claims, including
                  18         but not limited to intentional infliction of emotional distress and negligent infliction of
                  19         emotional distress, defamation, misrepresentation, and fraud; retaliation claims;
                  20         common law claims; any other claims for damages, costs, fees, or other expenses,
                  21         including attorneys’ fees; and any violations of the following statutes, laws, and
                  22         regulations: Fair Labor Standards Act, 29 U.S.C. §§ 200, et seq., Title VII of the Civil
                  23         Rights Act of 1964, as amended; The Civil Rights Act of 1991; Sections 1981 through
                  24         1988 of Title 42 of the United States Code, as amended; The Americans with
                  25         Disabilities Act of 1990, as amended; The Age Discrimination in Employment Act of
                  26         1967, as amended; the Older Workers Benefit Protection Act; the Employment
                  27         Retirement Income Security Act of 1974, as amended; the Occupational Safety and
                  28         Health Act, as amended; the Sarbanes-Oxley Act of 2002; the Family and Medical
LITTLER MENDELSON, P.C.
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
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                      1      Leave Act of 1993, as amended; the Fair Labor Standards Act; the California Fair
                      2      Employment and Housing Act – Cal. Gov’t Code § 12900 et seq.; the California Family
                      3      Rights Act – Cal. Gov’t Code § 12945.2 et seq.; the California Unruh Civil Rights Act
                      4      – Civ. Code § 51 et seq.; the California Whistleblower Protection Law – Cal. Lab. Code
                      5      § 1102.5; the California Occupational Safety and Health Act, as amended – Cal. Lab.
                      6      Code § 6300 et seq., and any applicable regulations thereunder; the California Business
                      7      and Professions, Civil, Government and Labor Code; the Labor Code Private Attorneys
                      8      General Act of 2004 – Cal. Lab. Code § 2698 et seq.; and any other federal, state, or
                      9      local civil employment law, statute, regulation, or ordinance capable of being released
                  10         by Plaintiffs, excluding any claims that cannot be released as a matter of law. To the
                  11         extent the foregoing release is a release to which California Civil Code section 1542 or
                  12         similar provisions of other applicable law may apply, Plaintiffs expressly waive any and
                  13         all rights and benefits conferred upon them by the provisions of California Civil Code
                  14         section 1542 or similar provisions of applicable law which are as follows:
                  15
                                          A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                  16
                                          WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
                  17
                                          EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
                  18
                                          THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
                  19
                                          HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                  20
                                          WITH THE DEBTOR.
                  21
                  22               Thus, notwithstanding the provisions of California Civil Code section 1542, and
                  23         to implement a full and complete release and discharge, Plaintiffs each expressly
                  24         acknowledge this Settlement is intended to include in its effect, without limitation, all
                  25         known and unknown claims, including any claims they do not know or suspect to exist
                  26         in their favor against the Released Parties at the time of signing this Settlement, and that
                  27         this Settlement contemplates the extinguishment of any such claim or claims. Plaintiffs
                  28         each acknowledges they may later discover facts different from or in addition to those
LITTLER MENDELSON, P.C.
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  San Diego, CA 92101.3577
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                      1      they now know or believe to be true regarding the matters released or described in this
                      2      Settlement, and nonetheless agrees that the releases and agreements contained in this
                      3      Settlement shall remain fully effective in all respects notwithstanding any later
                      4      discovery of any different or additional facts. Plaintiffs each assume any and all risks
                      5      of any mistake in connection with the true facts involved in the matters, disputes, or
                      6      controversies described in this Settlement or with regard to any facts now unknown to
                      7      each of them relating to such matters.
                      8            42.     No Prior Assignments. The Parties and their counsel represent, covenant,
                      9      and warrant that they have not directly or indirectly assigned, transferred, encumbered,
                  10         or purported to assign, transfer, or encumber to any person or entity any portion of any
                  11         liability, claim, demand, action, cause of action or right herein released and discharged.
                  12
                                                            ADDITIONAL TERMS
                  13
                                   43.     Exhibits Incorporated by Reference. The terms of this Settlement include
                  14
                             the terms set forth in any attached Exhibits, which are incorporated by this reference as
                  15
                             though fully set forth herein. Any Exhibits to this Settlement are an integral part of the
                  16
                             Settlement.
                  17
                                   44.     No Publicity. Plaintiffs and Class Counsel agree not to publicize the
                  18
                             settlement, including in communications with the press; however, nothing in this
                  19
                             Agreement shall prevent Plaintiffs and Class Counsel from engaging in direct
                  20
                             communications with Class Members about the settlement, and nothing in this
                  21
                             Agreement shall prevent Class Counsel from identifying the Settlement on their
                  22
                             website, so long as Class Counsel does not mention Defendants by name and instead
                  23
                             refers to them only as a transportation company. Class Counsel agrees to limit any such
                  24
                             language on their website to the following: “Class action for failure to pay split shift
                  25
                             wages due to California bus attendants settles for $1.475 million.” Class Counsel is
                  26
                             further permited to discuss the Settlement, including Defendants’ names, the case
                  27
                             number, etc. in future Court declarations and in such communications as are reasonably
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LITTLER MENDELSON, P.C.
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
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                      1      necessary for purposes of meeting their responsibilities as class representatives and
                      2      Class Counsel.
                      3            45.    Entire Agreement. This Settlement and attached Exhibits constitute the
                      4      entirety of the Parties’ settlement terms. No other prior or contemporaneous written or
                      5      oral agreements may be deemed binding on the Parties. The Parties expressly recognize
                      6      California Civil Code section 1625 and California Code of Civil Procedure section
                      7      1856(a), which provide that a written agreement is to be construed according to its terms
                      8      and may not be varied or contradicted by extrinsic evidence, and the Parties agree that
                      9      no such extrinsic oral or written representations or terms shall modify, vary or contradict
                  10         the terms of this Settlement.
                  11               46.    Amendment or Modification. No amendment, change, or modification to
                  12         this Settlement shall be valid unless in writing and signed, either by the Parties or their
                  13         counsel.
                  14               47.    Authorization to Enter Into Settlement. Counsel for all Parties warrant and
                  15         represent they are expressly authorized by the Parties whom they represent to negotiate
                  16         this Settlement and to take all appropriate action required or permitted to be taken by
                  17         such Parties pursuant to this Settlement to effectuate its terms and to execute any other
                  18         documents required to effectuate the terms of this Settlement. The Parties and their
                  19         counsel shall cooperate with each other and use their best efforts to effect the
                  20         implementation of the Settlement. If the Parties are unable to reach agreement on the
                  21         form or content of any document needed to implement the Settlement, or on any
                  22         supplemental provisions that may become necessary to effectuate the terms of this
                  23         Settlement, the Parties may seek the assistance of the Court to resolve such
                  24         disagreement.
                  25               48.    Binding on Successors and Assigns. This Settlement shall be binding
                  26         upon, and inure to the benefit of, the successors or assigns of the Parties hereto, as
                  27         previously defined.
                  28               49.    California Law Governs. All terms of this Settlement and Exhibits hereto
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                      1      shall be governed by and interpreted according to the laws of the State of California.
                      2            50.    Execution and Counterparts.           This Settlement is subject only to the
                      3      execution of all Parties. However, the Settlement may be executed in one or more
                      4      counterparts and by DocuSign. All executed counterparts and each of them, including
                      5      facsimile and scanned copies of the signature page, shall be deemed to be one and the
                      6      same instrument provided that counsel for the Parties shall exchange among themselves
                      7      original signed counterparts.
                      8            51.    Acknowledgement that the Settlement is Fair and Reasonable. The Parties
                      9      believe this Settlement is a fair, adequate and reasonable settlement of the Action and
                  10         have arrived at this Settlement after arm’s-length negotiations and in the context of
                  11         adversarial litigation, taking into account all relevant factors, present and potential. The
                  12         Parties further acknowledge that they are each represented by competent counsel and
                  13         that they have had an opportunity to consult with their counsel regarding the fairness
                  14         and reasonableness of this Settlement.
                  15               52.    Acknowledgement of Future Legislation. Each Party recognizes that
                  16         legislation, could affect the outcome of the Action. The Parties, nevertheless, enter into
                  17         this settlement to avoid risk of loss and to avoid uncertainty with the interpretation,
                  18         nature, and applicability of future legislation.
                  19               53.    Invalidity of Any Provision.          Before declaring any provision of this
                  20         Settlement invalid, the Court shall first attempt to construe the provision as valid to the
                  21         fullest extent possible consistent with applicable precedents so as to define all
                  22         provisions of this Settlement valid and enforceable.
                  23               54.    Waiver of Certain Appeals. The Parties agree to waive appeals and to
                  24         stipulate to class certification for purposes of this Settlement only; except, however, that
                  25         Plaintiffs or Class Counsel may appeal any reduction to the Attorneys’ Fees or the
                  26         Attorneys’ Costs below the amounts they request from the Court, and either party may
                  27         appeal any court order that materially alters the Settlement terms.
                  28               55.    Non-Admission of Liability. The Parties enter into this Settlement to
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      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
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                      1      resolve the dispute that has arisen between them and to avoid the burden, expense and
                      2      risk of continued litigation. In entering into this Settlement, Defendants and the
                      3      Released Parties do not admit, and specifically deny, that Defendants or any Released
                      4      Parties violated any federal, state, or local law; violated any regulations or guidelines
                      5      promulgated pursuant to any statute or any other applicable laws, regulations or legal
                      6      requirements; breached any contract; violated or breached any duty; engaged in any
                      7      misrepresentation or deception; or engaged in any other unlawful conduct with respect
                      8      to their employees. Neither this Settlement, nor any of its terms or provisions, nor any
                      9      of the negotiations connected with it, shall be construed as an admission or concession
                  10         by Defendants (or any Released Parties) of any such violations or failures to comply
                  11         with any applicable law. Except as necessary in a proceeding to enforce the terms of
                  12         this Settlement, this Settlement and its terms and provisions shall not be offered or
                  13         received as evidence in any action or proceeding to establish any liability or admission
                  14         on the part of Defendants (or any Released Parties) or to establish the existence of any
                  15         condition constituting a violation of, or a non-compliance with, federal, state, local or
                  16         other applicable law.
                  17               56.    Waiver.    No waiver of any condition or covenant contained in this
                  18         Settlement or failure to exercise a right or remedy by any of the Parties hereto shall be
                  19         considered to imply or constitute a further waiver by such Party of the same or any other
                  20         condition, covenant, right or remedy.
                  21               57.    Enforcement Actions. In the event that one or more of the Parties institutes
                  22         any legal action or other proceeding against any other Party or Parties to enforce the
                  23         provisions of this Settlement or to declare rights and/or obligations under this
                  24         Settlement, the successful Party or Parties shall be entitled to recover from the
                  25         unsuccessful Party or Parties reasonable attorneys’ fees and costs, including reasonable
                  26         expert witness fees incurred in connection with any enforcement actions.
                  27               58.    Mutual Preparation. The Parties have had a full opportunity to negotiate
                  28         the terms and conditions of this Settlement. Accordingly, this Settlement shall not be
LITTLER MENDELSON, P.C.
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  San Diego, CA 92101.3577
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                      1      construed more strictly against one party than another merely by virtue of the fact that
                      2      it may have been prepared by counsel for one of the Parties, it being recognized that,
                      3      because of the arms-length negotiations between the Parties, all Parties have contributed
                      4      to the preparation of this Settlement.
                      5             59.   Representation By Counsel. The Parties acknowledge that they have been
                      6      represented by counsel throughout all negotiations that preceded the execution of this
                      7      Settlement, and that this Settlement has been executed with the consent and advice of
                      8      counsel. Further, Plaintiffs and Class Counsel warrant and represent that there are no
                      9      liens on the Settlement. Class Counsel also represents that there are no attorneys who
                  10         have or could have any liens with respect to any aspect of this Settlement, or any funds
                  11         received by the Named Plaintiffs.
                  12                60.   All Terms Subject to Final Court Approval. All amounts and procedures
                  13         described in this Settlement herein shall be subject to final Court approval.
                  14                61.   Cooperation and Execution of Necessary Documents. All Parties shall
                  15         cooperate in good faith and execute all documents to the extent reasonably necessary to
                  16         effectuate the terms of this Settlement.
                  17                62.   Binding Agreement. The Parties warrant that they understand and have
                  18         full authority to enter into this Settlement, and further intend that this Settlement shall
                  19         be fully enforceable and binding on all parties, and agree that it shall be admissible and
                  20         subject to disclosure in any proceeding to enforce its terms, notwithstanding any
                  21         mediation confidentiality provisions that otherwise might apply under federal or state
                  22         law.
                  23                63.   Notices. Unless otherwise specifically provided, all notices, demands or
                  24         other communications given shall be in writing and shall be deemed to have been duly
                  25         given by the third business day after mailing by United States registered or certified
                  26         mail, return receipt requested, addressed as follows:
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LITTLER MENDELSON, P.C.
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
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                          1                   To Plaintiffs and the Class:
                          2
                                              HUNTER PYLE LAW
                          3                   Hunter Pyle
                          4                   Katherine Fiester
                                              1300 Broadway, Eleventh Floor
                          5                   Oakland, California 94612
                          6                   Telephone: (510) 444-4400
                                              Facsimile: (510) 444-4410
                          7                   Emails: hunter@hunterpylelaw.com
                          8                           kfiester@hunterpylelaw.com
                                              To Defendants:
                          9
                      10                      DavidJ. Dow
                      11                      LITTLER MENDELSON, P.C.
                                              501 West Broadway, Suite 900
                      12                      San Diego, CA 92101
                      13
                      14        AGREED.

                      15                                                PLAINTIFF NORMA LOPEZ

                      16
                                Dated:   9/3/2021
                                         ---------
                                                                        ~ :-~
                      17                                                     &mra3topez
                      18
                                                                        PLAINTIFF CINDY MITCHELL
                      19
                      20        Dated:
                                                                        Cindy Mitchell
                      21
                      22                                                PLAINTIFF VADA NEICE
                      23
                      24        Dated: _ _ _ _ _ _ _ __
                                                                        Vada Neice
                      25
                      26                                                PLAINTIFF MARY DIAZ

                      27
                                Dated:
                      28                 ---------                      Mary Diaz
LITTLER MENDELSON , P.C.
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                          1                   To Plaintiffs and the Class:
                          2
                                              HUNTER PYLE LAW
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                          4                   Katherine Fiester
                                              1300 Broadway, Eleventh Floor
                          5                   Oakland, California 94612
                          6                   Telephone: (510) 444-4400
                                              Facsimile: (510) 444-4410
                          7                   Emails: hunter@hunterpylelaw.com
                          8                           kfiester@hunterpylelaw.com
                                              To Defendants:
                          9
                      10                      DavidJ. Dow
                      11                      LITTLER MENDELSON, P.C.
                                              501 West Broadway, Suite 900
                      12                      San Diego, CA 92101
                      13
                      14        AGREED.

                      15                                                PLAINTIFF NORMA LOPEZ

                      16
                                Dated:
                      17                 ---------                      Norma Lopez
                      18
                                                                        PLAINTIFF CINDY MITCHELL
                      19                                                I L DocuSigned by:


                      20        Dated:   9/3/2021

                      21
                                         ---------                      ti~ ~]
                      22                                                PLAINTIFF VADA NEICE
                      23
                      24        Dated: _ _ _ _ _ _ _ __
                                                                        Vada Neice
                      25
                      26                                                PLAINTIFF MARY DIAZ

                      27
                                Dated:
                      28                 ---------                      Mary Diaz
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                          1                   To Plaintiffs and the Class:
                          2
                                              HUNTER PYLE LAW
                          3                   Hunter Pyle
                          4                   Katherine Fiester
                                              1300 Broadway, Eleventh Floor
                          5                   Oakland, California 94612
                          6                   Telephone: (510) 444-4400
                                              Facsimile: (510) 444-4410
                          7                   Emails: hunter@hunterpylelaw.com
                          8                           kfiester@hunterpylelaw.com
                                              To Defendants:
                          9
                      10                      DavidJ. Dow
                      11                      LITTLER MENDELSON, P.C.
                                              501 West Broadway, Suite 900
                      12                      San Diego, CA 92101
                      13
                      14        AGREED.

                      15                                                PLAINTIFF NORMA LOPEZ

                      16
                                Dated:
                      17                 ---------                      Norma Lopez
                      18
                                                                        PLAINTIFF CINDY MITCHELL
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                      20        Dated:
                                                                        Cindy Mitchell
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                                Dated:   9/3/2021
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                      26                                                PLAINTIFF MARY DIAZ

                      27
                                Dated:
                      28                 ---------                      Mary Diaz
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       50 1 W. Broadway
          Suite 900
  San Diego, CA. 92 101 .3577
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                          1                  To Plaintiffs and the Class:
                          2
                                             HUNTER PYLE LAW
                          3                  Hunter Pyle
                          4                  Katherine Fiester
                                             1300 Broadway, Eleventh Floor
                          5                  Oakland, California 94612
                          6                  Telephone: (510) 444-4400
                                             Facsimile: (510) 444-4410
                          7                  Emails: hunter@hunterpylelaw.com
                          8                          kfiester@hunterpylelaw.com
                                             To Defendants:
                          9
                      10                     DavidJ. Dow
                      11                     LITTLER MENDELSON, P.C.
                                             501 West Broadway, Suite 900
                      12                     San Diego, CA 92101
                      13
                      14        AGREED.

                      15                                               PLAINTIFF NORMA LOPEZ

                      16
                                Dated:
                      17                 ---------                     Norma Lopez
                      18
                                                                       PLAINTIFF CINDY MITCHELL
                      19
                      20        Dated:
                                                                       Cindy Mitchell
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                      22                                               PLAINTIFF VADA NEICE
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                      24        Dated: _ _ _ _ _ _ _ __
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                      26                                               PLAINTIFF MARY DIAZ

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                                 1                                DEFENDANTS FIRST STUDENT, INC.,
                                                                  FIRST STUDENT MANAGEMENT, LLC
                                 2
                                                                  : :~                    AMERICA, INC.
                                 3
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                            10       Dated: September 7, 2021
                                                                       Hunter Jt,'le / ~
                            11                                         Katheriny Fies"te~
                                                                       HUNTER PYLE LAW
                            12                                         Attorneys for Plaintiffs
                            13
                            14
                           15        Dated:
                                              - - - - - - --
                           16
                                                                       Dav!fbow
                                                                       LITTLER MENDELSON, P .C.
                                                                       Attorneys for Defendants
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                                            EXHIBIT A

    NOTICE OF PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT

    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

              Lopez, et al. v. First Student, Inc., et al., Central District of California
                                Case No. 5:19-cv-01669-JGB-SHK

        TO: All individuals employed by First Student, Inc. or First Student Management,
        LLC in the position of Attendant, Bus Aid or Bus Monitor in the state of California
        as hourly non-exempt employees at any time from July 11, 2015 to July 24, 2021
        (hereinafter the “Class” or “Class Member(s)”).

  THIS NOTICE CONTAINS IMPORTANT LEGAL INFORMATION THAT MAY AFFECT YOU
                            YOU ARE NOT BEING SUED

   The United States District Court for the Central District of California authorized this notice.
                              This is not a solicitation from a lawyer.

    •   This notice contains important information about your legal rights as part of a class action
        settlement. Please read it fully and carefully.

    •   Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz (“Plaintiffs”) have sued First
        Student, Inc., First Student Management, LLC and FirstGroup America, Inc.
        (“Defendants”). Plaintiffs worked as an Attendant, Bus Aid or Bus Monitor for First
        Student, Inc. or First Student Management, LLC. Their case is pending in the United States
        District Court for the Central District of California (Case No. 5:19-cv-01669-JGB-SHK).
        Plaintiffs and Defendants are referred to herein collectively as the “Parties.”
    •   Plaintiffs’ allegations are brought on their own behalf and on behalf of individuals
        employed by First Student, Inc. or First Student Management, LLC in the position of
        Attendant, Bus Aid or Bus Monitor in the state of California as hourly non-exempt
        employees at any time from July 11, 2015 to July 24, 2021 (the “Class Period”).
    •   Plaintiffs have asserted a variety of claims, described in more detail below, against
        Defendants that pertain to payment of wages and hours of work.
    •   Defendants contend that their policies and practices have complied with the law at all times.
    •   The Court has not decided whether Defendants did anything wrong.

    •   Plaintiffs and Defendants also disagree as to the amounts of money or other types of relief
        that should be awarded to them and/or the Class in the event that Plaintiffs prevail at trial.

    •   The Parties agree that there are significant risks on both sides of the case.




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    •   The Parties agree that continued litigation would be expensive and would result in
        significant expenses in terms of attorney fees and costs, without necessarily benefitting the
        Class.

    •   To avoid the risks of litigation and to provide an immediate benefit to the Class, the Parties
        have agreed to settle the case (the “Settlement”).

    •   Under the Settlement, Defendants will pay a total of $1,475,000.00, to be apportioned and
        paid among identified members of the Class, after deductions for Court-approved payment
        of settlement administration costs, penalties pursuant to the California Labor Code Private
        Attorneys General Act of 2004 (“PAGA”), payment of service awards to the Plaintiffs,
        litigation costs, attorneys’ fees, and subject to withholdings for employee taxes, deductions
        and contributions.

                                         YOUR OPTIONS
  Do Nothing                                    You will receive a proportionate share of the
                                                Settlement if final approval is granted and will
                                                give up any right to bring any claims in the future
                                                that are part of the Settlement.

  Opt Out of the Settlement                     If you opt yourself out of the Settlement, you will
                                                not receive a portion of the non-PAGA Settlement
                                                payment. But, you will retain the right to assert
                                                claims that are included in the Settlement. By
                                                doing so, you will bear the risk that you may lose
                                                those claims. To opt out, you must timely write
                                                to the Class Administrator and follow the
                                                procedures described below.

  Object to the Settlement                      If you disagree with any aspect of this Settlement,
                                                you may assert your objections by timely writing
                                                to the Class Administrator and filing with the
                                                Court your objection according to the procedures
                                                described below. If you opt out, you may not
                                                object. If you object, you will still be bound by
                                                the Settlement, if approved by the Court.

    •   These rights and options—and the deadlines to exercise them—are explained in this
        notice.

    •   The Court in charge of this case still has to decide whether to grant final approval of the
        Settlement. Payments will be made only if the Court grants final approval of the Settlement
        and after appeals (if any) are resolved. Please be patient.




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                                   BASIC INFORMATION

  1. Why did I get this notice package and why should I read this Notice?

 The records of Defendants indicate that you have been a member of the Class. If the Court
 approves the Settlement and you do not opt out, you will receive a payment and your legal rights
 may be affected. Thus, you have a right to information about the Settlement and your legal rights.
 That is the intent of this notice.


  2. What is this lawsuit about?


 Plaintiffs have asserted the following claims against Defendants on behalf of the Class: (1) failure
 to pay split shift premiums, including the minimum wage; (2) failure to provide accurate wage
 statements; (3) waiting time penalties; (4) unfair competition, based on the foregoing claims; and
 (5) penalties under the PAGA, based on the foregoing claims. These claims are referred to herein
 as the “Claims.”

 Defendants deny that the Claims are valid, deny that the Court should permit Plaintiffs to bring
 the Claims on behalf of the Class, and contend that they complied with the law at all times.

  3. What is a class action?

 In a class action, one or more people called named plaintiffs sue on behalf of people who they
 allege have similar claims.

  4. Why is there a settlement?

 The Court did not decide in favor of Plaintiffs or Defendants on the Claims being settled. Plaintiffs
 think they could win a significant amount of wages, penalties, and interest on behalf of the Class
 if they were to win at trial. On the other hand, Defendants deny all liability and believe that
 Plaintiffs would not have won anything in the case. Both sides have agreed to the Settlement for
 the Claims. That way, the risks and costs of trial, for both sides, are eliminated, and the Class can
 be provided with an immediate benefit. Plaintiffs, Defendants, and their attorneys all believe that
 this Settlement is best for the Class and the Parties.

 The Court has given its preliminary approval to this settlement as fair and reasonable to the Class
 and has appointed Plaintiffs to act as the Class Representatives, and for their attorneys to act as
 attorneys for the Class with regard to the Settlement (the “Class Counsel”). The Court has
 determined that these are adequate representatives for the Class.




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  5. How do I know if I am part of the settlement?

 Everyone who fits this description is a Class Member:

        All individuals employed by First Student, Inc. or First Student Management, LLC
        in the position of Attendant, Bus Aid or Bus Monitor in the state of California as
        hourly non-exempt employees at any time from July 11, 2015 to July 24, 2021.

  6. Are there exceptions to being included?

 Yes. If you are a Class Member, you may opt out as stated in Section 13 below. If you do not opt
 out, you are a Class Member who will receive part of the Settlement if approved.

  7. I’m still not sure if I am included.




                                            -
 If you are still not sure whether you are included, you can call the Class Administrator at [Number]
 or write to the Class Administrator at [address]. This is the Class Administrator’s mailing address
 for all written communications described herein. You also may contact Class Counsel identified
 below for more information.

  8. How much money is the Settlement for and how is it allocated?

 Defendants have agreed to pay a total of $1,475,000.00 to settle all Claims in this lawsuit. Class
 Members will be paid out of the Net Settlement Fund (the “Fund”), which is the $1,475,000.00
 total settlement amount minus the following payments: (1) fees to the Settlement Administrator
 (estimated at $9,999.00) for the costs of administrating the Settlement; (2) the costs of litigation
 as approved by the Court in an amount not to exceed $60,000.00; (3) PAGA penalties of
 $89,120.00, including a payment to the California Labor and Workforce Development Agency
 (LWDA) for its share of PAGA penalties; (4) a service award to each of the Plaintiffs not to
 exceed $10,000 each for serving as the Class Representatives and assisting in prosecuting the
 case; and (5) attorneys’ fees up to the amount approved by the Court, not to exceed 33.33%
 ($491,617.50) of the total settlement amount.

 Of the Fund, the remaining PAGA penalties ($22,280.00) are to be paid to PAGA Members,
 defined as Class Members employed by Defendants between July 15, 2018 to July 24, 2021 (the
 “PAGA Period”). That amount will be distributed pro rata based on pay periods to each PAGA
 Member. The remaining amount of the Fund will be distributed to Class Members based on their
 number of workweeks during the Class Period.

  9. How much will my payment be and what is the information used to calculate my share?




                           -
 Based on the calculation described above, it is currently estimated that your share of the Net
 Settlement Fund will be ________. Your share of the PAGA penalties is estimated to be an


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 additional ________. This amount could change, depending on how many Class Members opt-
 out, and/or further determinations by the Class Administrator and/or rulings of the Court.

 Of your share of the Net Settlement fund, 60% will be reported as “1099” miscellaneous income
 by the Class Administrator to federal and state tax authorities. 40% will be reported as “W-2”
 income subject to withholdings, deductions and contributions in relation to wage payments. The
 withholding rate for the W-2 income may not be the same as you have used but is a customary
 one used in class action settlements. For Class Members who opt-out of the non-PAGA portion
 of the Settlement will only receive payments based on the PAGA penalties for which IRS 1099
 Forms shall be issued. You are responsible for all employee tax liability in relation to payments
 to you under the Settlement. This Notice is not tax advice. Do not ask Class Counsel, or
 Defendants or its counsel for tax advice, as they will not provide it. They are not responsible for
 the tax advice. You should consult your own tax advisor.

 Defendants’ records show that the following information pertinent to the calculation of your
 estimated settlement share:

 Your number of workweeks as an Attendant, Bus Aid or Bus Monitor during the Class Period is
 ________________.

 Your number of pay periods as an Attendant, Bus Aid or Bus Monitor during the PAGA Period
 is ________________.

 If you disagree with this information, you must notify the Class Administrator by writing to them
 at the address in paragraph 7. You must sign your notification, and include your full name,
 address, telephone number, last four digits of your social security number, the reason(s) that you
 dispute the information, and all supporting documentation. Your notification must be postmarked
 no later than [45 days from mailing]. The Class Administrator will make a final decision.

  10. How can I get a payment?

 You do not need to do anything to receive a Settlement Payment. However, it is important that you
 immediately notify the Class Administrator if your mailing address is different from the address
 to which this Notice was sent.

  11. When will I receive a payment?

 Payments will be distributed pursuant to a schedule established by the Settlement and by the Court.
 Presently, the expected date of payment is estimated to be _____________. This could change
 depending on factors influencing the Class Administrator’s tasks, any objections to the Settlement,
 and/or actions by the Court.




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  12. What am I giving up to get a payment?

 Upon entry of judgment, each member of the Class (except those who properly opt out) on
 behalf of each of them and each of their heirs, executors, administrators, and assigns, do hereby
 and forever release, First Student, Inc., First Student Management, LLC, FirstGroup America,
 Inc., their past, present, and future parents, subsidiaries, divisions, and their respective past,
 present, and future officers, directors, employees, partners, shareholders, owners, agents,
 insurers, legal representatives, attorneys and all of their successors (including persons or entities
 who may acquire them in the future), assigns, representatives, heirs, executors, and
 administrators and all other persons acting by, through, under or in concert with them that could
 be liable (the “Released Parties) from any and all claims, debts, rights, demands, obligations or
 liabilities of every nature and description, for damages, premiums, penalties, liquidated damages,
 punitive damages, interest, attorneys’ fees, litigation costs, restitution, or equitable relief alleged
 in the original and amended Complaints in the Action, or which could have been alleged based
 on the facts alleged in the original and amended Complaints in the Action during the Class
 Period, relating to the alleged failure to pay split shift premiums and derivative claims, including
 without limitation: (i) failure to pay split shift premiums pursuant to Labor Code sections 1197,
 1194 and IWC Wage Order No. 9, (ii) failure to pay minimum wages pursuant to Labor Code
 sections 1197, 1194 and 1194.2 and IWC Wage Order No. 9, (iii) failure to issue complete and
 accurate itemized wage statements pursuant to Labor Code section 226, (iv) waiting time
 penalties pursuant to Labor Code section 201-203, (v) violations of California Labor Code §§
 200, 201, 202, 203, 204, 210, 218.5, 226, 558 and 1194; (vi) violations of California Business &
 Professions Code § 17200 et seq.; (viii) violations of the applicable IWC Wage Orders that apply
 to split shift premiums and derivative claims as described above, including without limitation the
 relevant portions of IWC Wage Orders 9-1998, 9-2000 and 9-2001; (ix) as related to the claims
 referenced above, interest, attorneys’ fees and costs, for the duration of the Class Period.
 “Released Claims” includes any and all claims for benefits based on the above-referenced claims
 under any benefit plan, program or policy sponsored or maintained by Defendants, including, but
 not limited to the Employee Retirement Income Security Act, 29 U.S.C. §1001, et seq., but not
 vested benefits under any pension or 401(k) plan or other ERISA-governed benefit plan.
 “Released Claims” also includes all types of relief available for the above-referenced claims,
 including any claims for damages, restitution, losses, premiums, penalties, fines, liens, attorneys’
 fees, costs, expenses, debts, interest, injunctive relief, declaratory relief, or liquidated damages.,

 PAGA Members further release the Released Parties from any and all claims for penalties under
 PAGA, alleged in the original and amended Complaint or Plaintiffs’ letters to the LWDA, or which
 could have been alleged based on the facts alleged in the original and amended Complaints or
 Plaintiffs’ letters to the LWDA, arising during the PAGA Period, relating to the alleged failure to
 pay split shift premiums and derivative claims, including without limitation: (i) failure to pay split
 shift premiums pursuant to Labor Code sections 1197, 1194 and IWC Wage Order No. 9, (ii)
 failure to pay minimum wages pursuant to Labor Code sections 1197, 1194 and 1194.2 and IWC
 Wage Order No. 9, (iii) failure to issue complete and accurate itemized wage statements pursuant
 to Labor Code section 226, (iv) waiting time penalties pursuant to Labor Code section 201-203,
 (v) violations of California Labor Code §§ 200, 201, 202, 203, 204, 210, 218.5, 226, 558 and 1194;
 (vi) violations of California Business & Professions Code § 17200 et seq.; (viii) violations of the



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 applicable IWC Wage Orders that apply to split shift premiums and derivative claims as described
 above, including without limitation the relevant portions of IWC Wage Orders 9-1998, 9-2000 and
 9-2001; (ix) as related to the claims referenced above, interest, attorneys’ fees and costs, for the
 duration of the Class Period. (“Released PAGA Claims”).

  13. How do I opt out of the settlement?

 To exclude yourself from the Settlement, you must send a signed letter by mail to the Class
 Administrator stating words to the effect: “I wish to be excluded from the Class.” You must also
 include your name, mailing address, telephone number, and the last four digits of your social


 -
 security number. Your exclusion request must be postmarked no later than [45 days from
 mailing] and sent to the Class Administrator at the address in paragraph 7.

 If you exclude yourself, you will not receive any money from the Net Settlement Amount for the
 non-PAGA portion of the Settlement. You cannot object to the Settlement, and you will not be
 legally bound by non-PAGA portion of the Settlement if approved. Class Members do not have
 the right to opt-out from the PAGA portion of the Settlement. If you ask to be excluded for the
 Settlement, and you are a PAGA Member, you will continue to receive your PAGA portion of the
 Settlement and be bound by the Released PAGA Claims.

  14. If I don’t exclude myself, can I sue Defendants for the same thing later?

 No. Unless you exclude yourself, you give up any right to sue Defendants for the claims that this
 Settlement resolves. If you have a pending lawsuit or the same claims that are being settled against
 Defendants, speak to your lawyer in that case immediately. You must exclude yourself from this
 Class to continue your own lawsuit if it involves the same claims.

  15. If I exclude myself, can I get money from this settlement?

 If you exclude yourself, you will not receive any money from the Net Settlement Amount, you
 cannot object to the Settlement, and you will not be legally bound by the Settlement if approved.
 Class Members shall not have the right to opt-out from the PAGA portion of the Settlement. If
 you ask to be excluded for the Settlement, and you are a PAGA Member, you will continue to
 receive your portion of the PAGA Members Payment of the Settlement.

  16. Who is my lawyer if I am included in the Class?

 The Court has appointed as Class Counsel the following attorneys: Hunter Pyle and Katherine
 Fiester of Hunter Pyle Law, 1300 Broadway, 11th Floor, Oakland, CA 94612, (510) 444-4400,
 hunter@hunterpylelaw.com, kfiester@hunterpylelaw.com. You will not be charged for these
 lawyers. If you want to be represented by your own lawyer, you may hire one at your own expense.
 If you have questions about this Settlement, you may contact Class Counsel.




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  17. How do I object to the Settlement going forward?

 You can ask the Court to deny approval by filing an objection. You can’t ask the Court to order a
 different settlement because the Court can only approve or reject the Settlement. If the Court
 denies approval, no settlement payments will be sent out and the lawsuit will continue. If that is
 what you want to happen, you must object.

 To object to the Settlement, a Class Member must postmark a valid Notice of Objection to the
 Settlement Administrator on or before the Response Deadline. Any objection to the proposed
 settlement must be in writing and signed. If you file a timely written objection, you may, but are
 not required to, appear at the Final Approval Hearing, either in person or through your own
 attorney. If you appear through your own attorney, you are responsible for hiring and paying that
 attorney. All written objections and supporting papers should include: (i) the objector’s full
 name, signature, address, and telephone number; (ii) a written statement of all grounds for the
 objection accompanied by any legal support for such objection; (iii) copies of any papers, briefs,
 or other documents upon which the objection is based; and (iv) a statement whether the objector
 intends to appear at the Final Approval Hearing.

 The Parties will file all Notices of Objection with the Court in advance of the Final Approval
 Hearing.

 Any Class Member who does not object in the manner described above shall be deemed to have
 waived any objections, and shall be foreclosed from objecting to the fairness or adequacy of the
 proposed Settlement, the payment of attorneys’ fees and costs, the service payments to the Class
 Representative, the claims process, and any and all other aspects of the Settlement. Likewise, even
 if you file an objection, you will be bound by the terms of the Settlement, including applicable
 releases as set forth above, unless the Settlement is not finally approved by the Court.

  18. What Is the difference between objecting and opting out?

 Objecting is simply saying that you do not like something about the Settlement and do not want it
 approved. Opting out is saying that you do not want to be part of the Class and participate in the
 Settlement. If you opt out, you have no basis to object because the case no longer affects you.

  19. When and where will the Court decide whether to approve the settlement


                                                   -
 The Court will hold a Final Approval Hearing at _____ on ___________________, [insert
 court information]. At this hearing, the Court will make a final decision as to whether the
 Settlement is fair, reasonable, and adequate. If you or other Class Members object to the
 Settlement, the Court will consider the objections. The Judge will listen to people who have
 asked to speak at the hearing. At or after the hearing, the Court will decide whether to grant final
 approval to the Settlement.




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 The Final Approval Hearing may be continued without further notice to Class Members. You are
 advised to check the settlement website at [INSERT LINK TO WEBSITE PROVIDED BY
 ADMINISTRATOR] or the Court’s Public Access to Court Electronic Records (PACER)
 website at https://pacer.uscourts.gov/file-case/court-cmecf-lookup/court/CACDC site to confirm
 that the date has not been changed.

  20. Do I have to come to the hearing?

 No. Class Counsel will answer questions the Judge may have. You are welcome to come at your
 own expense. If you properly submit an objection, you don’t have to come to Court to talk about
 it. As long as you properly submitted your written objection on time, the Court will consider it.
 You may also pay your own lawyer to attend, but it is not necessary.

  21. May I speak at the hearing?

 You may ask the Court for permission to speak at the Fairness Hearing. You cannot appear and
 speak at the hearing if you opt out.

  22. What happens if I do nothing at all?

 If you do nothing, or fail to act timely, you will receive your share of the settlement, but you will
 be barred from bringing the released claims in paragraph 12 against Defendants.

  23. No retaliation from Defendants if you are included in Class or opt out to be excluded from
  Class

 California law makes it unlawful to retaliate against an employee for participating in a lawsuit like
 this one.

 24. Are there more details about the settlement?

 This Notice is intended as a summary and does not fully describe this action, the claims, the
 defenses, or the proposed Settlement, which is subject to the terms and conditions of the
 Settlement Agreement filed with the Court and as preliminarily approved by the Court. For
 further information, you may call or contact the Class Administrator (see paragraph 7 for contact
 information) or Class Counsel (see paragraph 16 for contact information).

 The Class Administrator also maintains a website at which some important documents in this case
 are available. The link to the website is [insert].

 You may also obtain more information by accessing the Court docket in this case through the
 Public Access to Court Electronic Records (PACER) website https://pacer.uscourts.gov/file-
 case/court-cmecf-lookup/court/CACDC or by visiting the office of the Clerk of the United States
 District Court, located on the 1st Floor of the United States District Court, Central District of


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 California, Edward R. Roybal Federal Building & U.S. Courthouse located at 255 East Temple
 Street Los Angeles, CA 90012, between 9:00 a.m. and 4:00 p.m., Monday through Friday,
 excluding Court holidays.

 PLEASE DO NOT CONTACT THE CLERK OF THE COURT, THE JUDGE OR
 DEFENDANTS OR THEIR COUNSEL WITH INQUIRIES.

 Date: _________________________

 This Notice has been approved by the Judge of the United States District Court for the Central
 District of California responsible for overseeing and deciding this case.




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  1 HUNTER PYLE, SBN 191125

  2 KATHERINE FIESTER, SBN 301316
      HUNTER PYLE LAW
  3 1300 Broadway, Eleventh Floor

  4 Oakland, California 94612
      Telephone: (510) 444-4400
  5 Facsimile: (510) 444-4410

  6 Emails: hunter@hunterpylelaw.com;
                 kfiester@hunterpylelaw.com
  7

  8 Attorneys for Plaintiffs and the Putative Class

  9                          UNITED STATES DISTRICT COURT
 10
                           CENTRAL DISTRICT OF CALIFORNIA
 11

 12 NORMA LOPEZ, CINDY MITCHELL,                  Case No.: 5:19-cv-01669-JGB-SHK
      VADA NEICE, and MARY DIAZ, on
 13 behalf of themselves and all others           Class and Collective Action
 14 similarly situated;
                                                  PLAINTIFFS’ NOTICE OF MOTION
 15                Plaintiffs,                    AND MOTION FOR PRELIMINARY
 16                                               APPROVAL OF SETTLEMENT;
            v.                                    MEMORANDUM OF POINTS AND
 17                                               AUTHORITIES IN SUPPORT
 18 FIRST STUDENT, INC., FIRST                    THEREOF
      STUDENT MANAGEMENT, LLC,
 19 FIRSTGROUP AMERICA, INC., and                 Date:      October 18, 2021
 20 DOES 1 through 10, inclusive,                 Time:      9:00 a.m.
                                                  Ctrm:      1
 21                Defendants.                    Judge:     Hon. Jesus G. Bernal
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            PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF
           SETTLEMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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  1         TO THE ABOVE-CAPTIONED COURT AND TO ALL PARTIES AND
  2 THEIR COUNSEL OF RECORD:

  3         PLEASE TAKE NOTICE that Plaintiffs Norma Lopez, Cindy Mitchell, Vada
  4 Neice, and Mary Diaz (“Plaintiffs”) on behalf of themselves and all similarly situated

  5 individuals, hereby move the Court to grant Plaintiffs’ Motion for Preliminary

  6 Approval of Settlement (“Motion”). Defendants First Student, Inc., First Student

  7 Management, LLC, and Firstgroup America, Inc. (“Defendants”) do not oppose this

  8 Motion. Hearing on this Motion will be held on Monday, October 18, 2021 at 9:00

  9 a.m., in the Courtroom of the Honorable Jesus G. Bernal, located at the United States

 10 District Court for the Central District of California, U.S. Courthouse, 3470 Twelfth

 11 Street, Courtroom No. 1, Riverside, CA 92501.

 12         Plaintiffs move the Court for an Order that:
 13         1) Grants class certification of the following proposed settlement class under
 14            Federal Rule of Civil Procedure 23(b)(3): All individuals employed by First
               Student, Inc. or First Student Management, LLC in the position of
 15            Attendant, Bus Aid or Bus Monitor in the state of California as hourly non-
 16            exempt employees at any time from July 11, 2015, to July 24, 2021;

 17         2) Preliminarily approves the proposed settlement as fair, reasonable and
               adequate;
 18

 19         3) Directs the Class Notice set forth as Exhibit A to the Settlement to be
               disseminated to Class Members;
 20
            4) Appoints Hunter Pyle Law as Class Counsel;
 21

 22         5) Appoints Simpluris, Inc. to serve as the Settlement Administrator; and

 23         6) Sets deadlines for the Class Notice to be sent, objection and opt-out
               deadlines, and a hearing date and schedule for final approval of the
 24
               Settlement and consideration of Plaintiffs’ counsel’s Motion for Attorneys’
 25            Fees, Costs, and Class Representative Service Award.
 26         Plaintiffs bring this Motion pursuant to Federal Rule of Civil Procedure 23(e).
 27 The Motion is based on this Notice of Motion and Motion; the Memorandum of

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  1 Points and Authorities set forth below; the Declarations of Hunter Pyle (“Pyle Decl.”),

  2 Norma Lopez (“Lopez Decl.”), Cindy Mitchell (“Mitchell Decl.”), Vada Neice

  3 (“Neice Decl.”), and Mary Diaz (“Diaz Decl.”) and supporting exhibits; the pleadings,

  4 records, and papers on file in this action; and all other evidence properly before the

  5 Court.

  6

  7 DATED: September 17, 2021               HUNTER PYLE LAW

  8

  9                                         By: ___________________________
                                                 /s/ Hunter Pyle
                                                Hunter Pyle
 10                                             Katherine Fiester
 11
                                            Attorneys for Plaintiffs and the Putative Class
 12

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   1                   MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.        INTRODUCTION
   3           Plaintiffs Norma Lopez, Cindy Mitchell, Vada Neice, and Mary Diaz
   4 (“Plaintiffs”), on behalf of themselves and all others similarly situated, seek

   5 preliminary approval of a proposed $1,475,000 non-reversionary, class and

   6 representative action settlement1 of this wage and hour case against Defendants First

   7 Student, Inc., First Student Management, LLC, and Firstgroup America, Inc.2

   8 (“Defendants”) The Parties achieved the settlement after significant discovery and

   9 extensive arm’s-length negotiations. The settlement will provide substantial monetary

  10 payments to approximately 879 Attendants.3 As set forth below, it also satisfies all

  11 the criteria for class certification and settlement approval under Federal Rule of Civil

  12 Procedure 23.

  13 II.       SUMMARY OF LITIGATION
  14           Plaintiffs Norma Lopez, Cindy Mitchell and Vada Neice commenced this
  15 proposed class action against Defendants in San Bernardino County Superior Court on

  16 July 11, 2019. Plaintiffs alleged causes of action for: (1) failure to pay split shift

  17 wages; (2) failure to provide complete and accurate wage statements; and (3) unfair

  18 competition claims pursuant to California’s Unfair Competition Law (“UCL”), Cal.

  19 Bus. & Prof. Code § 17200 et seq. Pyle Decl. ¶ 17.

  20           Plaintiffs subsequently gave notice to the California Labor and Workforce
  21 Development Agency (“LWDA”) in order to administratively exhaust claims for civil

  22 penalties under California’s Private Attorneys General Act (“PAGA”) on July 15,

  23

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       1
           The Settlement Agreement is attached as Exhibit 1 to the Pyle Decl. See Pyle Decl.
  26 Ex. 1 (“Settlement”). The Class Notice is attached as Exhibit A to the Settlement. See
       Ex. A to Settlement. Unless otherwise defined herein, all capitalized terms herein have
  27 the same meanings as those in the Settlement Agreement.
       2
       3
        Defendants and Plaintiffs are collectively referred to herein as the “Parties.”
  28    Attendants are sometimes referred to as Bus Aids or Bus Monitors. These terms are
       all synonymous.
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   1 2019. Plaintiffs submitted an amended PAGA notice on December 6, 2019. Pyle Decl.

   2 ¶ 18.

   3          On August 30, 2019, Defendants removed the action to federal court pursuant
   4 to the Class Action Fairness Act of 2005 (“CAFA”).

   5          On January 21, 2020, Plaintiffs filed the operative First Amended Complaint
   6 (“FAC”) adding Mary Diaz as a named plaintiff and causes of action for waiting time

   7 penalties and PAGA civil penalties on behalf of the State of California and all

   8 aggrieved employees. Pyle Decl. ¶ 21. Defendants then filed an answer denying

   9 liability and raising various affirmative defenses. See Dkt. 23 [Defendants’ Answer].

  10          The Parties conducted discovery, which included the production of timesheets
  11 and wage statements for 827 of the 879 (or 94 percent) of the estimated Class

  12 Members. Pyle Decl. ¶ 22. Plaintiffs retained a damages expert to conduct a thorough

  13 and detailed damages analysis for the Class.

  14          The Parties agreed to mediate with the Hon. Steven Denton (Ret.) on May 12,
  15 2021. Id. ¶ 23. After thorough arm’s-length negotiations with Judge Denton’s

  16 assistance, the Parties were able to agree to a complete resolution of the Action. Id. ¶

  17 24. The Parties then negotiated and executed a memorandum of understanding

  18 (“MOU”) and, subsequently, a Joint Stipulation of Class and PAGA Representative

  19 Action Settlement and Release (“Settlement”). Id.

  20 III.     SUMMARY OF SETTLEMENT TERMS
  21      A. Class Definition
  22          The Class is defined as: All individuals employed by First Student, Inc. or First
  23 Student Management, LLC in the position of Attendant, Bus Aid or Bus Monitor in

  24 the state of California as hourly non-exempt employees at any time from July 11,

  25 2015 to July 24, 2021 (the “Class”). Settlement ¶ 1(d).

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   1        B. Class Relief
   2            1. Gross Settlement Amount
   3            Defendants have agreed to pay $1,475,000 (the “Gross Settlement Amount”) to
   4 resolve the claims of Plaintiffs and Participating Class Members. The Gross

   5 Settlement Amount will be used to pay the following: (1) compensation to all

   6 Participating Class Members in settlement of their claims; (2) civil penalties paid to

   7 the State of California and PAGA Members in settlement of the PAGA claims (the

   8 “PAGA Payment”) in the amount of $89,120; (3) court approved attorneys’ fees (not

   9 to exceed 30% of the Gross Settlement Amount) and costs estimated to be no more

  10 than $45,000; (4) Settlement Administration Costs necessary to administer the

  11 Settlement, including payment for the services of the Settlement Administrator not to

  12 exceed $9,999; and (5) a service payment to each Plaintiff not to exceed $10,000,

  13 subject to Court approval.4 See Settlement ¶¶ 7-8.

  14            2. Distribution of Settlement Funds to Class Members
  15            There will be a direct monetary distribution to the approximately 879 Class
  16 Members. Class Members will not need to file a claim or do anything affirmative to

  17 receive payment. Rather, they will simply receive a check for the amount due to them

  18 under the Settlement. Pyle Decl. ¶ 30.

  19            Each Participating Class Member will receive a proportionate share of the Net
  20 Settlement Amount that is equal to the number of Workweeks they worked during the

  21 time period from July 11, 2015, to July 24, 2021 (the “Class Period”) divided by the

  22 total number of Workweeks worked by all Participating Class Members during the

  23 Class Period. See Settlement ¶ 9(a). The average recovery per Class Member is

  24 anticipated to be at least $965.17. Pyle Decl. ¶ 30.

  25 //

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       4
           Defendants will separately pay their portion of taxes, contributions, fees and any
  28 other amounts owed to government agencies and/or tax authorities in relation to any
       payments pursuant to the Agreement. See Settlement ¶¶ 1(k), 7.
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   1         Each PAGA Member will also receive a proportionate share of the PAGA
   2 Members Payment that is equal to the number of Pay Periods they worked during the

   3 time period from July 15, 2018, to July 24, 2021 (the “PAGA Period”) divided by the

   4 total number of Pay Periods worked by all PAGA Members during the PAGA Period.

   5 See Settlement ¶ 9(b).

   6         3. Any Uncashed Checks Will Be Distributed to a Cy Pres Beneficiary
   7         All settlement funds will be paid out, and none will revert to Defendants. See
   8 Settlement ¶ 9. After all payments have been issued to the Participating Class

   9 Members, any amount remaining from uncashed checks will be paid to Legal Aid at

  10 Work (“LAAW”).5

  11         4. Opportunity to Object or Opt Out
  12         Class Members may object to or opt out of the Settlement. The Class Notice
  13 shall provide instructions and requirements for Class Members to object to the

  14 Settlement or to opt out of the Settlement. Settlement ¶ 60; Ex. A to Settlement.

  15         5. Released Claims
  16         If the Court grants final approval of the Settlement, the Participating Class
  17 Members will release Defendants from all claims as described in paragraph 39 of the

  18 Settlement. See Settlement ¶¶ 1(aa)-(cc), 39. There is no difference between the

  19 release and the claims in the FAC. Pyle Decl. ¶ 32. Plaintiffs will also provide a

  20 general release, including a release of all known and unknown claims under California

  21 Civil Code § 1542. See Settlement ¶ 41.

  22         6. Settlement Administration and Dissemination of the Notice to the Class
  23         The Settlement allocates up to $9,999 to settlement administration costs. Id. ¶
  24 1(b). The Parties have agreed to use Simpluris, Inc. (“Simpluris”) as the Settlement

  25

  26  LAAW is a California-based nonprofit organization that provides legal aid to low-
       5

     income, working families throughout the state, including in the area of wage and hour
  27 law. Id. LAAW’s mission of enforcing worker protections through litigation and
     policy advocacy furthers the interests of California employees like the Attendants, Bus
  28 Aids or Bus Monitors here in preventing and remedying wage theft and other labor
     issues. Pyle Decl. ¶ 31.
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   1 Administrator. Id. ¶ 1(ee); Pyle Decl. ¶¶ 34-35. Simpluris has successfully

   2 administered a large number of wage and hour class action settlements in an efficient

   3 and effective manner. Pyle Decl. ¶¶ 34-36. Simpluris has provided a bid of $9,999 for

   4 the proposed work. Id. ¶ 34. Plaintiffs’ counsel considered three bids before choosing

   5 Simpluris, which had the lowest bid. Id. ¶¶ 34-35

   6        Simpluris will distribute the Class Notice, maintain a website, and maintain a
   7 telephone number to which Class Members can direct questions about the Settlement,

   8 and will administer and distribute all Settlement-related payments. See Settlement ¶¶

   9 28, 33; Ex. A to Settlement. Simpluris will provide a declaration attesting to the notice

  10 process prior to the Final Approval Hearing which Plaintiffs’ counsel will file with the

  11 Court. Id. ¶¶ 23-25.

  12        Defendants will provide Simpluris with the class data within 14 days of the
  13 Order Granting Preliminary Approval. Id. ¶ 15. The Notice will be sent by first-class

  14 mail to all Class Members within 14 business days after Defendants provide Simpluris

  15 with the class data. Id. ¶ 18. Simpluris will update mailing addresses through the

  16 National Change of Address database before mailing. All returned mail will be skip-

  17 traced and promptly re-mailed. Id. ¶ 17.

  18        7. Payment of Attorneys’ Fees, Costs, and Expenses
  19        As discussed in below in section IV(E), should the Court grant preliminary
  20 approval, Plaintiffs will file a motion for an award of attorneys’ fees of up to $442,500

  21 (30% of the Gross Settlement Amount), and for reimbursement of reasonable costs,

  22 estimated to be no more than $45,000, to be paid out of the Gross Settlement Amount.

  23 Pyle Decl. ¶¶ 65, 68; Settlement, ¶¶ 1(c), 8(c)-(d), 29.

  24        8. The Court Retains Jurisdiction
  25        Under the terms of the Settlement Agreement, after entry of Judgment, the
  26 Court shall have continuing jurisdiction over the Settlement. Pyle Decl. ¶ 37;
  27 Settlement ¶ 30.

  28 //
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   1 IV.     LEGAL ARGUMENT
   2     A. STANDARDS FOR PRELIMINARY APPROVAL OF SETTLEMENTS
   3         The Ninth Circuit maintains a “strong judicial policy” that favors the settlement
   4 of class actions. Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir.

   5 1992). Settlement spares litigants the uncertainty, delay and expense of a trial, and

   6 reduces the burden on judicial resources. As a result, “[c]ompromises of disputed

   7 claims are favored by the courts.” Williams v. First Nat’l Bank, 216 U.S. 582, 595

   8 (1910); see also Churchill Vill., LLC v. Gen. Elec., 361 F.3d 566, 576 (9th Cir. 2004)

   9 (noting that there is a “strong judicial policy that favors settlements, particularly

  10 where complex class action litigation is concerned”).

  11         Even so, class action settlements require court approval. Fed. R. Civ. P. 23(e).
  12 Where a class action is settled prior to class certification, courts must employ “a more

  13 probing inquiry than may normally be required under Rule 23(e).” Roes, 1-2 v. SFBSC

  14 Mgmt., LLC, 944 F.3d 1035, 2019 WL 6721190, at *10 (9th Cir. 2019).

  15         There are two stages to the approval of a class action settlement. In the first
  16 stage, the parties must show “that the court will likely be able to ... (i) approve the

  17 proposal under Rule 23(e)(2).” Fed. R. Civ. P. 23(e)(1)(B). In other words, a court

  18 must make a preliminary determination that the settlement “is fair, reasonable, and

  19 adequate” when considering the factors set out in Rule 23(e)(2). Fed. R. Civ. P.

  20 23(e)(2). The court’s task at the preliminary approval stage is to determine whether

  21 the settlement falls “within the range of possible approval.” In re Tableware Antitrust

  22 Litig., 484 F. Supp. 2d 1078, 1080 (N.D. Cal. 2007) (citation omitted); see also

  23 Manual for Complex Litigation, Fourth (“MCL, 4th”) § 21.632 (FJC 2004).

  24         If no class has yet been certified, a court must likewise make a preliminary
  25 finding that it “will likely be able to ... certify the class for purposes of judgment on

  26 the proposal.” Fed. R. Civ. P. 23(e)(1)(B). If the court makes these preliminary
  27 findings, “the court preliminarily approves the settlement pending a fairness hearing,

  28 temporarily certifies a settlement class, and authorizes notice to the class.” Ontiveros
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   1 v. Zamora, No. 2:08-567 WBS DAD, 2014 WL 3057506, at *2 (E.D. Cal. July 7,

   2 2014). In the second stage, the court reviews any objections by class members and

   3 conducts a final fairness hearing to make a final determination of whether the

   4 settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. Rule 23(e).

   5         Within this framework, preliminary approval of a settlement is appropriate if
   6 “the proposed settlement appears to be the product of serious, informed, non-collusive

   7 negotiations, has no obvious deficiencies, does not improperly grant preferential

   8 treatment to class representatives or segments of the class, and falls within the range

   9 of possible approval.” In re Tableware, 484 F. Supp. 2d at 1079 (citation omitted);

  10 Lilly v. Jamba Juice Co., No. 13-cv-02998, 2015 WL 1248027, at *6 (N.D. Cal. Mar.

  11 18, 2015). The proposed settlement need not be ideal, but it must be fair and free of

  12 collusion, consistent with counsel’s fiduciary obligations to the class. Hanlon v.

  13 Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998) (“Settlement is the offspring of

  14 compromise; the question we address is not whether the final product could be

  15 prettier, smarter or snazzier, but whether it is fair, adequate and free from collusion.”).

  16         Factors the Court should consider include whether:
  17         (A) the class representatives and class counsel have adequately represented
  18         the class; (B) the proposal was negotiated at arm’s length; (C) the relief
             provided for the class is adequate, taking into account: (i) the costs, risks,
  19         and delay of trial and appeal; (ii) the effectiveness of any proposed method
  20         of distributing relief to the class, including the method of processing class-
             member claims, if required; (iii) the terms of any proposed award of
  21         attorney’s fees, including timing of payment; and (iv) any agreement
  22         required to be identified under Rule 23(e)(3); and (D) the proposal treats
             class members equitably relative to each other.
  23
       Fed. R. Civ. P. 23(e)(2).
  24
             Additionally, courts in the Ninth Circuit have also considered the strength of the
  25
       plaintiffs’ case; the extent of discovery completed and the stage of the proceedings;
  26
       the experience and views of counsel; the presence of a governmental participant; and
  27
       the reaction of the class members to the proposed settlement. Churchill Vill., LLC v.
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   1 Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004). The proposed settlement must be

   2 “taken as a whole, rather than the individual component parts” in the examination for

   3 overall fairness. Hanlon, 150 F.3d at 1026.

   4     B. CONDITIONAL CERTIFICATION OF THE CLASS IS APPROPRIATE
   5         The Class here satisfies each of the requirements of Rule 23(a), namely, (1)
   6 numerosity, (2) commonality, (3) typicality, and (4) adequacy of representation. See

   7 Hanlon, 150 F.3d at 1019. It also satisfies Rule 23(b)(3) in that common questions

   8 “predominate over any questions affecting only individual members,” and class

   9 resolution is “superior to other available methods for the fair and efficient adjudication

  10 of the controversy.” Fed. R. Civ. P. 23(b)(3).

  11         1. The Class Is Numerous
  12         The Class satisfies Rule 23(a)’s numerosity requirement. “[G]enerally if the
  13 named plaintiff demonstrates that the potential number of plaintiffs exceeds 40, the

  14 first prong of Rule 23(a) has been met.” Miletak v. Allstate Ins. Co., No. C 06-03778

  15 JW, 2010 WL 809579, at *10 (N.D. Cal. Mar. 5, 2010) (citation omitted). Here, there

  16 are approximately 879 Class Members. Pyle Decl. ¶ 38. The numerosity requirement

  17 is thus easily satisfied.

  18         2. Common Questions of Law and Fact Predominate
  19         The commonality inquiry under Rule 23 (a)(2) and the predominance inquiry
  20 under Rule 23(b)(3) overlap and are thus examined together here. Rule 23(a)(2) is

  21 satisfied when there is a “common contention... of such a nature that it is capable of

  22 classwide resolution--which means that determination of its truth or falsity will

  23 resolve an issue that is central to the validity of each one of the claims in one stroke.”

  24 Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). “The commonality

  25 requirement will be satisfied if the named plaintiffs share at least one question of fact

  26 or law with the grievances of the prospective class.” Rodriguez v. Hayes, 591 F.3d
  27 1105, 1112 (9th Cir. 2010). The predominance inquiry under Rule 23(b)(3) focuses on

  28 whether the class is “sufficiently cohesive to warrant adjudication by representation.”
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   1 Culinary/Bartender Trust Fund v. Las Vegas Sands, Inc., 244 F.3d 1152, 1162 (9th

   2 Cir. 2001).

   3        Central to predominance is “the notion that the adjudication of common issues
   4 will help achieve judicial economy.” Zinser v. Accufix Research Institute, Inc., 253

   5 F.3d 1188, 1189 (9th Cir. 2001). “When common questions represent a significant

   6 aspect of the case and they can be resolved for all members of the class in a single

   7 adjudication, there is clear justification for handling the dispute on a representative

   8 rather than on an individual basis.” Hanlon, 150 F.3d at 1022 (citation omitted).

   9        Here, common questions of fact and law exist that predominate over individual
  10 issues. The central question presented is whether Plaintiffs and other Attendants have

  11 been deprived of their full pay when working split shifts. Plaintiffs’ claims are the

  12 same as those of the proposed Class, and will be resolved in the same way. All

  13 Attendants are subject to the same policies, practices and procedures with respect to

  14 pay, and all are alleged to have suffered the same type of wage loss, i.e., unpaid wages

  15 when working split shifts. See Dkt. 18 [FAC].

  16        Defendants’ defenses are also common and predominant. Pyle Decl. ¶ 42.
  17 Defendants contend that liquidated damages are not available for failure to provide

  18 split shift pay. Defendants further argue that there are no wage statement violations

  19 because they did not intentionally fail to include split shift pay on wage statements.

  20 See Dkt. 23 [Defendants’ Answer]. These defenses run to the Class as a whole. There

  21 are no claims or defenses individual to Plaintiffs that would predominate over

  22 common questions of fact and law. Commonality and predominance are thus satisfied.

  23 See, e.g., Bernstein v. Virgin America, Inc., No. 15-CV-02277-JST, 2016 WL

  24 6576621, at *13 (N.D. Cal. Nov. 7, 2016) (predominance satisfied where pay policies

  25 run to class as a whole).

  26        3. Plaintiffs’ Claims Are Typical of the Class Claims
  27        “The purpose of the typicality requirement is to assure that the interest of the
  28 named representative aligns with the interests of the class.” Hanon v. Dataproducts
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   1 Corp., 976 F.2d 497, 508 (9th Cir. 1992). “Typicality refers to the nature of the claim

   2 or defense of the class representative, and not to the specific facts from which it arose

   3 or the relief sought.” Id. “[R]epresentative claims are ‘typical’ if they are reasonably

   4 co-extensive with those of absent class members; they need not be substantially

   5 identical.” Hanlon, 150 F.3d at 1020.

   6        Here, Plaintiffs’ claims are typical of all other Class Members. Plaintiffs are
   7 current and former Attendants employed by Defendants. The Class consists of former

   8 and current Attendants, Bus Aids, and Monitors who have all been subject to the same

   9 pay policies and procedures of Defendants. Plaintiffs assert the same legal claims on

  10 behalf of themselves and the proposed Class and seek to recover damages as a result

  11 of Defendants’ common course of conduct. Plaintiffs’ claims therefore are “typical”

  12 within the meaning of Rule 23(a). See, e.g., Bernstein, 2016 WL 6576621, at *14-15.

  13        4. Plaintiffs And Plaintiffs’ Counsel Adequately Represent the Class
  14        A representative plaintiff must “fairly and adequately protect the interests of the
  15 class.” Fed. R. Civ. P. 23(a)(4). “To determine whether named plaintiffs will

  16 adequately represent a class, courts must resolve two questions: (1) do the named

  17 plaintiffs and their counsel have any conflicts of interest with other class members and

  18 (2) will the named plaintiffs and their counsel prosecute the action vigorously on

  19 behalf of the class?” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 985 (9th Cir.

  20 2011) (quoting Hanlon, 150 F.3d at 1020).

  21        Here, Plaintiffs have fairly and adequately represented the Class. They have no
  22 interests that are in conflict with other Class Members, have experienced the same

  23 alleged legal violations, and have been vigorously prosecuting the case on behalf of

  24 the Class. Pyle Decl. ¶¶ 43, 69-71; see generally Lopez Decl. ¶¶ 1-17; Mitchell Decl.

  25 ¶¶ 1-17; Neice Decl. ¶¶ 1-16; and Diaz Decl. ¶¶ 1-16.

  26        Additionally, Plaintiffs’ counsel has considerable experience in litigating
  27 complex class actions, including wage and hour class actions, are familiar with the

  28 legal and factual issues involved, and are highly qualified. Pyle Decl. ¶¶ 3-16. The
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   1 work performed by Plaintiffs’ counsel in this matter, as well as their substantial

   2 experience, demonstrates ample basis for finding that they are well qualified to serve

   3 as class counsel. Id. ¶ 44. The adequacy requirement is thus satisfied.

   4         5. Class Treatment Is Superior
   5         Rule 23(b)(3) requires that a class action be “superior to other available
   6 methods for fairly and efficiently adjudicating the controversy.” A court considers the

   7 following factors to determine superiority for settlement purposes: (a) class members’

   8 interests in individually controlling the prosecution or defense of separate actions; (b)

   9 the extent and nature of any litigation concerning the controversy already commenced

  10 by or against members of the class; and (c) the desirability or undesirability of

  11 concentrating the litigation of the claims in the particular forum. Fed. R. Civ. P.

  12 23(b)(3)(A)-(C).6 Superiority is to be assessed through a “comparative evaluation of

  13 alternative mechanisms of dispute resolution.” Hanlon, 150 F.3d at 1023.

  14         Here, a class action is superior to other available methods for litigating Class
  15 Members’ claims against Defendants. As in Hanlon, the alternative methods of

  16 resolution are individual claims for a relatively small amount of damages. Class

  17 certification is particularly appropriate since resolving class members’ claims en

  18 masse will ensure an efficient and fair distribution of the settlement fund. Individual

  19 claims would “prove uneconomic for a potential plaintiff,” because “litigation costs

  20 would dwarf potential recovery.” Hanlon, 150 F.3d at 1023. The Class Members’

  21 interest in individual litigation is therefore low and concentration of litigation is

  22 particularly desirable.

  23
       6
  24    Courts do not consider the fourth factor, i.e., the difficulties of managing a class
       action, in the context of settlement. Amchem Products Inc. v. Woodward (1997) 521
  25   U.S. 591, 620 (in deciding whether to certify a class for settlement purposes, a district
       court “need not inquire whether the case, if tried, would present intractable
  26   management problems”). In addition, some courts have found the that third factor, the
       “forum” inquiry, is “conceptually irrelevant in the context of a settlement.” See
  27   Strube v. American Equity Inv. Life Ins. Co., 226 F.R.D. 688, 697 (M.D. Fla. 2005).
       “With the settlement in hand, the desirability of concentrating the litigation in one
  28   forum is obvious.” Elkins v. Equitable Life Ins. Of Iowa, 1998 WL 133747, at *19
       (M.D. Fla. 1998).
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   1      C. THE SETTLEMENT FALLS WITHIN THE RANGE OF POSSIBLE
             APPROVAL
   2
             All relevant factors weigh in favor of preliminary approval of the Settlement as
   3
       fair, adequate, and reasonable for the following reasons:
   4
             1. Competent Counsel Negotiated the Settlement at Arm’s Length
   5
             The Settlement represents the culmination of intensive arm’s-length
   6
       negotiations, after extensive discovery, with the assistance of a professional mediator.
   7
       Pyle Decl. ¶¶ 22-24. Plaintiffs and the interests of the Class were represented in
   8
       settlement negotiations by attorneys who have considerable experience in wage and
   9
       hour litigation and who are well-versed in the legal and factual issues. Id. ¶¶ 3-16, 26.
  10
       Defendants were similarly represented by counsel with extensive experience
  11
       defending complex litigation, including wage and hour class actions. Id. ¶ 26. The
  12
       settlement negotiations were contested and conducted in good faith. Id.
  13
             The participation of Judge Denton, a well-respected neutral, in this case
  14
       supports the conclusion that the Settlement is the result of arm’s-length negotiations.
  15
       See Harris v. Vector Mktg. Corp., No. 08-cv-5198-EMC, 2011 WL 1627973, at *8
  16
       (N.D. Cal. Apr. 29, 2011) (“An initial presumption of fairness is usually involved if
  17
       the settlement is recommended by class counsel after arm’s length bargaining.”); see
  18
       also Satchell v. Fed. Express Corp., No 03-cv-2659-SI, 2007 WL 1114010, at *4
  19
       (N.D. Cal. Apr. 13, 2007); Bower v. Cycle Gear, Inc., No. 14-cv-02712-HSG, 2016
  20
       WL 4439875, at *5 (N.D. Cal. Aug. 23, 2016); and Reyes v. Bakery and
  21
       Confectionary Union and Indus. Int’l. Pension Fund, No. 14-cv-05596-JST, 2017 WL
  22
       7243239, at *5 (N.D. Cal. Jan. 23, 2017).
  23
             Further, Plaintiffs’ counsel support the Settlement Agreement. See In re
  24
       Omnivision Techs., Inc., 559 F.Supp. 2d 1036, 1043 (N.D. Cal. 2008) (holding “[t]he
  25
       recommendations of plaintiffs’ counsel should be given a presumption of
  26
       reasonableness”). Plaintiffs’ counsel has litigated a number of class action cases,
  27
       including actions such as this one presenting workers in the bus transportation
  28
                                              12
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   1 industry, and have reached approved settlement agreements in many of them. Pyle

   2 Decl. ¶¶ 3-16; see also Cabiness v. Educ. Fin. Solutions, LLC, No. 16-cv-01109-JST,

   3 2019 WL 1369929, at *6 (N.D. Cal. Mar. 26, 2019). (“Class Counsel have extensive

   4 experience litigating class action and consumer protection cases. That they advocate in

   5 favor of the Settlement weighs in favor of approval.”); see also Acosta v. Frito-Lay,

   6 Inc., 2018 WL 2088278, at *9 (N.D. Cal. May 4, 2018) (giving value to opinion of

   7 counsel who had been named class counsel in multiple class actions); In re Pacific.

   8 Enterprises Securities. Litigation, 47 F.3d 373, 378 (9th Cir. 1995) (“Parties

   9 represented by competent counsel are better positioned than courts to produce a

  10 settlement that fairly reflects each party’s expected outcome in the litigation.”).

  11 Plaintiffs’ counsel consider the Settlement, which compares favorably to previous

  12 settlements that courts have approved, to be an excellent result. Pyle Decl. ¶¶ 26, 62-

  13 64.7

  14         In sum, the Settlement is the product of an adversarial and careful negotiation
  15 conducted with the assistance of a well-respected and experienced neutral and

  16 involving experienced and skilled class counsel.

  17         2. Plaintiffs and the Class Face Ongoing Risk in the Absence of Settlement
  18         Defendants deny all of the substantive allegations in the action. Therefore,
  19 because liability is highly contested, both sides will incur significant time, expenses,

  20 and risk if this Action continues. Pyle Decl. ¶ 48.

  21         While Plaintiffs and Plaintiffs’ counsel believe Plaintiffs would ultimately
  22 succeed in obtaining certification of the Class and in prevailing on the merits at trial,

  23 the litigation in this action to date has informed the Parties of the risks of continued

  24 litigation. Id. Plaintiffs engaged in substantive discovery prior to the settlement

  25 negotiations. Id ¶ 22. Plaintiffs and Defendants thus “have sufficient information to

  26
  27

  28   7
        Plaintiffs’ lead counsel’s experience with comparable class action settlements is set
       forth in his declaration. See Pyle Decl. ¶¶ 62-64.
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   1 make an informed decision about settlement.” Linner v. Cellular Alaska P’Ship, 151

   2 F.3d 1234, 1239 (9th Cir. 1998); see also Cabiness, 2019 WL 1369929, at *5.

   3         Specifically, Plaintiffs conducted relevant discovery, including the exchange of
   4 thousands of pages of documents. Pyle Decl. ¶ 22. Plaintiffs then retained a damages

   5 expert to conduct a thorough and detailed damages analysis. Id. Plaintiffs understand

   6 that there are still “barriers plaintiffs must overcome in making their case.” Chun-

   7 Hoon v. McKee Foods, Corp., 716 F. Supp. 2d 848, 851 (N.D. Cal. 2010). In light of

   8 this analysis, Plaintiffs and Plaintiffs’ counsel recognize that Defendants have raised

   9 factual and legal defenses in the action that present a risk that Plaintiffs may not

  10 prevail, that a class might not be certified for trial, and that the claims of one or more

  11 Class Members may be defeated. Pyle Decl. ¶ 26.

  12         Moreover, the outcome of this action, should it proceed to further motion
  13 practice and/or trial, is by no means certain. In addition, even if the Plaintiffs received

  14 a favorable judgment, post-trial motions and an appeal would be likely. See

  15 Betancourt v. Advantage Human Resourcing, Inc., No. 14-cv-01788-JST, 2016 WL

  16 344532, at *4 (N.D. Cal. Jan. 28, 2016). “[I]t is the very uncertainty of outcome in

  17 litigation and avoidance of wastefulness and expensive litigation that induce

  18 consensual settlements.” Officers for Justice v. Civ. Serv. Comm’n of City & Cnty. of

  19 San Francisco, 688 F.2d 615, 625 (9th Cir. 1982). Even though the Parties are

  20 prepared to go to trial, considering the reality of a likely appeal, “it could be years

  21 before Plaintiffs see a dollar.” In re Omnivision Techs., Inc., 559 F. Supp. 2d at 1042;

  22 see also Wren v. RGIS Inventory Specialists, C–06–05778 JCS, 2011 WL 1230826, at

  23 *7 (N.D. Cal. Apr. 1, 2011) (finding that the risk, expense, complexity, and duration

  24 of further litigation point in favor of approving a settlement even though plaintiffs’

  25 claims had survived summary judgment).

  26         The Parties’ informed decision-making and negotiation, in light of the risks
  27 known from initial discovery and litigation, favor approval of the Settlement. See

  28 Acosta, 2018 WL 2088278, at *9.
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   1        3. The Settlement Provides a Significant Recovery
   2        The Settlement provides a significant recovery for the Class in the face of
   3 disputed claims. First, the average settlement distribution to the approximately 879

   4 Class Members will exceed $965.17 and will be distributed to Participating Class

   5 Members directly, without a claims process. Pyle Decl. ¶ 30. Class Members who do

   6 not opt out will receive checks directly from the Settlement Administrator and will

   7 thus readily and easily receive the benefits of the Settlement. Id.

   8        Second, the proposed distribution plan is straightforward and fair to all Class
   9 Members. “It is reasonable to allocate the settlement funds to class members based on

  10 the extent of their injuries or the strength of their claims on the merits.” Rieckborn v.

  11 Velti PLC, No. 13-cv-03889-WHO, 2015 WL 468329, at *8 (N.D. Cal. Feb. 3, 2015)

  12 (citing In re Omnivision Techs., Inc., 559 F.Supp. 2d at 1045.

  13        Here, the Settlement treats all Class Members equitably. See Fed. R. Civ. P.
  14 23(e). The Settlement Administrator will obtain detailed information from Defendants

  15 as to Class Members’ employment data. Settlement ¶ 15. Net Settlement Payments

  16 will be determined by using the number of Workweeks the Class Member worked

  17 during the Class Period divided by the total number of Workweeks worked by all

  18 Participating Class Members during the Class Period. Id. ¶ 9(a).

  19        The PAGA Members Payment will similarly be allocated based on the number
  20 of Pay Periods the PAGA Member worked during the PAGA Period divided by the

  21 total number of Pay Periods worked by all PAGA Members during the PAGA Period.

  22 Id. ¶ 9(b).

  23        Third, the Settlement represents a reasonable compromise of claims in
  24 comparison to the potential full value of such claims. The Gross Settlement Amount

  25 of $1,475,000 will provide strong recompense to Class Members. In evaluating the

  26 amount of a settlement, “the Court may compare the settlement amount to the parties’
  27 estimates of the maximum amount of damages recoverable in a successful litigation.”

  28 Betancourt, 2016 WL 344532, at *5.
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   1        At mediation, Plaintiffs calculated the total potential value of the action to be
   2 $2,571,366.33. Pyle Decl. ¶ 46. The proposed Settlement of $1,475,000 thus

   3 represents 57% of the total potential value. Id. The recovery obtained here as a

   4 percentage of the total potential value therefore exceeds that of many approved wage

   5 and hour class settlements. See, e.g., Thomas v. Cognizant Tech. Sols. U.S. Corp., No.

   6 SACV111123JSTANX, 2013 WL 12371622, at *6 (C.D. Cal. June 24, 2013)

   7 (granting final approval in wage and hour action where settlement encompassed

   8 between 4.4% and 5% of the maximum estimated liability); Stovall-Gusman v. W.W.

   9 Granger, Inc., No. 13-CV-02540-HSG, 2015 WL 3776765, at *4 (N.D. Cal. June 17,

  10 2015) (granting final approval in wage and hour action where total settlement amount

  11 represented approximately 10% of potential value, and net settlement amount

  12 represented 7.3% of valuation); Ma v. Covidien Holding, Inc., No. SACV 12-02161-

  13 DOC, 2014 WL 360196, at *5 (C.D. Cal. Jan. 31, 2014) (granting preliminary

  14 approval of wage and hour settlement for 9.1%); Destefano v. Zynga, Inc., No. 12-cv-

  15 04007-JSC, 2016 WL 537946, at *11 (N.D. Cal. Feb. 11, 2016) (approving class

  16 settlement providing for “14 percent of likely recoverable aggregate damages at trial,”

  17 and “9.5 percent of those” damages after “deductions for attorneys’ fees and costs and

  18 administration costs”); Gaudin v. Saxon Mortg. Servs., LLC, No. 11-cv-01663-JST,

  19 2015 WL 7454183, at *6 (N.D. Cal. Nov. 23, 2015) (approving class settlement

  20 providing “13.6% recovery of the maximum possible recoverable damages”).

  21        Furthermore, Plaintiffs’ counsel assigned a reasonable settlement value to each
  22 of the claims asserted on behalf of the Class Members. Pyle Decl. ¶ 47. Plaintiffs’

  23 counsel estimates the total reasonable settlement value of those claims to be

  24 $1,357,578.06. Id. The Gross Settlement Amount therefore exceeds the reasonable

  25 settlement value of the Class Members’ claims as follows:

  26           a. Failure to Provide Split Shift Pay and Interest Thereon
  27        Plaintiffs’ unpaid wages claim arises out of Defendants’ practice of not paying
  28 split shift pay. Plaintiffs retained a damages expert to calculate the damages based on
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   1 Defendants’ production of timesheets and wage statements for 827 of the 879 Class

   2 Members.8 Id. ¶ 49. At the time of mediation Plaintiffs’ expert estimated that

   3 Defendants were liable to the Class Members for $582,355.59 in split shift pay,

   4 including interest. Id.

   5         Plaintiffs gave little weight to Defendants’ defenses to the split shift pay claim.
   6 Accordingly, Plaintiffs only discounted their claim for split shift pay by twenty

   7 percent (multiplying by .80) to account for the risks involved in certifying a class and

   8 maintaining certification through trial. Accordingly, Plaintiff calculated the reasonable

   9 settlement value of the split shift claim to be $465,884.87. Id. ¶ 50.

  10            b. Liquidated Damages
  11         Plaintiffs’ claim for liquidated damages is derivative of their claim for failure to
  12 provide split shift pay. At the time of mediation, Plaintiffs’ expert estimated

  13 Defendants’ liability to the Class Members for liquidated damages claim to be

  14 $582,355.59. Id. ¶ 51.

  15         However, Defendants contend that they owe no liquidated damages because
  16 their failure to pay slit shift wages was in good faith. See Labor Code § 1194.2(b);

  17 Pyle Decl. ¶ 52. Under these circumstances, it is reasonable to discount Plaintiffs’

  18 liquidated damages claim by twenty percent (multiplying by .80) to account for the

  19 risks involved in certifying a class and maintaining certification through trial, and by

  20 an additional thirty-five percent (multiplying by .65) to account for the risk of

  21 Defendants prevailing on its defense. Pyle Decl. ¶ 52. Accordingly, Plaintiffs

  22 determined that the reasonable settlement value of the liquidated damages claim was

  23 $302,824.91. Id.

  24            c. Wage Statement Penalties
  25         At the time of mediation, Plaintiffs’ expert calculated the maximum recovery
  26 for Plaintiffs’ wage statement claim under Labor Code section 226(e) to be $426,500.
  27

  28   8
        Plaintiffs’ expert used the records for the 827 Class Members to extrapolate damages
       for the remaining 52 Class Members. Id. ¶ 49.
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   1 Id. ¶ 53. However, Defendants deny any wage statement violations and claim that

   2 whatever conduct occurred was not knowing and intentional, as required by Section

   3 226. Id.

   4            Under these circumstances, it is reasonable to discount Plaintiffs’ wage
   5 statement penalties claim by twenty percent (multiplying by .80) to account for the

   6 risks involved in certifying a class and maintaining certification through trial, and by

   7 an additional thirty-five percent (multiplying by .65) to account for the risk of

   8 Defendants prevailing on their defenses. Accordingly, Plaintiff calculated the

   9 reasonable settlement value of the wage statement claim to be $221,780. Id. ¶ 54.

  10               d. Waiting Time Penalties
  11            Plaintiffs allege that Defendants have failed to timely pay compensation and
  12 wages to Class Members upon their termination or resignation from employment, as

  13 required by Labor Code sections 201 and 202.9 Id. ¶ 55. At the time of mediation,

  14 Plaintiffs’ damages expert calculated the maximum waiting time penalties owed to

  15 Class Members whose employment terminated within three years prior to filing the

  16 Complaint to be $534,555.15. Id.

  17            In response, Defendants argue that there is a good faith dispute as to whether
  18 any unpaid wages are due and any failure to pay wages was not willful. Id. ¶ 56; see

  19 also Labor Code § 203; 8 C.C.R. § 13520 (providing the definition of “willful”).

  20 Under these circumstances, it is reasonable to discount Plaintiffs’ waiting time penalty

  21 claim by twenty percent (multiplying by .80) to account for the risk of Defendants

  22 prevailing to account for the risks involved in certifying a class and maintaining

  23 certification through trial, and by an additional thirty-five percent (multiplying by .65)

  24 to account for the risks that Defendants will prevail on their defenses. Accordingly,

  25 Plaintiffs determined that the reasonable settlement value of the waiting time penalties

  26 claim was $277,968.68. Pyle Decl. ¶ 56.
  27

  28
       9
           This claim is derivative of Plaintiffs’ claim for failure to provide split shift pay.
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   1               e. PAGA Penalties
   2            With respect to PAGA, assigning a penalty of $100 per pay period, and not
   3 stacking (compounding) penalties, results in approximately $445,600 in civil

   4 penalties.10 Id. ¶ 57; see also Bernstein v. Virgin Am., Inc., 3 F.4th 1127, 1144 (9th

   5 Cir. 2021) (noting that subsequent PAGA penalties ($200 for subsequent violations

   6 per pay period) can be limited if a defendant has not been notified that it is violating

   7 the Labor Code.) Courts have broad discretion to reduce penalty amounts under

   8 PAGA. See Cal. Lab. Code § 2699(e)(2). Courts typically reduce PAGA penalties

   9 where there is unsettled law during the pendency of the litigation, where the case

  10 presents a matter of first impression that the court had to rule upon, or where an

  11 employer demonstrates a serious attempt to comply with the law. See Thurman v.

  12 Bayshore Transit Management, Inc., 203 Cal. App. 4th 1112 (2012); Cotter v. Lyft,

  13 Inc., 176 F.Supp.3d 930, 941 (N.D. Cal. 2016).

  14            Courts have also approved hybrid class action and PAGA settlements where
  15 only a fraction of the settlement was allocated to PAGA. See, e.g., Nordstrom Comm'n

  16 Cases, 186 Cal. App. 4th 576, 589 (2010) (settlement approved where $0 out of nearly

  17 $9 million settlement allocated to PAGA penalties); Cotter, 193 F.Supp.3d at 1037

  18 (approving allocation of $1,000,000 to PAGA claims out of $27,000,000 settlement).

  19 In such cases, it is prudent to permit a higher compromise of the PAGA penalties to

  20 allow Class Members to receive the maximum amount of reimbursement for unpaid

  21 wages. See, e.g, ZB, N.A. v. Superior Court, 8 Cal. 5th 175, 196–97 (2019) (PAGA

  22 promotes the Labor Code’s broad remedial purpose of protecting workers by

  23 increasing civil penalties while preserving and enhancing workers’ rights to recover

  24 for lost wages); O’Connor v. Uber Technologies, Inc., 201 F.Supp.3d 1110, 1134

  25 (N.D. Cal. 2016) (courts may apply a “sliding scale” when reviewing PAGA

  26 penalties).
  27

  28
       10
            There are 4465 total Pay Periods at issue for the PAGA claims in the Action.
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   1        Here, Defendants contend that they have compelling defenses to Plaintiffs’
   2 underlying claims. Pyle Decl. ¶¶ 49-56. Under these circumstances, it is reasonable to

   3 reduce the PAGA penalty to $20 per pay period, or $89,120. Id. ¶ 58. Accordingly,

   4 the proposed Settlement of PAGA penalties for $89,120 is reasonable. See, e.g.,

   5 Cotter, 193 F.Supp.3d at 1037; Garcia v. Gordon Trucking, 2012 U.S. Dist. LEXIS

   6 160052, at *32–33 (E.D. Cal. Oct. 31, 2012) (approving the amount of $10,000 out of

   7 $3.7 million toward settlement of PAGA claims); Schiller v. David’s Bridal, Inc.,

   8 2012 WL 2117001, at *14 (E.D. Cal. June 11, 2012) (approving the amount of $7,500

   9 out of $518,245 toward settlement of PAGA claims); Chu v. Wells Fargo Invs., LLC,

  10 2011 WL 672645, at *2–3 (N.D. Cal. Feb. 16, 2011) (approving the amount of

  11 $10,000 out of $6.9 million toward settlement of PAGA claims); Franco v. Ruiz Food

  12 Prods., 2012 WL 5941801, at *14 (E.D. Cal. Nov. 27, 2012) (approving the amount

  13 of $10,000 out of $2.5 million toward settlement of PAGA claims).

  14        In sum, Plaintiffs calculated the combined reasonable settlement value of the
  15 claims in this case, including the PAGA claim, to be $1,357,578.06. Pyle Decl. ¶ 47.

  16 The proposed Settlement of $1,475,000 exceeds that amount. A certain and substantial

  17 result for Class Members now, rather than a contingent one at some indefinite time

  18 years in the future, favors preliminary approval of the Settlement.

  19     D. THE COURT SHOULD APPROVE THE PROPOSED NOTICE
  20        The Parties also seek approval of the proposed Notice and notice procedures.
  21 Rule 23(c)(2) provides that Class Members must receive the “best notice that is

  22 practicable under the circumstances, including individual notice to all members who

  23 can be identified through reasonable efforts.” Fed. R. Civ. P. 23(c)(2). Similarly, Rule

  24 23(e)(1) states that “[t]he court must direct notice in a reasonable manner to all class

  25 members who would be bound by the propos[ed] [settlement].” Fed. R. Civ. P.

  26 23(e)(1). “The combination of reasonable notice, the opportunity to be heard and the
  27 opportunity to withdraw from the class satisfy the due process requirements of the

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   1 Fifth Amendment.” In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions,

   2 148 F.3d 283, 306 (3d Cir. 1998).

   3         Under the Settlement, Simpluris, an experienced class action administrator with
   4 a proven track record in administering class settlements, will serve as the Settlement

   5 Administrator. Pyle Decl. ¶¶ 3-16. Simpluris will send direct notice by first class mail

   6 to Class Members. Settlement ¶ 11. Class Members will then have forty-five (45) days

   7 to opt out or to object to the Settlement. Id. ¶¶ 1(z), 20, 22. Defendants will also

   8 comply with the notice requirements of the Class Action Fairness Act, 28 U.S.C. §

   9 1715, within 10 business days of the filing of this Motion. Id. ¶ 12.

  10         To satisfy Rule 23(c)(2), a notice must state “in plain, easily understood
  11 language,” information about “(i) the nature of the action; (ii) the definition of the

  12 class certified; (iii) the class claims, issues, or defenses; (iv) that a class member may

  13 enter an appearance through an attorney if the member so desires; (v) that the court

  14 will exclude from the class any member who requests exclusion; (vi) the time and

  15 manner for requesting exclusion; and (vii) the binding effect of a class judgment on

  16 members under Rule 23(c).” Fed. R. Civ. P. 23(c)(2). In addition, notice of a proposed

  17 settlement must inform class members about the settlement’s general terms, that the

  18 class members can seek complete information from the court files, and that any class

  19 member may be heard. “Notice is satisfactory if it ‘generally describes the terms of

  20 the settlement in sufficient detail to alert those with adverse viewpoints to investigate

  21 and to come forward and be heard.’” Churchill Vill., 361 F.3d at 575 (citing Mendoza

  22 v. Tucson Sch. Dist. No. 1, 623 F.2d 1338, 1352 (9th Cir.1980)).

  23         The proposed Notice here meets these requirements. See Ex. A to Settlement.
  24 The proposed mail and website notice is written in plain English and describes: (1) the

  25 nature of the claims in the case; (2) a description of the Class; (3) a description of the

  26 Settlement and the relief to be provided; (4) the consequences of opting out or
  27 remaining in the Class; and (5) how to get more information from this Court about the

  28 Settlement, the parties involved and the procedures to follow to object or opt out. Id.
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   1 The Notice includes the deadline to object to the Settlement, and the date of the

   2 Fairness Hearing. Id. The Notice states that Class Members can enter an appearance

   3 through counsel if desired. Id. Finally, the Notice makes clear that Class Members do

   4 not need to do anything to receive benefits under the Settlement. Id.

   5          Accordingly, the Notice meets all requirements and fully apprises Class
   6 Members about their options. See Chao v. Aurora Loan Servs., LLC, 2014 WL

   7 4421308, at *6 (N.D. Cal. Sept. 5, 2014) (approving notice which “describes the

   8 nature of the action, summarizes the terms of the settlement, identifies the different

   9 classes and provides instruction on how to opt out and object, and the proposed fees

  10 and expenses to be paid to Plaintiffs’ counsel and the claims administrator”).

  11          In addition, the Notice also includes: (1) Plaintiffs’ counsel’s contact
  12 information; (2) the URL for the settlement website; (3) instructions on how to access

  13 the case docket via PACER or in person; (4) the date of the final approval hearing and

  14 a statement that the date may change without further notice; and (5) a statement

  15 advising Class Members how to determine if the Final Approval Hearing is continued.

  16          The Notice also complies with the federal rules and due process and maximizes
  17 the opportunity for Class Members to understand the Settlement, and to respond

  18 appropriately if they so choose.

  19          Accordingly, Plaintiffs respectfully request that the Court approve the proposed
  20 form and manner of notice to the Class.11

  21        E. THE REQUESTED ATTORNEYS’ FEES, COSTS, AND SERVICE
               AWARDS ARE PRELIMINARILY REASONABLE12
  22
              1. The requested attorneys’ fees are preliminarily reasonable
  23
              Plaintiffs’ counsel will file a separate motion requesting approval of their fees
  24
       and costs at least thirty days before the date that Class Members must object or opt out
  25

  26
  27    Plaintiffs’ Proposed Order Granting Preliminary Approval sets forth a proposed
       11
     schedule   for further proceedings.
  28 12 All requested attorneys’ fees, litigation costs, and service awards are preliminary
     and subject to final approval of the Court at the final approval stage.
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   1 of the Settlement. Plaintiffs’ counsel will seek attorneys’ fees of up to $442,500 or

   2 30%13 of the Gross Settlement Amount, which is within the range for attorneys’ fees

   3 in these types of cases. Pyle Decl. ¶ 56; see, e.g., Ching v. Siemens Indus., Inc., 2014

   4 WL 2926210, at *8 (N.D. Cal. June 27, 2014) (finding “the request for attorneys’ fees

   5 in the amount of 30% of the Gross Settlement Amount falls within the range of

   6 acceptable attorneys’ fees in Ninth Circuit cases”); Alikhan v. Goodrich Corp., No.

   7 CV176756JGBRAOX, 2020 WL 4919382, at *9 (C.D. Cal. June 25, 2020) (awarding

   8 attorneys’ fees that amount to just shy of 30% of the settlement fund).

   9            This request is justified because the proposed Settlement of $1,475,000
  10 represents 57% of the total potential value of the claims at issue, and more than the

  11 reasonable settlement value of those claims. Pyle Decl. ¶ 46.

  12            To date, Plaintiffs’ counsel has expended over 379.2 hours working on this
  13 matter amounting to $254,367.50 in attorneys’ fees as follows:

  14                  Name              Hours Worked                Rate           Amount
  15               Hunter Pyle              188.7              $     850.00     $ 160,395.00
                  Vincent Chen              136.4              $     500.00     $ 68,200.00
  16
                 Katherine Fiester          41.6               $     500.00     $ 20,800.00
  17              Chad Saunders              9.6               $     450.00     $ 4,320.00
            Darlene Sanchez (Paralegal)      2.9               $     225.00     $     652.50
  18
                      Totals                379.2                               $ 254,367.50
  19   Id. ¶ 66.
  20            By the time Plaintiffs’ counsel request approval of their fees and costs,
  21 Plaintiffs’ counsel expect to work at least an additional 60 hours for purposes of final

  22 approval and the extensive work related to settlement administration. Considering this

  23 additional time, Plaintiffs’ counsel’s lodestar will be closer to $298,367.50. Id. ¶ 67.

  24            However, “[i]t is an established practice in the private legal market to reward
  25 attorneys for taking the risk of non-payment by paying them a premium over their

  26
  27
       13
            While the Settlement allows for attorneys’ fees up to one third or 33.33%,
  28 Plaintiffs’ counsel intends to seek attorneys’ fees of no more than 30 percent of the
       Gross Settlement Amount.
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   1 normal hourly rates for winning contingency cases.” Fischel v. Equitable Life Assur.

   2 Society of U.S., 307 F.3d 997, 1008 (9th Cir. 2002) (quoting In re Washington Public

   3 Power Supply System Securities Litigation, 19 F.3d 1291, 1299 (9th Cir. 1994)).

   4 Courts may enhance this lodestar figure by a multiplier to account for a range of

   5 factors, such as the contingent nature of a case and the degree of success achieved. See

   6 Ketchum v. Moses, 24 Cal. 4th 1122, 1132-36 (2001); Serrano v. Priest, 20 Cal. 3d 25,

   7 49 (1977).

   8        Furthermore, multipliers are routine in class action contingency cases and are
   9 commonly accepted in the context of a lodestar cross-check of a percentage fee. See,

  10 e.g., Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1051, n.6 (9th Cir. 2002) (affirming

  11 order awarding common fund fees where lodestar cross-check resulted in a multiplier

  12 of 3.65); Steiner v. Am. Broad. Co., 248 F. App’x 780, 783 (9th Cir. 2007) (finding a

  13 multiplier of 6.85 “falls well within the range of multipliers that courts have

  14 allowed.”).

  15        Here, Plaintiffs’ counsel took this case on a purely contingent fee basis. Pyle
  16 Decl. ¶ 66. Furthermore, they achieved an excellent result. The requested fee of

  17 $442,500 represents a multiplier of less than 1.5, which is reasonable given that

  18 lodestar multipliers range from 1.0 to 4.0. See Fernandez v. Victoria Secret Stores,

  19 LLC, Case No. CV 06-04149 MMM (SHx), 2008 WL 8150856, at **12, 16 (C.D. Cal.

  20 July 21, 2008) (awarding 34% of the common fund as attorneys’ fees, which

  21 represented a multiplier to the lodestar amount: “Both of these increases appropriately

  22 award class counsel for their risk in taking this case on a contingency basis and

  23 litigating the case with diligence and skill.”); Alikhan v. Goodrich Corp., No.

  24 CV176756JGBRAOX, 2020 WL 4919382, at *9 (C.D. Cal. June 25, 2020) (applying

  25 a 2.25 lodestar multiplier to award fees amounting to just shy of 30% of the settlement

  26 fund); McKenzie v. Federal Exp. Corp., Case No. CV 10-02420 GAF (PLAx), 2012
  27 WL 2930201 (C.D. Cal. July 2, 2012) (awarding multiplier of 3.2 in class action

  28 settlement where plaintiff alleged violations of Labor Code section 226).
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          PLAINTIFFS’ NOTICE OF AND MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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   1        Accordingly, because Plaintiffs’ counsel’s lodestar will amount to $442,500
   2 with a reasonable multiplier of less than 1.5 at the conclusion of the case, the 30%

   3 requested fee award should be preliminarily approved.

   4        2. The litigation costs incurred are preliminary reasonable
   5        To date, Plaintiffs’ counsel has incurred just over $42,450 in necessary and
   6 reasonable litigation costs. Pyle Decl. ¶ 68. Attorneys are entitled to “recover as part

   7 of the award of attorney’s fees those out of pocket expenses that “would normally be

   8 charged to a fee paying client.” Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir. 1994)

   9 (quoting Chalmers v. City of Los Angeles, 796 F.2d 1205, 1216 n.7 (9th Cir. 1986).

  10 Here, Plaintiffs will provide detailed a cost itemization at the final approval stage that

  11 includes costs incurred to retain a damages expert, necessary and reasonable travel

  12 expenses, court costs, and service fees.

  13        3. The Class Representative Service Awards are reasonable.
  14        The Settlement allows for service awards of up to $10,000 for each Plaintiff.
  15 Each Plaintiff has provided a declaration demonstrating that she took great personal

  16 and professional risk in bringing this lawsuit and that she has diligently represented

  17 the class. Pyle Decl. ¶¶ 43, 69-71; see generally Lopez Decl. ¶¶ 1-17; Mitchell Decl.

  18 ¶¶ 1-17; Neice Decl. ¶¶ 1-16; and Diaz Decl. ¶¶ 1-16.

  19 V.     CONCLUSION
  20        For the foregoing reasons, Plaintiffs respectfully ask the Court to grant their
  21 Motion for Preliminary Approval of Settlement in its entirety.

  22

  23 DATED: September 17, 2021                HUNTER PYLE LAW

  24

  25                                          By: ___________________________
                                                   /s/ Hunter Pyle
                                                  Hunter Pyle
  26                                              Katherine Fiester
  27                                          Attorneys for Plaintiffs and the Putative Class

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          PLAINTIFFS’ NOTICE OF AND MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT;
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   7

   8 Attorneys for Plaintiffs and the Putative Class

   9                          UNITED STATES DISTRICT COURT
  10
                            CENTRAL DISTRICT OF CALIFORNIA
  11

  12 NORMA LOPEZ, CINDY MITCHELL,                 Case No.: 5:19-cv-01669-JGB-SHK
       VADA NEICE, and MARY DIAZ, on
  13 behalf of themselves and all others          Class and Collective Action
  14 similarly situated;
                                                  DECLARATION OF HUNTER PYLE
  15                Plaintiffs,                   IN SUPPORT OF PLAINTIFFS’
  16                                              MOTION FOR PRELIMINARY
            v.                                    APPROVAL OF SETTLEMENT
  17

  18 FIRST STUDENT, INC., FIRST                   Date:      October 18, 2021
       STUDENT MANAGEMENT, LLC,                   Time:      9:00 a.m.
  19 FIRSTGROUP AMERICA, INC., and                Ctrm:      1
  20 DOES 1 through 10, inclusive,                Judge:     Hon. Jesus G. Bernal
  21                Defendants.
  22

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    1 I, Hunter Pyle, declare as follows:

    2           1.   I am a member in good standing of the Bar of the State of California
    3 and principal of the law firm Hunter Pyle Law, in Oakland, California. I am counsel

    4 of record for Plaintiffs Norma Lopez, Cindy Mitchell, Vada Neice, and Mary Diaz

    5 (“Plaintiffs”) and the putative class. I have personal knowledge of the facts set forth

    6 in this declaration and could and would testify competently to them.

    7           2.   Attached hereto as Exhibit 1 is the Joint Stipulation of Class and PAGA
    8 Representative Action Settlement and Release executed by the Parties (the

    9 “Settlement”). Exhibit A to the Settlement is the Proposed Notice of Class Action

   10 Settlement.

   11                      MY BACKGROUND AND EXPERIENCE
   12           3.   In 1997, I received a J.D. from Boalt Hall School of Law at the
   13 University of California at Berkeley.

   14           4.   As a law student, I clerked for Professor David Feller, one of the
   15 premier scholars in the field of labor and employment law. I also worked as a law

   16 clerk at Eggleston, Siegel & Lewitter; Beeson, Tayer & Bodine; and Davis, Cowell

   17 & Bowe. Each of these firms represents employees in the labor and employment

   18 context.

   19           5.   I have been practicing law since December 1997. From December 1997
   20 through October 2003, I was an associate at Siegel & Yee in Oakland, where I

   21 focused my practice mainly on employment law. In that capacity, I was the primary

   22 attorney for numerous employment law cases that resolved prior to trial, handling all

   23 aspects of these cases. Additionally, I served as second chair in approximately ten

   24 trials.

   25           6.   In October 2003, I left Siegel & Yee and became a partner at Sundeen
   26 Salinas & Pyle. In 2017, I left Sundeen Salinas & Pyle and created Hunter Pyle
   27 Law. Since that time, most of my cases have involved employment law, and many

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    1 of them have involved wage and hour matters. Over the past ten years, I have tried

    2 approximately fifteen cases to verdict.

    3        7.     I have been approved as class counsel in the following cases (among
    4 others), which resolved favorably for the class members: Jackson v. ACE (Alameda

    5 County Superior Court case no. RG05241698; settled for $1.1 million); Beasley, et

    6 al., v. Allied Cash Advance (Alameda County Superior Court case no. 07359698;

    7 settled for $400,000); Schakow v. Lerner New York, Inc., et al. (Contra Costa County

    8 case no. MSC08-01145; settled for $850,000); Brown, et al. v. George S. May

    9 International Company (Alameda County Superior Court case no. 08413991; settled

   10 for $750,000); Miriam Aquino Ruelas, et al. v. Neilmed Products, Inc. (Sonoma

   11 County Case No. SCV245231; settled for approximately $600,000); Randolph et al.

   12 v. AT&T Wireless Services, Inc., et al. (Alameda County Superior Court case no.

   13 RG05193855; settled for approximately $70 million); Booker II, et al. v. Auto

   14 Guardian, et al. (Alameda Superior Court case No. RG11562117; settled for

   15 $775,000); Alonzo, et al. v. First Transit, Inc. (Los Angeles Superior Court case no.

   16 BC433932; settled for $2 million); Lopez, et al. v. City of Montebello (Los Angeles

   17 Superior Court case no. BC553076; settled for $1 million); Sadiq v. Greatwide

   18 Dedicated Transport II, LLC (Alameda County Superior Court case no.

   19 RG15789114; settled for $762,500); Kostyuk v. Golden State Overnight Delivery

   20 Service, Inc. (Alameda County Superior Court case no. RG14727191; settled for

   21 $1.25 million); Newcomb, et al. v. J.B. Hunt Transport, Inc. (Alameda County

   22 Superior Court case no. RG16815734; settled for $750,000); Hooper v. URS

   23 Midwest, Inc., (San Bernardino Superior Court Case No. CIV DS1607489; settled for

   24 approximately $3 million); Brooks, et al. v. Chariot Transit, Inc. (San Francisco

   25 Superior Court case no. CGC-16-554398; settled for $750,000); Austin, et al. v.

   26 Foodliner, Inc. (United States District Court, Northern District of California case no.
   27 4:16-cv-07185-HSG; settled for $1.2 million); Castro, et al. v. ABM Industries, Inc.,

   28 et al. (United States District Court, Northern District of California case no. 4:17-cv-

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    1 03026-YGR; settled for $5,400,000) and Toolajian v. Air Methods Corporation,

    2 (Northern District of California case no. 18-cv-06722-AGT; certified class and

    3 PAGA action; settled for $1.75 million.).

    4        8.    Each of these cases, except for the Randolph case, was a wage and hour
    5 class action. (Randolph was a consumer class action.)

    6        9.    I am the primary contributor to an employment law related blog,
    7 www.workersrightsblog.com. Additionally, I am a co-author of “Civil Penalties

    8 under the California Private Attorneys General Act (PAGA),” Employment Damages

    9 and Remedies (CEB 2014). I have also served as the updating editor for the

   10 Employee and Union Member Guide to Labor Law (West), Chapter 2 (“Opposing

   11 Discriminatory Discharges”).

   12        10.   In 2006, 2007, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and
   13 2017 I have organized and/or presented at annual CLEs put on by the Alameda

   14 County Bar Association regarding employment law and class actions. The faculty

   15 for these CLEs has included the Honorable Richard A. Kramer, the Honorable

   16 Ronald Sabraw, the Honorable Bonnie Sabraw, the Honorable Robert Freedman, the

   17 Honorable Steven Brick, the Honorable George Hernandez II, the Honorable David

   18 Flinn, Jenna Whitman, Walter Stemmler and Phillip Obbard.

   19        11.   I am a Lecturer at U.C. Berkeley Law School (formerly known as Boalt
   20 Hall). From 2014 to 2016, I, along with one other Lecturer, taught the employment

   21 law course to second and third year law students. The course materials included a

   22 survey of California wage and hour law. From 2017 to present I have taught an

   23 advanced seminar on California Wage and Hour Law.

   24        12.   Almost every year from 2011 to present I have served on the faculty of
   25 the Stanford Law School Trial Advocacy Workshop.

   26        13.   Almost every year from 2011 to present, I have been a panelist at annual
   27 seminars put on by Bridgeport regarding California wage and hour law, including the

   28 Wage and Hour Litigation Seminar.

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    1        14.    I have made numerous other presentations regarding wage and hour law
    2 and class actions. For example, in 2019 and 2020, I spoke on several panels

    3 regarding California’s Private Attorneys General Act. I have also spoken on separate

    4 panels discussing trends in class action litigation.

    5        15.    I am a member of the California State Bar Labor and Employment Law
    6 Section. In addition, I regularly serve as a volunteer attorney at the Workers’ Rights

    7 Clinic put on by the Legal Aid Society of San Francisco Employment Law Center. I

    8 am also a member or past member of the Alameda County Bar Association Labor

    9 and Employment Section and Trial Practice Section.

   10        16.    My extensive experience in litigating employment wage and hour
   11 matters was integral in evaluating the strengths and weaknesses of the case against

   12 Defendants and negotiating a fair and reasonable settlement.

   13      SUMMARY OF LITIGATION, BACKGROUND & INVESTIGATION
   14        17.    Plaintiffs Norma Lopez, Cindy Mitchell and Vada Neice commenced
   15 this proposed class action against Defendants in San Bernardino County Superior

   16 Court on July 11, 2019. Plaintiffs alleged causes of action for: (1) failure to pay split

   17 shift wages; (2) failure to provide complete and accurate wage statements; and (3)

   18 unfair competition claims pursuant to California’s Unfair Competition Law

   19 (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq.

   20        18.    Plaintiffs subsequently gave notice to the California Labor Workforce
   21 Development Agency (“LWDA”) to administratively exhaust their claims for related

   22 civil penalties under the California Private Attorneys General Act, Labor Code §

   23 2698 et seq. (“PAGA”) on July 15, 2019.

   24        19.    On August 30, 2019, Defendants removed the action to federal court
   25 pursuant to the Class Action Fairness Act of 2005 (“CAFA”). Plaintiffs filed a

   26 motion to remand on October 21, 2019. The Court denied Plaintiffs’ motion on
   27 December 2, 2019.

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    1        20.    Plaintiffs submitted an amended PAGA notice to the LWDA on
    2 December 6, 2019 to encompass claims for minimum wage.

    3        21.    On January 21, 2020, Plaintiffs filed the operative First Amended
    4 Complaint (“FAC”) adding Mary Diaz as a named plaintiff, and causes of action for

    5 waiting time penalties and PAGA civil penalties on behalf of the State of California

    6 and all aggrieved employees. The FAC seeks monetary damages, statutory penalties,

    7 and restitution for the class claims, civil penalties for the PAGA claim, certification

    8 of the class, and a declaratory judgment.

    9        22.    Plaintiffs’ counsel is aware of Defendants’ practices and procedures
   10 concerning payment related to working split shifts. Plaintiffs conducted substantial

   11 discovery in this matter, including the exchange of thousands of pages of documents.

   12 Defendants produced timesheets and wage statements for 827 of the 879 (or 94%) of

   13 the estimated Class Members. Plaintiffs then hired a damages expert to conduct a

   14 throughout damages analysis for the Class.

   15        23.    Thereafter, the Parties agreed to mediate the action with the Hon.
   16 Steven Denton (Ret.) on May 12, 2021.

   17        24.    After thorough arm’s-length negotiations with Hon. Steven Denton’s
   18 assistance, the Parties were able to reach agreement as to a complete resolution of the

   19 Action. Thereafter, the Parties negotiated and executed a memorandum of

   20 understanding (“MOU”). The Parties then negotiated the terms of the Settlement in a

   21 long-form stipulation.

   22        25.    Based on a thorough investigation and evaluation of this case, Plaintiffs’
   23 counsel and Plaintiffs have concluded that the settlement with Defendants for the

   24 consideration and on the terms set forth in the Settlement Agreement is fair,

   25 reasonable, and adequate and is in the best interest of the class in light of all known

   26 facts and circumstances, including the risk of significant delay, defenses asserted by
   27 Defendants, and potential appellate issues.

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    1           26.   The Settlement represents the culmination of intensive arm’s-length
    2 negotiations, after extensive discovery, with the assistance of a professional

    3 mediator. Plaintiffs and the interests of the Class were represented in settlement

    4 negotiations by a team of attorneys who have considerable experience in wage and

    5 hour litigation, and who are, therefore, well-versed in the legal and factual issues.

    6 Defendants were similarly represented by counsel with extensive experience

    7 defending complex litigation, including wage and hour class actions. The settlement

    8 negotiations were contested and conducted in good faith. Plaintiffs and Plaintiffs’

    9 counsel recognize that Defendants have raised factual and legal defenses in the

   10 action that present a risk that Plaintiffs may not prevail, that a class might not be

   11 certified for trial, and that the claims of one or more Class Members may be

   12 defeated. Plaintiffs’ counsel consider this Settlement to be an excellent result.

   13                        SUMMARY OF SETTLEMENT TERMS
   14           27.   The Court has not yet certified a class. The parties have reached a
   15 class-wide settlement and Plaintiffs request, by this motion, that the Court certify the

   16 class for settlement purposes.

   17           28.   The Class is defined as: All individuals employed by First Student, Inc.
   18 or First Student Management, LLC in the position of Attendant, Bus Aid or Bus

   19 Monitor in the state of California as hourly non-exempt employees at any time from

   20 July 11, 2015 to July 24, 2021 (the “Class” or “Class Members.”)

   21           29.   Defendants have agreed to pay $1,475,000.001 (the “Gross Settlement
   22 Amount”) to resolve the claims of Plaintiffs and Participating Class Members. The

   23 Gross Settlement Amount will be used to pay the following: (1) compensation to all

   24 Participating Class Members in settlement of their claims; (2) civil penalties paid to

   25 the State of California and PAGA Members in settlement of the PAGA claims (the

   26
   27   1
       Defendants will separately pay their portion of taxes, contributions, fees and any
   28 other amounts owed to government agencies and/or tax authorities in relation to any
      payments pursuant to the Agreement.
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    1 “PAGA Payment”) in the amount of $89,120.00; (3) court approved attorneys’ fees

    2 (not to exceed one-third (or 33.33 percent) of the Gross Settlement Amount) and

    3 costs estimated to be no more than $45,000; (4) Settlement Administration Costs

    4 necessary to administer the Settlement, including payment for the services of the

    5 Settlement Administrator not to exceed $9,999; and (5) a service payment to each

    6 Plaintiff not to exceed $10,000 subject to Court approval.

    7        30.    There will be a direct monetary distribution to the approximately 879
    8 Class Members. Class Members will not need to file a claim or do anything

    9 affirmative to receive payment; they will simply receive a check for the amount due

   10 to them under the Settlement. The average recovery per class member is anticipated

   11 to be at least $965.17.

   12        31.    All settlement funds will be paid out, and none will revert to
   13 Defendants. After all payments have been issued to the Participating Class

   14 Members, after reasonable efforts have been made to locate Class Members, any

   15 amount remaining Net Settlement Amounts from uncashed checks will be paid to

   16 Legal Aid at Work (“LAAW”). LAAW is a California-based nonprofit organization

   17 that provides legal aid to low-income, working families throughout the state,

   18 including in the area of wage and hour law. LAAW’s mission of enforcing worker

   19 protections through litigation and policy advocacy furthers the interests of California

   20 employees like the Attendants, Bus Aids or Bus Monitors here in preventing and

   21 remedying wage theft and other labor issues.

   22        32.    If the Court grants final approval of the Settlement, the Class will be
   23 deemed to have released Defendants from all claims as described in paragraph 39 of

   24 the Settlement Agreement. There is no difference between the claims to be released

   25 and the claims in the FAC.

   26        33.    Plaintiffs will also provide a general release, including a release of
   27 unknown claims under California Civil Code § 1542.

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    1        34.    The Parties have agreed to use Simpluris, Inc. as the Settlement
    2 Administrator. Simpluris has successfully administered a large number of wage and

    3 hour class action settlements in an efficient and effective manner. Simpluris provided

    4 a settlement administration bid amounting to $9,999.

    5        35.    Plaintiffs’ counsel received three bids from third-party settlement
    6 administrators for this case before choosing Simpluris. Simpluris had the lowest bid.

    7 I worked with Simpluris on several occasions and have had very positive experiences

    8 with their effective and efficient settlement administration skills.

    9        36.    In the past two years, my firm has previously engaged Simpluris as the
   10 settlement administrator in the following cases:

   11                                                    First
   12                                                    Mailing/Distribution
               Case Name                                 Date
   13          Ortega et al. v. JBA Trucking
   14          Company et al                                             6/28/2019
               Winston, et al. v. Comcast Spectacor
   15          Holding Company LLC et al                                 1/10/2020
   16          Botros v. Walgreen Co.                                     7/2/2020
               Terry et al. v. WeDriveU                                  8/26/2021
   17

   18        37.    Under the terms of the Settlement Agreement, after entry of the
   19 Judgment, the Court shall have continuing jurisdiction over the Settlement as

   20 required by law, including: (i) the interpretation and enforcement of the terms of the

   21 Settlement; (ii) settlement administration matters; and (iii) such post-Judgment

   22 matters as may be appropriate under court rules or as set forth in this Settlement.

   23           OTHER INFORMATION REGARDING THE SETTLEMENT
   24        38.    The proposed Settlement Class satisfies Rule 23(a)’s numerosity
   25 requirement. Here, there are approximately 879 Class Members.

   26        39.    Plaintiffs’ claims are typical of all other Class Members in that
   27 Plaintiffs were/are Attendants, Bus Aids or Bus Monitors of Defendants, seeking to

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   1 represent a Class of former and current Attendant, Bus Aid or Bus Monitors who

   2 have all been subject to the same pay policies and procedures of Defendants.

   3        40.     Plaintiffs assert the same legal claims on behalf of themselves and the
   4 proposed Settlement Class and seeks to recover damages as a result of Defendants’

   5 common course of conduct. These satisfy Rule 23(a)’s typicality requirements.

   6        41.    Plaintiffs and the Class they seek to represent share common interests
   7 with respect to seeking compensation for Defendants’ alleged violations of

   8 California’s wage laws. The central question presented is whether Plaintiffs and

   9 Attendants, Bus Aid or Bus Monitor of Defendants have been deprived of their full

  10 pay when working split shifts. Plaintiffs’ claims are the same as those of the

  11 proposed Class, and will be resolved in the same way. All Attendants, Bus Aids or

  12 Bus Monitors are subject to the same policies, practices and procedures with respect

  13 to pay, and all are alleged to have suffered the same type of wage loss, i.e., unpaid

  14 wages when working split shifts.

  15        42.    Defendants’ defenses are also common and predominant. Defendants
  16 contend that liquidated damages are not available for failure to provide split shift

  17 pay. Defendants further argue that there are no wage statement violations because

  18 they did not intentionally fail to include split shift pay on wage statements. These

  19 defenses run to the proposed Class as a whole. There are no claims or defenses

  20 individual to Plaintiffs that would predominate over common questions of fact and

  21 law.

  22        43.    Plaintiffs have fairly and adequately represented the Class. In addition,
  23 Plaintiffs have no interests that are antagonistic to the Class. Plaintiff have actively

  24 participated in this litigation and has worked closely with Plaintiffs’ counsel to

  25 prosecute the claims.

  26        44.    This case has been vigorously litigated thus far. Plaintiffs’ counsel
  27 conducted extensive investigation into the facts of this case. Moreover, during the

  28 course of the litigation, my firm: (1) drafted and filed the complaint and First

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   1 Amended Complaint; (2) exhausted PAGA remedies; (3) drafted a motion to remand

   2 and reply; (4) propounded multiple sets of written discovery; (5) reviewed

   3 voluminous documents; (6) retained an expert to analyze time and payroll data; (7)

   4 interviewed multiple putative class members; (8) prepared for mediation; (9)

   5 negotiated the MOU and the long-form settlement agreement; and (10) drafted the

   6 motion for preliminary approval and supporting documents. The work performed by

   7 Plaintiffs’ counsel in this matter, as well as their substantial experience, provides

   8 more than ample basis for finding that they are well qualified to serve as class

   9 counsel.

  10         45.   There is no concern of collusion in this case. Plaintiffs’ counsel are not
  11 slated to receive a disproportionate distribution of the settlement. The bulk of the

  12 Parties’ negotiations occurred during a settlement conference presided over by Hon.

  13 Steven Denton (Ret.)

  14                      VALUATION OF THE CLAIMS AT ISSUE
  15         46.   At mediation, Plaintiffs calculated the total potential value of the action
  16 to be $2,571,366.33. The proposed Settlement of $1,475,000 represents 57% of the

  17 total potential value.

  18         47.   As set forth below, Plaintiffs’ counsel assigned a reasonable settlement
  19 value to each of the claims asserted on behalf of the Class Members. Plaintiffs’

  20 counsel estimates the total reasonable settlement value of those claims, including

  21 PAGA to be $1,357,578.06.

  22         48.   Defendants deny all of the substantive allegations in the action.
  23 Therefore, because liability is highly contested, both sides will incur significant time,

  24 expenses, and risk if this Action continues. While Plaintiffs and Plaintiffs’ counsel

  25 believe Plaintiffs would ultimately succeed in obtaining certification of the Class and

  26 in prevailing on the merits at trial, the litigation in this action to date has informed
  27 the Parties of the risks of continued litigation. The Settlement provides a fair and

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   1 reasonable monetary recovery for the Class in the face of disputed claims. Plaintiffs

   2 conducted the following analysis of potential damages for each of the class claims.

   3                          Failure to Provide Split Shift Pay Claim
   4           49.   Plaintiffs’ unpaid wages claim arises out of Defendants’ practice of not
   5 paying split shift pay. Plaintiffs retained a damages expert to calculate the damages

   6 based on Defendants’ production of timesheets and wage statements for 827 of the

   7 879 Class Members.2 At the time of mediation Plaintiffs’ expert estimated that

   8 Defendants would be liable to the Class Members for $582,355.59 in split shift pay,

   9 including interest.

  10           50.   Plaintiffs do not find Defendants’ defenses to their split shift pay claim
  11 compelling. Under these circumstances, it is reasonable to only discount Plaintiffs’

  12 claim for split shift pay by twenty percent (multiplying by .80) to account for the

  13 risks involved in certifying a class and maintaining certification through trial.

  14 Accordingly, Plaintiff calculated the reasonable settlement value of this claim to be

  15 $465,884.87.

  16                                 Liquidated Damages Claim
  17           51.   Plaintiffs’ claim for liquidated damages is derivative of their claim for
  18 failure to provide split shift pay. At the time of mediation, Plaintiffs’ expert

  19 estimated Defendants’ liability to the Class Members for liquidated damages claim to

  20 be $582,355.59.

  21           52.   However, Defendants contend that they owe no liquidated damages
  22 because their failure to pay slit shift wages was in good faith. See Labor Code §

  23 1194.2(b). Under these circumstances, it is reasonable to discount Plaintiffs’ unpaid

  24 wages claim by twenty percent (multiplying by .80) to account for the risks involved

  25 in certifying a class and maintaining certification through trial, and by an additional

  26 thirty-five percent (multiplying by .65) to account for the risk of Defendants
  27
       2
  28    The expert then used the records for the 827 Class Members to extrapolate damages
       for the remaining 52 Class Members.
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   1 prevailing on its defense. Accordingly, Plaintiffs determined that the reasonable

   2 settlement value of this claim was $302,824.91.

   3                                 Wage Statement Penalties Claim
   4            53.    At the time of mediation, Plaintiffs’ expert calculated the maximum
   5 recovery for Plaintiffs’ wage statement claim under Labor Code section 226(e) to be

   6 $426,500.00. However, Defendants deny any wage statement violations and claim

   7 that whatever conduct occurred was not knowing and intentional, as required by

   8 Section 226.

   9            54.    Under these circumstances, it is reasonable to discount Plaintiffs’ wage
  10 statement penalties claim by twenty percent (multiplying by .80) to account for the

  11 risks involved in certifying a class and maintaining certification through trial, and by

  12 an additional thirty-five percent (multiplying by .65) to account for the risk of

  13 Defendants prevailing on their defenses. Accordingly, Plaintiff calculated the

  14 reasonable settlement value of this claim to be $221,780.00. wage statement claim

  15 therefore exceeds the reasonable settlement value.

  16                                  Waiting Time Penalties Claim
  17            55.    Plaintiffs allege that Defendants have failed to timely pay compensation
  18 and wages to Class Members upon their termination or resignation from

  19 employment, as required by Labor Code sections 201 and 202.3 At the time of

  20 mediation, Plaintiffs’ damages expert calculated the maximum waiting time penalties

  21 owed to Class Members whose employment terminated within three years prior to

  22 filing the Complaint to be $534,555.15.

  23            56.    In response, Defendants argue that there is a good faith dispute that any
  24 unpaid wages are due and any failure to pay wages was not willful. See Labor Code

  25 § 203; 8 C.C.R. § 13520 (providing the definition of “willful”). Under these

  26 circumstances, it is reasonable to discount Plaintiffs’ waiting time penalty claim by
  27

  28
       3
           This claim is derivative of Plaintiffs’ claim for failure to provide split shift pay.
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   1 twenty percent (multiplying by .80) to account for the risk of Defendants prevailing

   2 to account for the risks involved in certifying a class and maintaining certification

   3 through trial, and by an additional thirty-five percent (multiplying by .65) to account

   4 for the risks that Defendants will prevail on their defenses. Accordingly, Plaintiffs

   5 determined that the reasonable settlement value of this claim was $277,968.68.

   6                                  PAGA Penalties Claim
   7         57.   With respect to PAGA, there are 4465 total Pay Periods at issue for the
   8 PAGA claims in the Action. Assigning a penalty of $100 per pay period, and not

   9 stacking (compounding) penalties, results approximately $445,600.00 in damages.

  10         58.   Here, as described above, Defendants contend that they have
  11 compelling defenses to Plaintiffs’ underlying claims. Under these circumstances, it is

  12 reasonable to reduce the PAGA penalty to $20 per pay period, or $89,120.00.

  13                                 NOTICE PROCEDURE
  14         59.   Under the Settlement Agreement, Simpluris, an experienced class action
  15 administrator with a proven track record in administering class settlements, will

  16 serve as the Settlement Administrator. Simpluris will send direct notice by first class

  17 mail to Class Members. Class Members will have forty-five (45) days to opt out or to

  18 object to the Settlement. Defendants will also comply with the notice requirements of

  19 the Class Action Fairness Act, 28 U.S.C. § 1715, within 10 business days of the

  20 filing of this Motion.

  21         60.   The proposed mail and website notice is written in plain English and
  22 describes: (1) the nature of the claims in the case; (2) a description of the Class; (3) a

  23 description of the Settlement and the relief to be provided; (4) the consequences of

  24 opting out or remaining in the Class; and (5) how to get more information from this

  25 Court about the Settlement, the parties involved and the procedures to follow to

  26 object or opt out. The Notice includes the deadline to object to the Settlement, and
  27 the date of the Fairness Hearing. The Notice states that Class Members can enter an

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   1 appearance through counsel if desired. Finally, the Notice makes clear that Class

   2 Members do not need to do anything to receive benefits under the Settlement.

   3        61.    In addition, the proposed Notice Packet also includes: (1) Plaintiffs’
   4 counsel’s contact information; (2) the URL for the settlement website; (3)

   5 instructions on how to access the case docket via PACER or in person; (4) the date

   6 of the final approval hearing and a statement that the date may change without

   7 further notice; and (5) a statement advising Class Members how to determine if the

   8 Final Approval Hearing is continued.

   9                COMPARABLE CLASS ACTION SETTLEMENTS
  10        62.    In Ortega, et al. v. JBA Trucking Company, Case No. BC583827 (Los
  11 Angeles Superior Court) the Court approved a $500,000 settlement on behalf of 59

  12 truck drivers for claims for failure to: pay minimum wage and overtime, provide

  13 meal breaks, permit rest breaks, reimburse business expenses, provide adequate wage

  14 statements, waiting time penalties and PAGA claims. $21,420 was allocated to

  15 PAGA, $6,000 to administrative costs, litigation costs of $65,000, and Class

  16 Representative Awards of $10,000 to each of the three named Plaintiffs in the case.

  17        63.    In Austin, et al. v. Foodliner, Inc. (United States District Court,
  18 Northern District of California case no. 4:16-cv-07185-HSG), the court approved a

  19 non-reversionary settlement of $1,200,000 on behalf of 217 truck drivers. The claims

  20 were brought on behalf of low wage workers for failure to pay minimum wage for

  21 time worked during nonproductive time and rest periods, as well as for meal and rest

  22 period violations. Hunter Pyle was class counsel. Of the total settlement fund,

  23 $300,000 was requested and awarded in attorneys’ fees, $22,221.97 was requested

  24 and awarded in litigation costs, $81,405 was allocated to PAGA (75% of which was

  25 paid to the Labor Workforce and Development Agency), $10,000 was awarded to

  26 one of the five class representatives, $5,000 was awarded to each of the remaining
  27 four class representatives and $4,500 was allocated to administrative expenses. The

  28 average recovery per class member was $3,558.64.

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   1          64.   In Hooper v. URS Midwest, Inc., Case No. CIV DS1607489 (San
   2 Bernardino County Superior Court), the court approved a non-reversionary

   3 settlement of approximately $3,000,000 on behalf of 351 truck drivers. The claims

   4 were brought on behalf of low wage workers for failure to pay minimum wage for

   5 time worked during nonproductive time and rest periods, as well as for meal and rest

   6 period violations. Hunter Pyle was class counsel along with two other firms. Of the

   7 total settlement fund, $993,069.75 was requested and awarded in attorneys’ fees,

   8 $25,226.89 was requested and awarded in litigation costs, $30,000 was allocated to

   9 PAGA (75% of which was paid to the Labor Workforce and Development Agency),

  10 $10,000 was awarded to each of the three class representatives, and $25,000 was

  11 allocated to administrative expenses. The average recovery per class member was

  12 $1,836.37, which included reimbursements under Labor Code § 2802 for drivers’ use

  13 of their personal cell phone for business purposes. The remainder of settlement funds

  14 from uncashed checks was $2,080.67. That amount was sent to the State of

  15 California’s Unclaimed Wages Fund.

  16   THE REQUESTED ATTORNEYS’ FEES, COSTS, AND SERVICE AWARDS
  17                       ARE PRELIMINARILY REASONABLE
  18                                      Attorney’s Fees
  19          65.   Prior to the hearing on the motion for final approval of the Settlement,
  20 Plaintiffs’ counsel will file a separate motion requesting approval of their attorneys’

  21 fees and costs. Plaintiffs’ counsel will seek attorneys’ fees of up to $442,500 or 30%

  22 of the Gross Settlement Amount, plus reasonable expenses advanced and carried by

  23 Plaintiffs’ counsel during this litigation.

  24          66.   Here, Plaintiffs’ counsel took this case on a purely contingent fee basis.
  25 To date, my firm has expended over 379.2 hours working on this matter amounting

  26 to $254,367.50 in attorneys’ fees as follows:
  27 //

  28 //

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   1                Name              Hours Worked               Rate           Amount
   2             Hunter Pyle              188.7              $    850.00     $ 160,395.00
                Vincent Chen              136.4              $    500.00     $ 68,200.00
   3
               Katherine Fiester          41.6               $    500.00     $ 20,800.00
   4            Chad Saunders              9.6               $    450.00     $ 4,320.00
          Darlene Sanchez (Paralegal)      2.9               $    225.00     $     652.50
   5
                    Totals                379.2                              $ 254,367.50
   6

   7         67.   By the time my firm requests approval of their fees and costs, I expect
   8 my firm to work at least an additional 60 hours for purposes of final approval and the

   9 extensive work related to settlement administration. Considering this additional time

  10 Plaintiffs’ counsel’s lodestar will be closer to $298,367.50. This accounts for an

  11 additional 40 hours for Mr. Pyle at an hourly rate of $850 and 20 hours for Ms.

  12 Fiester at an hourly rate of $500.

  13                                      Litigation Costs
  14         68.   My firm has advanced all litigation costs for this matter. To date,
  15 Plaintiffs’ counsel has incurred just over $42,450 in necessary and reasonable

  16 litigation costs. I estimate that reasonable costs in this matter should not exceed

  17 $45,000. Plaintiffs will provide detailed cost itemization at the final approval stage

  18 that includes costs incurred to retain a damages expert, necessary and reasonable

  19 travel expenses, court costs, and service fees.

  20                    Named Plaintiffs’ Service to the Settlement Class
  21         69.   Plaintiffs Norma Lopez, Cindy Mitchell, Vada Neice, and Mary Diaz
  22 have performed substantial service on behalf of the class since this case was filed.

  23 Plaintiffs have actively participated in the litigation by assisting Plaintiffs’ counsel in

  24 with background investigation and evaluation of the claims, searching for and

  25 providing documents related to the case, drafting the complaint and First Amended

  26 Complaint and LWDA notices, drafting Plaintiffs’ motion for remand, participating
  27 in case strategy meetings, participating in the mediation process, assisting with the

  28

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   1 motion for preliminary approval, and diligently staying updated about the progress of

   2 the case.

   3        70.    At the final approval stage, my firm will ask the Court to approve a
   4 service award to each of the Plaintiffs of $10,000 to be paid out of the Settlement

   5 Fund to recognize Plaintiffs for their time and effort serving as class representatives.

   6        71.    Plaintiffs are low-wage workers who took great personal and
   7 professional risk in bringing this lawsuit.

   8        I declare under penalty of perjury under the laws of the United States and the
   9 State of California that the foregoing is true and correct, and that this declaration was

  10 executed on September 17, 2021, in Oakland, California.

  11

  12                                             /s/ Hunter Pyle
                                             ____________________
  13                                             Hunter Pyle

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                             Email: kfiester@hunterpylelaw.com
                      7
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                             Telephone: 619.232.0441 /Fax: 619.232.4302
                  13
                             Attorneys for Defendants
                  14         FIRST STUDENT, INC.; FIRST STUDENT
                             MANAGEMENT, LLC; and FIRSTGROUP
                  15         AMERICA, INC.
                  16
                  17                                 UNITED STATES DISTRICT COURT
                  18                               CENTRAL DISTRICT OF CALIFORNIA
                  19         NORMA LOPEZ, CINDY                         Case No. 5:19-cv-01669-JGB-SHK
                             MITCHELL, VADA NEICE, and
                  20         MARY DIAZ, on behalf of themselves         JOINT STIPULATION OF CLASS
                             and all others similarly situated,         AND PAGA REPRESENTATIVE
                  21                                                    ACTION SETTLEMENT AND
                                             Plaintiffs,                RELEASE
                  22
                             v.
                  23
                             FIRST STUDENT, INC., FIRST
                  24         STUDENT MANAGEMENT, LLC,
                             FIRSTGROUP AMERICA, INC., and
                  25         DOES 1 through 10, inclusive,
                  26                         Defendants.
                  27
                  28
LITTLER MENDELSON, P.C.
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
        619.232.0441

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                      1
                      2
                             JOINT STIPULATION OF CLASS ACTION SETTLEMENT AND RELEASE
                      3
                                          This Joint Stipulation of Class and PAGA Representative Action
                      4
                             Settlement and Release states the proposed terms of the class action settlement of the
                      5
                             above-entitled action. The terms stated below are agreed to and binding on Plaintiffs
                      6
                             Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz (collectively, “Plaintiffs”)
                      7
                             and Defendants First Student, Inc., First Student Management, LLC and FirstGroup
                      8
                             America, Inc. (“Defendants”). Once approved by the Court, the Settlement shall be
                      9
                             binding under the terms stated herein on Plaintiffs, Defendants, and the Class Members
                  10
                             (as defined below).
                  11
                                                    SUMMARY OF THE SETTLEMENT
                  12
                                          The Parties herein, as stated in more detail in the terms and definitions
                  13
                             below, have agreed to settle on a class basis all claims asserted by Plaintiffs for various
                  14
                             alleged violations of the California Labor Code and the Unfair Competition Law. The
                  15
                             class consists of all individuals employed by First Student, Inc. or First Student
                  16
                             Management, LLC in the State of California as non-exempt Attendants, Bus Aids and
                  17
                             Bus Monitors during the class period defined below. The Parties conducted mediation
                  18
                             of this case on May 12, 2021 with Hon. Steve Denton, during which the Parties agreed
                  19
                             that all claims alleged herein, as defined below, would be settled on a class basis for the
                  20
                             maximum amount of One Million Four Hundred Seventy Five Thousand Dollars
                  21
                             ($1,475,000.00), with no portion of the settlement reverting back to Defendants. Of
                  22
                             that settlement amount, Eighty Nine Thousand One Hundred Twenty Dollars
                  23
                             ($89,120.00) would be designated as PAGA Penalties under the Private Attorneys
                  24
                             General Act, seventy-five percent (75%) of which will be paid to the California Labor
                  25
                             and Workforce Development Agency and twenty-five percent (25%) of which will be
                  26
                             paid to members of the class in accordance with the terms herein below.
                  27
                  28
LITTLER MENDELSON, P.C.
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
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                      1                                          DEFINITIONS
                      2            1.     The following definitions are applicable to this Settlement, in addition to
                      3      other terms defined elsewhere in the Settlement:
                      4                   a.      “Action” shall mean the following lawsuit: Lopez, et al. v. First
                      5      Student, Inc., et al., Central District of California Case No. 5:19-cv-01669-JGB-SHK
                      6      including the original and First Amended Complaint.
                      7                   b.      “Attorneys’ Costs” means reasonable attorneys’ costs approved by
                      8      the Court for Class Counsel’s litigation and resolution of the Actions incurred and to be
                      9      incurred by Class Counsel in the Actions up to, but not to exceed, Sixty Thousand
                  10         Dollars ($60,000.00). Attorneys’ Costs shall be paid to Class Counsel. The Attorneys’
                  11         Costs shall be paid from the Gross Settlement Amount.
                  12                      c.      “Attorneys’ Fee Award” means the attorneys’ fees agreed upon by
                  13         the Parties herein and approved by the Court for Class Counsel’s litigation and
                  14         resolution of the Action up to, but not to exceed, thirty three and one third percent
                  15         (33.33%) of the Gross Settlement Amount. Attorneys’ Fees shall be paid to Class
                  16         Counsel from the Gross Settlement Amount.
                  17                      d.      “Class” and “Class Members” for purposes of this Settlement shall
                  18         be defined as: All individuals employed by First Student, Inc. or First Student
                  19         Management, LLC in the position of Attendant, Bus Aid or Bus Monitor in the state of
                  20         California as hourly non-exempt employees at any time during the Class Period. The
                  21         persons identified in this paragraph are “Class Members” and are collectively referred
                  22         to as “the Class.”
                  23                      e.      “Class Counsel” shall mean Hunter Pyle and Katherine Fiester of
                  24         Hunter Pyle Law.
                  25                      f.      “Class Period” shall mean the time period from July 11, 2015
                  26         through July 24, 2021 (“Class Period”).
                  27                      g.      “Class Representative Service Award” shall mean an award up to,
                  28         but not to exceed, Ten Thousand Dollars ($10,000.00) to each of the Plaintiffs in
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                      1      recognition of Plaintiffs’ efforts and work in prosecuting the Action on behalf of Class
                      2      Members, risks undertaken for the payment of costs in the event of loss, and the giving
                      3      of a general release of all claims. The Class Representative Service Awards shall be
                      4      paid from the Gross Settlement Amount.
                      5                   h.     “The Court” shall mean the Central District of California, The
                      6      Honorable Jesus G. Bernal, Case No. 5:19-cv-01669-JGB-SHK, or such other Central
                      7      District Judge as may be assigned to hear this matter.
                      8                   i.      “Defendants” shall mean Defendants First Student, Inc., First
                      9      Student Management, LLC and FirstGroup America, Inc.
                  10                      j.     “Effective Date” shall be thirty one (31) calendar days from the date
                  11         of entry of an Order Granting Final Approval of the Settlement and Entering Judgment
                  12         described below. However, if an appeal is filed within thirty (30) days of entry of an
                  13         Order Granting Final Approval of the Settlement and Entering Judgment, then the
                  14         Effective Date shall be the latest of: (i) the date of final affirmance of the Order Granting
                  15         Final Approval; (ii) the date of final dismissal of any appeal from the Order Granting
                  16         Final Approval of the Settlement and Entering Judgment or the final dismissal of any
                  17         proceeding to review the Order Granting Final Approval that has the effect of
                  18         confirming the Order Granting Final Approval with no avenue for additional appeal or
                  19         review available.
                  20                      k.     “Employer Taxes” means Defendants’ share of employer-sided
                  21         payroll taxes to be paid on that portion of the Class Member’s Individual Settlement
                  22         Payment characterized as wages, i.e. FICA, FUTA, payroll taxes, and/or any similar tax
                  23         or charge. The Employer Taxes will be paid outside of and in addition to the Gross
                  24         Settlement Amount.
                  25                      l.     “Gross Settlement Amount” (or “GSA”) shall mean the maximum
                  26         non-reversionary amount of One Million Four Hundred Seventy Five Thousand Dollars
                  27         ($1,475,000.00) payable by Defendants as provided for by this Agreement.
                  28                      m.     “Individual Settlement Payment” means the amount each Class
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                      1      Member shall be entitled to receive pursuant to the Settlement. This payment will
                      2      include compensation pursuant to the terms of this Agreement for all Workweeks during
                      3      the Class Period and the number of Pay Periods worked during the PAGA Period. Class
                      4      Members who opt-out of the non-PAGA portion of the Settlement shall only receive
                      5      payment based on the number of Pay Periods worked during the PAGA Period.
                      6                  n.     “LWDA Payment” means the seventy-five percent (75%) portion of
                      7      the PAGA Penalties to be paid to the California Labor and Workforce Development
                      8      Agency (“LWDA”) pursuant to the PAGA.
                      9                  o.     “Net Settlement Amount” shall mean the Gross Settlement Amount
                  10         less (a) the Class Representative Service Awards, (b) Settlement Administration Costs,
                  11         (c) Attorneys’ Fees Award, (d) Attorneys’ Costs, and the (e) PAGA Penalties.
                  12                     p.     “Notice Packet” shall mean the Notice of Proposed Class Action
                  13         Settlement substantially in the form attached as Exhibit A;
                  14                     q.     “Parties” shall mean collectively, Plaintiffs and Defendants.
                  15                     r.     “Pay Period(s)” means any Pay Period in which a PAGA Member
                  16         worked one day in that Pay Period during the PAGA Period, excepting those dates/times
                  17         taken for vacations and leaves of absences.
                  18                     s.     “Plaintiffs” and “Class Representatives” shall mean Plaintiffs
                  19         Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz.
                  20                     t.     “PAGA” shall mean the Private Attorneys General Act of 2004,
                  21         California Labor Code section 2698, et seq.
                  22                     u.     “PAGA Member(s)” means those Class Members who worked any
                  23         time during the PAGA Period.
                  24                     v.     “PAGA Members Payment” means the twenty-five percent (25%)
                  25         portion of the PAGA Penalties to be paid to PAGA Members pursuant to the PAGA.
                  26                     w.     “PAGA Penalties” means civil penalties under the PAGA agreed
                  27         upon by the Parties and approved by the Court up to, but not to exceed, Eighty Nine
                  28         Thousand One Huundred Twenty Dollars ($89,120.00), seventy-five percent (75%) of
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                      1      which will be paid to the California Labor and Workforce Development Agency
                      2      (“LWDA Payment”), and the remaining twenty-five percent (25%) (“PAGA Members
                      3      Payment”) shall be distributed proportionately to PAGA Members.
                      4                  x.     “PAGA Period” means that period of time from July 15, 2018 to
                      5      July 24, 2021 in which PAGA Members worked.
                      6                  y.     “Participating Class Member(s)” means any Class Member who
                      7      does not return a valid and timely request to be excluded from the non-PAGA portion
                      8      of the Settlement. All Participating Class Members will be mailed their Individual
                      9      Settlement Payment without the need to return a claim form.
                  10                     z.     “Response Deadline” means the deadline by which Class Members
                  11         must postmark and return to the Administrator signed, dated, and timely requests for
                  12         exclusion from the non-PAGA portion of the Settlement, objections to the Settlement
                  13         and/or disputes concerning the number of Workweeks during the Class Period and/or
                  14         number Pay Periods worked during the PAGA Period. The Response Deadline will be
                  15         forty-five (45) calendar days from the initial mailing of the Notice Packets by the
                  16         Settlement Administrator, unless the 45th day falls on a Sunday or Federal holiday, in
                  17         which case the Response Deadline will be extended to the next day on which the U.S.
                  18         Postal Service is open. The Response Deadline will be extended fifteen (15) calendar
                  19         days for any Class Member who is re-mailed a Notice Packet by the Settlement
                  20         Administrator, unless the 15th day falls on a Sunday or Federal holiday, in which case
                  21         the Response Deadline will be extended to the next day on which the U.S. Postal Service
                  22         is open. The Response Deadline may also be extended by express agreement between
                  23         Class Counsel and Defendant.
                  24                     aa.    “Released Claims” means any and all claims, debts, rights,
                  25         demands, obligations or liabilities of every nature and description, for damages,
                  26         premiums, penalties, liquidated damages, punitive damages, interest, attorneys’ fees,
                  27         litigation costs, restitution, or equitable relief alleged in the original and amended
                  28         Complaints in the Action, or which could have been alleged based on the facts alleged
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                      1      in the original and amended Complaints in the Action during the Class Period, relating
                      2      to the alleged failure to pay split shift premiums and derivative claims, including
                      3      without limitation: (i) failure to pay split shift premiums pursuant to Labor Code
                      4      sections 1197, 1194 and IWC Wage Order No. 9, (ii) failure to pay minimum wages
                      5      pursuant to Labor Code sections 1197, 1194 and 1194.2 and IWC Wage Order No. 9,
                      6      (iii) failure to issue complete and accurate itemized wage statements pursuant to Labor
                      7      Code section 226, (iv) waiting time penalties pursuant to Labor Code section 201-203,
                      8      (v) violations of California Labor Code §§ 200, 201, 202, 203, 204, 210, 218.5, 226,
                      9      558 and 1194; (vi) violations of California Business & Professions Code § 17200 et
                  10         seq.; (viii) violations of the applicable IWC Wage Orders that apply to split shift
                  11         premiums and derivative claims as described above, including without limitation the
                  12         relevant portions of IWC Wage Orders 9-1998, 9-2000 and 9-2001; (ix) as related to
                  13         the claims referenced above, interest, attorneys’ fees and costs, for the duration of the
                  14         Class Period. “Released Claims” includes any and all claims for benefits based on the
                  15         above-referenced claims under any benefit plan, program or policy sponsored or
                  16         maintained by Defendants, including, but not limited to the Employee Retirement
                  17         Income Security Act, 29 U.S.C. §1001, et seq., but not vested benefits under any
                  18         pension or 401(k) plan or other ERISA-governed benefit plan. “Released Claims” also
                  19         includes all types of relief available for the above-referenced claims, including any
                  20         claims for damages, restitution, losses, premiums, penalties, fines, liens, attorneys’ fees,
                  21         costs, expenses, debts, interest, injunctive relief, declaratory relief, or liquidated
                  22         damages.
                  23                      bb.    “Released PAGA Claims” means any and all claims for penalties
                  24         under PAGA, alleged in the original and amended Complaint or Plaintiffs’ letters to the
                  25         LWDA, or which could have been alleged based on the facts alleged in the original and
                  26         amended Complaints or Plaintiffs’ letters to the LWDA, arising during the PAGA
                  27         Period, relating to the alleged failure to pay split shift premiums and derivative claims,
                  28         including without limitation: (i) failure to pay split shift premiums pursuant to Labor
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                      1      Code sections 1197, 1194 and IWC Wage Order No. 9, (ii) failure to pay minimum
                      2      wages pursuant to Labor Code sections 1197, 1194 and 1194.2 and IWC Wage Order
                      3      No. 9, (iii) failure to issue complete and accurate itemized wage statements pursuant to
                      4      Labor Code section 226, (iv) waiting time penalties pursuant to Labor Code section
                      5      201-203, (v) violations of California Labor Code §§ 200, 201, 202, 203, 204, 210,
                      6      218.5, 226, 558 and 1194; (vi) violations of California Business & Professions Code §
                      7      17200 et seq.; (viii) violations of the applicable IWC Wage Orders that apply to split
                      8      shift premiums and derivative claims as described above, including without limitation
                      9      the relevant portions of IWC Wage Orders 9-1998, 9-2000 and 9-2001; (ix) as related
                  10         to the claims referenced above, interest, attorneys’ fees and costs, for the duration of
                  11         the Class Period.
                  12                      cc.     “Released Parties” means First Student, Inc., First Student
                  13         Management, LLC, FirstGroup America, Inc., their past, present, and future parents,
                  14         subsidiaries, divisions, and their respective past, present, and future officers, directors,
                  15         employees, partners, shareholders, owners, agents, insurers, legal representatives,
                  16         attorneys and all of their successors (including persons or entities who may acquire
                  17         them in the future), assigns, representatives, heirs, executors, and administrators and all
                  18         other persons acting by, through, under or in concert with them that could be liable.
                  19                      dd.    “Settlement” or “Agreement” or “Settlement Agreement” shall
                  20         mean this Joint Stipulation of Class Action Settlement and Release.
                  21                      ee.    “Settlement Administrator” means Simpluris or any other third-
                  22         party class action settlement administrator agreed to by the Parties and approved by the
                  23         Court for the purposes of administering this Settlement.
                  24                      ff.    “Settlement Administration Costs” means the costs allocated from
                  25         the Gross Settlement Amount to pay for administration of the settlement, as described
                  26         in this Agreement, including required tax calculations and tax reporting to the
                  27         appropriate governmental entities in connection with the Individual Settlement
                  28         Payments (as defined below), issuing of 1099 and W-2 IRS Forms, address updates
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                      1      through the National Change of Address database (prior to the mailing of the Notice
                      2      Packets, distributing Notice Packets, skip-tracing Notice Packets returned as
                      3      undeliverable, calculating and distributing the Individual Settlement Payments, weekly
                      4      status reports, resolving disputed claims with the aid of the Parties’ counsel, and
                      5      providing all reports and declarations deemed necessary by the Parties in an amount not
                      6      to exceed $9,999.00.
                      7                     gg.   “Workweek” means any week in which a Class Member worked one
                      8      day in that week during the Class Period, excepting those dates/times taken for
                      9      vacations and leaves of absences.
                  10                     SUMMARY OF THE LITIGATION AND SETTLEMENT
                  11               2.       On July 11, 2019, Plaintiffs Norma Lopez, Cindy Mitchell and Vada Neice
                  12         filed their class action Complaint on behalf of themselves and a putative class. Plaintiffs
                  13         alleged causes of action against Defendants for: (1) Failure to pay split shift wages;
                  14         (2) Failure to provide complete and accurate wage statements; and (3) Unfair
                  15         competition.
                  16               3.       On August 30, 2019, Defendants removed the Action to federal court
                  17         pursuant to the Class Action Fairness Act of 2005 (“CAFA”).
                  18               4.       On January 21, 2020, Plaintiffs filed a First Amended Complaint adding
                  19         Mary Diaz as a named Plaintiff and adding causes of action for waiting time penalties
                  20         and PAGA penalties.
                  21               5.       The Parties conducted discovery, including the production of putative class
                  22         member information and time and payroll records. The Parties recognize the issues in
                  23         the Action will likely only be resolved with further extensive and costly proceedings;
                  24         recognize that further litigation shall cause inconvenience, distraction, disruption, delay
                  25         and expense disproportionate to the potential benefits of litigation; and recognize the
                  26         risk and uncertainty of the outcome inherent in any litigation. Based on their own
                  27         independent investigation and evaluation, Class Counsel is of the opinion that the
                  28         Settlement with Defendants for the consideration and on the terms of this Settlement is
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                      1      fair, reasonable, and adequate and is in the best interest of the Class in light of all known
                      2      facts and circumstances, including the risk of significant delay and defenses asserted by
                      3      Defendants. While Defendants specifically deny all liability in the Action, they have
                      4      agreed to enter into this Settlement to avoid the cost and business disruption associated
                      5      with further defense of the Action.
                      6            6.       The Parties participated in a mediation of this case on May 12, 2021 with
                      7      Hon. Steven Denton (Ret.). During the course of the mediation, the Parties agreed to
                      8      fully, finally, and forever compromise and settle all claims asserted in the Action for
                      9      the Gross Settlement Amount. To achieve a complete release of Defendants, each Class
                  10         Member will be informed that in exchange for their Individual Settlement Payment,
                  11         each Participating Class Member will release the Released Claims as against the
                  12         Released Parties and each PAGA Member will release the PAGA Released Claims as
                  13         against the Released Parties.
                  14                               TERMS OF THE CLASS SETTLEMENT
                  15               7.       Gross Settlement Amount. Defendants shall pay the Gross Settlement
                  16         Amount to resolve the Action on a class-wide basis. In addition to the Gross Settlement
                  17         Amount, Defendants shall pay the Employer Taxes due on the portion of the Individual
                  18         Settlement Payments allocated to wages. Under no circumstances shall Defendants be
                  19         obligated to pay any more than the Gross Settlement Amount and the Employer Taxes.
                  20               8.       Allocation of the Gross Settlement Amount. From the Gross Settlement
                  21         Amount, and subject to the approval of the Court, the Parties agree to the following
                  22         allocations:
                  23                        a.    Class Representative Service Awards.         Plaintiffs Norma Lopez,
                  24         Cindy Mitchell, Vada Neice and Mary Diaz shall each be paid a Class Representative
                  25         Service Award of up to $10,000 in recognition of Plaintiffs’ effort and work in
                  26         prosecuting the Action on behalf of Class Members, and undertaking the burdens and
                  27         risks for the payment of costs in the event of loss. The Class Representative Service
                  28         Awards shall be paid in addition to Plaintiffs’ Individual Settlement Payments, and
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                      1      Plaintiffs shall give a general release of all claims against Defendants in exchange for
                      2      the Class Representative Service Awards.        Plaintiffs shall be solely and legally
                      3      responsible to pay any and all applicable taxes on their Class Representative Service
                      4      Awards. Any portion of the Class Representative Service Awards not awarded to
                      5      Plaintiffs shall remain with the Net Settlement Amount.
                      6                   b.    Settlement Administration Costs. The Settlement Administrator
                      7      shall be paid “Settlement Administration Costs” in an amount not to exceed $9,999.00;
                      8                   c.    Attorneys’ Fee Award. Class Counsel shall be paid an Attorneys’
                      9      Fee Award of up to $491,617.50, thirty three and one third (33.33) percent of the Gross
                  10         Settlement Amount;
                  11                      d.    Attorneys’ Costs.     Class Counsel shall be paid an award for
                  12         reimbursement of their Attorneys’ Costs in an amount of up to $60,000.00;
                  13                      e.    PAGA Penalties.       PAGA Penalties of $66,840.00 (75% of
                  14         $89,120.00) shall be paid to the LWDA and $22,280.00 (25% of $89,120.00) to Class
                  15         Members who have worked during Pay Periods in the PAGA Period. Class Members
                  16         shall not have the right to opt out of the PAGA portion of this Settlement.
                  17               9.     Allocation of the Net Settlement Amount and PAGA Members Payment.
                  18         The Net Settlement Amount, estimated at $784,263.50, and the PAGA Members
                  19         Payment estimated to be $22,280.00 shall be allocated to Class Members based on the
                  20         formula described below. Any portion of the Class Representative Service Award, the
                  21         Settlement Administration Costs, the Attorneys’ Fees Award, the Attorneys’ Cost,
                  22         and/or the PAGA Penalties not approved by the Court shall be included in the Net
                  23         Settlement Amount. No portion of the Net Settlement Amount shall revert to or be
                  24         retained by Defendants under any circumstance. The Net Settlement Amount and
                  25         PAGA Members Payment shall be distributed to Participating Class Members and
                  26         PAGA Members on a proportionate basis as follows:
                  27                    a. Payment to Participating Class Members.        Each Participating Class
                  28                      Member shall receive a proportionate share of the Net Settlement Amount
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                      1                    that is equal to (i) the number of Workweeks he/she worked during the
                      2                    Class Period divided by (ii) the total number of Workweeks worked by all
                      3                    Participating Class Members during the Class Period.
                      4                  b. PAGA Members Payment.           Each PAGA Member will receive a
                      5                    proportionate share of the PAGA Members Payment that is equal to (i) the
                      6                    number of Pay Periods he/she worked during the PAGA Period divided by
                      7                    (ii) the total number of Pay Periods worked by all PAGA Members during
                      8                    the PAGA Period.
                      9                    c.    Individual Settlement Payments. Participating Class Members shall
                  10         receive an Individual Settlement Payment calculated as set forth in paragraph 9(a)-(b)
                  11         above. Class Members who opt out of the non-PAGA portion of the settlement shall
                  12         receive only an Individual Settlement Payment representing payment for the PAGA
                  13         Members Payment as set forth in paragraph 9(b). In the event that a Class Member
                  14         should dispute the information upon which his or her Individual Settlement Payment is
                  15         calculated, and it is determined by the Administrator from the information and/or
                  16         documentation provided by that Class or PAGA Member that an amount more than that
                  17         initially calculated is payable to any Participating Class Member or PAGA Member
                  18         pursuant to the Settlement, that additional amount will be paid from the Gross
                  19         Settlement Amount. In no event shall Defendants ever be required to pay any amount
                  20         greater than the Gross Settlement Amount plus the Employer Taxes.
                  21               10.     No Credit Toward Benefit Plans.        Unless otherwise required by any
                  22         applicable benefit plan, the Individual Settlement Payments made to Participating Class
                  23         Members and PAGA Members, as well as any other payments made pursuant to this
                  24         Settlement, shall not be construed as compensation for nor utilized to calculate any
                  25         additional benefits under any benefit plans to which any Class Members may otherwise
                  26         be eligible, including, but not limited to profit-sharing plans, bonus plans, 401(k) plans,
                  27         stock purchase plans, vacation plans, sick leave plans, PTO plans, and any other benefit
                  28         plan. Unless otherwise required by any applicable benefit plan, this Settlement shall not
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                      1      affect any rights, contributions, or amounts to which any Class Members may be entitled
                      2      under any benefit plans.
                      3                    PRELIMINARY APPROVAL OF THE SETTLEMENT
                      4            11.    Preliminary Approval: Upon execution of this Settlement, Plaintiffs shall
                      5      file a Motion for Order Granting Preliminary Approval of the Class Action Settlement
                      6      which requests the following: (i) preliminary approval of the Settlement, subject only
                      7      to the objections of Class Members and final review by the Court; (ii) conditional
                      8      certification of a class for purposes of settlement only; (iii) a schedule for final approval
                      9      hearing regarding the proposed Settlement, including payment of Attorneys’ Fees and
                  10         Attorneys’ Costs, and Class Representative Service Awards; (iv) approval as to form
                  11         and content of the proposed Notice Packet; (v) a schedule for the procedures for the
                  12         Response Deadline; and (vi) a schedule for the mailing of the Notice Packet by first
                  13         class mail to the Class Members.          Plaintiffs’ Counsel will provide counsel for
                  14         Defendants with a draft of the motion for preliminary approval including the proposed
                  15         Order Granting Preliminary Approval at least seven (7) calendar days before it is filed
                  16         with the Court for Defendants’ review and input. Defendants shall not oppose the
                  17         Preliminary Approval Motion and may, in their sole option, file a declaration of non-
                  18         opposition. Concurrently with the filing of the Preliminary Approval Motion, counsel
                  19         for Plaintiffs shall submit a copy of this Agreement to the LWDA, and provide proof of
                  20         said submission to the Court and counsel for Defendant.
                  21               12.    CAFA Notice:        Pursuant to the Class Action Fairness Act of 2005
                  22         (“CAFA”), within ten (10) business days after the filing of the Motion for Preliminary
                  23         Approval, Defendants will, provide notice pursuant to 28 U.S.C. § 1715. Defendants
                  24         will file a declaration with the Court confirming compliance with the notice provisions
                  25         of 28 U.S.C. § 1715. The Parties will request the Court to make a finding that the notice
                  26         provisions of 28 U.S.C. § 1715 have been satisfied in the Motion for Final Approval of
                  27         the Settlement.
                  28               13.    Class Action Certification for Settlement Purposes Only. The Parties agree
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                      1      to stipulate to certification of the Class for purposes of the Settlement only. If, for any
                      2      reason, the Settlement is not approved, the stipulation to certification shall be void. The
                      3      Parties further agree that certification for purposes of the Settlement is not an admission
                      4      that class action certification is proper under the standards applied to contested
                      5      certification motions and that this Settlement shall not be admissible in this or any other
                      6      proceeding as evidence that either: (i) a class action should be certified or
                      7      (ii) Defendants are liable to Plaintiffs or any Class Member, other than according to the
                      8      Settlement’s terms.
                      9                              SETTLEMENT ADMINISTRATION
                  10               14.     Settlement Administrator. The Parties each represent that they do not have
                  11         any financial interest in the Settlement Administrator or otherwise have a relationship
                  12         with the Settlement Administrator that could create a conflict of interest.
                  13               15.     Class Data. Within 14 days of the Order Granting Preliminary Approval,
                  14         Defendants shall provide to the Settlement Administrator for each identifiable member
                  15         of the Class the following information: name, address, social security number,
                  16         telephone number, dates of employment, and the number of work weeks worked during
                  17         the Class Period and the number of Pay Periods worked during the PAGA Period based
                  18         on their business and payroll records (“Class Data List”). The Class Data List and
                  19         information shall remain confidential. The Settlement Administrator shall only use this
                  20         information to facilitate notice, administration of the Settlement, and for distribution of
                  21         Individual Settlement Payments to Participating Class Members. The Parties agree to
                  22         cooperate in the administration of the Settlement and to make all reasonable efforts to
                  23         control and minimize the costs and expenses incurred in administration of the
                  24         Settlement.
                  25               16.     Duty to Protect Class Data. The Settlement Administrator shall represent
                  26         and warrant that it shall: (i) provide reasonable and appropriate administrative, physical
                  27         and technical safeguards for the Class Data List that it receives from Defendants; (ii) not
                  28         disclose the Class Data List to Class Counsel, Named Plaintiffs, any party or third
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                      1      parties, including agents or subcontractors, without Defendant’s consent and keep the
                      2      Class Data List confidential; (iii) not disclose or otherwise use the Class Data other than
                      3      to carry out its duties as set forth herein; and (iv) promptly provide Defendants with
                      4      notice if it becomes aware that the Class Data List becomes subject to unauthorized
                      5      access, use, or disclosure.
                      6            17.    Confirmation of Contact Information in the Class Data List. Following
                      7      receipt of the Class Data List from Defendants, and prior to mailing, the Settlement
                      8      Administrator shall perform a search of the National Change of Address Database to
                      9      update and correct stale Class Member addresses. If any Notice Packet is returned to
                  10         the Settlement Administrator as non-deliverable on or before the Response Deadline,
                  11         within three days of its receipt, the Settlement Administrator shall send it promptly via
                  12         regular First-Class U.S. Mail to the forwarding address affixed thereto, and the
                  13         Settlement Administrator shall indicate the date of such re-mailing on the Notice Packet.
                  14         If no forwarding address is provided, the Settlement Administrator shall promptly
                  15         attempt to determine the correct address by using a skip-trace, or other search using the
                  16         name, address and/or social security number of the Class Member involved, and shall,
                  17         within three days of learning the correct address, re-mail the Notice Packet. Should a
                  18         Notice Packet associated with a currently employed Class Member be returned to the
                  19         Administrator, it shall immediately inform Defendants to obtain a more current mailing
                  20         address for that Class Member to re-mail the Notice Packet.
                  21               18.    Notice by First-Class U.S. Mail. Within fourteen (14) business days
                  22         following Defendants’ provision of the Class Data List to the Settlement Administrator
                  23         as set forth in Paragraph 15, supra, the Administrator shall mail the individualized
                  24         Notice Packet by First Class U.S. Mail. Each individualized Notice of Class Action
                  25         Settlement (“Notice” – Exhibit “A”) shall include the Class Member’s dates of
                  26         employment and the number of Workweeks during the Class Period and the number of
                  27         Pay Periods worked during the PAGA Period and the estimated Individual Settlement
                  28         Payment amount. The Notice will also inform the Class of their right to opt-out of the
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                      1      non-PAGA portion of the Settlement and that they each will be mailed their Individual
                      2      Settlement Payment at the address on file with the Administrator. The Notice will also
                      3      inform the Class of the manner and deadline to submit (1) requests for exclusion from
                      4      the non-PAGA portion of the Settlement, (2) objections to the Settlement; and (3)
                      5      disputes concerning the number of Workweeks during the Class Period or the number
                      6      of Pay Periods worked during the PAGA Period. The Notice further informs the Class
                      7      of the claims to be released, including if they do not request to be excluded, and the
                      8      date, time, and place set for the Final Approval Hearing.
                      9            19.    Disputed Workweek and/or Pay Period Information. Class Members may
                  10         contact the Settlement Administrator with questions regarding the number of
                  11         Workweeks they have been assigned during the Class Period or the number of Pay
                  12         Periods.    Class Members may produce evidence to the Settlement Administrator
                  13         showing that such information is inaccurate. There is a rebuttable presumption that
                  14         Defendants’ personnel and payroll records are correct, but Class Members may, should
                  15         they disagree with Defendants’ records, provide documentation to show contrary
                  16         employment dates and/or records of Workweeks or Pay Periods no later than the
                  17         Response Deadline. The dispute must: (i) set forth the name, address, telephone number
                  18         and last four digits of the social security number of the Class Member submitting the
                  19         dispute; (ii) be signed by the Class Member; (iii) be timely returned to the Settlement
                  20         Administrator; (iv) clearly state the reason(s) that the Class Member disputes the
                  21         information provided contained in the Notice Packet; and (v) be postmarked on or
                  22         before the Response Deadline.      All disputes shall be decided by the Settlement
                  23         Administrator within ten (10) business days of the Response Deadline.
                  24               20.    Request for Exclusion Procedures. Any Class Member wishing to opt-out
                  25         from the non-PAGA portions of the Settlement must sign and postmark a written
                  26         Request for Exclusion to the Settlement Administrator, in the manner set forth in the
                  27         Notice, by the Response Deadline. The Request for Exclusion must: (i) set forth the
                  28         name, address, telephone number and last four digits of the Social Security number of
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                      1      the Class Member requesting the exclusion; (ii) be signed by the Class Member; (iii) be
                      2      timely returned to the Settlement Administrator; (iv) clearly state that the Class Member
                      3      does not wish to be included in the non-PAGA portion of the Settlement and does not
                      4      wish to receive any payment or other benefits therefrom; and (v) be postmarked on or
                      5      before the Response Deadline. The postmark date shall be the exclusive means to
                      6      determine whether a Request for Exclusion has been timely submitted. No Request for
                      7      Exclusion may be made on behalf of a group of Class Members. Workweeks by Class
                      8      Members who have submitted a valid and timely Request for Exclusion shall be
                      9      deducted from the aggregate number of Workweeks. Class Members shall not have the
                  10         right to opt-out from the PAGA portion of the Settlement.
                  11               21.    Defective Submissions. If a Class Member’s Request for Exclusion is
                  12         defective as to any of the requirements listed herein, that Class Member shall be given
                  13         an opportunity to cure the defect(s). The Settlement Administrator shall mail the Class
                  14         Member a cure letter within three (3) business days of receiving the defective
                  15         submission to advise the Class Member that his or her submission is defective and that
                  16         the defect must be cured to render the Request for Exclusion valid. The Class Member
                  17         shall have until (i) the Response Deadline or (ii) ten (10) calendar days from the date of
                  18         the cure letter, whichever date is later, to postmark a revised Request for Exclusion. If
                  19         the revised Request for Exclusion is not postmarked within that period, it shall be
                  20         deemed untimely. Class Members shall be limited to one cure letter advising them of
                  21         the defect. A Class Member who submits an invalid or untimely request to be excluded
                  22         will remain a Class Member, will receive their Individual Settlement Payment and be
                  23         bound by the releases and judgment entered as set forth herein. The invalid and
                  24         untimely request for exclusion shall be deemed null and void.
                  25               22.    Objection Procedures. To object to the Settlement, a Class Member must
                  26         postmark a valid Notice of Objection to the Settlement Administrator on or before the
                  27         Response Deadline. The Notice of Objection must be signed by the Class Member and
                  28         contain all information required by this Settlement and as set forth in the Notice of Class
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                      1      Action Settlement, including: (i) the objector’s full name, signature, address, and
                      2      telephone number; (ii) a written statement of all grounds for the objection accompanied
                      3      by any legal support for such objection; (iii) copies of any papers, briefs, or other
                      4      documents upon which the objection is based; and (iv) a statement whether the objector
                      5      intends to appear at the Final Approval Hearing. The postmark date shall be deemed
                      6      the exclusive means for determining that the Notice of Objection is timely. Only Class
                      7      Members who have not opted out of the class portion of the Settlement may object. Any
                      8      Class Member who does not submit a timely written objection to the Settlement, or who
                      9      fails to otherwise comply with the specific and technical requirements of this Paragraph
                  10         as provided in the Notice, shall be foreclosed from objecting to the Settlement and
                  11         seeking any adjudication or review of the Settlement, by appeal or otherwise. Class
                  12         Members who postmark timely Notices of Objection shall have a right to appear at the
                  13         Final Approval Hearing in order to have their objections heard by the Court. At no time
                  14         shall any of the Parties or their counsel seek to solicit or otherwise encourage Class
                  15         Members to submit written objections to the Settlement or appeal from the Final
                  16         Approval and Judgment. Class Counsel shall not represent any Class Members with
                  17         respect to any such objections to this Settlement. The Parties shall file all Notices of
                  18         Objection, valid or invalid, timely or untimely, with the Court in advance of the Final
                  19         Approval/Settlement Fairness Hearing. If the Court overrules the Class Member’s
                  20         objection, or if the Court approves the Settlement despite any objections, the Class
                  21         Member will be deemed to be a Participating Class Member and will be bound by the
                  22         terms of this Agreement, and will be mailed their Individual Settlement Payment.
                  23               23.    Settlement Administrator Reports Regarding Class Member Participation.
                  24         The Settlement Administrator shall provide Defendants’ counsel and Class Counsel a
                  25         biweekly report that certifies the number of Class Members who have submitted valid
                  26         Requests for Exclusion, objections to the Settlement, and whether any Class Member
                  27         has submitted a challenge to any information contained in their Notices. The Settlement
                  28         Administrator shall provide to counsel for both Parties any updated reports regarding
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                      1      the administration of the Settlement as needed or requested. Not later than fourteen
                      2      (14) days after the final Response Deadline, the Settlement Administrator will provide
                      3      the Parties with a complete and accurate list of all Participating Class Members, all Non-
                      4      Participating Class Members, and all Class Members who objected to the Settlement
                      5      Agreement.
                      6            24.    Settlement Administrator Declaration. Not later than twenty-eight (28)
                      7      court days prior to the Final Approval Hearing, the Settlement Administrator will
                      8      provide the Parties with its declaration of due diligence setting forth its compliance with
                      9      its obligations under this Agreement to be filed with the Court, and will supplement its
                  10         declaration as needed or as requested by the Court.
                  11               25.    Settlement Administrator Final Report. By no later than five (5) calendar
                  12         days following the Effective Date, the Settlement Administrator shall provide counsel
                  13         for both Parties with the aggregate number of Workweeks by Participating Class
                  14         Members during the Class Period, and aggregate number of Pay Periods worked by
                  15         PAGA Members during the PAGA Period. Upon completion of administration of the
                  16         Settlement, the Settlement Administrator shall provide a written declaration under oath
                  17         to certify such completion to the Court and counsel for all Parties.
                  18               26.    Defendants’ Right to Rescind.        Defendants shall have, in their sole
                  19         discretion, the right to void and withdraw from the Settlement if, at any time prior to
                  20         Final Approval, five percent (5%) or more of Class Members timely and validly
                  21         Request Exclusion from the non-PAGA portion of the Settlement. Defendants must
                  22         exercise this right of rescission in writing to Class Counsel within thirty (30) calendar
                  23         days after the latest date any Class Member may timely submit his or her Request for
                  24         Exclusion. If Defendants exercise their right of rescission pursuant to this paragraph,
                  25         Defendants shall be responsible for all costs incurred by the Settlement Administrator.
                  26               27.    Plaintiffs’ Right to Rescind. If the total number of Class Members exceeds
                  27         967, Plaintiffs may, at their option, void the agreement and/or attempt to reach some
                  28         other agreement to preserve the settlement. Plaintiffs must exercise this right of
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                      1      rescission in writing to Defendants within fourteen (14) business days after receiving
                      2      notice from Defendants that the total number of Class Members exceeds 967. If
                      3      Plaintiffs exercise their right of rescission pursuant to this paragraph, Plaintiffs shall be
                      4      responsible for all costs incurred by the Settlement Administrator.
                      5                                        FINAL APPROVAL
                      6            28.    Final Settlement Approval Hearing and Entry of Judgment.                  Upon
                      7      expiration of the Response Deadline as ordered by the Court at the time of the
                      8      Preliminary Approval Hearing, a Final Approval Hearing shall be conducted to
                      9      determine the Final Approval of the Settlement along with the amounts properly
                  10         payable for: (i) Individual Settlement Payments; (ii) the Class Representative Service
                  11         Awards;     (iii) Attorneys’   Fee    Award;     (iv) Attorneys’    Costs;   (v) Settlement
                  12         Administration Costs; and (vi) PAGA Penalties. The Final Approval Hearing shall not
                  13         be held earlier than thirty (30) calendar days after the Response Deadline. Class
                  14         Counsel shall be responsible for drafting all documents necessary to obtain final
                  15         approval. The Motion for Order Granting Final Approval and Entering Judgment shall
                  16         include Class Counsel’s application for the Class Counsel’s Attorneys’ Fees and Costs,
                  17         the Class Representative Service Awards, and the Administrator’s expenses. A draft of
                  18         such motion shall be provided to Counsel for Defendant seven business days prior to its
                  19         filing with the Court. Plaintiffs agree not to file their motion and/or application without
                  20         Defendant’s review and input. The Settlement Administrator shall maintain on its
                  21         website a section for this Settlement which includes a copy of the Motion for
                  22         Preliminary Approval, along with any accompanying exhibits, and the operative
                  23         complaint. It shall be updated after Judgment is entered with a copy of the final
                  24         Judgment.
                  25               29.    Attorneys’ Fee Award and Costs. Defendants shall not object to Class
                  26         Counsel’s request of reasonable Attorneys’ Fees of up to $491,617.50 (33.33% of the
                  27         Gross Settlement Amount) and their reasonable Attorneys’ Costs estimated at
                  28         $60,000.00 Class Counsel’s application for Attorneys’ Fees and Costs award shall be
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                      1      included within the Motion for Order Granting Final Approval of Class Action
                      2      Settlement, unless the Court instructs otherwise.
                      3            30.    Judgment and Continued Jurisdiction. Concurrent with the Motion for
                      4      Order Granting Final Approval of the Class Action Settlement, the Parties shall present
                      5      an Order Granting Final Approval and Entering Judgment to the Court, in a form
                      6      mutually agreed to by the Parties, for approval. After entry of the Judgment, the Court
                      7      shall have continuing jurisdiction over the Settlement as required by law, including:
                      8      (i) the interpretation and enforcement of the terms of the Settlement; (ii) settlement
                      9      administration matters; and (iii) such post-Judgment matters as may be appropriate
                  10         under court rules or as set forth in this Settlement.
                  11               31.    Funding of the Settlement. Defendants shall transmit the Gross Settlement
                  12         Amount to the Administrator together with the amount representing the Employer
                  13         Taxes (to be communicated by the Administrator to Defendants at least (5) business
                  14         days before transmittal of the Gross Settlement Amount). The Administrator shall
                  15         deposit the Gross Settlement Amount into a Qualified Settlement Account, from which
                  16         the Settlement Administrator will have the authority to distribute money in accordance
                  17         with the terms of this Settlement Agreement. Defendants shall transmit the Gross
                  18         Settlement Amount and the Employer Taxes, within fifteen (15) days following the
                  19         Effective Date of Settlement.
                  20               32.    No Effective Date. If there is no Effective Date: (i) the Settlement
                  21         Agreement shall have no force and effect and no Party shall be bound by any of its
                  22         terms; (ii) Defendants shall have no obligation to make any payments required under
                  23         this Agreement; (iii) the Parties shall evenly distribute and pay any Administration
                  24         Costs incurred up until the date that the Settlement ceases to exist; and (iv) the
                  25         Settlement Agreement and all negotiations, statements, proceedings, and data relating
                  26         thereto shall be protected as privileged settlement communications and shall be without
                  27         prejudice to the rights of any of the Parties, all of whom shall be restored to their
                  28         respective positions in the Action prior to the date of execution of the Settlement
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                      1      Agreement. In such event, the Parties shall work cooperatively to request a conference
                      2      with the Court in which to attempt to resolve any issues that the Court has raised
                      3      regarding the Agreement so that it can gain the Court’s approval, or alternatively,
                      4      effectuate their intent to resume the Action.
                      5            33.       Distribution and Timing of Payments. Within ten (10) calendar days
                      6      following receipt of the Gross Settlement Amount and the Employer Taxes, the
                      7      Settlement Administrator shall issue payments to: (i) Participating Class Members, (ii)
                      8      PAGA Members, (iii) Plaintiffs, (iv) Class Counsel, and (v) the Labor Workforce and
                      9      Development Agency. However, payments shall not be issued to Class Members whose
                  10         Notice Packets are returned as undeliverable and for whom no forwarding address can
                  11         be located. Individual Settlement Payments for such Class Members shall be held by
                  12         the Settlement Administrator unless claimed by the Class Member, and shall be paid to
                  13         the cy pres beneficiary as set forth below if unclaimed by the end of the one hundred
                  14         eighty (180) calendar day period to cash settlement checks as set forth below. The
                  15         Settlement Administrator shall also issue a payment to itself for the Court-approved
                  16         amount for its services.
                  17               34.       Un-cashed Settlement Checks. Settlement checks shall remain valid for a
                  18         period of one hundred eighty (180) calendar days after mailing, at which time the checks
                  19         shall become null and void. Thirty (30) days following the mailing of the Individual
                  20         Settlement Payment Checks, the Administrator shall mail a postcard to each
                  21         Participating Class Member and PAGA Member whose check is uncashed to remind
                  22         them of the void date. Any funds represented by Individual Settlement Payment checks
                  23         remaining un-cashed for more than 180 calendar days after issuance shall be delivered
                  24         to Legal Aid at Work. Participating Class Members and PAGA Members who fail to
                  25         cash their checks within the 180 day period shall remain bound by the Settlement as set
                  26         forth herein.
                  27               35.       Administration of Taxes by the Settlement Administrator. The Settlement
                  28         Administrator shall be responsible for issuing to Plaintiffs, Participating Class
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                      1      Members, PAGA Members and Class Counsel any W-2, 1099, or other tax forms as
                      2      may be required by law for all amounts paid pursuant to this Settlement. The Settlement
                      3      Administrator shall also be responsible for calculating and processing all payroll taxes
                      4      and penalties for payment to the appropriate government authorities.
                      5                     TAX TREATMENT OF SETTLEMENT AMOUNTS
                      6            36.    Tax Treatment of Individual Settlement Payments. The Parties have
                      7      agreed to allocate the Individual Settlement Payment as follows: for Participating Class
                      8      Members – 40% to wages for which an IRS W-2 Form shall be issued, 60% to interest
                      9      and penalties for which IRS 1099 Forms shall be issued. Normal employee-side payroll
                  10         taxes and withholding shall be deducted from the wage portion of the payment pursuant
                  11         to state and federal law. For Class Members who opt-out of the non-PAGA portion of
                  12         the Settlement, the entirety of the Individual Settlement Payments shall be allocated to
                  13         penalties for which IRS 1099 Forms shall be issued.
                  14               37.    Class Member and Plaintiffs’ Responsibility for Taxes.         Participating
                  15         Class Members and PAGA Members are responsible to pay appropriate taxes due on
                  16         the Individual Settlement Payments they receive, and Plaintiffs are responsible for
                  17         paying the appropriate taxes due on the Class Representative Service Payments. All
                  18         Individual Settlement Payments shall be deemed paid to such Class Members solely in
                  19         the year in which such payments are issued. Counsel does not purport this
                  20         communication to constitute tax or legal advice. If this Settlement, or any of its
                  21         attachments, is interpreted to contain or constitute advice regarding any federal or state
                  22         tax issue, such advice is not intended or written to be used, and cannot be used, by any
                  23         person to avoid penalties under the federal Internal Revenue Code or any state tax code.
                  24         The Notice of Class Action Settlement will advise Class Members that they shall be
                  25         solely responsible for the payment of any taxes and penalties assessed on their
                  26         respective Individual Settlement Payments.
                  27               38.    Class Counsel shall be issued an IRS Form 1099 for any fees and costs
                  28         awarded by the Court.
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                      1                                   RELEASE BY THE CLASS
                      2            39.       Settlement Terms Bind All PAGA Members and Class Members Who Do
                      3      Not Request Exclusion. As of the Effective Date, Plaintiffs and all Participating Class
                      4      Members (on behalf of each of them and each of their heirs, executors, administrators,
                      5      and assigns) irrevocably and unconditionally fully release and forever discharge the
                      6      Released Parties from any and all Released Claims that accrued during the Class Period,
                      7      as set forth herein. As of the Effective Date, Plaintiffs and all PAGA Members (on
                      8      behalf of each of them and each of their heirs, executors, administrators, and assigns)
                      9      irrevocably and unconditionally fully release and forever discharge the Released Parties
                  10         from any and all PAGA Released Claims that accrued during the PAGA Period as set
                  11         forth herein.
                  12               40.       Circular 230 Disclaimer. EACH PARTY TO THIS AGREEMENT (FOR
                  13         PURPOSES OF THIS SECTION, THE “ACKNOWLEDGING PARTY” AND EACH
                  14         PARTY TO THIS AGREEMENT OTHER THAN THE ACKNOWLEDGING
                  15         PARTY, AN “OTHER PARTY”) ACKNOWLEDGES AND AGREES THAT (1) NO
                  16         PROVISION OF THIS AGREEMENT, AND NO WRITTEN COMMUNICATION
                  17         OR DISCLOSURE BETWEEN OR AMONG THE PARTIES OR THEIR
                  18         ATTORNEYS AND OTHER ADVISERS, IS OR WAS INTENDED TO BE, NOR
                  19         WILL ANY SUCH COMMUNICATION OR DISCLOSURE CONSTITUTE OR BE
                  20         CONSTRUED OR BE RELIED UPON AS, TAX ADVICE WITHIN THE MEANING
                  21         OF UNITED STATES TREASURY DEPARTMENT CIRCULAR 230 (31 CFR
                  22         PART 10, AS AMENDED); (2) THE ACKNOWLEDGING PARTY (A) HAS
                  23         RELIED EXCLUSIVELY UPON HIS, HER, OR ITS OWN, INDEPENDENT LEGAL
                  24         AND TAX COUNSEL FOR ADVICE (INCLUDING TAX ADVICE) IN
                  25         CONNECTION WITH THIS AGREEMENT, (B) HAS NOT ENTERED INTO THIS
                  26         AGREEMENT BASED UPON THE RECOMMENDATION OF ANY OTHER
                  27         PARTY OR ANY ATTORNEY OR ADVISOR TO ANY OTHER PARTY, AND
                  28         (C) IS NOT ENTITLED TO RELY UPON ANY COMMUNICATION OR
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                      1      DISCLOSURE BY ANY ATTORNEY OR ADVISER TO ANY OTHER PARTY TO
                      2      AVOID ANY TAX PENALTY THAT MAY BE IMPOSED ON THE
                      3      ACKNOWLEDGING PARTY; AND (3) NO ATTORNEY OR ADVISER TO ANY
                      4      OTHER PARTY HAS IMPOSED ANY LIMITATION THAT PROTECTS THE
                      5      CONFIDENTIALITY OF ANY SUCH ATTORNEY’S OR ADVISER’S TAX
                      6      STRATEGIES (REGARDLESS OF WHETHER SUCH LIMITATION IS LEGALLY
                      7      BINDING) UPON DISCLOSURE BY THE ACKNOWLEDGING PARTY OF THE
                      8      TAX TREATMENT OR TAX STRUCTURE OF ANY TRANSACTION,
                      9      INCLUDING ANY TRANSACTION CONTEMPLATED BY THIS AGREEMENT.
                  10               41.    Release by Plaintiffs and Class Representatives. As of the Effective Date,
                  11         Plaintiffs Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz (on each of their
                  12         behalf and on behalf of each of their heirs, executors, administrators, and assigns), but
                  13         not on behalf of other Class Members, knowingly and voluntarily releases and forever
                  14         discharges the Released Parties from any and all claims, known and unknown, asserted
                  15         and unasserted, that they each had or may have had against Defendants or any of the
                  16         Released Parties. Such claims include, but are not limited to: breaches of contract,
                  17         whether written, oral or implied; violations of any public policy; tort claims, including
                  18         but not limited to intentional infliction of emotional distress and negligent infliction of
                  19         emotional distress, defamation, misrepresentation, and fraud; retaliation claims;
                  20         common law claims; any other claims for damages, costs, fees, or other expenses,
                  21         including attorneys’ fees; and any violations of the following statutes, laws, and
                  22         regulations: Fair Labor Standards Act, 29 U.S.C. §§ 200, et seq., Title VII of the Civil
                  23         Rights Act of 1964, as amended; The Civil Rights Act of 1991; Sections 1981 through
                  24         1988 of Title 42 of the United States Code, as amended; The Americans with
                  25         Disabilities Act of 1990, as amended; The Age Discrimination in Employment Act of
                  26         1967, as amended; the Older Workers Benefit Protection Act; the Employment
                  27         Retirement Income Security Act of 1974, as amended; the Occupational Safety and
                  28         Health Act, as amended; the Sarbanes-Oxley Act of 2002; the Family and Medical
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                      1      Leave Act of 1993, as amended; the Fair Labor Standards Act; the California Fair
                      2      Employment and Housing Act – Cal. Gov’t Code § 12900 et seq.; the California Family
                      3      Rights Act – Cal. Gov’t Code § 12945.2 et seq.; the California Unruh Civil Rights Act
                      4      – Civ. Code § 51 et seq.; the California Whistleblower Protection Law – Cal. Lab. Code
                      5      § 1102.5; the California Occupational Safety and Health Act, as amended – Cal. Lab.
                      6      Code § 6300 et seq., and any applicable regulations thereunder; the California Business
                      7      and Professions, Civil, Government and Labor Code; the Labor Code Private Attorneys
                      8      General Act of 2004 – Cal. Lab. Code § 2698 et seq.; and any other federal, state, or
                      9      local civil employment law, statute, regulation, or ordinance capable of being released
                  10         by Plaintiffs, excluding any claims that cannot be released as a matter of law. To the
                  11         extent the foregoing release is a release to which California Civil Code section 1542 or
                  12         similar provisions of other applicable law may apply, Plaintiffs expressly waive any and
                  13         all rights and benefits conferred upon them by the provisions of California Civil Code
                  14         section 1542 or similar provisions of applicable law which are as follows:
                  15
                                          A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                  16
                                          WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
                  17
                                          EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
                  18
                                          THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
                  19
                                          HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                  20
                                          WITH THE DEBTOR.
                  21
                  22               Thus, notwithstanding the provisions of California Civil Code section 1542, and
                  23         to implement a full and complete release and discharge, Plaintiffs each expressly
                  24         acknowledge this Settlement is intended to include in its effect, without limitation, all
                  25         known and unknown claims, including any claims they do not know or suspect to exist
                  26         in their favor against the Released Parties at the time of signing this Settlement, and that
                  27         this Settlement contemplates the extinguishment of any such claim or claims. Plaintiffs
                  28         each acknowledges they may later discover facts different from or in addition to those
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                      1      they now know or believe to be true regarding the matters released or described in this
                      2      Settlement, and nonetheless agrees that the releases and agreements contained in this
                      3      Settlement shall remain fully effective in all respects notwithstanding any later
                      4      discovery of any different or additional facts. Plaintiffs each assume any and all risks
                      5      of any mistake in connection with the true facts involved in the matters, disputes, or
                      6      controversies described in this Settlement or with regard to any facts now unknown to
                      7      each of them relating to such matters.
                      8            42.     No Prior Assignments. The Parties and their counsel represent, covenant,
                      9      and warrant that they have not directly or indirectly assigned, transferred, encumbered,
                  10         or purported to assign, transfer, or encumber to any person or entity any portion of any
                  11         liability, claim, demand, action, cause of action or right herein released and discharged.
                  12
                                                            ADDITIONAL TERMS
                  13
                                   43.     Exhibits Incorporated by Reference. The terms of this Settlement include
                  14
                             the terms set forth in any attached Exhibits, which are incorporated by this reference as
                  15
                             though fully set forth herein. Any Exhibits to this Settlement are an integral part of the
                  16
                             Settlement.
                  17
                                   44.     No Publicity. Plaintiffs and Class Counsel agree not to publicize the
                  18
                             settlement, including in communications with the press; however, nothing in this
                  19
                             Agreement shall prevent Plaintiffs and Class Counsel from engaging in direct
                  20
                             communications with Class Members about the settlement, and nothing in this
                  21
                             Agreement shall prevent Class Counsel from identifying the Settlement on their
                  22
                             website, so long as Class Counsel does not mention Defendants by name and instead
                  23
                             refers to them only as a transportation company. Class Counsel agrees to limit any such
                  24
                             language on their website to the following: “Class action for failure to pay split shift
                  25
                             wages due to California bus attendants settles for $1.475 million.” Class Counsel is
                  26
                             further permited to discuss the Settlement, including Defendants’ names, the case
                  27
                             number, etc. in future Court declarations and in such communications as are reasonably
                  28
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                      1      necessary for purposes of meeting their responsibilities as class representatives and
                      2      Class Counsel.
                      3            45.    Entire Agreement. This Settlement and attached Exhibits constitute the
                      4      entirety of the Parties’ settlement terms. No other prior or contemporaneous written or
                      5      oral agreements may be deemed binding on the Parties. The Parties expressly recognize
                      6      California Civil Code section 1625 and California Code of Civil Procedure section
                      7      1856(a), which provide that a written agreement is to be construed according to its terms
                      8      and may not be varied or contradicted by extrinsic evidence, and the Parties agree that
                      9      no such extrinsic oral or written representations or terms shall modify, vary or contradict
                  10         the terms of this Settlement.
                  11               46.    Amendment or Modification. No amendment, change, or modification to
                  12         this Settlement shall be valid unless in writing and signed, either by the Parties or their
                  13         counsel.
                  14               47.    Authorization to Enter Into Settlement. Counsel for all Parties warrant and
                  15         represent they are expressly authorized by the Parties whom they represent to negotiate
                  16         this Settlement and to take all appropriate action required or permitted to be taken by
                  17         such Parties pursuant to this Settlement to effectuate its terms and to execute any other
                  18         documents required to effectuate the terms of this Settlement. The Parties and their
                  19         counsel shall cooperate with each other and use their best efforts to effect the
                  20         implementation of the Settlement. If the Parties are unable to reach agreement on the
                  21         form or content of any document needed to implement the Settlement, or on any
                  22         supplemental provisions that may become necessary to effectuate the terms of this
                  23         Settlement, the Parties may seek the assistance of the Court to resolve such
                  24         disagreement.
                  25               48.    Binding on Successors and Assigns. This Settlement shall be binding
                  26         upon, and inure to the benefit of, the successors or assigns of the Parties hereto, as
                  27         previously defined.
                  28               49.    California Law Governs. All terms of this Settlement and Exhibits hereto
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                      1      shall be governed by and interpreted according to the laws of the State of California.
                      2            50.    Execution and Counterparts.           This Settlement is subject only to the
                      3      execution of all Parties. However, the Settlement may be executed in one or more
                      4      counterparts and by DocuSign. All executed counterparts and each of them, including
                      5      facsimile and scanned copies of the signature page, shall be deemed to be one and the
                      6      same instrument provided that counsel for the Parties shall exchange among themselves
                      7      original signed counterparts.
                      8            51.    Acknowledgement that the Settlement is Fair and Reasonable. The Parties
                      9      believe this Settlement is a fair, adequate and reasonable settlement of the Action and
                  10         have arrived at this Settlement after arm’s-length negotiations and in the context of
                  11         adversarial litigation, taking into account all relevant factors, present and potential. The
                  12         Parties further acknowledge that they are each represented by competent counsel and
                  13         that they have had an opportunity to consult with their counsel regarding the fairness
                  14         and reasonableness of this Settlement.
                  15               52.    Acknowledgement of Future Legislation. Each Party recognizes that
                  16         legislation, could affect the outcome of the Action. The Parties, nevertheless, enter into
                  17         this settlement to avoid risk of loss and to avoid uncertainty with the interpretation,
                  18         nature, and applicability of future legislation.
                  19               53.    Invalidity of Any Provision.          Before declaring any provision of this
                  20         Settlement invalid, the Court shall first attempt to construe the provision as valid to the
                  21         fullest extent possible consistent with applicable precedents so as to define all
                  22         provisions of this Settlement valid and enforceable.
                  23               54.    Waiver of Certain Appeals. The Parties agree to waive appeals and to
                  24         stipulate to class certification for purposes of this Settlement only; except, however, that
                  25         Plaintiffs or Class Counsel may appeal any reduction to the Attorneys’ Fees or the
                  26         Attorneys’ Costs below the amounts they request from the Court, and either party may
                  27         appeal any court order that materially alters the Settlement terms.
                  28               55.    Non-Admission of Liability. The Parties enter into this Settlement to
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                      1      resolve the dispute that has arisen between them and to avoid the burden, expense and
                      2      risk of continued litigation. In entering into this Settlement, Defendants and the
                      3      Released Parties do not admit, and specifically deny, that Defendants or any Released
                      4      Parties violated any federal, state, or local law; violated any regulations or guidelines
                      5      promulgated pursuant to any statute or any other applicable laws, regulations or legal
                      6      requirements; breached any contract; violated or breached any duty; engaged in any
                      7      misrepresentation or deception; or engaged in any other unlawful conduct with respect
                      8      to their employees. Neither this Settlement, nor any of its terms or provisions, nor any
                      9      of the negotiations connected with it, shall be construed as an admission or concession
                  10         by Defendants (or any Released Parties) of any such violations or failures to comply
                  11         with any applicable law. Except as necessary in a proceeding to enforce the terms of
                  12         this Settlement, this Settlement and its terms and provisions shall not be offered or
                  13         received as evidence in any action or proceeding to establish any liability or admission
                  14         on the part of Defendants (or any Released Parties) or to establish the existence of any
                  15         condition constituting a violation of, or a non-compliance with, federal, state, local or
                  16         other applicable law.
                  17               56.    Waiver.    No waiver of any condition or covenant contained in this
                  18         Settlement or failure to exercise a right or remedy by any of the Parties hereto shall be
                  19         considered to imply or constitute a further waiver by such Party of the same or any other
                  20         condition, covenant, right or remedy.
                  21               57.    Enforcement Actions. In the event that one or more of the Parties institutes
                  22         any legal action or other proceeding against any other Party or Parties to enforce the
                  23         provisions of this Settlement or to declare rights and/or obligations under this
                  24         Settlement, the successful Party or Parties shall be entitled to recover from the
                  25         unsuccessful Party or Parties reasonable attorneys’ fees and costs, including reasonable
                  26         expert witness fees incurred in connection with any enforcement actions.
                  27               58.    Mutual Preparation. The Parties have had a full opportunity to negotiate
                  28         the terms and conditions of this Settlement. Accordingly, this Settlement shall not be
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                      1      construed more strictly against one party than another merely by virtue of the fact that
                      2      it may have been prepared by counsel for one of the Parties, it being recognized that,
                      3      because of the arms-length negotiations between the Parties, all Parties have contributed
                      4      to the preparation of this Settlement.
                      5             59.   Representation By Counsel. The Parties acknowledge that they have been
                      6      represented by counsel throughout all negotiations that preceded the execution of this
                      7      Settlement, and that this Settlement has been executed with the consent and advice of
                      8      counsel. Further, Plaintiffs and Class Counsel warrant and represent that there are no
                      9      liens on the Settlement. Class Counsel also represents that there are no attorneys who
                  10         have or could have any liens with respect to any aspect of this Settlement, or any funds
                  11         received by the Named Plaintiffs.
                  12                60.   All Terms Subject to Final Court Approval. All amounts and procedures
                  13         described in this Settlement herein shall be subject to final Court approval.
                  14                61.   Cooperation and Execution of Necessary Documents. All Parties shall
                  15         cooperate in good faith and execute all documents to the extent reasonably necessary to
                  16         effectuate the terms of this Settlement.
                  17                62.   Binding Agreement. The Parties warrant that they understand and have
                  18         full authority to enter into this Settlement, and further intend that this Settlement shall
                  19         be fully enforceable and binding on all parties, and agree that it shall be admissible and
                  20         subject to disclosure in any proceeding to enforce its terms, notwithstanding any
                  21         mediation confidentiality provisions that otherwise might apply under federal or state
                  22         law.
                  23                63.   Notices. Unless otherwise specifically provided, all notices, demands or
                  24         other communications given shall be in writing and shall be deemed to have been duly
                  25         given by the third business day after mailing by United States registered or certified
                  26         mail, return receipt requested, addressed as follows:
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                            1                                 DEFENDANTS FIRST STUDENT, INC.,
                                                              FIRST STUDENT MANAGEMENT, LLC
                                                              AND FIRSTGROUP AMERICA, INC.

                            3
                                Dated:
                                         9.6U/               By:
                            4
                                                                   NAME: Micht.e.1
                            5
                                                                                  ary

                            6
                                APPROVED AS TO FORM:
                            7

                            8

                            9

                        10      Dated: September 7, 2021
                                                                   Hunter Fwle
                        11                                         Katherine Fiester
                                                                   HUNTER PYLE LAW
                        12                                         Attorneys for Plaintiffs
                        13

                        14
                                                                           s

                        15      Dated:
                                                                   David J. Dow
                        16                                         LITTLER MENDELSON, P.C.
                                                                   Attorneys for Defendants
                        17

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                                             EXHIBIT A

     NOTICE OF PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT

     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

               Lopez, et al. v. First Student, Inc., et al., Central District of California
                                 Case No. 5:19-cv-01669-JGB-SHK

         TO: All individuals employed by First Student, Inc. or First Student Management,
         LLC in the position of Attendant, Bus Aid or Bus Monitor in the state of California
         as hourly non-exempt employees at any time from July 11, 2015 to July 24, 2021
         (hereinafter the “Class” or “Class Member(s)”).

   THIS NOTICE CONTAINS IMPORTANT LEGAL INFORMATION THAT MAY AFFECT YOU
                             YOU ARE NOT BEING SUED

    The United States District Court for the Central District of California authorized this notice.
                               This is not a solicitation from a lawyer.

     •   This notice contains important information about your legal rights as part of a class action
         settlement. Please read it fully and carefully.

     •   Norma Lopez, Cindy Mitchell, Vada Neice and Mary Diaz (“Plaintiffs”) have sued First
         Student, Inc., First Student Management, LLC and FirstGroup America, Inc.
         (“Defendants”). Plaintiffs worked as an Attendant, Bus Aid or Bus Monitor for First
         Student, Inc. or First Student Management, LLC. Their case is pending in the United States
         District Court for the Central District of California (Case No. 5:19-cv-01669-JGB-SHK).
         Plaintiffs and Defendants are referred to herein collectively as the “Parties.”
     •   Plaintiffs’ allegations are brought on their own behalf and on behalf of individuals
         employed by First Student, Inc. or First Student Management, LLC in the position of
         Attendant, Bus Aid or Bus Monitor in the state of California as hourly non-exempt
         employees at any time from July 11, 2015 to July 24, 2021 (the “Class Period”).
     •   Plaintiffs have asserted a variety of claims, described in more detail below, against
         Defendants that pertain to payment of wages and hours of work.
     •   Defendants contend that their policies and practices have complied with the law at all times.
     •   The Court has not decided whether Defendants did anything wrong.

     •   Plaintiffs and Defendants also disagree as to the amounts of money or other types of relief
         that should be awarded to them and/or the Class in the event that Plaintiffs prevail at trial.

     •   The Parties agree that there are significant risks on both sides of the case.




                                 QUESTIONS? CALL _____________
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     •   The Parties agree that continued litigation would be expensive and would result in
         significant expenses in terms of attorney fees and costs, without necessarily benefitting the
         Class.

     •   To avoid the risks of litigation and to provide an immediate benefit to the Class, the Parties
         have agreed to settle the case (the “Settlement”).

     •   Under the Settlement, Defendants will pay a total of $1,475,000.00, to be apportioned and
         paid among identified members of the Class, after deductions for Court-approved payment
         of settlement administration costs, penalties pursuant to the California Labor Code Private
         Attorneys General Act of 2004 (“PAGA”), payment of service awards to the Plaintiffs,
         litigation costs, attorneys’ fees, and subject to withholdings for employee taxes, deductions
         and contributions.

                                          YOUR OPTIONS
   Do Nothing                                    You will receive a proportionate share of the
                                                 Settlement if final approval is granted and will
                                                 give up any right to bring any claims in the future
                                                 that are part of the Settlement.

   Opt Out of the Settlement                     If you opt yourself out of the Settlement, you will
                                                 not receive a portion of the non-PAGA Settlement
                                                 payment. But, you will retain the right to assert
                                                 claims that are included in the Settlement. By
                                                 doing so, you will bear the risk that you may lose
                                                 those claims. To opt out, you must timely write
                                                 to the Class Administrator and follow the
                                                 procedures described below.

   Object to the Settlement                      If you disagree with any aspect of this Settlement,
                                                 you may assert your objections by timely writing
                                                 to the Class Administrator and filing with the
                                                 Court your objection according to the procedures
                                                 described below. If you opt out, you may not
                                                 object. If you object, you will still be bound by
                                                 the Settlement, if approved by the Court.

     •   These rights and options—and the deadlines to exercise them—are explained in this
         notice.

     •   The Court in charge of this case still has to decide whether to grant final approval of the
         Settlement. Payments will be made only if the Court grants final approval of the Settlement
         and after appeals (if any) are resolved. Please be patient.




                                 QUESTIONS? CALL _____________
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                                    BASIC INFORMATION

   1. Why did I get this notice package and why should I read this Notice?

  The records of Defendants indicate that you have been a member of the Class. If the Court
  approves the Settlement and you do not opt out, you will receive a payment and your legal rights
  may be affected. Thus, you have a right to information about the Settlement and your legal rights.
  That is the intent of this notice.


   2. What is this lawsuit about?


  Plaintiffs have asserted the following claims against Defendants on behalf of the Class: (1) failure
  to pay split shift premiums, including the minimum wage; (2) failure to provide accurate wage
  statements; (3) waiting time penalties; (4) unfair competition, based on the foregoing claims; and
  (5) penalties under the PAGA, based on the foregoing claims. These claims are referred to herein
  as the “Claims.”

  Defendants deny that the Claims are valid, deny that the Court should permit Plaintiffs to bring
  the Claims on behalf of the Class, and contend that they complied with the law at all times.

   3. What is a class action?

  In a class action, one or more people called named plaintiffs sue on behalf of people who they
  allege have similar claims.

   4. Why is there a settlement?

  The Court did not decide in favor of Plaintiffs or Defendants on the Claims being settled. Plaintiffs
  think they could win a significant amount of wages, penalties, and interest on behalf of the Class
  if they were to win at trial. On the other hand, Defendants deny all liability and believe that
  Plaintiffs would not have won anything in the case. Both sides have agreed to the Settlement for
  the Claims. That way, the risks and costs of trial, for both sides, are eliminated, and the Class can
  be provided with an immediate benefit. Plaintiffs, Defendants, and their attorneys all believe that
  this Settlement is best for the Class and the Parties.

  The Court has given its preliminary approval to this settlement as fair and reasonable to the Class
  and has appointed Plaintiffs to act as the Class Representatives, and for their attorneys to act as
  attorneys for the Class with regard to the Settlement (the “Class Counsel”). The Court has
  determined that these are adequate representatives for the Class.




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   5. How do I know if I am part of the settlement?

  Everyone who fits this description is a Class Member:

         All individuals employed by First Student, Inc. or First Student Management, LLC
         in the position of Attendant, Bus Aid or Bus Monitor in the state of California as
         hourly non-exempt employees at any time from July 11, 2015 to July 24, 2021.

   6. Are there exceptions to being included?

  Yes. If you are a Class Member, you may opt out as stated in Section 13 below. If you do not opt
  out, you are a Class Member who will receive part of the Settlement if approved.

   7. I’m still not sure if I am included.

  If you are still not sure whether you are included, you can call the Class Administrator at [Number]
  or write to the Class Administrator at [address]. This is the Class Administrator’s mailing address
  for all written communications described herein. You also may contact Class Counsel identified
  below for more information.

   8. How much money is the Settlement for and how is it allocated?

  Defendants have agreed to pay a total of $1,475,000.00 to settle all Claims in this lawsuit. Class
  Members will be paid out of the Net Settlement Fund (the “Fund”), which is the $1,475,000.00
  total settlement amount minus the following payments: (1) fees to the Settlement Administrator
  (estimated at $9,999.00) for the costs of administrating the Settlement; (2) the costs of litigation
  as approved by the Court in an amount not to exceed $60,000.00; (3) PAGA penalties of
  $89,120.00, including a payment to the California Labor and Workforce Development Agency
  (LWDA) for its share of PAGA penalties; (4) a service award to each of the Plaintiffs not to
  exceed $10,000 each for serving as the Class Representatives and assisting in prosecuting the
  case; and (5) attorneys’ fees up to the amount approved by the Court, not to exceed 33.33%
  ($491,617.50) of the total settlement amount.

  Of the Fund, the remaining PAGA penalties ($22,280.00) are to be paid to PAGA Members,
  defined as Class Members employed by Defendants between July 15, 2018 to July 24, 2021 (the
  “PAGA Period”). That amount will be distributed pro rata based on pay periods to each PAGA
  Member. The remaining amount of the Fund will be distributed to Class Members based on their
  number of workweeks during the Class Period.

   9. How much will my payment be and what is the information used to calculate my share?

  Based on the calculation described above, it is currently estimated that your share of the Net
  Settlement Fund will be ________. Your share of the PAGA penalties is estimated to be an


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  additional ________. This amount could change, depending on how many Class Members opt-
  out, and/or further determinations by the Class Administrator and/or rulings of the Court.

  Of your share of the Net Settlement fund, 60% will be reported as “1099” miscellaneous income
  by the Class Administrator to federal and state tax authorities. 40% will be reported as “W-2”
  income subject to withholdings, deductions and contributions in relation to wage payments. The
  withholding rate for the W-2 income may not be the same as you have used but is a customary
  one used in class action settlements. For Class Members who opt-out of the non-PAGA portion
  of the Settlement will only receive payments based on the PAGA penalties for which IRS 1099
  Forms shall be issued. You are responsible for all employee tax liability in relation to payments
  to you under the Settlement. This Notice is not tax advice. Do not ask Class Counsel, or
  Defendants or its counsel for tax advice, as they will not provide it. They are not responsible for
  the tax advice. You should consult your own tax advisor.

  Defendants’ records show that the following information pertinent to the calculation of your
  estimated settlement share:

  Your number of workweeks as an Attendant, Bus Aid or Bus Monitor during the Class Period is
  ________________.

  Your number of pay periods as an Attendant, Bus Aid or Bus Monitor during the PAGA Period
  is ________________.

  If you disagree with this information, you must notify the Class Administrator by writing to them
  at the address in paragraph 7. You must sign your notification, and include your full name,
  address, telephone number, last four digits of your social security number, the reason(s) that you
  dispute the information, and all supporting documentation. Your notification must be postmarked
  no later than [45 days from mailing]. The Class Administrator will make a final decision.

   10. How can I get a payment?

  You do not need to do anything to receive a Settlement Payment. However, it is important that you
  immediately notify the Class Administrator if your mailing address is different from the address
  to which this Notice was sent.

   11. When will I receive a payment?

  Payments will be distributed pursuant to a schedule established by the Settlement and by the Court.
  Presently, the expected date of payment is estimated to be _____________. This could change
  depending on factors influencing the Class Administrator’s tasks, any objections to the Settlement,
  and/or actions by the Court.




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   12. What am I giving up to get a payment?

  Upon entry of judgment, each member of the Class (except those who properly opt out) on
  behalf of each of them and each of their heirs, executors, administrators, and assigns, do hereby
  and forever release, First Student, Inc., First Student Management, LLC, FirstGroup America,
  Inc., their past, present, and future parents, subsidiaries, divisions, and their respective past,
  present, and future officers, directors, employees, partners, shareholders, owners, agents,
  insurers, legal representatives, attorneys and all of their successors (including persons or entities
  who may acquire them in the future), assigns, representatives, heirs, executors, and
  administrators and all other persons acting by, through, under or in concert with them that could
  be liable (the “Released Parties) from any and all claims, debts, rights, demands, obligations or
  liabilities of every nature and description, for damages, premiums, penalties, liquidated damages,
  punitive damages, interest, attorneys’ fees, litigation costs, restitution, or equitable relief alleged
  in the original and amended Complaints in the Action, or which could have been alleged based
  on the facts alleged in the original and amended Complaints in the Action during the Class
  Period, relating to the alleged failure to pay split shift premiums and derivative claims, including
  without limitation: (i) failure to pay split shift premiums pursuant to Labor Code sections 1197,
  1194 and IWC Wage Order No. 9, (ii) failure to pay minimum wages pursuant to Labor Code
  sections 1197, 1194 and 1194.2 and IWC Wage Order No. 9, (iii) failure to issue complete and
  accurate itemized wage statements pursuant to Labor Code section 226, (iv) waiting time
  penalties pursuant to Labor Code section 201-203, (v) violations of California Labor Code §§
  200, 201, 202, 203, 204, 210, 218.5, 226, 558 and 1194; (vi) violations of California Business &
  Professions Code § 17200 et seq.; (viii) violations of the applicable IWC Wage Orders that apply
  to split shift premiums and derivative claims as described above, including without limitation the
  relevant portions of IWC Wage Orders 9-1998, 9-2000 and 9-2001; (ix) as related to the claims
  referenced above, interest, attorneys’ fees and costs, for the duration of the Class Period.
  “Released Claims” includes any and all claims for benefits based on the above-referenced claims
  under any benefit plan, program or policy sponsored or maintained by Defendants, including, but
  not limited to the Employee Retirement Income Security Act, 29 U.S.C. §1001, et seq., but not
  vested benefits under any pension or 401(k) plan or other ERISA-governed benefit plan.
  “Released Claims” also includes all types of relief available for the above-referenced claims,
  including any claims for damages, restitution, losses, premiums, penalties, fines, liens, attorneys’
  fees, costs, expenses, debts, interest, injunctive relief, declaratory relief, or liquidated damages.,

  PAGA Members further release the Released Parties from any and all claims for penalties under
  PAGA, alleged in the original and amended Complaint or Plaintiffs’ letters to the LWDA, or which
  could have been alleged based on the facts alleged in the original and amended Complaints or
  Plaintiffs’ letters to the LWDA, arising during the PAGA Period, relating to the alleged failure to
  pay split shift premiums and derivative claims, including without limitation: (i) failure to pay split
  shift premiums pursuant to Labor Code sections 1197, 1194 and IWC Wage Order No. 9, (ii)
  failure to pay minimum wages pursuant to Labor Code sections 1197, 1194 and 1194.2 and IWC
  Wage Order No. 9, (iii) failure to issue complete and accurate itemized wage statements pursuant
  to Labor Code section 226, (iv) waiting time penalties pursuant to Labor Code section 201-203,
  (v) violations of California Labor Code §§ 200, 201, 202, 203, 204, 210, 218.5, 226, 558 and 1194;
  (vi) violations of California Business & Professions Code § 17200 et seq.; (viii) violations of the



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  applicable IWC Wage Orders that apply to split shift premiums and derivative claims as described
  above, including without limitation the relevant portions of IWC Wage Orders 9-1998, 9-2000 and
  9-2001; (ix) as related to the claims referenced above, interest, attorneys’ fees and costs, for the
  duration of the Class Period. (“Released PAGA Claims”).

   13. How do I opt out of the settlement?

  To exclude yourself from the Settlement, you must send a signed letter by mail to the Class
  Administrator stating words to the effect: “I wish to be excluded from the Class.” You must also
  include your name, mailing address, telephone number, and the last four digits of your social
  security number. Your exclusion request must be postmarked no later than [45 days from
  mailing] and sent to the Class Administrator at the address in paragraph 7.

  If you exclude yourself, you will not receive any money from the Net Settlement Amount for the
  non-PAGA portion of the Settlement. You cannot object to the Settlement, and you will not be
  legally bound by non-PAGA portion of the Settlement if approved. Class Members do not have
  the right to opt-out from the PAGA portion of the Settlement. If you ask to be excluded for the
  Settlement, and you are a PAGA Member, you will continue to receive your PAGA portion of the
  Settlement and be bound by the Released PAGA Claims.

   14. If I don’t exclude myself, can I sue Defendants for the same thing later?

  No. Unless you exclude yourself, you give up any right to sue Defendants for the claims that this
  Settlement resolves. If you have a pending lawsuit or the same claims that are being settled against
  Defendants, speak to your lawyer in that case immediately. You must exclude yourself from this
  Class to continue your own lawsuit if it involves the same claims.

   15. If I exclude myself, can I get money from this settlement?

  If you exclude yourself, you will not receive any money from the Net Settlement Amount, you
  cannot object to the Settlement, and you will not be legally bound by the Settlement if approved.
  Class Members shall not have the right to opt-out from the PAGA portion of the Settlement. If
  you ask to be excluded for the Settlement, and you are a PAGA Member, you will continue to
  receive your portion of the PAGA Members Payment of the Settlement.

   16. Who is my lawyer if I am included in the Class?

  The Court has appointed as Class Counsel the following attorneys: Hunter Pyle and Katherine
  Fiester of Hunter Pyle Law, 1300 Broadway, 11th Floor, Oakland, CA 94612, (510) 444-4400,
  hunter@hunterpylelaw.com, kfiester@hunterpylelaw.com. You will not be charged for these
  lawyers. If you want to be represented by your own lawyer, you may hire one at your own expense.
  If you have questions about this Settlement, you may contact Class Counsel.




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   17. How do I object to the Settlement going forward?

  You can ask the Court to deny approval by filing an objection. You can’t ask the Court to order a
  different settlement because the Court can only approve or reject the Settlement. If the Court
  denies approval, no settlement payments will be sent out and the lawsuit will continue. If that is
  what you want to happen, you must object.

  To object to the Settlement, a Class Member must postmark a valid Notice of Objection to the
  Settlement Administrator on or before the Response Deadline. Any objection to the proposed
  settlement must be in writing and signed. If you file a timely written objection, you may, but are
  not required to, appear at the Final Approval Hearing, either in person or through your own
  attorney. If you appear through your own attorney, you are responsible for hiring and paying that
  attorney. All written objections and supporting papers should include: (i) the objector’s full
  name, signature, address, and telephone number; (ii) a written statement of all grounds for the
  objection accompanied by any legal support for such objection; (iii) copies of any papers, briefs,
  or other documents upon which the objection is based; and (iv) a statement whether the objector
  intends to appear at the Final Approval Hearing.

  The Parties will file all Notices of Objection with the Court in advance of the Final Approval
  Hearing.

  Any Class Member who does not object in the manner described above shall be deemed to have
  waived any objections, and shall be foreclosed from objecting to the fairness or adequacy of the
  proposed Settlement, the payment of attorneys’ fees and costs, the service payments to the Class
  Representative, the claims process, and any and all other aspects of the Settlement. Likewise, even
  if you file an objection, you will be bound by the terms of the Settlement, including applicable
  releases as set forth above, unless the Settlement is not finally approved by the Court.

   18. What Is the difference between objecting and opting out?

  Objecting is simply saying that you do not like something about the Settlement and do not want it
  approved. Opting out is saying that you do not want to be part of the Class and participate in the
  Settlement. If you opt out, you have no basis to object because the case no longer affects you.

   19. When and where will the Court decide whether to approve the settlement

  The Court will hold a Final Approval Hearing at _____ on ___________________, [insert
  court information]. At this hearing, the Court will make a final decision as to whether the
  Settlement is fair, reasonable, and adequate. If you or other Class Members object to the
  Settlement, the Court will consider the objections. The Judge will listen to people who have
  asked to speak at the hearing. At or after the hearing, the Court will decide whether to grant final
  approval to the Settlement.




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  The Final Approval Hearing may be continued without further notice to Class Members. You are
  advised to check the settlement website at [INSERT LINK TO WEBSITE PROVIDED BY
  ADMINISTRATOR] or the Court’s Public Access to Court Electronic Records (PACER)
  website at https://pacer.uscourts.gov/file-case/court-cmecf-lookup/court/CACDC site to confirm
  that the date has not been changed.

   20. Do I have to come to the hearing?

  No. Class Counsel will answer questions the Judge may have. You are welcome to come at your
  own expense. If you properly submit an objection, you don’t have to come to Court to talk about
  it. As long as you properly submitted your written objection on time, the Court will consider it.
  You may also pay your own lawyer to attend, but it is not necessary.

   21. May I speak at the hearing?

  You may ask the Court for permission to speak at the Fairness Hearing. You cannot appear and
  speak at the hearing if you opt out.

   22. What happens if I do nothing at all?

  If you do nothing, or fail to act timely, you will receive your share of the settlement, but you will
  be barred from bringing the released claims in paragraph 12 against Defendants.

   23. No retaliation from Defendants if you are included in Class or opt out to be excluded from
   Class

  California law makes it unlawful to retaliate against an employee for participating in a lawsuit like
  this one.

  24. Are there more details about the settlement?

  This Notice is intended as a summary and does not fully describe this action, the claims, the
  defenses, or the proposed Settlement, which is subject to the terms and conditions of the
  Settlement Agreement filed with the Court and as preliminarily approved by the Court. For
  further information, you may call or contact the Class Administrator (see paragraph 7 for contact
  information) or Class Counsel (see paragraph 16 for contact information).

  The Class Administrator also maintains a website at which some important documents in this case
  are available. The link to the website is [insert].

  You may also obtain more information by accessing the Court docket in this case through the
  Public Access to Court Electronic Records (PACER) website https://pacer.uscourts.gov/file-
  case/court-cmecf-lookup/court/CACDC or by visiting the office of the Clerk of the United States
  District Court, located on the 1st Floor of the United States District Court, Central District of


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  California, Edward R. Roybal Federal Building & U.S. Courthouse located at 255 East Temple
  Street Los Angeles, CA 90012, between 9:00 a.m. and 4:00 p.m., Monday through Friday,
  excluding Court holidays.

  PLEASE DO NOT CONTACT THE CLERK OF THE COURT, THE JUDGE OR
  DEFENDANTS OR THEIR COUNSEL WITH INQUIRIES.

  Date: _________________________

  This Notice has been approved by the Judge of the United States District Court for the Central
  District of California responsible for overseeing and deciding this case.




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  1 HUNTER PYLE, SBN 191125

  2 KATHERINE FIESTER, SBN 301316
      HUNTER PYLE LAW
  3 1300 Broadway, Eleventh Floor

  4 Oakland, California 94612
      Telephone: (510) 444-4400
  5 Facsimile: (510) 444-4410

  6 Emails: hunter@hunterpylelaw.com;
                kfiester@hunterpylelaw.com
  7

  8 Attorneys for Plaintiffs and the Putative Class

  9                         UNITED STATES DISTRICT COURT
 10
                          CENTRAL DISTRICT OF CALIFORNIA
 11

 12 NORMA LOPEZ, CINDY MITCHELL,                  Case No.: 5:19-cv-01669-JGB-SHK
      VADA NEICE, and MARY DIAZ, on
 13 behalf of themselves and all others           Class and Collective Action
 14 similarly situated;
                                                  DECLARATION OF MARY DIAZ IN
 15               Plaintiffs,                     SUPPORT OF PLAINTIFFS’
 16                                               MOTION FOR PRELIMINARY
           v.                                     APPROVAL OF SETTLEMENT
 17

 18 FIRST STUDENT, INC., FIRST                    Date:     October 18, 2021
      STUDENT MANAGEMENT, LLC,                    Time:     9:00 a.m.
 19 FIRSTGROUP AMERICA, INC., and                 Ctrm:     1
 20 DOES 1 through 10, inclusive,                 Judge:    Hon. Jesus G. Bernal
 21               Defendants.
 22

 23

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 28

         DECLARATION OF MARY DIAZ IN SUPPORT OF PLAINTIFFS’ MOTION FOR
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 1                              DECLARATION OF MARY DIAZ
 2            I, Mary Diaz, declare:
 3            1.      I make this statement based on my personal knowledge, except where
 4    stated on information and belief. I am prepared and competent to testify to the
 5    matters set forth in this declaration.
 6            2.      I worked as an Attendant1 First Student, Inc., First Student
 7    Management, LLC, Firstgroup America, Inc.                       First Student   from
 8    approximately July 2016 to approximately June 2019.
 9            3.      As an Attendant, my duties included, among other things, supervising
10    students,
11    wheelchairs, and helping students transfer to other buses. I was also required to
12    communicate with caregivers, parents, and teachers
13    other issues.
14            4.      I stopped working for First Student in approximately June of 2019.
15            5.      On December 13, 2019, I spoke with my attorney, Hunter Pyle, by
16    telephone. I understood that the duties of a class representative included protecting
17    the interests of the other Attendants as if they were my own interests. I decided that
18    I wanted to be named in the case as a class representative. I searched for and
19    provided my paystubs and other employment-related documents from First Student
20    to Mr. Pyle including an employee handbook. I also provided information about the
21    way Attendants were paid by First Student.
22            6.      I have actively been involved in this class action, including gathering
23    documents; speaking with other Attendants about the case; staying up to date about
24    the progress of the case; and helping my lawyers understand the facts of my
25    employment.
26

27

28    1
          My job title has also been referred to as a Bus Aide or Bus Monitor.
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 1          7.     I also knew that having my name on a publicly-available lawsuit could
 2    negatively affected my ability to work in my chosen industry. I was concerned that
 3    as a whistleblower it would be hard for me to find replacement work in the future.
 4    Despite these concerns, it was important to me that I stand up for the other First
 5    Student Attendants.
 6          8.     I have exchanged numerous phone calls, emails, and text messages
 7    with my lawyers as requested.
 8          9.     I have had at least 10 phone calls with my lawyers over the course of
 9    the past two years to be advised of the progress of the case. Each call lasted
10    approximately 20-30 minutes.
11          10.    I was actively involved in helping Mr. Pyle prepare for mediation. I
12    answered questions about                             policies and practices.
13          11.    I was actively involved with the settlement negotiations for the case. I
14    attended the mediation by Zoom, which took approximately 9 hours. I carefully
15    reviewed the settlement agreement before signing it. I believe that this settlement is
16    a good result for the class members. I accepted settlement only after much
17    consideration and in the spirit of fairness.
18          12.    When the class action notice is mailed out, I will make myself
19    available by phone, in person and by email to ensure that class members are aware
20    of the suit and its progress and how to be a part of it.
21          13.    Overall I have made a consistent effort throughout the litigation to stay
22    informed on all of the major developments in this case, and to volunteer my ideas
23    and assistance.
24          14.    Since the lawsuit was filed, I have made my availability and
25    participation in the lawsuit a priority in my life.
26          15.    I have placed the interests of the class members before my own
27    interests, including taking time off of work to attend the mediation and taking on
28
                                                     -2-

                          PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-2
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page4199
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:490
                                                                                ID
                                    #:716



 1    the risk that I could be responsible for First Student litigation costs if the case was
 2    ultimately unsuccessful.
 3          16.    In total, I believe I have spent at least 50 hours working on this case. I
 4    expect to spend another 10 hours on the case between now and final resolution of
 5    this case.
 6          I declare under penalty of perjury under the laws of the State of California
 7    and the United States that the foregoing is true and correct, and that this declaration
 8    was executed on September 3, 2021, in _____________, California.
 9

10                                                   ____________________________
11
                                                               Mary Diaz

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                          PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-3
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page1200
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:491
                                                                                ID
                                    #:717



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                kfiester@hunterpylelaw.com
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  8 Attorneys for Plaintiffs and the Putative Class

  9                         UNITED STATES DISTRICT COURT
 10
                          CENTRAL DISTRICT OF CALIFORNIA
 11

 12 NORMA LOPEZ, CINDY MITCHELL,                 Case No.: 5:19-cv-01669-JGB-SHK
      VADA NEICE, and MARY DIAZ, on
 13 behalf of themselves and all others          Class and Collective Action
 14 similarly situated;
                                                 DECLARATION OF NORMA LOPEZ
 15               Plaintiffs,                    IN SUPPORT OF PLAINTIFFS’
 16                                              MOTION FOR PRELIMINARY
           v.                                    APPROVAL OF SETTLEMENT
 17

 18 FIRST STUDENT, INC., FIRST                   Date:      October 18, 2021
      STUDENT MANAGEMENT, LLC,                   Time:      9:00 a.m.
 19 FIRSTGROUP AMERICA, INC., and                Ctrm:      1
 20 DOES 1 through 10, inclusive,                Judge:     Hon. Jesus G. Bernal
 21               Defendants.
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       DECLARATION OF NORMA LOPEZ IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                    PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-3
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page2201
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:492
                                                                                ID
                                    #:718



 1                           DECLARATION OF NORMA LOPEZ
 2            I, Norma Lopez, declare:
 3            1.     I make this statement based on my personal knowledge, except where
 4    stated on information and belief. I am prepared and competent to testify to the
 5    matters set forth in this declaration.
 6            2.     I work as an Attendant1 for First Student, Inc., First Student
 7    Management, LLC, Firstgroup America, Inc.                      First Student
 8    worked for First Student from approximately December 2002 to the present.
 9            3.     From at least July 2015, First Student has employed me as an
10    Attendant in Hesperia, California. As an Attendant, my duties include, among other
11    things, supervising students,                                                     kled,
12    strapping down wheelchairs, and helping students transfer to other buses. I have
13    also been required to communicate with caregivers, parents, and teachers regarding
14

15            4.     On June 7, 2019, I met in person with my attorney, Hunter Pyle, in
16    Carson, California. That meeting lasted several hours, and, with travel time, took up
17    most of my day. I understood that the duties of a class representative included
18    protecting the interests of the other Attendants as if they were my own interests. I
19    decided that I wanted to be named in the case as a class representative.
20            5.     I searched for and provided my wage statements, documents pertaining
21    to my job duties as an Attendant, and other employment-related documents from
22    First Student to Mr. Pyle. I also provided information of about the way Attendants
23    were paid by First Student.
24            6.     I have actively been involved in this class action, including gathering
25    documents; assisting with the motion for remand; speaking with other Attendants
26

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28    1
          My job title has also been referred to as a Bus Aide or Bus Monitor.
                                                    -1-
             DECLARATION OF NORMA LOPEZ
                             FOR PRELIMINARY APPROVAL
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-3
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page3202
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:493
                                                                                ID
                                    #:719



 1    about the case; staying up to date about the progress of the case; and helping my
 2    lawyers understand the facts of my employment.
 3          7.     I am still employed by First Student. When I was deciding whether or
 4    not to proceed with this case, I was concerned that First Student would retaliate
 5    against me if I did so. I have seen other Attendants who complained about working
 6    conditions get treated less favorably. Despite these concerns, it was important to
 7    me that I stand up for the other First Student Attendants.
 8          8.     I also knew that having my name on a publicly-available lawsuit could
 9    negatively affected my ability to work in my chosen industry. I was concerned that
10    as a whistleblower it would be hard for me to find replacement work if First
11    Student terminated me.
12          9.     I have exchanged numerous emails, text messages, and phone calls
13    with my lawyers as requested.
14          10.    I have had at least approximately 10 phone calls with my lawyers over
15    the course of the past two years to be advised of the progress of the case. Each call
16    lasted approximately 30 minutes.
17          11.    I was actively involved in helping Mr. Pyle prepare for mediation. I
18    also answered questions about                        policies and practices. I estimate
19    that I spent approximately 4 hours helping to prepare for the mediation.
20          12.    I was actively involved with the settlement negotiations for the case. I
21    attended the mediation by Zoom, which took approximately 9 hours. I carefully
22    reviewed the settlement agreement before signing it. I believe that this settlement is
23    a good result for the class members. I accepted settlement only after much
24    consideration and in the spirit of fairness.
25          13.    When the class action notice is mailed out, I will make myself
26    available by phone, in person and by email to ensure that class members are aware
27    of the suit and its progress and how to be a part of it.
28
                                                     -2-
          DECLARATION OF NORMA LOPEZ
                          FOR PRELIMINARY APPROVAL
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-3
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page4203
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:494
                                                                                ID
                                    #:720



 1          14.    Overall I have made a consistent effort throughout the litigation to stay
 2    informed on all of the major developments in this case, and to volunteer my ideas
 3    and assistance.
 4          15.    Since the lawsuit was filed, I have made my availability and
 5    participation in the lawsuit a priority in my life.
 6          16.    I have placed the interests of the class members before my own
 7    interests, including taking time off of work to attend the mediation and taking on
 8    the risk that I could be responsible for                litigation costs if the case was
 9    ultimately unsuccessful.
10          17.    In total, I believe I have spent at least 50 hours working on this case. I
11    expect to spend another 10 hours on the case between now and final resolution of
12    this case.
13          I declare under penalty of perjury under the laws of the State of California
14    and the United States that the foregoing is true and correct, and that this declaration
15    was executed on September 3, 2021, in Hesperia, California.
16

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                                                              Norma Lopez

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          DECLARATION OF NORMA LOPEZ
                          FOR PRELIMINARY APPROVAL
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-4
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
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                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:495
                                                                                ID
                                    #:721



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                kfiester@hunterpylelaw.com
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  8 Attorneys for Plaintiffs and the Putative Class

  9                         UNITED STATES DISTRICT COURT
 10
                          CENTRAL DISTRICT OF CALIFORNIA
 11

 12 NORMA LOPEZ, CINDY MITCHELL,                 Case No.: 5:19-cv-01669-JGB-SHK
      VADA NEICE, and MARY DIAZ, on
 13 behalf of themselves and all others          Class and Collective Action
 14 similarly situated;
                                                 DECLARATION OF CINDY
 15               Plaintiffs,                    MITCHELL IN SUPPORT OF
 16                                              PLAINTIFFS’ MOTION FOR
           v.                                    PRELIMINARY APPROVAL OF
 17                                              SETTLEMENT
 18 FIRST STUDENT, INC., FIRST
      STUDENT MANAGEMENT, LLC,                   Date:      October 18, 2021
 19 FIRSTGROUP AMERICA, INC., and                Time:      9:00 a.m.
 20 DOES 1 through 10, inclusive,                Ctrm:      1
                                                 Judge:     Hon. Jesus G. Bernal
 21               Defendants.
 22

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        DECLARATION OF CINDY MITCHELL IN SUPPORT OF PLAINTIFFS’ MOTION
                  FOR PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-4
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page2205
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:496
                                                                                ID
                                    #:722



 1                         DECLARATION OF CINDY MITCHELL
 2            I, Cindy Mitchell, declare:
 3            1.     I make this statement based on my personal knowledge, except where
 4    stated on information and belief. I am prepared and competent to testify to the
 5    matters set forth in this declaration.
 6            2.     I work as an Attendant1 for First Student, Inc., First Student
 7    Management, LLC, Firstgroup America, Inc.                      First Student . I have
 8    worked for First Student from approximately May 2011 to the present.
 9            3.     From at least May 2011, First Student has employed me as an
10    Attendant in Hesperia, California. As an Attendant, my duties include, among other
11    things, supervising students, ensu
12    strapping down wheelchairs, and helping students transfer to other buses. I have
13    also been required to communicate with caregivers, parents, and teachers regarding
14

15            4.     On June 7, 2019, I met in person with my attorney, Hunter Pyle, in
16    Carson, California. That meeting lasted several hours, and, with travel time, took up
17    most of my day. I understood that the duties of a class representative included
18    protecting the interests of the other Attendants as if they were my own interests. I
19    decided that I wanted to be named in the case as a class representative.
20            5.     I searched for and provided documents such as my paystubs and other
21    time records, a spreadsheet detailing underpayment of wages owed to me,
22    documents pertaining to my job duties as an Attendant, and other employment-
23    related documents from First Student to Mr. Pyle. I also provided Mr. Pyle
24    information about the way Attendants were paid by First Student.
25            6.     I have actively been involved in this class action, including gathering
26    documents; assisting with the motion for remand; speaking with other Attendants
27

28    1
          My job title has also been referred to as a Bus Aide or Bus Monitor.
                                                    -1-

                         FOR PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-4
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page3206
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:497
                                                                                ID
                                    #:723



 1    about the case; staying up to date about the progress of the case; and helping my
 2    lawyers understand the facts of my employment.
 3          7.     I am still employed by First Student. When I was deciding whether or
 4    not to proceed with this case, I was concerned that First Student would retaliate
 5    against me if I did so. Despite these concerns, it was important to me that I stand
 6    up for the other First Student Attendants.
 7          8.     I also knew that having my name on a publicly-available lawsuit could
 8    negatively affected my ability to work in my chosen industry. I knew that if
 9    someone searched for my name and employer on the internet, this case would likely
10    appear in the search results. I was concerned that as a whistleblower it would be
11    hard for me to find replacement work if First Student terminated me.
12          9.     I have participated in and exchanged numerous phone calls, emails,
13    and text messages with my lawyers as requested.
14          10.    I have had at least 10 phone calls with my lawyers over the course of
15    the past two years to be advised of the progress of the case. Each call lasted
16    approximately 30 minutes.
17          11.    I was actively involved in helping Mr. Pyle prepare for mediation. In
18    addition to providing Mr. Pyle with multiple documents regarding my job duties, I
19    also answered questions about                       y policies and practices. I
20    reviewed damages calculations. I estimate that I spent at least 4 hours helping to
21    prepare for the mediation.
22          12.    Thereafter, I was actively involved with the settlement negotiations for
23    the case. I attended the mediation by Zoom, which took approximately 9 hours. I
24    carefully reviewed the settlement agreement before signing it. I believe that this
25    settlement is a good result for the class members. I accepted settlement only after
26    much consideration and in the spirit of fairness.
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                       FOR PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-4
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page4207
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:498
                                                                                ID
                                    #:724



 1          13.    When the class action notice is mailed out, I will make myself
 2    available by phone, in person and by email to ensure that class members are aware
 3    of the suit and its progress and how to be a part of it.
 4          14.    Overall I have made a consistent effort throughout the litigation to stay
 5    informed on all of the major developments in this case, and to volunteer my ideas
 6    and assistance.
 7          15.    Since the lawsuit was filed, I have made my availability and
 8    participation in the lawsuit a top priority in my life.
 9          16.    I have placed the interests of the class members before my own
10    interests, including taking time off of work to attend the mediation and taking on
11    the risk that I could be responsible for First Student litigation costs if the case was
12    ultimately unsuccessful.
13          17.    In total, I believe I have spent at least 60 hours working on this case. I
14    expect to spend another 10 hours on the case between now and final resolution of
15    this case.
16          I declare under penalty of perjury under the laws of the State of California
17    and the United States that the foregoing is true and correct, and that this declaration
18    was executed on September 3, 2021, in Hesperia, California.
19

20                                                    ____________________________
21
                                                              Cindy Mitchell

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                                                    -3-

                        FOR PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-5
                                    45-1 Filed
                                          Filed09/17/21
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                                                              of 4of Page
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                                                                          ID #:499
                                                                                ID
                                    #:725



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  8 Attorneys for Plaintiffs and the Putative Class

  9                         UNITED STATES DISTRICT COURT
 10
                          CENTRAL DISTRICT OF CALIFORNIA
 11

 12 NORMA LOPEZ, CINDY MITCHELL,                 Case No.: 5:19-cv-01669-JGB-SHK
      VADA NEICE, and MARY DIAZ, on
 13 behalf of themselves and all others          Class and Collective Action
 14 similarly situated;
                                                 DECLARATION OF VADA NEICE
 15               Plaintiffs,                    IN SUPPORT OF PLAINTIFFS’
 16                                              MOTION FOR PRELIMINARY
           v.                                    APPROVAL OF SETTLEMENT
 17

 18 FIRST STUDENT, INC., FIRST                   Date:      October 18, 2021
      STUDENT MANAGEMENT, LLC,                   Time:      9:00 a.m.
 19 FIRSTGROUP AMERICA, INC., and                Ctrm:      1
 20 DOES 1 through 10, inclusive,                Judge:     Hon. Jesus G. Bernal
 21               Defendants.
 22

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         DECLARATION OF VADA NEICE IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                    PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-5
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page2209
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:500
                                                                                ID
                                    #:726



 1                             DECLARATION OF VADA NEICE
 2            I, Vada Neice, declare:
 3            1.      I make this statement based on my personal knowledge, except where
 4    stated on information and belief. I am prepared and competent to testify to the
 5    matters set forth in this declaration.
 6            2.      I worked as an Attendant1 for First Student, Inc., First Student
 7    Management, LLC, Firstgroup America, Inc.                       First Student      from at
 8    least July 2015 to April 2021.
 9            3.      As an Attendant, my duties included, among other things, supervising
10    students,
11    wheelchairs, and helping students transfer to other buses. I was also required to
12    communicate with caregivers, parents, and teachers
13    other issues.
14            4.      On June 7, 2019, I met in person with my attorney, Hunter Pyle, in
15    Carson, California. That meeting lasted several hours, and, with travel time, took
16    up most of my day. I understood that the duties of a class representative included
17    protecting the interests of the other Attendants as if they were my own interests. I
18    decided that I wanted to be named in the case as a class representative.
19            5.      I searched for and provided all the time records and paystubs that I
20    could find from First Student to Mr. Pyle. I also provided information of about the
21    way Attendants were paid by First Student.
22            6.      I have actively been involved in this class action, including gathering
23    documents; speaking with other Attendants about the case; staying up to date about
24    the progress of the case; and helping my lawyers understand the facts of my
25    employment.
26

27

28    1
          My job title has also been referred to as a Bus Aide or Bus Monitor.
                                                     -1-
           DECLARATION OF VADA NEICE
                      PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-5
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page3210
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:501
                                                                                ID
                                    #:727



 1          7.     I also knew that having my name on a publicly-available lawsuit could
 2    negatively affect my ability to work in my chosen industry. I was concerned that as
 3    a whistleblower it would be hard for me to find replacement work if First Student
 4    terminated me. When I was deciding whether or not to proceed with this case, I was
 5    concerned that First Student would retaliate against me if I did so. I have seen
 6    other Attendants who complained about working conditions get treated less
 7    favorably. Despite these concerns, it was important to me that I stand up for the
 8    other First Student Attendants.
 9          8.     I have exchanged numerous phone calls, emails, and text messages
10    with my lawyers as requested.
11          9.     I have had at approximately 10 phone calls with my lawyers over the
12    course of the past two years to be advised of the progress of the case. Each call
13    lasted approximately 15 minutes.
14          10.    I was actively involved in helping Mr. Pyle prepare for mediation. I
15    answered questions about                           policies and practices.
16          11.    I was actively involved with the settlement negotiations for the case. I
17    made myself available all day on the day of mediation, which took approximately 9
18    hours, to stay updated on the status of the negotiations and answer any questions. I
19    carefully reviewed the settlement agreement before signing it. I believe that this
20    settlement is good result for the class members. I accepted the settlement only after
21    much consideration and in the spirit of fairness.
22          12.    When the class action notice is mailed out, I will make myself
23    available by phone, in person and by email to ensure that class members are aware
24    of the lawsuit and its progress and how to be a part of it.
25          13.    Overall I have made a consistent effort throughout the litigation to stay
26    informed on all of the major developments in this case, and to volunteer my ideas
27    and assistance.
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         DECLARATION OF VADA NEICE
                    PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-5
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                                               10/13/21 Page
                                                        Page4211
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:502
                                                                                ID
                                    #:728



 1          14.    Since the lawsuit was filed, I have made my availability and
 2    participation in the lawsuit a priority in my life.
 3          15.    I have placed the interests of the class members before my own
 4    interests, including taking time to make myself available to participate in the
 5    mediation process and taking on the risk that I could be responsible for First
 6    Student litigation costs if the case was ultimately unsuccessful.
 7          16.    In total, I believe I have spent at least 50 hours working on this case. I
 8    expect to spend another 10 hours on the case between now and final resolution of
 9    this case.
10          I declare under penalty of perjury under the laws of the State of South
11    Carolina and the United States that the foregoing is true and correct, and that this
12    declaration was executed on September 3, 2021, in _____________, South
13    Carolina.
14

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                                                               Vada Neice

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         DECLARATION OF VADA NEICE
                    PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-6
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page1212
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:503
                                                                                ID
                                    #:729



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  8 Attorneys for Plaintiffs and the Putative Class

  9                        UNITED STATES DISTRICT COURT
 10
                          CENTRAL DISTRICT OF CALIFORNIA
 11

 12 NORMA LOPEZ, CINDY MITCHELL,                 Case No.: 5:19-cv-01669-JGB-SHK
      VADA NEICE, and MARY DIAZ, on
 13 behalf of themselves and all others          [PROPOSED] ORDER
 14 similarly situated;                          CONDITIONALLY CERTIFYING
                                                 SETTLEMENT CLASS AND
 15              Plaintiffs,                     GRANTING PRELIMINARY
 16                                              APPROVAL OF CLASS ACTION
           v.                                    SETTLEMENT
 17

 18 FIRST STUDENT, INC., FIRST                   Date:     October 18, 2021
      STUDENT MANAGEMENT, LLC,                   Time:     9:00 a.m.
 19 FIRSTGROUP AMERICA, INC., and                Ctrm:     1
 20 DOES 1 through 10, inclusive,                Judge:    Hon. Jesus G. Bernal
 21              Defendants.
 22

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                   ORDER GRANTING PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
     5:19-cv-01669-JGB-SHK Document
                           Document42-6
                                    45-1 Filed
                                          Filed09/17/21
                                               10/13/21 Page
                                                        Page2213
                                                              of 4of Page
                                                                     246 Page
                                                                          ID #:504
                                                                                ID
                                    #:730



 1           On October 18, 2021, the Court heard Plaintiffs Norma Lopez, Cindy
 2    Mitchell, Vada Neice, and Mary Diaz’s motion for preliminary approval of a
 3    proposed class action settlement with Defendant First Student, Inc., First Student
 4    Management, LLC, and Firstgroup America, Inc. (“Defendants”). The Court has
 5    considered Plaintiffs’ motion, the Joint Stipulation of Class and PAGA
 6    Representative Action Settlement And Release (“Settlement”), the proposed Class
 7    Notice attached thereto as Exhibit A, and the submissions of counsel, and hereby
 8    finds and orders as follows:
 9           1.        The Court finds on a preliminary basis that the class action settlement
10    memorialized in the Settlement filed with the Court falls within the range of
11    reasonableness and, therefore, meets the requirements for preliminary approval.
12           2.        The Court conditionally certifies, for settlement purposes only, the
13    following settlement Class:
14           All individuals employed by First Student, Inc. or First Student Management,
15           LLC in the position of Attendant, Bus Aid or Bus Monitor in the state of
16           California as hourly non-exempt employees at any time from July 11, 2015 to
17           July 24, 2021. (the “Class” or “Class Member(s).”)
18           3.        The Court finds that, for settlement purposes only, the requirements of
19    Federal Rule of Civil Procedure 23(a) and Federal Rule of Civil Procedure 23(b)(3)
20    are satisfied.
21           4.        The Court appoints, for settlement purposes only, Norma Lopez, Cindy
22    Mitchell, Vada Neice, and Mary Diaz, as the Class Representatives.
23           5.        The Court appoints, for settlement purposes only, Hunter Pyle Law as
24    Class Counsel.
25           6.        The Court appoints Simpluris, Inc. as Settlement Administrator.
26           7.        The Court approves, as to form and content, the proposed Class Notice
27    attached to the Settlement as Exhibit A. The Settlement Administrator is ordered to
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                                                 -1-
                        ORDER GRANTING PRELIMINARY APPROVAL OF SETTLEMENT
Case
Case5:19-cv-01669-JGB-SHK
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 1    disseminate the Class Notice to the Class Members as provided in the Settlement and
 2    this Order.
 3            8.    Each Class Member who wishes to be excluded from the Class will have
 4    forty-five (45) days from the date the Class Notice is originally mailed to opt-out of
 5    the Class.
 6            9.    Each Class Member who does not opt-out will have forty-five (45) days
 7    after the date on which the Settlement Administrator mails the Class Notice to object
 8    to the Settlement by sending a written objection to the Settlement Administrator.
 9    Class Counsel shall file any objections with the Court.
10            10.   The Court will conduct a Final Approval Hearing on Monday, February
11    7, 2022 at 9:00 a.m., or as soon thereafter as the matter may be heard, to determine
12    the overall fairness of the settlement and to fix the amount of reasonable attorneys’
13    fees and costs to Class Counsel and service award to the Class Representatives.
14            11.   The Final Approval Hearing may be continued without further notice to
15    the Class Members. Class Counsel shall file their motion for approval of reasonable
16    attorneys’ fees, costs, and the Class Representative service payments sought in the
17    Settlement on or before December 7, 2021. Class Counsel shall file their motion for
18    final approval of the settlement on or before December 20, 2021.
19            12.   Defendants have complied with the notice requirements of 28 U.S.C. §
20    1715.
21            13.   The implementation schedule for further settlement proceedings is as
22    follows:
23                       Event                                     Event Date
24       Defendants to provide Class Data List                  November 1, 2021
25      information to Settlement Administrator
         Settlement Administrator to mail Class                 November 22, 2021
26            Notice to the Settlement Class
27          Class Counsel to file Motion for                    December 7, 2021
           Attorneys’ Fees, Costs, and Class
28            Representative Service Award
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                     ORDER GRANTING PRELIMINARY APPROVAL OF SETTLEMENT
Case
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 1       Class Counsel to file Motion for Final          December 20, 2021
 2                Settlement Approval
             Objection/Exclusion Deadline                   January 6, 2022
 3        Settlement Administrator to provide              January 20, 2022
 4              declaration to the Parties
            Plaintiffs to file Declaration of              January 26, 2022
 5              Settlement Administrator
 6               Final Approval Hearing              February 7, 2022 at 9:00 a.m.
 7          IT IS SO ORDERED.
 8

 9    Dated: ______________                 __________________________________
10                                          Hon. Jesus G. Bernal
                                            United States District Court Judge
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                    ORDER GRANTING PRELIMINARY APPROVAL OF SETTLEMENT
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         EXHIBIT F
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                                    #:734

             Full Name           Total Payout              State
Abarca,Sally                 $               837.68   CA
Abdin,Tok H                  $               351.53   CA
Abraham,Ragi W               $               798.35   CA
Abrams,Michael E             $             1,017.17   CA
Acevedo,Damaris              $               505.30   CA
Aceves,Christian             $                 7.48   CA
Acosta,Daniel E              $                70.65   CA
Acosta,Lisa                  $                70.65   CA
Acosta,Margaret A            $             1,269.13   CA
Adair,Mary C                 $               688.09   CA
Agapeyev,Vladimir            $               254.29   CA
Aguiar,Victor D              $                29.92   CA
Aguilar,Leilani              $                29.92   CA
Aguilar,Marisa A             $                49.46   CA
Aguilar,Nancy L              $                21.20   CA
Aguilar,Yevette              $             2,551.52   CA
Alba,Jessica J               $               972.30   CA
Alcala,Julio                 $               231.86   CA
Alejandre,Zulema             $             2,121.18   CA
Aleman,Pilar                 $               211.95   CA
Alexandre,Elizabeth          $             2,964.19   CA
Alfaro,Anthony J             $               321.61   CA
Alfaro,Cheyanne C            $               493.62   CA
Alfaro,Cruz                  $               894.20   CA
Allen,Joshua                 $               433.79   CA
Almanzar,Nichole             $                52.36   CA
Almenara,Erendira            $                14.96   CA
Alter,Samantha               $               511.53   CA
Alvarado,Vanessa             $             3,914.08   CA
Alvarez,Alexandria           $               942.38   CA
Alvarez,Jennifer L           $               478.67   CA
Alves,Susan L                $               426.32   CA
Anderson,Carol A             $               716.37   NC
Anderson,Craig A             $                82.28   CA
Anderson,Katherine W         $               741.83   CA
Anderson,Melanie R           $             2,195.41   TX
Anderson,Sylvia L            $             2,195.92   CA
Anderson,Travis M            $                 7.48   CA
Anderson,Wendy S             $               112.19   CA
Andrade,Alejandra            $             2,924.70   CA
Andrews-Henderson,Brenda O   $               155.43   CA
Angel,Alison M               $                42.39   CA
Anguiano,Rocio               $               953.78   CA
Anguiano,Yadira              $             2,918.24   CA
Arbayo De Cash,Margarita     $               643.22   CA
Armendariz,Luis A            $                97.23   CA
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Arnold,Tyesha L          $             321.61   CA
Aros,Salina K            $             438.03   CA
Arreola,Jacqueline       $             501.57   CA
Arsineda,Maria           $             800.27   CA
Arzate,Jesus A           $           1,117.85   CA
Aspurias,Natividad C     $           1,881.65   CA
Atangan,James D          $           1,483.13   CA
Atoyebi,Crystal A        $             197.82   CA
Audette,Danielle M       $             466.29   CA
Auldridge,Lonnie D       $           1,822.79   CA
Avalos,Linda             $             508.58   CA
Avery,Brandy C           $             127.17   CA
Ayala,Saturnino J        $             329.08   CA
Ayala,Vicente B          $             897.51   CA
Babb,Mark R              $           1,114.87   CA
Ballestracci,Tiffany R   $              56.52   CA
Banks,Michelle           $             666.19   CA
Banos,Lincey A           $             112.19   CA
Banquedano,Jonathan J    $              35.33   CA
Banquiles,Salvador A     $             164.54   CA
Barber,Lakeisha S        $             148.37   CA
Barland,Kim K            $             560.94   CA
Barnes,Rosalyn R         $             529.88   CA
Barrientos,Jessica       $             531.02   CA
Barrios,Joshua J         $           1,856.26   CA
Bass,Karena S            $           1,601.87   CA
Bastrup,Cassie L         $             452.16   CA
Bauders,Linda T          $             367.38   CA
Baumgardner,Andrew M     $               7.48   CA
Bautista,Marlisa M       $             190.76   CA
Beard,Jena R             $             381.44   CA
Beard,Rashad J           $              91.85   CA
Becerra,Cindi            $             155.43   CA
Becerra,Rosalyn          $              42.39   CA
Becerra,Victoria         $           1,287.28   CA
Beck,Tami L              $           3,099.23   CA
Bedgood,Laura J          $             310.86   CA
Bell,Asha K              $             522.82   CA
Bell,La'Zhon             $              52.36   CA
Beltran,Felipe J         $             219.02   CA
Benavides,Casey J        $             304.63   CA
Benavidez,Christina L    $             176.63   CA
Benefield,Beverly J      $           1,384.22   CA
Benoit,Pamela            $              35.33   CA
Berry,Marquita S         $             515.75   CA
Black,Mary A             $           2,869.00   CA
Blackwell,Loxie L        $             421.81   CA
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Blair,Charles M           $          1,238.33   CA
Blaisdell,Taundalea       $            600.53   CA
Blanco,Melinda            $            186.98   CA
Blaszak,Felicia Y         $            275.54   CA
Blaylock,Ola J            $              7.48   CA
Blunt,Elaine M            $            560.94   CA
Bolivar,Fanny             $            987.26   CA
Bradley,Kalysha L         $            704.73   CA
Bran,Hugo R               $            593.47   CA
Brisco,Renika S           $             14.96   CA
Briseno,Christina         $            284.26   CA
Briseno,Sandra I          $            583.38   CA
Britto,Frank              $          2,259.78   CA
Broadbent,Lillie D        $          6,222.66   CA
Broadnax,Barbara A        $            815.26   CA
Brooks,Steven             $            627.11   CA
Brooner,John E            $             35.33   CA
Brown,Antoinette          $            233.15   CA
Brown,Carlene             $          2,107.27   CA
Brown,Elaine              $            346.19   CA
Brown,Ethel M             $          1,748.24   CA
Brown,Kathleen            $              7.48   CA
Brown,Luraline L          $             70.65   CA
Brown,Vaiee V             $          2,997.00   CA
Brown,Wordsworth A        $            902.94   CA
Brown-Williams,Angela G   $            248.49   CA
Brummel,Ian               $            149.58   CA
Brunt,Whitney M           $          1,658.05   CA
Bruton,Debra D            $            277.17   CA
Buchanan,Loydia J         $            169.56   CA
Burns,Retania J           $          2,109.75   CA
Burt,Michael J            $          2,180.06   CA
Bustamante,Nicholas M     $            134.24   CA
Butler,Charles L          $            127.15   CA
Butler,Tamara E           $            246.82   CA
Butters,Nikole L          $             98.91   CA
Byrd,Gwendolyn            $            127.17   CA
Cabrera,Juliana M         $          1,186.93   CA
Cade,Roy                  $          2,257.56   CA
CALDERON JR,JESUS         $            563.50   CA
Calderon,Anisley          $            748.02   CA
Calderon,Barbara J        $            649.99   CA
Calderon,Hilda            $            711.48   CA
Calderon,Pablo            $         12,857.16   CA
Callins,Rachel J          $            204.89   CA
Camacho,Maria             $            162.50   CA
Campbell,Belva D          $             14.96   CA
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Campbell,Sarah M              $        105.98   CA
Campillo,Maribel              $        822.42   CA
Campillo,Mercedes             $      4,738.58   CA
Campos,Andrew L               $        141.30   CA
Candelaria,Marisela           $        791.29   CA
Cantu,Amanda                  $        359.00   CA
Carachure,Victoria S          $      1,422.88   CA
Carasa,Cindy R                $        996.18   CA
Carbajal,Stephanie            $      1,328.06   CA
Cardena,Maria D               $         29.92   CA
Cardenas,Juana                $        104.71   CA
Cardin,Clare A                $          7.48   CA
Cardona,Ana                   $      2,256.15   CA
Cardoza,Epifania C            $      1,572.88   CA
Carlon,Diana                  $         29.92   CA
Carrillo,Adrian R             $         84.78   CA
Carrillo,Maria F              $      2,140.11   CA
Carrington,Harry              $      1,465.32   CA
Carson,Dennis J               $         21.20   CA
Cartagena,Ana                 $      3,917.01   CA
Carter,Beverly                $        862.72   CA
Carter,Raquel                 $        466.29   CA
Casanova,Jesse                $      1,913.59   CA
Casso,Sophia M                $      2,509.88   CA
Castaneda,Iris I              $      1,024.44   CA
Castaneda,Maria Y             $      1,028.41   CA
Castaneda,Monica R            $        254.34   CA
Castaneda,Rosario             $      2,928.42   CA
Castillo Jaime,Ivan Rodolfo   $        198.65   CA
Castillo,Julio C              $      1,028.04   CA
Castrejon,Linda T             $        875.07   CA
Castro,Carmen                 $        987.26   CA
Castro,Gina                   $         14.96   CA
Ceballos,Christine            $      1,397.86   CA
Ceballos,Sandra A             $        572.27   CA
Cervantes,Stephanie           $        351.53   CA
Chance,Lona M                 $        332.06   CA
Chand,Priyasheel              $         14.96   CA
Chapman,Tommy R               $      1,215.39   CA
Chavez,Edgar                  $        104.71   CA
Chavez,Lisa M                 $      1,396.33   CA
Chavez,Rosa Nelly             $        213.15   CA
Chayra,Arturo P               $      2,602.21   CA
Cheeks,Corey                  $      1,466.90   CA
Cheng,Fong P                  $        583.38   CA
Christensen,Kathy M           $        671.18   CA
Churchill,Jazzmine R          $         29.92   CA
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Churchill,Lamyha            $          381.44   CA
Ciampa,Richard              $          471.19   CA
Clark,Brittiney             $           52.36   CA
Claussen,Thomas P           $          261.78   CA
Cleland,Natasha             $          678.25   CA
Close,Helena                $           37.40   CA
Clune,Michael               $          703.05   CA
Coates,Harley               $           97.23   CA
Cobb,Donye T                $          357.34   CA
Coker,Olaseni A             $          556.02   CA
Coleman,Duane R             $        1,478.54   CA
Coleman,Keyana T            $        1,060.42   CA
Collier,Carrol              $          239.33   IL
Collins,Arlene L            $          240.21   WV
Collinsworth,Wayne R        $          416.84   CA
Colvin,Wahneeota R          $        1,628.98   CA
Contreras,Raquel A          $          183.69   CA
Contreras,Ruben             $           70.65   CA
Conway,Shemetris S          $           56.52   CA
Cook,Willie E               $           42.39   CA
Cooper,Johnny               $          209.42   CA
Corbeil,Cassie M            $          169.56   CA
Corbell,Darla M             $          197.82   CA
Corona,Adrianna A           $            7.48   CA
Corona,Manuel S             $        1,077.01   CA
Coronado,Myra Alejandra D   $           22.44   CA
Coronel,Cecilia             $          463.71   CA
Corral,Jo A                 $        1,916.68   CA
Corral,Maria                $        2,035.82   CA
Cortes,Dianell              $        1,196.67   CA
Cory,Nancy                  $          695.57   CA
Covey,Michael L             $          523.54   CA
Cox,Carl S                  $          261.41   CA
Coyt,Julio                  $          377.98   CA
Crawford,Denise A           $          897.19   CA
Cruz,Anel Y                 $        1,800.98   CA
Cruz,Kimberly               $           52.36   CA
Cruz,Lucy                   $        3,270.48   CA
Cruz,Maria D                $        1,103.76   CA
Cuccia,Tammy E              $           77.72   CA
Curry-Luster,DaJuana R      $          792.07   CA
Cuthbert,Evelyn M           $        2,220.45   CA
DaCosta,Thelma              $        1,017.17   CA
Dahlen,Lars E               $          402.71   CA
Daly,Daniel L               $        1,186.93   CA
Darensbourg-White,Terry L   $        1,696.30   CA
Davila,Catalina             $        2,134.70   CA
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Davila,Jennifer             $          336.57   CA
Davis,Andrewnettia          $          353.25   CA
Davis,Geoann                $          699.44   CA
Davis,Glenisha              $          670.72   CA
Davis,Lanesha L             $          658.18   CA
Davis,Lorrie A              $        2,972.49   CA
De Jesus,Maria E            $          219.43   CA
De La Cruz,Angela           $          876.07   CA
De La Cruz,Jeanette         $        1,005.99   CA
De La O,Lupe                $           14.96   CA
DE LA RIVA,DENICE           $          578.88   CA
De La Riva,Mary             $        1,152.02   CA
De La Torre,Shawnee L       $          389.41   CA
Dean,Sofia M                $        1,047.09   CA
Deed,Zachary G              $           14.96   CA
Degraw,Michele L            $           97.23   CA
Del Carmen Benitez,Marina   $           84.78   CA
Dela Rosa,Daniela M         $          418.83   CA
Deleon,Jorge M              $          770.09   CA
Delgado,Arlene I            $          628.26   CA
Delgado,Rita                $        1,081.08   CA
Delvalle,Lisbette           $        3,256.30   CA
Dennison,Kathryn            $        2,170.19   CA
Denton,Cindi E              $          423.90   CA
Diaz,Alma R                 $          748.90   CA
Diaz,Joseph                 $          240.21   CA
Diaz,Mary D                 $          783.76   CA
DIAZ,VICTOR R               $          219.02   CA
Dickerson,Courtney L        $          594.30   CA
Dileo,Charles R             $          127.17   CA
Dixon,Jewelie L             $        3,102.89   CA
Dixon,Malaika O             $          450.04   CA
Dixon,Talazia D             $           52.36   CA
Do,Richard                  $            7.48   CA
Dominguez,Melania           $           77.72   IN
Dooley,Clara L              $          291.69   CA
Dotson,Donald R             $        2,072.82   CA
Douglas,Curtis              $          332.01   CA
Drew,Dennis                 $          157.07   CA
Dumas,Sarah N               $        1,599.00   CA
Dunbar,Yvonne               $          336.57   CA
Duncan,Leanne               $        4,235.03   CA
Duoa,Jackson T              $          381.51   CA
Duran,Robert                $          987.26   CA
Durio,Jennifer N            $          664.12   CA
Earnest,Lillie R            $          478.67   CA
Easter,Pearlie L            $          988.96   CA
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Echavarria,Laurie M              $   2,630.45   CA
Edwards,Frank                    $   1,033.06   CA
Edwards,Ivan                     $     190.76   CA
Eha,Richard                      $   2,366.21   CA
Elias,Cecilia                    $   1,732.86   CA
Eller,Kimberly D                 $     241.85   CA
Elliott,Yvette A                 $     492.43   CA
Ellis,Latera U                   $   1,463.15   CA
Enright,Richard A                $   2,529.12   CA
Eppinger,Tameka R                $     837.68   CA
Erroa Alvarado,Margarita Reyna   $   1,096.72   CA
Erwin,Kevin                      $      89.75   CA
Eschen,Kenneth                   $   1,331.43   CA
Escobedo,Raquel E                $   2,592.22   CA
Eshom,Corey D                    $       7.48   CA
Espinoza,Alexandra K             $     216.90   CA
Espinoza,Thalia A                $     812.48   CA
Espinoza,Valerie                 $     344.04   CA
Estes,Tamika L                   $   1,300.34   CA
Estrada,Carmen E                 $     487.49   CA
Evans,Mathew C                   $     339.12   CA
Evans,Robert E                   $     219.02   CA
Fajardo,Wilber                   $      78.53   CA
Falls,Nannette L                 $     754.67   CA
Fantroy,Andranette R             $     777.84   CA
Farnsworth,George C              $   2,398.74   CA
Fasciano,Sandra                  $       7.07   CA
Fassbinder,Stephanie E           $     608.74   CA
Faulk,Ella R                     $     637.47   CA
Ferree,Patrick W                 $      28.26   CA
Fierros,Aime                     $   5,438.02   CA
Fish,James                       $   3,127.49   CA
Fiztgerald,Lucas W               $     310.86   CA
Flores,Alyssa M                  $     433.79   CA
Fogde,Jason A                    $   2,274.64   CA
Ford,Cameo J                     $     591.32   CA
Ford,Corrine                     $   1,238.75   CA
Fort,Kenneth                     $     869.41   CA
Fort,Keyanna S                   $   1,714.62   CA
Foster,Kenisha D                 $      49.46   CA
Fowler Avila,Daniel              $     112.19   CA
Francis,Bryanna S                $     534.78   CA
Franco,Lorraine A                $     155.43   CA
Franklin,Joycelyn                $     568.43   CA
Franklin,Quinton D               $     565.21   GA
Franks,Patricia Kellen L         $      29.92   CA
Freeman,Robert S                 $     303.80   CA
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Freeman,Walter D         $             176.63   CA
Freitas,Elaina           $           1,242.84   CA
French,Gary E            $           3,906.63   CA
Freteluco,Alma C         $             998.61   CA
Frields,Bridgette E      $             233.15   CA
Fuentes,Isabel           $           4,648.37   CA
Fuentes,Maria D          $           3,543.04   CA
Fuentes,Maria G          $           2,288.09   CA
Fulton,Brenda            $             441.28   CA
Fulton,Jamie             $           2,376.56   CA
Funches,Sheena Marie     $             609.64   CA
Galan,Lorena B           $           1,077.01   CA
Galindo,Bridget C        $           1,094.37   CA
Gallardo,Dorothy         $           4,994.12   CA
Gallardo,Nicolle         $             942.38   CA
Gama,Raquel              $             867.59   CA
Gamez,Bertha N           $             755.96   CA
Gant,Richard             $              91.85   CA
Garcia Jr,David          $           1,941.87   CA
Garcia,Clelia            $             814.02   CA
Garcia,Florence          $             947.86   CA
Garcia,Karina            $             659.07   CA
Garcia,Maria T           $              70.65   CA
Garcia,Marlon A          $             620.77   CA
Garcia,Michael A         $           3,449.82   CA
Garcia,Susan             $             530.29   CA
Garcia,Teresa            $             480.42   CA
Garcia,Yolanda           $           1,207.08   CA
Garibay,Marissa          $              89.75   CA
Garner,Brooke N          $             703.10   CA
Garner,Cody D            $               7.48   CA
Garza,Tomas E            $             891.81   CA
Gastelum,Vianna          $              82.28   CA
Gates,Reevance           $               7.07   CA
Gergione,Francine        $           1,620.58   CA
Ghazlo,LaShawndra D      $             750.09   CA
Gholar,Charlotte D       $           1,443.34   CA
Gil,Araceli              $           3,210.61   CA
Gillett,Bradley J        $             635.86   CA
Gilmore,De'Ann           $             702.24   CA
Gipson-Farley,Raykenya   $           1,004.90   CA
Glover,Sherell L         $           1,116.58   CA
Goddard II,David L       $             523.54   CA
Godinez,Guadalupe        $             361.10   CA
Gomez,Janelle M          $           1,826.37   CA
Gomez,Jesus              $           1,259.49   CA
Gomez,Kayla I            $              29.92   CA
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Gomez,Myriam                  $      1,040.18   CA
Gomez,Valeria M               $        547.69   CA
Gonzales,Anthony M            $        989.79   CA
Gonzales,Billie J             $      2,444.71   CA
Gonzales,Christina F          $      3,012.79   CA
Gonzales,Linda                $        473.36   CA
Gonzales,Norma L              $        231.86   CA
Gonzales,Rosalinda            $        915.83   CA
Gonzalez Crosby,Ricardo U     $         29.92   CA
Gonzalez,Ana M                $        541.06   CA
Gonzalez,Maria F              $      2,366.99   CA
Gonzalez,Maria G              $        478.67   CA
Gonzalez,Maritza              $        688.09   CA
Gonzalez,Mercedies            $      1,899.73   CA
Gonzalez,Miguel               $      1,062.05   CA
Goodar,Gale                   $      3,359.35   CA
Graham,Philip J               $        359.00   CA
Granado,Anthony               $        211.95   CA
Grant,Michelle                $        381.44   CA
Graves,Irena                  $        721.01   CA
Graves,Sandra K               $      1,354.62   CA
Gray,Leisa                    $      2,559.46   CA
Green,Antonette P             $         97.23   CA
Green,Mariya S                $        359.00   CA
Green,Rhonda R                $        169.56   CA
GREENFIELD,EBONY              $        911.39   CA
Grounds,Jamie D               $        755.40   CA
Guadarrama,Michelle           $        676.50   CA
Guerra,Elvira                 $      4,445.57   CA
Guerrero Jimenez,Maria G      $        692.33   CA
Guerrero-Rodriguez,Marcos J   $        374.45   CA
GUTIERREZ PEREZ,SANDRA        $        798.35   CA
Gutierrez,Desiree             $        508.58   CA
Gutierrez,Elvia J             $         74.79   CA
Gutierrez,Tammy R             $      2,197.02   CA
Guzman,Darri-Jean             $      2,197.87   CA
Guzman,Giselle C              $      2,904.72   CA
Guzman,Jessica                $        142.11   CA
Guzman,Lorena A               $      3,000.32   CA
Guzman,Naomie                 $        673.13   CA
Guzman,Richard                $      2,902.23   CA
Guzman,Sandra                 $         29.92   CA
Guzman,Yvonne                 $      3,306.98   CA
Hagadorn,Rebecca A            $          7.48   CA
Hagins,Jamesha A              $         42.39   CA
Haidle,Stephen A              $      1,047.97   CA
Haley,Marquest                $        258.05   CA
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Halili,Justin                  $        74.79   CA
Haltom,Alexis M                $       359.00   CA
Hamidi,Temor                   $       748.90   CA
Hamilton,Danny                 $       183.69   CA
Hardiamon,Malisa T             $        42.39   CA
Hargrove,Elizabeth M           $       934.90   CA
Haro,Irma A                    $     1,171.81   CA
Harris,Aleea T                 $        67.32   CA
Harris,Faytavia                $       847.81   CA
Harris,Wanda J                 $       303.80   CA
Harris,William R               $       409.77   CA
Harrison,Cynthia               $     3,283.55   CA
Hartwell,Diane G               $       113.04   CA
Harvey,Sabrina                 $       448.75   CA
Hasselbrook,Pauline            $       459.23   CA
Hauffen,Martin                 $     2,719.47   CA
Hayter,Samual T                $       296.71   CA
Heiberger,Sarah T              $        42.39   CA
Helms,Neva J                   $     3,024.43   CA
Hendrix,Romona L               $         7.48   CA
Henry,Gary B                   $       628.79   CA
Henry,Harvey W                 $       448.63   CA
Henry,Sonia M                  $     1,368.82   CA
Henson,Ashley C                $     1,053.48   CA
Heppner,Brenda G               $       296.73   CA
Her,Xa                         $       441.28   CA
Hernandes,Jeni                 $       233.15   CA
Hernandez,Aida Z               $     2,281.41   CA
Hernandez,Barbara G            $     2,952.13   CA
Hernandez,Elena                $       856.79   CA
Hernandez,Elizabeth            $     1,531.83   CA
Hernandez,Francisco            $       624.99   CA
Hernandez,Luis D               $        89.75   CA
Hernandez,Mario E              $       190.76   CA
Hernandez,Tina M               $     1,040.08   CA
Hernandez-Brito,Sylvia         $        28.26   CA
Hernandez-Chavez,Francisco J   $     1,933.39   CA
Hernandez-Lopez,Aurea          $       673.65   CA
Herrera,Georgiana L            $     2,111.82   CA
Herrera,Nadine I               $        82.28   CA
Hesseltine,Yohn D              $       713.57   CA
Hewitt,Elizabeth A             $       216.90   CA
Hewlett,Bobby J                $       183.69   CA
Hewlett,Gwendolyn              $     1,264.97   CA
Hibbard Jr,Danny               $       869.00   CA
Hicks,Arkelah                  $       900.06   CA
Hidalgo,Joathan F              $       176.63   CA
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Hiler,Keenon              $            346.19   CA
Hill,Carissa L            $             85.19   CA
Hill,Iesha N              $            155.43   CA
Hill,Judy                 $            459.23   CA
Hitch,Jeffery L           $             14.13   CA
Hockman,Erick J           $             29.92   CA
Hoffman,Donna L           $          3,556.25   CA
Holley,Jasmine            $          1,890.73   CA
Holley,Kareema C          $            572.27   CA
Holmeyer,Antoinette       $            438.03   CA
Holsey,Chante             $            536.95   CA
Hopper,Kady               $            104.71   CA
Horn,Tammy                $            463.71   CA
Horvath,Kathleen M        $          2,778.84   CA
Hosseinpour,Askar         $            456.23   CA
Howard,Sandra M           $          2,392.28   CA
Howse,Dejone M            $            134.24   CA
Hueser,Melissa R          $            564.33   CA
Hughes,Frank L            $             49.46   CA
Hull,Erica M              $            900.87   CA
Hull,Rochelle M           $          1,103.25   CA
HUMPHREYS,ELIJAH J        $             35.33   CA
Hunnicutt,Felicia D       $            591.78   CA
Hunter,Michael D          $              7.48   CA
Huntsman,Chuna            $             47.78   CA
Huntsman,Ebony            $             82.28   CA
Hutchings,Cooper N        $            664.12   CA
Illames,Michael A         $            254.34   CA
Imhotep,Jasira            $             82.28   CA
Ingham,Maria M            $            324.99   CA
Islas,Samantha L          $          1,685.07   CA
Jackson,Daniel E          $              7.07   CA
Jackson,Jasmine           $            809.15   CA
Jackson,Marquise          $            141.30   CA
Jackson,Shanta M          $             52.36   CA
Jackson,Tamara            $          1,106.92   CA
Jackson-Blunt,Brandi      $          4,073.64   CA
Jacobo,Briana M           $          1,481.01   CA
Jacobs,Melissa            $            731.36   CA
James,Me'lisa             $            216.90   CA
Jamieson,Tina M           $          1,119.89   CA
Janowski,Lisa             $          3,537.15   CA
Jaramillo Flores,Marilu   $          1,279.05   CA
Jardinel,Rudy B           $          2,855.16   CA
Jauregui,Angela M         $          2,708.60   CA
Jauss,Christina D         $            247.28   CA
Jenkins,Tanisha           $            798.35   CA
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Jensen,Daniel M           $            332.06   CA
Jimenez,Jovani E          $            231.86   CA
Jimenez,Juan B            $            119.67   CA
Jimenez,Maribel S         $             97.23   CA
Jimenez,Rebecca           $             14.96   CA
Johnson,Alexis            $            275.54   CA
Johnson,Dominique M       $             49.46   CA
Johnson,Ebony M           $            157.07   CA
Johnson,Kenneth D         $            995.71   CA
Johnson,Queana S          $            613.30   CA
Johnson,Sacoda            $          1,344.73   CA
Johnson,Sazbra L          $            176.63   CA
Johnson,Susan V           $          2,034.10   CA
Johnson,Ted               $            942.38   CA
Johnson-Moore,Cecilia A   $          2,675.64   CA
Joiner,Julie A            $             35.33   CA
Jones,Christian D         $             52.36   CA
Jones,Estelle M           $            673.13   CA
Jones,Jasmine             $          1,817.63   CA
Jones,Jasmine C           $            105.98   CA
Jones,Keyana E            $            688.09   CA
Jones,Krystale R          $            155.43   CA
Jones,Latisha T           $          6,921.52   CA
Jones,Naizjai J           $          1,772.31   CA
Jones,Patricia A          $            897.61   CA
Jones,Rhoneisha           $            204.89   CA
Jones,Timekia C           $            699.34   CA
Jones,Victoria L          $            254.34   CA
Jordan,Asiyah N           $            186.98   CA
Jose,Gene L               $          2,964.09   CA
Juarez,Veronica M         $          1,257.58   CA
Jufiar,Renee J            $            239.33   CA
Kahler,Lynn D             $            261.41   CA
Karimipour,Mohammadreza   $            516.07   CA
Kavanaugh,Timothy J       $          1,284.07   CA
Kelley,Dannisha L         $            113.04   CA
Kelly,Bobbie              $            511.94   CA
Kennedy,Andrea D          $            437.54   CA
Kenner,Lisa A             $            246.82   CA
Kerbo,Alfred              $             52.36   CA
Kerr,Sandra               $            478.67   CA
Khatoon,Rizwana           $            374.45   CA
Kim,Ashley M              $          1,120.67   CA
Kimbell,Samuel            $            563.11   CA
King,Austri N             $             52.36   CA
King,Cortinae             $          1,256.51   CA
King,Latora E             $          3,793.20   CA
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Kintz,Maryse L              $          416.84   CA
Kirk,Roy L                  $           29.92   CA
Kirkendoll,Demetris         $          183.69   CA
Kirkendoll,Jonnee           $          876.07   CA
Kivlin Iii,William P        $          452.16   CA
Kivlin,Kathleen P           $          635.86   CA
Klokeid,Denise              $        1,500.18   CA
Kochan,Stephen G            $          725.48   CA
Krueger,Gary E              $        2,368.18   CA
La Beaf,Kathryn J           $          770.36   CA
Laflamme,Jennifer A         $          403.87   CA
Lafontant,Quiana N          $           14.13   CA
Lance,Darrell               $        1,198.01   CA
Landin,Joseph               $          149.58   CA
Landry,Jennie L             $          381.51   CA
Lane,Ashley M               $          913.78   CA
Langlois,Walter A           $          607.60   CA
Lara,Desirie M              $          899.18   CA
Larios Alvarado,Esmeralda   $           47.58   CA
Larson,Isaac                $          373.96   CA
Laster,Angela M             $          538.51   CA
Laverde,Jeremiah            $          538.51   CA
Lawcock,Bridget A           $          361.12   CA
Lazo,Raquel                 $          816.57   CA
Leal,Gloria                 $           84.78   CA
Ledesma,Antonio C           $           21.20   CA
Ledet,Santa L               $           22.44   CA
Lee,Kenyonta                $           49.46   CA
Lee,Natasha A               $          357.37   CA
Lee,Xai                     $          473.36   CA
Leon,Maria De La Luz        $        1,317.35   CA
Leon,Richard A              $        2,063.20   CA
Leonard,Charkee R           $          719.76   CA
Lett,Latish J               $          338.69   CA
Lewis,Tara D                $          112.19   CA
Leyva,Shavon G              $          321.61   CA
Liddell,Ayanna L            $          529.83   CA
Lilly,Michael               $          727.65   CA
Lindsay,Shainie R           $          558.55   CA
Lish,Anita M                $        1,469.70   CA
Logsdon,Kathy I             $        2,980.92   CA
Lomas,Lizette               $           67.32   CA
Lomeli,Tammy                $           22.44   CA
Lopez,Bronlio F             $        2,682.10   CA
Lopez,Jose F                $          565.21   CA
Lopez,Marie A               $        6,688.81   CA
Lopez,Norma D               $        5,715.97   CA
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Lopez,Tonya M              $           204.89   CA
Lopez-Cuevas Jr,Rodolfo    $           211.95   CA
Loshbaugh,Russell W        $           239.33   CA
Lotomau,Refina L           $           388.58   CA
Love,Summer C              $            14.13   CA
Love,Timothy R             $         1,002.68   CA
Loya,Leticia               $            37.40   CA
Lozano,Suzanne M           $         3,283.73   CA
Lucero,Jill                $         5,384.31   CA
Luna,Crystal               $           692.38   CA
Luna,Isaias                $         1,634.45   CA
Lutz,Nicole A              $           516.07   CA
Orosco,Jennifer R          $         1,836.92   OR
Maakestad,Leslie R         $           755.40   CA
Machado,Tammie L           $         1,424.59   CA
Maddox,Jessica D           $           508.69   CA
Mairena,Nidia E            $         1,894.90   CA
Maldonado,Edward A         $           598.03   CA
Malvido,Maria A            $         3,345.22   CA
Mann,Bradly L              $         1,258.29   CA
Manzo-Maravilla,Sergio R   $           334.93   CA
Marmol-Cazarez,Toni P      $            29.92   CA
Marquez,Marisela           $           275.54   CA
Marquez,Ramon              $           755.96   CA
Martes,Jennifer            $         1,077.01   CA
Martin,Adrian J            $           289.67   CA
Martin,Kiyana A            $            50.70   CA
Martinez Ibarra,Lucila     $         1,084.49   CA
Martinez,Alejandra         $           608.01   CA
Martinez,Alejandra         $           176.63   CA
Martinez,Alejandro         $         1,114.41   CA
Martinez,Juan              $         1,096.60   CA
Martinez,Juan C            $           179.50   CA
Martinez,Lady J            $         1,017.17   CA
Martinez,Natalie M         $           560.94   CA
Martinez,Olga L            $         1,130.41   CA
Martinez,Olivia V          $         2,129.29   CA
Martinez,Omedia T          $         1,838.16   CA
Martinez,Paul              $           176.63   KY
Martinez,Sheila            $           388.92   CA
Martinez,Tiffany M         $            52.36   CA
Martinez,Victor            $           299.17   CA
Mathews,Angela             $         1,032.13   CA
Mathews,Derrick L          $         2,644.53   CA
Mau,Barbara                $           164.54   CA
Maupin,David G             $         1,679.37   CA
Maxey,Monique N            $            56.52   CA
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McCammon,Lori L          $             452.16   CA
McColery,Robert D        $             275.54   CA
McCririe,Rebecca L       $             226.08   CA
McDaniel,Tanishsa A      $           1,943.46   CA
Mcdonald,Christian       $             807.76   CA
McDowell,Jerry           $           3,450.71   CA
McElroy,Elaine B         $             847.81   CA
McGill,Quineshia J       $              29.92   CA
McKenzie,Brandon D       $              89.75   CA
McKinney Jr,Donald       $           1,714.89   CA
McKinney,Darcel          $             409.77   CA
McMillen,Shaylynn        $             226.91   CA
Mcnamm,Savannha          $             590.86   CA
Means,Susanne M          $             344.04   CA
Medel,Jacqueline S       $             127.15   CA
Medina,Hector G          $              72.31   CA
Medina,Luis A            $             981.51   CA
Medina,Patrosinio        $             720.98   CA
Medina,Rafael            $           3,302.74   CA
Mejia,Margarita I        $             162.50   CA
MEJORADO,DALIA           $           2,593.00   CA
Mendoza,Johanna Ivette   $           1,102.15   CA
Mendoza,Nereida          $              14.13   CA
Mercado,Blanca E         $           1,838.38   CA
Mercedes,Patricia        $             219.02   CA
Merrida,Barbara A        $             869.27   CA
Mestaz,Ruth J            $             348.26   CA
Meyer,Rachel E           $              98.91   CA
Meza,Alejandra           $              33.65   CA
Michelson,Rachael L      $             812.48   CA
Mignanwande,Kpedetin     $             172.03   CA
Miller Jr,Brian          $           4,580.27   CA
Miller,Tammy L           $             523.54   CA
Miller,Valerie           $              14.13   CA
Milo,Kamilah             $             613.30   CA
Miranda,Maria            $              67.32   CA
Mitchell,Arlanda L       $             172.03   CA
Mitchell,Cindy           $           7,144.19   CA
Mizell,Jordan M          $             209.42   CA
Moctezuma,Miguel         $             373.96   CA
Molina,David             $           1,498.42   CA
Molina,Fatima L          $           1,069.53   CA
Molina,Irma              $           2,488.31   CA
Molina,Laura             $              14.13   CA
Molina,Victor A          $             289.67   CA
Monjaras,Lidia N         $             164.54   CA
Monroe,Nicholas R        $             233.15   CA
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Monroe,Niya                 $           63.59   CA
Monroe,Tyiana               $           44.87   CA
Monterrosa,Emma             $          508.69   CA
Montes,Chantel L            $        4,467.40   CA
Montgomery,Molly K          $          792.80   CA
Montoya,Christine R         $          119.67   CA
Moore,Cierra N              $          276.73   CA
Moore,Jylinn D              $        1,737.35   CA
Moore,Michael J             $            7.48   CA
Moore,Precious S            $           59.83   CA
Moore,Shelli                $          315.42   CA
Morales Gutierrez,Karen T   $          837.68   CA
Morales,Seidy               $        2,507.86   CA
MORENO,KIMBERLY             $          367.38   CA
Moreno,Sharron L            $          994.73   CA
Moreno,Suyen H              $          950.45   CA
Moreno,Teresa M             $        1,926.52   CA
Morgan,Christine E          $        1,188.44   CA
Morgan,David H              $           49.46   CA
Morton,Tamarh S             $          379.80   CA
Mota,Jackelyn               $          353.25   CA
Mouton,Lanae                $          224.37   CA
Mouton,Patience             $          339.12   CA
Muckelroy,Rachel M          $          466.29   CA
Multani,Yadira L            $           82.28   CA
Muniz,Mayela H              $        1,894.90   CA
Muniz,Rick J                $        1,476.60   CA
Munoz,Alex                  $        1,891.59   CA
Munoz,Rosa Martha           $           67.32   CA
Munoz,Yanely                $          924.94   CA
Muse,Elizabeth              $          536.95   CA
Nagem,Georgene              $          332.06   CA
Naimi,Seyed A               $          657.88   CA
Nanthavong-Rashaad,Bonny    $          583.38   CA
Navarro,Darel               $          869.00   CA
Navarro,Raquel              $        1,321.75   CA
Neice,Vada                  $        4,792.16   CA
Nelson,D'Quan M             $          155.43   CA
Netherly,Kiyana             $        1,735.18   CA
Newson,Augusta              $           21.20   CA
Newton,Lynette              $          197.82   CA
Nichols,Betty S             $        1,503.60   CA
Nichols,Roshunda            $          575.90   CA
Nickelberry,Margaret        $          162.50   TX
Nickerberry,Channel L       $          834.80   CA
Nickerson,Gloria M          $        6,672.17   CA
Ninke,Jon C                 $          155.43   CA
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Nizo,Esmeralda            $            373.96   CA
Noble,Robert J            $            240.21   CA
Noonan,Patricia T         $            233.15   CA
Noone,Therese             $             49.46   CA
Norman,Darlene            $            487.49   TX
Norman,Rickisha L         $          3,784.36   CA
Norton,Maria V            $            441.32   CA
Nourgoster,Masroor        $             28.26   CA
Nouri,Hamid               $          1,371.33   CA
Nuells,Charlies R         $          1,045.63   CA
Nuells,Karmetria D        $            261.41   CA
Nunez,Nelson              $            714.26   CA
Octamendez,Julio G        $            538.58   CA
Ofisa,Japeth I            $            438.03   CA
Ohara,Mikiko              $            441.28   CA
O'Kelly,Debra A           $            433.79   CA
Olamendi,Sergio           $             52.36   CA
Olguin,Christine          $            725.48   CA
Oliveros,Daniela          $            861.89   CA
Olson,Cora                $             49.46   CA
O'Neal,Mary               $            162.50   CA
Oneil,Hansel S            $             56.10   CA
Ordaz,Brenda J            $            119.67   CA
Ordaz,Stephanie M         $            119.67   CA
Orellana,Maria N          $            724.68   CA
Orolfo,Nathaniel H        $          1,123.35   CA
Orozco,Juan Y             $             14.96   CA
Orr,Donna M               $            186.98   CA
Ortega,Samuel R           $          1,188.57   CA
Ortega,Stella             $          3,023.61   CA
Overman,Mila              $          1,191.32   CA
Overton,Janis             $          2,357.46   CA
Owens,William G           $            508.20   CA
Pacheco Sandoval,Abel B   $             29.92   CA
Packard,Martha E          $            261.41   CA
Page,Cynthia              $          1,316.34   CA
Palacios,Carlos R         $            500.76   CA
Palos,Linda G             $              7.48   CA
Panos,James               $          1,883.57   CA
Pardo,Carmen              $            148.37   CA
Paredes Sanchez,Emanuel   $          1,709.16   CA
Paredes Sanchez,Grisell   $          1,264.50   CA
Parker,Carole S           $            984.52   CA
Parker,Elizabeth F        $          3,248.85   CA
Parker,Ramona K           $            240.21   CA
Pasillas,Olivia           $          3,130.80   CA
Patrick,Okema N           $             28.26   CA
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Payne,Shay E                $          157.07   CA
Pelayo,Jesenia L            $           82.28   CA
Pena Cervantes,Ramona       $          906.67   CA
Pepper,Samantha             $          792.80   CA
Pepper,Sarah                $           52.36   CA
Perez,Carmen P              $          915.00   CA
Perez,Fernando              $           29.92   CA
Perez,Juan P                $        1,109.22   CA
Perez,Juana T               $          284.21   CA
Perez,Lourdes I             $        2,529.08   CA
Perez,Margot                $           84.78   CA
Perez,Ruben V               $        1,671.79   CA
Perez,Ruth                  $        2,716.08   CA
Perez,Samuel                $           35.33   CA
Perez,Suri S                $          329.08   CA
Perkins,Cassandra D         $          197.82   CA
Perkins,Ruth M              $        2,242.35   CA
Perrin,Sandy K              $          316.22   CA
Phillips,Erica J            $        9,151.31   CA
Piceno,Alejandro            $        1,271.71   CA
Pina,Graciela               $        3,476.54   CA
Pineda,Yevonne R            $          148.37   CA
Plank,Ramona L              $        3,134.58   CA
Plaza,Cynthia M             $           56.52   NM
Pollock,Kiara               $        1,517.09   CA
Pompa,Horacio               $          282.60   CA
Pope,Fannie                 $        3,184.91   CA
Portillo,Ana L              $        1,526.06   CA
Pounds,Michael L            $           89.75   CA
Powers,Emmett C             $        2,253.76   CA
Preston,Sharon              $          576.83   CA
Price,James P               $        1,049.21   CA
Proitte,Jeffery A           $        2,687.95   CA
Pryor,Beverly J             $        1,473.97   CA
Pulley,Laura A              $          254.34   CA
Pummill,Alyssa              $           14.96   CA
Quave,Lisa M                $           42.39   CA
Quigley,Marie H             $           97.23   CA
Quiles,Rose G               $          883.13   CA
Quinonez,Wendy L            $          321.61   CA
Quintana,Gabriela A         $        1,024.65   CA
Quintanilla Payes,Jorge A   $          396.40   CA
Quintanilla,Jackeline V.    $        1,813.53   CA
Quintanilla,Judith A        $          531.02   CA
Rainbolt,Nina H             $        1,157.70   CA
Ramirez Sevier,Carolyn L    $        1,858.77   CA
Ramirez,Alexander X         $           98.91   CA
Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 235 of 246 Page ID
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Ramirez,Christina D      $              84.78   CA
Ramirez,Kara             $             359.00   CA
Ramirez,Mario A          $           3,741.85   CA
Ramirez,Martha           $             127.15   CA
Ramirez,Rosanna          $             381.44   CA
Ramirez,Sarah E          $              21.20   CA
Ramirez,Virginia M       $           4,124.36   CA
Ramirez,Viviana M        $              29.92   CA
Ramirez,Yvonne           $             600.53   CA
Ramos Ayala,Jose I       $           1,510.80   CA
Ramos,Bianca             $             142.11   CA
Ramos,Lizet              $           1,252.03   CA
Ramos,Vasti              $             183.69   CA
Ratcliff,Shanita D       $              70.65   CA
Ray,Karolyn D            $           2,218.17   CA
Ray,Ylda Y               $             388.58   CA
Raya,Susan A             $             773.38   CA
Reams,Yolanda            $              97.23   CA
Reck,Stephen M           $               7.07   CA
Reddy,Kenyanda S         $           2,945.52   CA
Rees,Amber L             $             204.89   CA
Reidel,Joyce M           $           1,564.11   CA
Reyes Jr.,Johnnie S      $           3,132.60   CA
Rezvanpour,Behrouz       $           1,380.05   CA
RHODES,NAOMI T           $             564.33   CA
Richardson,Charlena R    $           1,653.01   CA
Richardson,Janay S       $              59.83   CA
Richardson,Stephanie L   $             847.81   CA
Riddle,Jacque A          $             568.43   CA
Riddle,Julie R           $             359.00   CA
Ridley,Lakisha D         $             743.02   CA
Rios,Ena                 $             987.26   CA
Rishi,Gevin              $             127.17   CA
Rivas Bonilla,Miguel E   $             725.48   CA
Rivas,Emiliana           $           3,765.28   CA
Rivera,Daisy             $             226.08   CA
Rizk,Fady                $             299.17   CA
Roberson,Tess            $              14.96   CA
Roberts,Kathleen E       $             324.99   CA
Robinson,Ariyanna C      $              44.87   CA
Robinson,Barry           $              28.26   CA
Robinson,Deaconess C     $           2,701.98   CA
Robinson,Javeil          $             416.84   CA
Robinson,Tonette         $             785.32   CA
Robinson,Toya            $           1,194.24   CA
Robles,Irma M            $             322.04   CA
Rodriguez,Almanzor D     $           1,864.98   CA
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                                    #:753

Rodriguez,Anita               $      3,222.25   CA
Rodriguez,Ascension           $      2,863.99   CA
Rodriguez,Eric                $        261.78   CA
Rodriguez,Juan Carlos         $      2,488.31   CA
Rodriguez,Marco A             $      2,923.87   CA
Rodriguez,Nancy C             $        112.19   CA
Rodriguez,Raquel              $        127.17   CA
Rodriguez,Regina L            $         91.85   CA
Roja,William                  $      3,295.70   CA
Rojas,Elian A                 $        747.93   CA
Romby,Latisha N               $        258.46   CA
Romero,Michelle               $      1,154.38   CA
Rosan,Yvonne                  $        706.51   CA
Rosas,Louise A                $      1,780.25   CA
Rosas,Roselie R               $        583.38   CA
Rosenfeld,Dianna S            $      4,628.74   CA
Ross,Nina K                   $        194.46   CA
Rowe,Linda S                  $        289.67   CA
Ruiz De Castilla,Rochelle E   $      1,103.66   CA
Ruiz,Carmen V                 $        590.11   CA
Ruiz,Cristina                 $      1,613.59   CA
Ruiz,Jessica L                $        211.95   CA
Ruiz,Nicholas E               $         70.65   CA
Ruiz,Pauline C                $         67.32   CA
Russ,Edwin                    $      2,280.50   CA
Russell,Diana                 $        303.80   CA
Ruvalcaba,Elizabeth A         $        240.21   CA
Ryant,Kendall                 $      3,214.70   CA
Saddler,Alicia N              $         84.78   CA
Sagahon,Sandra                $      3,135.82   CA
Sage,Mary                     $      4,527.90   CA
Salas,Nubia Y                 $        324.53   CA
Salas,Velicia A               $         21.20   CA
Salas-Espinoza,Aida           $        568.43   CA
Salazar,Alexander             $         22.44   CA
Salazar,Jamie M               $      1,618.68   CA
Salgado,Iliana E              $      2,120.60   CA
Salih,Ibrahim M               $      1,083.56   CA
Salinas,Irma Del Carmen       $      1,923.60   CA
Sallady,Janelle D             $        332.06   CA
San Nicolas,Trina D           $      2,248.57   CA
Sanchez Espindola,Bertha A    $      1,560.26   CA
Sanchez,Gilbert E             $         14.96   CA
Sanchez,Rafael                $         28.26   CA
Sandoval,Alexus C             $        388.92   CA
Sandoval,Diana                $         67.32   CA
Sandoval,Rodolfo              $      1,513.84   CA
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                                    #:754

Santiago,Maria             $         2,459.25   CA
Santos,Nicole              $           480.42   CA
Saulsberry,Gene A          $         5,740.44   CA
Savedra,Daniel J           $           149.58   CA
Schaumann,Sarah C          $         1,042.71   CA
Schindewolf,Cindy M        $           142.11   CA
Schindewolf,Thomas A       $           119.67   CA
Scott,James A              $           120.11   CA
Scott,Joseph O             $            14.13   CA
Scott,Rhonda C             $           791.29   AZ
Scott,Vicki L              $         1,102.15   CA
Seals,Rosa E               $         4,161.41   CA
Sean,Saruon                $           142.11   CA
Searcy,Regina A            $           276.73   CA
Sedano,Griselda            $            35.33   CA
Seeman-Larson,Charlene M   $           409.77   CA
Segura,Yiry                $           367.38   CA
Seilbach,Kimberly          $           142.11   CA
Seip,Tara M                $         1,009.69   CA
Servera,Ernesto            $           486.15   CA
Sgarlata,Merry             $             7.07   CA
Shackelford,Jacqueline     $         1,301.46   CA
Sheridan,Wendy J           $         6,657.11   CA
Shollenberger,William S    $           336.57   NV
Short,Ashley M             $         2,330.89   CA
Siders,Evette D            $           600.92   CA
Sieg,Debra                 $         2,965.28   CA
Siler,Jason A              $           296.73   CA
Silva,MaryAnn              $         1,900.72   CA
Silva,Patricia L           $           201.94   CA
Silva,Rosa E               $           134.24   CA
Silva-Gonzalez,Leslie E    $           186.98   CA
Simmons,Rebecca E          $           157.07   CA
Simon,Angela D             $            77.72   CA
Simon,Matthew              $           162.50   CA
Simpson,Krystal            $           254.29   CA
Simpson,Lanace Joe         $         1,354.27   CA
Sims,Dante J               $           798.35   CA
Skidmore,Mary              $           409.77   CA
Skillman,June              $         1,045.63   CA
Slone,Rita R               $         1,843.98   CA
Smalls,Theresa A           $           263.07   CA
Smith,Audra                $         3,063.24   CA
Smith,Cynthia              $           673.13   CA
Smith,Cynthia D            $           346.56   CA
Smith,Damita               $           112.19   NY
Smith,Shaunte              $            63.59   CA
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Smythe,Christine L          $           42.39   CA
Solis,Lori A                $          359.86   CA
Soltero,Vanessa             $          670.30   CA
Soria Medrano,Aimee         $          197.82   CA
Soto,Adilene                $          710.52   CA
Soto,Mario H                $          291.69   CA
Soto,Pablo                  $        3,262.94   CA
Spangler,Rebecca            $          748.90   CA
Sparks,Ross E               $          113.04   CA
Spears,Jermira              $          777.84   CA
Spencer,Roy                 $        1,126.95   CA
Spight,Eric                 $        3,067.65   CA
Stampley,Danielle E         $          395.64   CA
Stanley,Alice Y             $          427.19   CA
Staples,Vivianna S          $          144.61   CA
Stepney,Beverly             $          220.26   CA
Steury,Thomas M             $          509.44   CA
Stevens,Shameema J          $           42.39   CA
Stevenson,Shandra J         $        1,727.51   CA
Still,Joe Junior            $          551.08   CA
Stout,Tiffany Ann           $        1,966.89   CA
Street,David W              $        3,072.03   CA
Styles,Nathaniel L          $        1,350.89   CA
Suarez,Claudia E            $          291.69   CA
Sumler,Kari                 $        3,146.59   CA
Svindland,Keith             $            7.07   CA
Swain,Damian R              $        1,660.39   CA
Swank,Cheryl                $          134.24   CA
Swanson,Kathleen A          $        1,427.85   CA
Tabar,Robin D               $           29.92   CA
Tate,William G              $          310.86   CA
Tatum,Tisha M               $          819.09   CA
Taylor,Ashlei R             $          494.55   CA
Taylor,Cheryl K             $        2,025.85   CA
Taylor,Jessica              $        4,207.85   CA
Taylor,Lentoi               $          813.67   CA
Tellechea Avila,Lisbeth C   $          426.32   CA
Thayer,Harold L             $          183.69   CA
Thomas Jr,James W           $          994.73   CA
Thomas,Janae L              $          725.99   CA
Thomas,Matthew D            $        1,423.68   CA
Thompson Jr,Kenneth         $        2,322.46   CA
Thompson,Jasmine            $        1,077.01   CA
Thompson,Jill L             $          303.80   CA
Thompson,Rayshawn           $           42.39   CA
Tijerino,Alicia             $        1,477.25   CA
Todd,Gay R                  $          493.62   CA
Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 239 of 246 Page ID
                                    #:756

Toliver,Debra               $        1,208.13   CA
Torrence,Sandra M           $        1,129.37   CA
Torres,Gregory Jr.          $          994.73   CA
Torres,Irene                $        1,573.71   CA
Torres,Laura E              $        2,486.70   CA
Touch,Siphathavie           $          501.11   CA
Tovmasian,Fredrick          $           60.05   CA
Tran,Kevin H                $          388.58   CA
Trujillo,Oscar A            $          614.66   CA
Turner,Chanell              $        2,009.15   CA
Turner,Debra Kay            $        1,948.13   CA
Turner,Jacqueline           $          303.80   CA
Turner,Lorece G             $          529.88   CA
Tyler,Cindy L               $           70.65   CA
Tyree,Debbie                $          120.11   CA
Ubongen,Leonardo N          $          614.66   CA
Uribe,Elbia M               $        2,817.06   CA
Uzueta,Amanda L             $        1,270.37   CA
Valdepena,Vanessa J         $          424.27   CA
Valdez,Dinora A             $          336.57   CA
Valdivia,Patricia           $           49.46   CA
Valencia,Marco              $          284.21   CA
Valenzuela,Rosemary         $        1,549.17   CA
Van Dusen,Rebecca M         $          240.21   CA
Vargas Jr,Juan              $          538.51   CA
Vargas,Delmy                $        1,786.51   CA
Vargas-Blanco,Stephanie     $           89.75   CA
Vaughn,Pamela G             $          261.41   CA
Vazquez Martinez,Grisel     $          198.23   CA
Vazquez,Jose                $          289.67   CA
Velazques,Domitila          $          254.34   CA
Velazquez,Olga              $          523.54   CA
Vera,Alexandra A            $           56.52   CA
Verdugo,Rachelle            $        3,998.72   CA
Villa,Michael               $           21.20   CA
Villahermosa,Hendrick       $          792.80   CA
Villarreal,Andrea Ramirez   $        1,985.91   CA
Villatoro,Wendy             $           97.23   CA
Villeda,Laura               $          459.23   CA
Virruete Navarro,Luz        $        1,472.70   CA
Vochatzer,Thomas P          $        2,189.56   CA
Voss,John                   $           95.38   CA
Vox,Dorene A                $           21.20   CA
Walker,Gloria L             $           98.91   CA
Walker,Natalie Y            $        2,985.01   CA
Walker,Nikkita M            $          105.98   CA
Wardrop,Ashirae L           $        1,301.38   CA
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                                    #:757

Warren,Delilah L         $           2,337.07   CA
Warren,Pamela            $             268.47   CA
Weathers,Percy           $             583.38   CA
Weaver,Amena             $              14.96   CA
Weddles,Aaranay A        $              14.96   CA
Wesley,Pinky M           $           1,567.40   CA
Wesley,Reina             $              28.26   CA
Whelan,JayAnn            $           1,203.38   CA
White,Cody M             $           1,846.57   CA
White,Lynette A          $              21.61   CA
White,Melissa A          $           1,200.02   CA
White,Mykeisha J         $             747.58   CA
White,Tisha L            $             381.51   CA
White,Vicky G            $              97.23   CA
Wilbon,Ethel M           $           1,835.09   CA
Wilds,Richard S          $              35.33   CA
Wiley Jr,Vincent         $             296.73   CA
Wilhelmson,Gwyndolyn     $             423.90   CA
Wilkiewiecz,Ernestina    $             770.09   CA
Williams,Briana R        $              67.32   CA
Williams,Cynthia M       $           1,216.33   CA
Williams,Ellisse         $             349.50   CA
Williams,Frederick R     $             764.22   CA
Williams,Joyce           $             339.12   CA
Williams,Regina M        $             515.75   CA
Williams,Tyesha L        $              21.20   CA
Williamson,Lila          $             164.54   CA
Willis,Amber P           $              89.75   CA
Willis,Gervaise N        $              59.83   CA
Wilson,James D           $             671.18   CA
Wilson,Jennifer          $           1,711.26   CA
Wilson,John S            $             441.28   CA
Wilson,Unieve J          $               7.48   CA
Wilson-Harper,Raquel O   $             157.07   CA
Winston,Courtney M       $           2,574.54   CA
Winzer,Nicole S          $             402.71   CA
Wise,Caitlynn C          $             837.68   CA
Wong,Dolores L           $             572.27   CA
Wooles,Yvette            $           1,672.96   CA
Worthen,Theresa L        $             683.19   CA
Wyrick,Roslind Y         $             169.56   CA
Ybarra Sr,Steven D       $           1,159.72   CA
Young Waggoner,Toni T    $             890.02   CA
Young,Allen              $           2,090.33   CA
Young,Bridgett L         $           1,597.46   CA
Young,Jasmine J          $             911.39   CA
Young,Kay                $             673.13   CA
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Zabala,Maria C            $          1,170.20   CA
Zamarripa,Noemy           $            483.25   CA
Zamarripa,Richard         $             70.65   CA
Zamilpa-Martinez,Esther   $          1,002.22   CA
Zapian,Sonia              $            720.64   CA
Zaragoza,Annahi           $            770.36   CA
Zarerenani,Nematollah     $            224.37   CA
Zepeda,Maria E            $             14.96   CA
                   Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 242 of 246 Page ID
                                                       #:759


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                      2      LITTLER MENDELSON, P.C.
                             501 W. Broadway
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                      4      Telephone: 619.232.0441
                             Facsimile: 619.232.4302
                      5
                             Attorneys for Defendants
                      6      FIRST STUDENT, INC.; FIRST STUDENT
                             MANAGEMENT, LLC; and FIRSTGROUP
                      7      AMERICA, INC.
                      8
                      9                             UNITED STATES DISTRICT COURT
                  10                              CENTRAL DISTRICT OF CALIFORNIA
                  11         NORMA LOPEZ, CINDY                    Case No. 5:19-cv-01669-JGB-SHK
                             MITCHELL, and VADA NEICE, on
                  12         behalf of themselves and all others   DECLARATION OF SERVICE
                             similarly situated,
                  13
                                            Plaintiffs,
                  14
                  15         v.

                  16         FIRST STUDENT, INC., FIRST
                             STUDENT MANAGEMENT, LLC,
                  17         FIRST AMERICA, and DOES 1
                             through 10, inclusive,
                  18
                                            Defendants.
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                   Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 243 of 246 Page ID
                                                       #:760


                      1
                      2            I, David J. Dow, declare:
                      3            I am, and was at the time of service of the papers herein referred to, over the age
                      4      of 18 years, and not a party to this action. My business address is 501 West Broadway,
                      5      Suite 900, San Diego, California 92101.
                      6            On September 27, 2021, I served the following document(s):
                      7            NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION
                      8            PURSUANT TO THE CLASS ACTION FAIRNESS ACT,
                                   28 U.S.C. § 1715
                      9
                  10         on the parties listed herein
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                   Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 244 of 246 Page ID
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                      1      BY U.S. MAIL: I placed a true and correct copy of the above document(s) in a sealed
                      2      envelope, addressed as indicated above. I am readily familiar with the firm’s practice
                      3      of collection and processing correspondence for mailing. It is deposited with the U.S.
                      4      Postal Service on that same day in the ordinary course of business with postage thereon
                      5      fully prepaid. I am aware that on motion of party served, service is presumed invalid if
                      6      postal cancellation date or postage meter date is more than one day after date of deposit
                      7      for mailing in affidavit.
                      8            I declare under penalty of perjury under the laws of the State of California that
                      9      the foregoing is true and correct and that this declaration was executed on
                  10         September 27, 2021 at San Diego, California.
                  11
                  12
                                                                    __________________________________
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                                                                    DAVID J. DOW
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      501 W. Broadway
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  San Diego, CA 92101.3577
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                   Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 245 of 246 Page ID
                                                       #:762


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                      2                      ATTORNEY GENERAL OFFICES
                      3
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                  11             CAFA Coordinator
                                 Office of the Attorney General
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                  13             455 Golden Gate Ave., Suite 11000
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                  18             100 North Carson Street
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                  20             New Mexico Attorney General Hector Balderas
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                  23             Oregon Attorney General Ellen F. Rosenblum
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                  24             Oregon Department of Justice
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                   Case 5:19-cv-01669-JGB-SHK Document 45-1 Filed 10/13/21 Page 246 of 246 Page ID
                                                       #:763


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                                              Austin, TX 78711-2548
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                                              Illinois Attorney General Kwame Raoul
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                  10                          Chicago, IL 60601
                  11
                                              Kentucky Attorney General Daniel Cameron
                  12                          Office of the Attorney General
                                              700 Capital Avenue, Suite 118
                  13                          Frankfort, Kentucky 40601
                  14                          Attorney General Patrick Morrisey
                                              State Capitol Complex
                  15                          Bldg. 1, Room E-26
                                              Charleston, WV 25305
                  16
                  17                          Attorney General Todd Rokita
                                              302 W. Washington St., 5th Floor
                  18                          Indianapolis, IN 46204

                  19                          Attorney General Letitia James
                  20                          28 Liberty St.
                                              New York, NY 10005
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                  23         4832-8389-6061.1 / 070991-1175


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